                            No. 23-1972

           UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                    ________________

                PENINSULA PATHOLOGY ASSOCIATES,

                                             Petitioner-Appellee,
                                 v.

              AMERICAN INTERNATIONAL INDUSTRIES,

                                             Respondent-Appellant.

                          ________________

      On Appeal from the United States District Court for the
     Eastern District of Virginia, No. 4:22-mc-00001-AWA-DEM
      Hon. Arenda L. Wright Allen, U.S. District Court Judge
                          ________________

                   JOINT APPENDIX
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                     ________________

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FRAP 10(e)(2)(A) Supplement1

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   1 The parties stipulated to supplementing the record with this
corrected exhibit pursuant to FRAP 10(e)(2)(A) as one page was
inadvertently omitted from the exhibit below.


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                                                                           1
 1                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
 2                          NEWPORT NEWS DIVISION

 3

 4   PENINSULA PATHOLOGY ASSOCIATES,   )
                                       )
 5               Petitioner,           )
                                       )
 6   v.                                )        Civil Action No.:
                                       )            4:22mc1
 7   AMERICAN INTERNATIONAL INDUSTRIES,)
                                       )
 8               Respondent.           )

 9

10                TRANSCRIPT OF VIDEOCONFERENCE PROCEEDINGS

11               (Hearing on Motions to Quash and Sanctions)

12
                              Norfolk, Virginia
13                            December 16, 2022

14

15   BEFORE:      THE HONORABLE DOUGLAS E. MILLER
                  United States Magistrate Judge
16

17

18   Appearances: (Via Videoconferencing)

19             ALI & LOCKWOOD
                   By: Kathryn Marshall Ali
20                     Elizabeth Catherine Lockwood
                       Counsel for Petitioner
21
               LATHROP GPM, LLP
22                 By: Robert E. Thackston
               -- and --
23             WILLCOX & SAVAGE
                   By: Eric David Cook
24                     Counsel for Respondent

25



                                   JA954
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                 2
 1                            P R O C E E D I N G S

 2

 3               (Commenced at 2:41 p.m. as follows:)

 4

 5               THE COURT:     All right.   I'm sorry, I don't know what's

 6   going on with my computer, it's still spinning in the

 7   background, but my law clerk, Will Metcalf, is connected, so

 8   I'll have him sit next to me and use his computer so we can get

 9   started.    I apologize.

10               Ms. Dodge, is everyone else ready?

11               COURTROOM DEPUTY CLERK:      Yes, sir.   Peninsula

12   Pathology Associates v. American International Industries, Case

13   4:22mc1.

14               Are the parties ready to proceed?

15               MR. THACKSTON:     Yes.

16               THE COURT:     All right.   It looks like I have -- is it

17   Ali or a Ali?

18               MS. ALI:     You know, either is fine, Your Honor.       It's

19   the subject of debate in my household.        But I say Ali.

20               THE COURT:     All right.   Ms. Ali, it's nice to have,

21   you, and Ms. Lockwood, you all are here for the movant, I guess,

22   and Mr. Cook and Mr. Thackston for the party who initiated the

23   subpoena.    I'm not sure who's taking the lead on this.          Is it

24   going to be you, Ms. Ali?

25               MS. ALI:     I'm going to start, Your Honor.    Ms.



                                     JA955
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               3
 1   Lockwood is better prepared --

 2              THE COURT:    Hold on a second.    My computer just

 3   decided to work.   Let me see if I can switch.

 4              (Pause in the record.)

 5              COURTROOM DEPUTY CLERK:      Can you hear us?

 6              Apparently not.

 7              THE COURT:    Okay.    So the good news is that we haven't

 8   had to use Zoom in a long time, so that's why we're apparently

 9   unfamiliar with it.     But in any event I'm going to...

10              MR. THACKSTON:    Your Honor, Robert Thackston.       I just

11   wonder if it would save some time if, rather than have the other

12   side try to characterize what they think the subpoena is, if I

13   were to characterize what we intend the subpoena to be, I wonder

14   if that might save the Court some time.

15              THE COURT:    I probably have more questions for you,

16   Mr. Thackston, if you're going to take the lead on this, I'm

17   fine to proceed that way.

18              MR. THACKSTON:    Thank you, Your Honor.

19              THE COURT:    I've read everything that you've submitted

20   and I've looked over -- the matter's obviously very thoroughly

21   briefed.

22              Let me just say before we begin, though, I see a

23   number of people who have weighed in to observe.       Obviously it's

24   a public hearing, anyone's welcome to listen in.       I will just

25   say, however, Paul McManus is an official federal court



                                      JA956
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             4
 1   reporter, he's keep the transcript.     He should be the only

 2   person who's recording the proceedings.      So no one else should

 3   be making any kind of a record or transcript of what's going on.

 4              But go ahead, Mr. Thackston.     I'm happy to hear

 5   anything else you want to say.

 6              MR. THACKSTON:   Thank Your Honor.    And I appreciate

 7   your letting me go first, only because I think there's a little

 8   bit, there's some misunderstandings about what it is that we're

 9   trying to accomplish.

10              I represent a company called A-I-I, which is a family

11   owned management company out in California, and they have been

12   sued in a number of cases in which there have been allegations

13   that cosmetic talc had trace contaminations of asbestos and

14   caused mesothelioma.

15              Now, I don't know about the Court's knowledge about

16   the historical litigation involving asbestos --

17              THE COURT:   We are in the same district as the largest

18   Naval base and the largest Naval shipyard in the world, so we

19   have plenty of familiarity with mesothelioma and asbestos.        And

20   also I've read your entire brief and a good part of the exhibits

21   that were attached to both, so you don't need to give me the

22   whole background.   I do understand what Mr. Gref's issue is and

23   the nature of the claims that you're defending in New York, and

24   so you can just cut to the chase with regard to Dr. Emory's

25   article.   That's really what we're here about.



                                  JA957
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               5
 1              MR. THACKSTON:    Absolutely, Your Honor.        And if I

 2   could share a screen to do that, I will put the article up.

 3              After decades of litigation involving asbestos that

 4   never mentioned anything about cosmetic talc, in the last

 5   several years, several individuals who are prolific experts for

 6   the plaintiffs in asbestos litigation, namely Gordon and

 7   Millette, they published one article; Moline published one

 8   article, and Emory published one article.        And they're

 9   ground-breaking articles to the extent that they claim that

10   nevermind what we said for the last 30 years, but it's cosmetic

11   talc that's causing mesothelioma.        It's adulterated with trace

12   levels of asbestos.     And we found these series of people that

13   have mesothelioma and they didn't have any asbestos exposure

14   except for cosmetic talc.

15              And the Emory article, the interesting thing about it

16   is the strawman here is can physicians protect confidential

17   information given them by patients.        Absolutely.     Does that have

18   anything to do with this issue before the Court?           Absolutely

19   not.   There's no allegation that the Dr. Emory was a physician

20   to any of these cases that she wrote about.        Instead -- and here

21   is the title if the Court can see the article --

22              THE COURT:    I've read it.     I've read it.     And again,

23   Mr. Thackston, I don't -- I'm happy to hear what you want to

24   say, but I've read it all.     I read the whole article.        It's only

25   seven pages long.     It's very brief.     I've looked at exactly how



                                   JA958
             Paul L. McManus, RMR, FCRR Official Court Reporter
Case 4:22-mc-00001-AWA-DEM Document 10 Filed 12/22/22 Page 6 of 58 PageID# 973

                                                                              6
 1   Dr. Moline is using it and Dr. Finklestein is using it.           So I

 2   know exactly what it is you're defending.        I don't need the

 3   background.

 4                Here's what I want to know:     Dr. Emory is not a

 5   witness.     She's not in the case.     She's not here.    Why would

 6   this be the case that Dr. Emory or her company would have to

 7   respond to this incredibly burdensome subpoena.           I just don't

 8   understand why you've picked this case to single out, because I

 9   frankly see almost no connection between Dr. Emory's study and

10   the case you're defending in New York, at least with respect to

11   Mr. Gref.

12                MR. THACKSTON:     Well, first of all, Your Honor, in

13   whatever case we issued a subpoena it's going to wind up before

14   Your Honor, right?        Because that's where Dr. Emory    is, and

15   that's where the records are.        So it wouldn't make any

16   difference which case it was.        Every case has an expert that's

17   relied on two things -- really three, Gordon, Moline and Emory,

18   right?     And so whichever case -- we almost got there in an

19   Arkansas case and the plaintiffs took the money the day that Dr.

20   Emory's stuff was due.        The Arkansas court says she will answer

21   these questions.     For all we know, Mr. Gref is one of the

22   subjects, right?

23                THE COURT:     Well, now, I wanted to ask you about that,

24   because it's very clearly spelled out in the study -- and I

25   looked at your own expert -- I mean, the expert's report.



                                      JA959
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                                                                             7
 1   Dr. Moline says he was diagnosed in 2019, and there are two

 2   people who are diagnosed in 2019.     This is in the opposition

 3   brief.    And they're both over 70 years old and one of them's a

 4   woman.    And so again, she's not willing to tell you names, but I

 5   frankly don't see how, based on the very brief summary of that

 6   study, you can have a good-faith basis to believe that Mr. Gref

 7   was one of her subjects.

 8               MR. THACKSTON:   Well, Your Honor, we don't know.     And

 9   she --

10               THE COURT:   Why don't you know?   Why don't you know,

11   Mr. Thackston?

12               MR. THACKSTON:   Because -- well, we --

13               THE COURT:   Do you think she's lying to you about the

14   age or the year of diagnosis?

15               MR. THACKSTON:   Oh, no, no, no.   I mean, we don't know

16   about any of the specific people because they've taken the

17   position they can't tell us.

18               She said that she had something like a 100-plus files

19   that she looked at and she decided they did not belong in there,

20   and if Mr. Gref was one that did not belong in there because he

21   was, his parents were both in the Navy and they both worked and

22   lived in Newport News, that would be relevant information.

23               But the point is in the other case that we have with

24   Dr. Moline, the only reason we know that one of the people had

25   alleged occupational exposure to asbestos was a happenstance of



                                   JA960
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                              8
 1   Dr. Moline happened.       And they're using these offensively.     If

 2   you've read the Bell decision.

 3               THE COURT:     When you say "they're" using it, who is

 4   using it?

 5               MR. THACKSTON:     Both Doctor -- both -- well, both

 6   plaintiff's expert is using --

 7               THE COURT:     This subpoena originated in New York, the

 8   Southern District, where you're defending a case that was filed

 9   by Mr. Gref.    Now, Mr. Gref has hired -- or his lawyers have

10   hired Dr. Moline and you've deposed Dr. Moline, and Dr. Moline

11   wrote her own study.       And I looked at Dr. Moline's report, I

12   looked at the 200-plus pages report from Dr. Finkelstein, and

13   I -- and you pointed me exactly to where it was, it was very

14   helpful.    It's like this.     It's like this [indicating].   It's

15   almost nothing.    I mean, the pages and pages of talc has

16   asbestos, talc has asbestos, this is the way asbestos can be

17   absorbed, these are all of the things, and oh, by the way, there

18   were two studies which found it happened after exposure to talc.

19   I mean, that's what they say.

20               MR. THACKSTON:     It's, it's the, it's the absolute

21   linchpin of talc litigation.       It is the only thing that --

22               MS. ALI:     May I be heard, Your Honor?

23               THE COURT:     Just a minute.   I'm going to give you an

24   opportunity to weigh in.

25               MR. THACKSTON:     Your Honor, it is the reason that talc



                                     JA961
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           9
 1   litigation exists.     These two articles are the only alleged

 2   epidemiological link between cosmetic talc and mesothelioma.

 3              So they're in the shipyard.    You have many, many

 4   studies that show the occupations that are at risk for

 5   mesothelioma:   Shipyard workers, insulators, pipe fitters.

 6   Nobody has ever suggested that barbers, for example,

 7   cosmetologists who work with talc all the time, are at risk for

 8   mesothelioma, even though they work with cosmetic talc all the

 9   time.   That was a problem for the plaintiffs because you've got

10   to have general causation, right?     Can cosmetic talc cause

11   mesothelioma, before you get to specific causes, causes in this

12   particular case.     And faced with that lack of epidemiology, the

13   plaintiff's own experts created their own articles using

14   litigation information.     And there's not -- and as just Osteen

15   found in the Middle District of North Carolina, you can't use

16   that affirmatively in these case as an expert in federal court

17   and not disclose your reliance materials.

18              And it's undisputed -- Your Honor, on the burden

19   question, we'll take a list of the cases, right?       There was no

20   offer of anything.     We could start with a list of the cases and

21   then we can come back to the Court and say, well, here's 75

22   cases, we have 20 litigation files, and in those 20 litigation

23   files, these people have bankruptcy trust claims for asbestos

24   exposure, they have Worker's Compensation claims like the Bell

25   case.



                                   JA962
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                          10
 1               And so we asked the Court to allow us to go to the

 2   next step of saying produce the litigation materials, the

 3   depositions and the answers to interrogatories, nothing else at

 4   this point, and then if those show that there was other

 5   exposures then we might ask the Court to let us go to the next

 6   step.

 7               So we had to ask for all of it first, but we would

 8   start with just a list of the cases.      And nobody can claim that

 9   the list of the cases is private patient information, because

10   she received that list of cases as an expert for the plaintiff

11   in litigation.

12               THE COURT:   Okay.

13               MR. THACKSTON:   We can start with that, Your Honor.

14               THE COURT:   Okay.

15               MR. THACKSTON:   Mr. Cook has more on the specifics of

16   why these privileges don't apply, but I just wanted to let the

17   Court know --

18               THE COURT:   Before we even get to the privileges I

19   have to determine whether the subpoena itself unduly burdensome.

20   And the question -- if it's unduly burdensome, and

21   that requires -- I mean, frankly, this Fourth Circuit case

22   Jordan which was just decided a couple years ago lays it out for

23   non-parties.     And you have to look at both sides of this

24   equation.    And the biggest problem I have with your motion -- or

25   with your subpoena in this court in resisting the motion to



                                      JA963
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                          11
 1   quash it is we have a non-party who is a non-witness who has not

 2   been designated, whose only connection to the Gref litigation is

 3   the fact that her study -- a study she wrote with two co-authors

 4   which has been available for over two years is mentioned in one

 5   sentence and one footnote of Dr. Moline's report and a half a

 6   page of from Finkelstein's 280-plus pages.       And that means -- I

 7   know you say it's the linchpin, but from the record that's here

 8   on this motion, it doesn't seem like much of a linchpin.

 9             Now, maybe the attorneys are mis-using it, maybe the

10   attorneys are moving it or saying that it says something that it

11   doesn't say, but I don't know how that changes the relevance of

12   the survey that Dr. Emory put together in terms of its relevance

13   to Mr. Gref's case.

14             MR. THACKSTON:    Your Honor, Judge Osteen just wrote a

15   41-page opinion on nothing but this topic, right?

16             THE COURT:    Well, Judge Osteen was presiding over a

17   mesothelioma case, right?    Judge Osteen wasn't dealing with a

18   non-party subpoena in a case that wasn't pending in front of

19   Judge Osteen.

20             MR. THACKSTON:    Well, the argument was -- it started

21   out that way because we -- it was -- Moline and Emory were both

22   in that case and we didn't know that he was presiding over one

23   of the cases because they wouldn't disclose what the cases were.

24             But Emory -- this is not a case where it's Cedar

25   Sinai, had nothing to do with the litigation.       She is a



                                   JA964
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             12
 1   litigation witness in dozens of cases.      Maybe not Gref, but

 2   the --

 3               THE COURT:   We're talking about Dr. Emory?

 4               MR. THACKSTON:   And Dr. Emory and Dr. Emory     Maddox

 5   wrote this while serving as litigation consultants for the

 6   plaintiffs.

 7               If we scroll to the last, to the very last page of the

 8   article it says two important things:      One -- do we still have

 9   screen share on this?

10               THE COURT:   It's all right.   I've seen the article.       I

11   have it.    I know exactly what it says.    It says that they --

12               MR. THACKSTON:   Here's why they're not just an

13   innocent third party.     It says that they serve as expert

14   witnesses for plaintiffs this talc litigation, right?        So this

15   was written while they were serving as expert witnesses for use

16   by expert witnesses, and there's no dispute that Dr. Emory used

17   it as an expert witness in talc litigation.

18               She's not in the Gref case at the moment but to say

19   they only mentioned it one time, they -- they mention it as the

20   reason that they should be entitled to go forward in these

21   cases, both the Moline article and the Emory article.

22               And as Judge Osteen said, he unsealed the fact that

23   Bell was one of the plaintiffs because it's not fair to use this

24   affirmatively.    He cited an example of the plaintiff's lawyer

25   arguing in closing look at what Dr. Moline's article says?         It



                                   JA965
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           13
 1   says that cosmetic talc causes mesothelioma.

 2                The list of cases.    There's nothing -- just start off

 3   with what are the 75 cases.       That's one -- I'll show you an

 4   example of what Northwell produced in the Gref case -- in the

 5   Bell case.     They have a, they had a spreadsheet that has the

 6   name of the 33 in the Moline case and they just redacted the

 7   others.     They gave us one that showed it was Betty Bell.

 8                THE COURT:   The reason they redacted them is because

 9   the judge didn't order them disclosed.       The only one the judge

10   ordered disclosed was Bell, which you already knew.

11                MR. THACKSTON:   Well, we didn't know it until they

12   admitted it, Your Honor.      We suspected it, but we didn't know

13   it.   We suspected it because of circumstantial evidence, but we

14   didn't know it until they produced this.

15                And we didn't press the issue about the other 32.

16   They said okay -- the magistrate judge said I'm not inclined to

17   give you the other 32, we said that's fine, we didn't even

18   appeal that, we said just give us Bell.       And when we got Bell,

19   we said -- we won the case on summary judgment, then we went

20   back and said we need to unseal this, and Judge Osteen followed

21   the Fourth Circuit's rules for unsealing and felt there was a

22   compelling public interest in this issue, because this article

23   was being used offensively to support cosmetic talc.        And the

24   defendant's hands were tied because even if all 75 of these

25   cases or 33 in the Moline case, if they were dead wrong, we



                                    JA966
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            14
 1   didn't have any way to ask questions about it.

 2                And Judge Osteen said from a public policy standpoint

 3   and from a Daubert standpoint the defendants are not only

 4   entitled but required to try to find out what the underlying in

 5   facts are.     So her litigation files are not privileged, it's not

 6   a burden to produce their list, and if we need anything more

 7   than that, we'll come back to the Court.         So today we would take

 8   a list of the 75 cases, period.

 9                THE COURT:     Okay.   Ms. Ali, do you want to respond to

10   some of what you heard?

11                MS. ALI:     Yes, Your Honor.   Thanks.

12                I think, you know, you, Your Honor, cut to the heart

13   of the matter here.        The question is, for this court, in

14   connection with this motion that's pending before the court, is

15   the relevance of Dr. Emory's study to the Gref litigation,

16   right?    Rule 45 subpoenas, they're issued out of a particular

17   case, this isn't a -- that's how they work, right?          The

18   relevance question is, is it related to Gref?          And I haven't

19   heard anything today, we haven't seen anything in the briefing.

20   We've also read the Moline report, the Finklestein report, we've

21   read their depositions, which were extensive, where Emory was

22   barely discussed at all.        Whatever my colleagues on the other

23   side think that Emory is relevant to in terms of national

24   litigation, other litigations that they may be involved in,

25   she's just barely relevant, if at all, to the Gref litigation.



                                         JA967
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                                                                           15
 1   And that is sort of the start and end point here.

 2                In addition to other arguments we've made, obviously

 3   we've raised issues with timeliness, and we can talk about the

 4   privileges question if Your Honor would like, though I -- you

 5   know, as you said, these issues have been extensively briefed

 6   and I don't want to go round and round on things that we've put

 7   in the briefing.     But the question here is really what is the

 8   relevance to Gref as compared to the burden on Peninsula and the

 9   burden on Dr. Emory.     There is no basis under Rule 45 to do a

10   broad fishing expedition for something that might be relevant to

11   other litigations going on around the country.        You know, we --

12   obviously that's what's going on here.      There's no answer to the

13   question of what the relevance to Gref is.        You see it from the

14   face of the reports, you see it from the face of the deposition

15   transcripts.     You know, she's cited in a single sentence in the

16   Moline report which cites, I think, 500 other sources.        She's

17   cited in, you know, half-a-page most of which is a table in the

18   Finkelstein report.

19                And so, you know -- and they've made clear what they

20   want this for today in this hearing.      They have made it clear in

21   the briefing on Page 5 of their brief, on Page 23 of their

22   brief, that this is for other cases pending throughout the

23   nation.     But that's not what Rule 45 is for.     That is a total

24   abuse of the subpoena process.     It is a violation of

25   Rule 45(b)(1), a violation of (d)(3).      You know, that's the



                                   JA968
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            16
 1   context here about what's really going on.

 2                I do want to correct the record on a couple of things.

 3   No. 1, the concept that Dr. Emory's study is the linchpin of

 4   talc litigation throughout the country and asbestos litigation

 5   and it wouldn't exist without it.         First of all as they have

 6   said over and over again in their briefing, the cases in Dr.

 7   Emory's studies came from litigation.          All of this talc

 8   litigation predated the studies.         They're doing a retrospective

 9   study of cases that were already filed.          These articles were

10   published in 2020.        You know, talc litigation has been going on

11   for decades before that.         So it's, I don't -- I'm not a talc

12   litigator, maybe there's something I don't know, but that

13   doesn't track for me.

14                And in Bell, you know, A-I-I has cited Bell as though

15   it is this, you know the --

16                THE COURT:     Bell is Judge Osteen's opinion?

17                MS. ALI:     Yes.   I'm sorry.   It's Judge Osteen's

18   opinion.

19                THE COURT:     I thought that was the case.

20                MS. ALI:     In that case, as Your Honor noted, first of

21   all, it's the only case in the country that we're aware of where

22   a court has allowed disclosure of any study, any subject of any

23   study.     And Bell was extremely -- the Court was extremely

24   careful -- and this is both in the magistrate judge -- the

25   transcript that was held of the hearing held before the



                                       JA969
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                                                                          17
 1   magistrate judge, and in the case in 2020 which we cited as an

 2   exhibit to our brief and also in the court's -- the recently

 3   order from a couple of months ago, that the district court's

 4   order was very explicit that any disclosure was limited to Ms.

 5   Bell herself.     And that was for a few reasons, none of which are

 6   present here.

 7                No. 1, she had executed a HIPAA waiver for that case,

 8   right?     She had said she had executed a HIPAA waiver to release

 9   medical records in the context of her own litigation, which that

10   was.     She was dead by the time the study was even conducted.      So

11   the Court, whether wrongly or rightly determined that she wasn't

12   entitled to any human subject protection on account of that.

13                And No. 3, the cat was already out of the bag.

14   Northwell, whether -- again, I wasn't involved in this case, but

15   my understanding is that Dr. Moline's employer sort of

16   inadvertently produced a document that they later tried to claim

17   protection over which had identified Ms. Bell as the subject of

18   the study.

19                So the cat was already out of the bag at that point,

20   and there was sort of no way to right that ship.

21                As to every other one of the studies, the subjects of

22   the Moline study, the court was explicit that it was totally

23   inappropriate to disclose the subjects of that study.

24                And I'll mention as well that Dr. Emory was an expert,

25   a testifying expert in Bell.     Counsel for A-I-I deposed her for



                                   JA970
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                                                                             18
 1   24 hours in that case.      They asked her to disclose the subjects

 2   of the study, she refused, and they never pursued it.        And then

 3   they waited, right, until -- and that was while this Gref case

 4   was pending.     And so they didn't pursue it in this case where

 5   she was a testifying expert, and instead they waited until a

 6   year after discovery closed in Gref to serve a third-party

 7   subpoena on Peninsula which has nothing really to do with this

 8   case.

 9              So again, I'm happy to go through the other reasons

10   why we think --

11              THE COURT:    No, I don't need, I don't really need to

12   hear any more.

13              I did want to ask Mr. Thackston with respect to the

14   timing, it looks like from the briefing you were supposed to

15   have another conference with Judge Figueredo in New York.         Did

16   that occur and what was the status?      Did she authorize an

17   additional or extension of the deposition of Dr. Moline?

18              MR. THACKSTON:     It did occur, and interestingly, the

19   judge ruled that she was going to hold in-person hearings in New

20   York on this matter on February 8th with respect to Dr. Moline

21   and Northwell.

22              And no disrespect to Ms. Ali, but I have absolutely no

23   idea where she's getting her information.      Some of what she said

24   is about as wrong as -- we did not take Dr. Moline's deposition

25   in Bell for 24 hours.     She disappeared.   She withdrew.    Judge



                                    JA971
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                                                                             19
 1   Osteen's order says --

 2             MS. ALI:     That was Dr. Moline.      I'm talking about my

 3   client, Dr. Emory.     You did -- I can pull up the deposition

 4   transcript into the record.

 5             THE COURT:       Emory's deposition.

 6             MR. THACKSTON:       So Dr. Moline withdrew from the case.

 7             Your Honor, I guess what I'm not getting is, because

 8   Dr. Emory is there -- and by the way, talc litigation has not

 9   been going on for decades.       Talc litigation started after 2014

10   with the Gordon/Millette article.       If the judge is aware of a

11   cosmetic talc cases before 2014...

12             The cases that have been filed many times, the cases

13   have other -- that's the point of our subpoena.         Some of the

14   cases are against asbestos defendants, right?         And if she's

15   counting in her 75 cases ones that are against asbestos

16   defendants, then they're not valid cases to say there was only

17   cosmetic talc.    So...

18             THE COURT:       I'm -- I don't mean to cut you off, but I

19   don't -- I just think that you are overstating what this

20   document says.    I mean, it's seven pages long.       It says cosmetic

21   talc may cause mesothelioma and it has 11 digestion studies.            It

22   draws an analogy between the fibers discovered in those

23   digestion studies and the fibers which have been linked to

24   certain mined talc.       That's what it says.    It doesn't do any

25   more than that.



                                     JA972
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 1               Now, maybe lawyers are using it to say more than that,

 2   or other experts are using it to say more than that, but the

 3   study itself, it has -- a lot of what you're describing as

 4   undermining its legitimacy is right there on the face of the

 5   document.    She says we work for plaintiffs.     She says we got

 6   these studies from existing litigation.       She's not trying to

 7   hide the ball.

 8               MR. THACKSTON:     But by saying that there was no other

 9   exposure when there was --

10               THE COURT:     She says there was no other reported

11   exposure.    That's what she says, that there was no other

12   reported exposure.

13               MR. THACKSTON:     It's not that important.   Mr. Kramer,

14   the plaintiff's counsel on the line, why don't we ask Mr. Kramer

15   whether he will stipulate that none of his experts will mention

16   Dr. Emory's report or article.       I'll bet it's so important that

17   they absolutely have to use it.

18               MS. ALI:     Your Honor, respectfully, that is not the

19   test for relevance.       Whether an expert mentions another study

20   among 492 others is not the test for relevance of the question

21   on a Rule 35 subpoena is a balancing --

22               THE COURT:     I'm not litigating the Gref case.   The

23   Gref case is not being litigated here, nor is any other talc

24   case that's being litigated here.       What's being litigated here

25   is the extent to which this subpoena creates an undue burden,



                                     JA973
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                                                                          21
 1   and one of the elements the Court has to examine is the extent

 2   of the relevance of the material or the moving party's, the

 3   subpoena's party's need for it.     And a number of things weigh

 4   against you, Mr. Thackston, including the things I've already

 5   observed with regard to how little they're mentioned by the

 6   actual testifying experts in your case.

 7             But also the timeliness -- I mean, frankly the

 8   timelinesses is of concern.     I don't think I would absolutely

 9   quash the subpoena solely on the basis that it was untimely,

10   given that discovery is ongoing.     But the fact that it was not

11   requested earlier in discovery does speak to its relevance to

12   the Gref litigation.    The fact that the case had been going on

13   for two years, and this deposition -- or this subpoena was only

14   issued to Dr. Emory -- or to Dr. Emory's company in November of

15   2022 speaks to its importance to the case and, in the Court's

16   view, diminishes its importance to the Gref case.        So that

17   weighs against you in terms of its burden that it creates.

18             And it's also -- I find it to be an incredibly

19   burdensome subpoena to respond to.      You've been a little bit

20   dismissive of the statements by Dr. Smith and Dr. Emory

21   regarding the burden of responding to this subpoena, but you

22   have sworn declarations, and they don't appear to me to be

23   incredible given the nature of the material that you're seeking

24   in this case.

25             MR. THACKSTON:    Well, Your Honor given that I've



                                   JA974
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                                                                             22
 1   conceded that all we're asking for is a list of cases, I don't

 2   think we can get the burden at this point.       It's not burdensome

 3   to print out your spreadsheet.

 4              And for counsel to on one hand say I know nothing

 5   about talc litigation and for the Court -- you know, with all

 6   due respect, Your Honor, if you don't know anything about a talc

 7   case, how can you say it is not important to a talc case?         I'm

 8   telling you that when these experts take the stand they might

 9   have 400 pages of fluff, but the two things that they talk about

10   are Dr. Emory's study and Dr. Moline's study, because they're

11   the only two studies in the world that claim to draw any kind of

12   relationship between cosmetic talc exposure and mesothelioma.

13   They say they're the first ones to do it.      And so it doesn't

14   matter that you're talking about 40-year-old stuff, the

15   40-year-old stuff wasn't getting you to the jury or wasn't

16   getting past Daubert.    But these two things are getting you past

17   Daubert.

18              THE COURT:   So you did just hit on one point that I am

19   interested in exploring with the other side, and that is the

20   nature of the peer review that the article underwent.        Because

21   one of the things that was requested in the subpoena was the

22   peer review process.    And it does -- I mean, as I said to Mr.

23   Thackston, I think a significant problem with the subpoena is

24   that there's a lot of disclosure already in the article that

25   provides the defense lawyers some ability to challenge the



                                   JA975
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                                                                          23
 1   strength of it as a research document in terms of the bias

 2   that's been disclosed, the litigation nature of the sample size,

 3   those things they already have to defend.      But one of things

 4   that insulates it from that is the fact that it is

 5   peer-reviewed, and I wonder what information's available to Dr.

 6   Emory or Dr. Maddox or whoever else was involved regarding the

 7   peer-review process that the article underwent.

 8               MS. ALI:   So I don't have the information about the

 9   peer-review process, because obviously our position here is that

10   the subpoena should be quashed in its entirety.

11               I will say, you know, they have -- A-I-I has deposed

12   Dr. Emory in cases where she is a witness and taken, I assume,

13   her [audio interrupted] everything that she's required to

14   provide as an expert in state and federal cases that this is

15   certainly something they could have probed in those cases,

16   certainly something they can probe with her in the future, as I

17   am certain this will not be the last time that Dr. Emory is

18   involved in one of these cases in which they're also involved in

19   the context of a third-party subpoena, where she is just not

20   relevant.    I'm not saying -- first of all, I didn't say I didn't

21   know anything about talc litigation, I said I'm not a talc

22   litigate other.    But what I am saying here and what I think Your

23   Honor has already sort of, you know, stated, is that the

24   question is whether she's relevant to Gref.       Whether the article

25   is relevant to Gref.     And we don't have that here.     So requiring



                                   JA976
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                                                                           24
 1   her to respond to a subpoena, any portion of it, is

 2   automatically unduly burdensome in that circumstance.        Where the

 3   relevance and the need is very, very low then, you know, it's a

 4   balancing test.   That's how it works.     And here, the relevance

 5   and the need, for all of the reasons we've said in our

 6   briefing -- you know, I know that Mr. Thackston has commented

 7   several times on the burden in terms of time and cost, which

 8   again, you know, we address in the declarations, but it's not

 9   just time and cost.     It is all of the other factors that go into

10   burden, including things about medical ethics, which I won't get

11   into unless Your Honor would like, and this sort of the broader

12   chilling effect that we've briefed, it is, you know, deterring

13   people from conducting studies and publishing articles like

14   this.

15              I don't have specifics on the peer-review process

16   here.   It's also something I presume they could get from the

17   journal about their general peer-review process.

18              THE COURT:    Yeah, I did look at it.    I looked at it,

19   frankly, to see whether it was there, and there is some

20   information there on the journal about the peer-review process,

21   but the identity of the peer reviewers is not available.         At

22   least I couldn't determine how you could identify them.

23              Do you know, Mr. Thackston?     Have you ever attempted

24   or asked Dr. Emory, or aware?     That's the other thing that I am

25   aware of from having been involved in -- I didn't say I knew



                                   JA977
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                                                                          25
 1   anything about talc litigation because I do not, but I do know

 2   something about asbestos litigation, and I know people talk.

 3   And there is more information sharing on both sides in asbestos

 4   litigation than just about any other kind of litigation there

 5   is.   And so I suspect if anyone's asked about this, everyone

 6   knows about this.

 7               Do you know, Mr. Thackston?

 8               MR. THACKSTON:     No, I absolutely do not.

 9               MR. COOK:    I can volunteer on that one Your Honor.

10               THE COURT:    Mr. Cook?

11               MR. COOK:    Yeah, Eric Cook from Wilcox Savage for

12   A-I-I.

13               I think we do actually cite some testimony, if I

14   recall offhand it was Dr. Maddox from Peninsula Pathology, and I

15   believe he testified it was less than two weeks, which is an

16   extremely short time period with respect to the peer-review

17   process.    We do not have the identities of any of the peer

18   reviewers though, Your Honor.

19               THE COURT:    Did he not know them?

20               MR. COOK:    No.   I -- well, he didn't know the

21   identities of them, Your Honor.       So whether he had -- you know,

22   whether it was sent to somebody he might know, he didn't know

23   the names to say.

24               THE COURT:    Yeah.

25               MR. COOK:    But if I could also just, if I could



                                       JA978
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            26
 1   clarify one point for the Court as well, and that goes to the

 2   burden issue:   We did identify in the opposition to the motion

 3   to quash Dr. Maddox's testimony indicating that there is

 4   existing a key, and I think that's what Mr. Thackston was

 5   alluding, to identifying the names of the individuals and the

 6   case numbers.   So from a burden perspective, Your Honor,

 7   Peninsula Pathology doesn't need to go back and reconstruct all

 8   of this information to pull those litigation files, they can

 9   produce just that key identifying the names of the individuals,

10   and then A-I-I will take that burden on to go to the publicly

11   filed lawsuits, to go to the deposition testimony, to go to the

12   sworn interrogatories, all of which Your Honor does not have --

13   or none of which has any confidentiality expectations.        And

14   that's the test --

15              THE COURT:   Well, right.    In other words, the publicly

16   filed documents don't, but the key certainly does.        That's the

17   problem.   And that's what Jordan -- what Jordan said is burden

18   has multiple components.    One component is just the physical

19   effort of undertaking the project, which Dr. Smith has

20   addressed, and Dr. Emory in their declarations.       But the other

21   is the confidentiality aspects of it.      And Dr. Emory has gone on

22   at great length about the repercussions to her practice if she

23   were to reveal that -- I know you disagree with that, you think

24   that she's not right.    But I mean, she does -- she's articulated

25   them on a number of occasions.



                                   JA979
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            27
 1                MS. ALI:   And no court has ever ordered production of

 2   the information they're asking nor, right?       There's not one case

 3   where a court has ever said just produce the key.        No big deal,

 4   just produce the key, right?      That's what we keep hearing.     The

 5   key is everything, right?      And no court has ever required

 6   production.     The only case that A-I-I has cited is Bell where it

 7   was a completely -- first of all it was limited to the named

 8   plaintiff in that case who had -- everybody agreed had executed

 9   a HIPAA waiver for release of that information in that case.

10   And the court was explicit, as we said in our briefing, none of

11   the other subjects of the study could be disclosed.        The court

12   said it was critical -- this is -- I'm quoting the court right

13   now, "That the other 32 subjects of the study had been

14   redacted."     And that was key to the court's decision to say it's

15   okay to release the information as to Ms. Bell, it is not

16   appropriate to release any of the other information.        Here, of

17   the 75 subjects of the study, all of them were exactly situated

18   the way that the other 32 were in the Bell case.       There's not a

19   single case supporting what A-I-I is seeking to do here.

20                And so the -- as Your Honor correctly noted, burden is

21   not just a matter of time and cost.      We disagree of course for

22   all the reasons we said in our briefing and in the declarations,

23   that this is simply a matter of, you know, printing out a key

24   and turning it over, but that's one component of a much broader

25   and more multifaceted burden inquiry that's required here.



                                    JA980
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                                                                             28
 1              THE COURT:     Okay.

 2              MR. COOK:     Your Honor, if I may?

 3              THE COURT:     Go ahead, Mr. Cook.

 4              MR. COOK:     Couple quick points on that.

 5              There is a order that actually required Dr. Emory to

 6   respond to the -- with respect to the identity of one of the

 7   individuals.     That's the Burnett case from Arkansas, it's a

 8   federal court.    I can supplement the record with respect to

 9   that, Your Honor.      We received it after our briefing.

10              I'd also note that with respect to the Bell case --

11              THE COURT:     In other words, that ordered her to

12   identify one person who they thought was a plaintiff in that

13   case?

14              MR. COOK:     It did.    And the Court did that as a

15   starting point, Your Honor.        There was some additional

16   requirements with respect to that order.         Ultimately Doctor --

17   the case ultimately went away, but the Court said provide an

18   affidavit on the identity of this individual and then I may

19   order further discovery depending on what that affidavit says

20   one way or the other.

21              I'd also point the Court, with respect to the

22   confidentiality issues that were raised by counsel, back to the

23   Bell order again, Your Honor.        Indicates on Page 35 and 36 of

24   the opinion that in a medical research study, the interest in

25   confidentiality belongs primarily to the study participant not



                                       JA981
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           29
 1   the researcher or the sponsoring facility.

 2             And then it notes there that the study participant

 3   chose to publicly expose the fact of his mesothelioma by filing

 4   a complaint.     Every single individual underlying the Emory 2020

 5   study filed a lawsuit, publicly filed documents.       The

 6   information we're asking for on a key, Your Honor, is

 7   essentially the information -- in fact less than the information

 8   that would be obtained in a well-pleaded complaint filed in any

 9   court across the country.     And if we can go get that

10   information, just the name, we will do the work to find out the

11   underlying allegations of exposure in the case.       Because that's

12   what we need to get to.

13             The article claims that the only exposure is from

14   cosmetic talc.    And this is a crux of this, Your Honor.       Because

15   when we looked at Moline and the one case that was identified

16   there in Bell, the person swore under penalty of perjury they

17   had other exposures that weren't from cosmetic talc.         And we

18   believe that there are individuals in the Emory case theory that

19   had exposures to asbestos that are in no way alleged to have

20   occurred from cosmetic talc.

21             So if we get the names of those individuals we can go

22   back -- we'll do the work.     We'll dig up the lawsuits, we'll

23   give up the discovery transcripts, we'll get the sworn answers

24   to interrogatories that provided the basis of that article, and

25   then we can use that to cross-examine the experts in Gref, Your



                                   JA982
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                          30
 1   Honor.

 2               With respect to their concerns about privilege, that

 3   can be solved by a protective order and the Court can limit it,

 4   limit this production to the Gref case so we can do that

 5   information, we can cross the experts in this case.

 6               From a burden perspective, Your Honor, right, it's

 7   producing a chart, a chart that's already been prepared, so that

 8   we can do the work, and then from that protective order you can

 9   put a protective order in place so that we can pull the

10   information, and if we find out there's other exposures then we

11   can come back to the court and address it and not use it outside

12   the context of the Gref case, Your Honor.

13               But a protective order would protect them on that

14   particular issue.

15               THE COURT:     Okay.   I understand your argument.

16               What did you want to say Ms. Ali, anything else?

17               MS. ALI:     Just a response that in Bell -- you know,

18   Mr. Cook is saying that there the court found that because the

19   individual had placed her medical information at issue by filing

20   a lawsuit, that waived confidentiality, waived HIPAA protection,

21   all of that.    Again, that was exclusive to Ms. Bell.      The

22   important thing that we keep sort of talking around here is that

23   every one of the other subjects of the study had also filed a

24   litigation, and the court was very, very careful to say none of

25   those people had put their medical information at issue in that



                                        JA983
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            31
 1   case, right?     It was very, very case-specific.      The court was

 2   very careful to limit it.

 3                And here, as Your Honor, you know, noted right up at

 4   the top, Mr. Gref -- I don't know who the identities of the 75

 5   people in the study, of course, but it seems very clear to us,

 6   right, we weren't given any information when we drafted our

 7   brief about who was in the study, who was not.         Of course we

 8   don't have that information.       But it seems very clear from the

 9   face of the study and who Mr. Gref is and his age and date of

10   diagnosis, that he is not likely one of those subjects.         And so

11   we don't have the Bell issues here.         There is nobody in this

12   Gref case which is the -- again, the only sort of relevant, the

13   universe we're operating in, we just don't have any of those

14   issues.

15                And for this situation where we're talking about, the

16   set of people we're talking about here, the 75 subjects of Dr.

17   Emory's study, are basically identically situated to the 32

18   other subjects of Dr. Moline's study in Bell where they are not

19   the subject of the litigation.       They're situated identically.

20   And in this context, what Judge Osteen held was that they

21   cannot, their identities cannot be released.

22                MR. THACKSTON:   He did not.     He did not.

23                THE COURT:   Okay.   Well, go ahead.    I'll give you one

24   more opportunity, Mr. Thackston, but then I think I'm ready to

25   rule.



                                       JA984
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           32
 1             MR. THACKSTON:    Your Honor, there is a hearing in the

 2   Gref case on February 8th regarding whether Northwell and

 3   Dr. Moline will be required to turn these materials over.          Now,

 4   the only thing I would ask the Court about -- I'm just kind of

 5   astounded that counsel for a third party is trying to talk about

 6   what the defendants think is a key relevant study in cosmetic

 7   talc cases.   If this weren't a key relevant study, why would we

 8   go to all this trouble?    It is -- Dr. Moline testified before

 9   that cosmetic talc had nothing to do with mesothelioma.        Dr.

10   Emory -- one of the things I would love to hear at some point --

11             THE COURT:    So you already know that, Mr. Thackston.

12             MR. THACKSTON:    Well --

13             THE COURT:    One of the problems that you -- one of the

14   problems that you have is that you already have a lot of

15   material to work with to attack these studies.       And --

16             MR. THACKSTON:    Judge, that's the opposite of what

17   she's saying now.

18             THE COURT:    Well --

19             MR. THACKSTON:    That's the point.

20             THE COURT:    -- you can certainly point that out when

21   she testifies if it's true.       I'm not saying it's true or it

22   isn't true, but if it's true, you already know it and you can

23   already say it.

24             MR. THACKSTON:    But she's saying it's different now

25   because she's done a study, but she can't tell you who is --



                                   JA985
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 1   none of these people agreed to be in a study, Your Honor.         It's

 2   not like these people came and said we want to be a part of your

 3   study or even knew that they were theoretically being a start of

 4   the study.     She took deposition transcripts that she

 5   subjectively reviewed.        But now plaintiff's counsel, as Judge

 6   Osteen said, they are using this offensively to say to juries we

 7   know cosmetic talc causes mesothelioma.

 8                In Mr. Gref's case, we know that his peritoneal

 9   mesothelioma, which has nothing to do with asbestos, we know it

10   was caused by cosmetic talc.        His parents say they used men's

11   shaving talc on him when he was an infant, but we know that

12   causes mesothelioma because there are two studies out there,

13   Moline and Emory, that say that cosmetic talc alone causes

14   mesothelioma based on the --

15                THE COURT:   Well, you're saying that's what they're

16   saying, and Mr. Thackston, if that's what they're saying then

17   you should be shredding them with their own expert report,

18   because Dr. Finklestein's report has this much [indicating]

19   about Dr. Emory's study and 200 pages of other stuff.         So it's

20   not just Dr. Emory that he's leaning on.

21                MR. THACKSTON:     He didn't testify about the 200 other

22   pages at trial.

23                THE COURT:   He only just comes in and says Dr. Emory

24   says so, so therefore it's true?

25                MR. THACKSTON:     That's what Judge Osteen said in his



                                      JA986
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                                                                              34
 1   record specifically.

 2             THE COURT:    Okay.     Well --

 3             MR. THACKSTON:     This is -- he quotes a plaintiff's

 4   lawyer closing that says Dr. Moline's study shows that cosmetic

 5   talc causes mesothelioma.       That's how important it is.    That's

 6   why it meets the Fourth Circuit's test for unsealing an order.

 7   Because it's important that juries know the truth.

 8             MS. LOCKWOOD:     Your Honor, if I could, before you rule

 9   I just wanted to remind the Court we're willing -- I know you're

10   ready to rule -- requesting sanctions because if the Court

11   decides that the subpoena is unduly burdensome and decides to

12   quash it, Rule 45(d)(1) requires the Court also issue sanctions.

13             THE COURT:    I'm going to give them an opportunity to

14   respond separately to that issue, because I am going to grant

15   the motion to quash.    And the reason is it is a non-party.         And

16   so the non-party -- I mean, just read Jordan.        It's Fourth

17   Circuit law.   It's two years old.      It very clearly says when the

18   subpoena's issued to a non-party, that undue burden analysis is

19   heightened because they're a stranger to the litigation.           Now

20   say they're not a stranger to litigation, but they're as close

21   as a stranger can be to the Gref litigation.

22             Now it may be that Dr. Emory is deeply immersed in

23   talc litigation and you may have the opportunity again to depose

24   her, and if I were sitting in a case, a talc case where Dr.

25   Emory was identified as an expert witness and this was part of



                                     JA987
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                                                                           35
 1   her CV and you were deposing her about it because she was

 2   offering her own expert testimony, that would be a different

 3   situation.     That would be a much different situation.      But

 4   that's not this situation.     Dr. Emory's study is minimally cited

 5   by the testifying experts, all of whom you have apparently ample

 6   access to in New York.     And so that is very minimal relevance to

 7   the material that you're seeking.

 8                And I would also point out that your hands are not

 9   tied in attacking Dr. Emory's conclusions, as you've already

10   pointed out.     You have extensive reason to doubt the credibility

11   of this study because it was drafted based on litigation

12   reports.     You can already argue to the experts on

13   cross-examination that every one of these people was suing a

14   talc company for their mesothelioma because that's the only

15   defendant they would have if their only exposure was as a result

16   of talc.     So you already know that.   You already know they were

17   self-selected, and Dr. Emory disclosed that.       She disclosed her

18   potential bias and Dr. Maddox also is well-known.

19                You've asked for information about how much money they

20   make.   That is routinely asked when these witness testify and it

21   is repeatedly shared, I know, among the asbestos bar:         What the

22   these consultants make and how much they testify.        So that

23   information is readily available from other sources.        You do not

24   need to obtain it by issuing a third-party subpoena.

25                And as you've stated, what you're really after is the



                                   JA988
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             36
 1   key.   But that is an incredibly burdensome thing to require Dr.

 2   Emory to disclose based on her own declaration.        I understand

 3   there may be -- it would be a closer question, certainly, and I

 4   don't know how I would rule if Dr. Emory were a testifying

 5   witness if I were sitting in Judge Osteen's shoes and examining

 6   this question with Dr. Emory as a testifying witness.         But she

 7   is not a testifying witness in Gref.

 8              And as we observed at the very beginning, based on the

 9   disclosed case studies in her report, it is extremely unlikely

10   that Mr. Gref was a participant in this study.        I mean, the

11   report very clearly indicates his diagnosis was that 2019, and

12   at the time he was I think less than 40 years old, the

13   participants in the studdie with those diagnoses are both over

14   70 at the time.   So it's, again, as close as they can come to

15   telling you without disclosing names, they have told you that

16   you're not going to find anything about Mr. Gref in this study.

17   And so there's just very, very minimal relevance to the Gref

18   study in allowing this kind of burdensome disclosure.

19              I understand your client might want it, and I

20   understand why they might want it, and I understand why they

21   might think it's highly relevant to their overall litigation

22   strategy to try and discredit the study.       But with respect to

23   Gref, I don't think it's relevant, and I do think the burden is

24   undue based on my own examination of the subpoena and the

25   information sought and Dr. Emory's declaration regarding the



                                   JA989
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           37
 1   importance of confidentiality to her work.       And the information

 2   already available in the record are available from other sources

 3   to permit you to attack the strength of the study when other

 4   experts rely on it.       So I am going to grant the motion to quash.

 5                I do want to give you an opportunity, Mr. Thackston or

 6   Mr. Cook, to respond to the request of sanctions, because I do

 7   think your opposition was a little bit thin on that question.

 8   And they were not seeking sanctions under the Court's inherent

 9   authority, they were seeking sanctions under 45(d)(1), which is

10   more akin to failing to respond to a discovery order or the

11   Court's obligation to police discovery when there's a Rules

12   violation.     And that does not require any bad-faith showing.       So

13   I do want to give you an opportunity to respond to their request

14   for sanctions under (d)(1), because I do think it's a different

15   standard than the one you've articulated in your brief.

16                MR. THACKSTON:    Well, Your Honor, I'm sure we both

17   want to comment on that, but for the finding that it's not

18   relevant, it, it, it's absolutely relevant to --

19                THE COURT:    I didn't say it was not relevant, Mr.

20   Thackston.     I said it was minimally relevant.     And there is a

21   difference.     It is minimally relevant in Gref.

22                MR. THACKSTON:    Well, yeah, our belief and what's in a

23   189-page expert report from Dr. Finkelstein -- and by the way I

24   deposed him yesterday in another case, and I asked whether he

25   thought that information provided through litigation was



                                     JA990
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 1   protected by an expert and he said absolutely not.        In fact, he

 2   went and compelled it from Dr. Riley at Duke so he could look at

 3   the underlying data.     So what they say in their reports versus

 4   what they say at trial are two very different things, and that's

 5   why we pointed out that Judge Osteen had looked at the

 6   significance of these studies -- or Dr. Moline's study in the

 7   context of a talc case and cited in his order that plaintiff's

 8   counsel relied on that case in his closing to say this is why

 9   cosmetic talc causes mesothelioma.

10                In the Gref case, the only thing they're going to have

11   is Dr. Moline and Dr. Emory's studies to tell the jury that

12   peritoneal mesothelioma is caused by cosmetic talc exposure.

13   And so it's the judgment of the people involved and the lawyers

14   involved in the cases are what the experts are really going to

15   rely upon.     When they give you 189 pages, I think is what

16   Dr. Finkelstein's report is, that makes it very difficult to

17   figure out what you're really relying on.       But he's not going to

18   get to testify for five or six days at trial, he's going to

19   testify in and out, and the two things he's going to talk about

20   are Moline and Emory with respect to epidemiology that he says

21   connects cosmetic talc with mesothelioma.       That's all that's out

22   there, Your Honor.     And that's why it's incredibly important to

23   us, and one court in the Fourth Circuit has said it is relevant,

24   and not only relevant but it's the defendant's duty to try to

25   get at the factual basis of these experts' opinion.        And the



                                   JA991
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                                                                           39
 1   next case where a subpoena is issued -- oh, and the final thing

 2   is, when asked to produce this in the context of expert

 3   discovery, the witnesses have taken the position that it belongs

 4   to their employer and that you should go get it from their

 5   employer.     And then when you go get it from their employer they

 6   say, oh, no, it's not here, it's expert discovery, you should go

 7   get theirs.     To it's a game of whack-a-mole where it's shame on

 8   you if you don't try to discover your cases.       We have done both.

 9   At your suggestion we've gone and asked the employer to give us

10   the names of the litigation cases that you relied upon.

11               So Your Honor, it's is sort of dammed if we do, dammed

12   if we don't.     We can't get it from the expert, we can't get it

13   from the hospital, but they're still using it offensively.

14               THE COURT:   Again, Mr. Thackston, if you had Dr. Emory

15   as a witness or Dr. Maddox or Dr. Kradin, whoever the third

16   author was, it might be a different question.        But none of them

17   are involved in the Gref case.     And I agree with Ms. Ali and Ms.

18   Lockwood that the relevance question in evaluating the burden is

19   it's its importance to the parties in the case where the

20   subpoena was issued.     And I think you have ample way to

21   challenge the study given what it appears the way they appear to

22   be using it in the disclosed reports.

23               Now, if they use it different way, you know, that's,

24   you'll have to take that up with the trial judge if they're

25   misrepresenting what the study says.      I frankly don't think the



                                   JA992
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                                                                           40
 1   study goes that far.     It says may cause.     It specifically

 2   discloses these were all litigation cases.        It specifically says

 3   that this is a rare tumor and there's very little to be done and

 4   more needs to be done to find out the answer.        And I frankly

 5   think it's -- I understand your position that it's litigation

 6   driven and maybe it is, but to the extent it is, that's evident

 7   on the face of the document.

 8              MR. THACKSTON:    Well, I'd like to -- what's not on the

 9   face of the document is how much money were they making as

10   expert witnesses when they were just testifying on asbestos

11   cases and all the asbestos bankruptcies took place and

12   everybody's filing trust claims, and now that they've started

13   filing talc cases, how much money is Emory and Moline making,

14   and that's not routinely disclosed.      We fight like crazy to try

15   to get that stuff.

16              THE COURT:    But you can get it.     If they're testifying

17   you can get it.     It's clearly bias information.     And if you had

18   a motion here asking me how much Dr. Emory made and she was your

19   witness you would get it.     No question.     But she's not your

20   witness.   She's not against you in this case.

21              MR. THACKSTON:    That's being actively litigated in

22   many cases and it's not, it's not forthcoming.        It is very, very

23   difficult to get.

24              THE COURT:    All right.   Mr. Cook, do you want to -- I

25   do want to hear from you on the sanction question, Mr. Cook, or



                                   JA993
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                                                                             41
 1   Mr. Thackston.

 2               MR. COOK:    Yeah.   Just very briefly, Your Honor.

 3               First of all, with respect to -- Your Honor's pointed

 4   to the article and said we can get everything we want from that.

 5   I just want to be clear --

 6               THE COURT:    I didn't say you can get everything you

 7   want.    I just said there was something there.      There was a lot

 8   there already.

 9               MR. COOK:    What's not clear from that and something

10   that would be subject to this subpoena request that I don't

11   think has been addressed is whether or not Mr. Gref was an

12   individual that was ultimately excluded from the study because

13   he had other exposures.      That would be highly relevant to the

14   Gref case specifically, Your Honor, and something that the Court

15   could order in order to give us that piece of information at

16   least.

17               THE COURT:    I don't know why -- I'm not sure why that

18   would be relevant and why you couldn't get that from other

19   sources.    I mean, I looked at Request 9 through 18 on your

20   subpoena.    It's all about Mr. Gref.     Well, you've got Mr. Gref

21   and Mr. Gref's lawyers.      You've got all of his exposure.      You

22   can ask him anything you want to ask him, and I'm sure already

23   have.    So you know, you would not need to get that from a

24   third-party subpoena because you've got Mr. Gref.        He can tell

25   you.



                                      JA994
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 1              MR. COOK:     Well, unless it was provided to one of the

 2   authors of that study and they have information that wasn't

 3   provide to us, Your Honor.

 4              THE COURT:     But you could ask him, did you ever hire

 5   Dr. Emory as a consultant in the case and he would have to tell

 6   you if he did.     You can ask him that.

 7              MS. LOCKWOOD:     And Your Honor, Dr. Emory and Dr. Smith

 8   and Dr. Maddox have all already indicated that they're not

 9   involved in the Gref litigation in any way.       So we already know

10   that.

11              But I think it's telling, Your Honor, when you Your

12   Honor asked for Mr. Cook or Mr. Thackston to respond to our

13   request for sanctions, we still have not heard a response to our

14   request for sanctions.      This is also what happened in the

15   briefing as you noted.      I think their response was also about

16   less than a page to this request.      And you know, as Your Honor

17   noted, Rule 45(d)(1) is different because it's not permissive,

18   it's mandatory.     It's mandatory that the court issue sanctions

19   when a subpoena is unduly burdensome and the issuing party

20   didn't take any reasonable steps to mitigate that burden.

21              And if you look at their briefing, the only issue that

22   they hit in any accurate detail is whether the subpoena imposed

23   an undue burden.     They rest on the same arguments that Your

24   Honor already dismissed, right, in finding that the opinion is

25   unduly burdensome.      So then when you look at whether or not they



                                    JA995
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             43
 1   have taken any reasonable steps to mitigate the burden, it

 2   becomes quite clear that sanctions have to be issued here.         We

 3   asked for them to withdraw the subpoena.       This is the first

 4   we're hearing that they would take a list of the 75 or 140

 5   cases.    We've never heard that before.     And --

 6               THE COURT:   Although to be honest, if you had, you

 7   probably still would be here, right Ms. Lockwood?        I mean,

 8   that's the core of the dispute.      If they had told you all we

 9   want is the key we would still be arguing this motion, wouldn't

10   we.

11               MS. LOCKWOOD:   I think we would, Your Honor.      But I

12   think it shows that they've really taken no steps at all, and to

13   show up here on the day of the hearing and to spring that on us

14   is quite remarkable when our client has had to already expend

15   significant attorney's fees to litigate this, right?        We filed a

16   motion, they responded, they doubled down.       They filed 700 pages

17   in exhibits in opposition.     Do you think that, you know, was an

18   easy thing for us to reply to?     It took a lot of hours.      And our

19   client is on the hook for that now.      And the case law's clear

20   that, when a subpoena on its face is unduly burdensome, when it

21   never should have been issued in the first place, then literally

22   everything done in response to that is an undue burden or

23   expense that mandates sanctions under Rule 45(d)(1).        We haven't

24   heard anything from the other side that would suggest a

25   different result is appropriate here.



                                   JA996
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                                                                           44
 1               THE COURT:     All right.    Do you want to respond to the

 2   sanctions issue under 45(d)(1), either Mr. Thackston or

 3   Mr. Cook?

 4               MR. THACKSTON:     Your Honor --

 5               MR. COOK:     Go ahead, Robert.

 6               MR. THACKSTON:     Yeah.    I was, it's not true that we --

 7   they talked about timeliness, they talked about all the kinds of

 8   things in their response that as strange -- I don't think you

 9   can have it both ways and say you're a stranger to the case and

10   then you urge a timeliness issue that the trial court has turned

11   down.   If it really was untimely, then the Gref court would have

12   said no, that's outside the scope of the discovery period in

13   this case and I'm not going to allow it.

14               MS. ALI:     Your Honor, could I respond on that?

15   Because that's actually addressed specifically in the hearing

16   that happened on Monday.

17               MR. THACKSTON:     The timeliness question?

18               MS. ALI:     We -- that's just not accurate.

19               On the timeliness question the court said -- what

20   happened is the court said I understand there's also a question

21   about timeliness.       I have the transcript right in front of me.

22   The counsel said there's a motion to quash pending in the

23   Eastern District of Virginia, and the magistrate judge said I'm

24   not going to deal with anything having to do with that subpoena,

25   I'm going to let the district court in Virginia deal with that.



                                     JA997
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                                                                            45
 1   It wasn't addressed, it wasn't rejected.       She said there is

 2   already a motion to -- I understand there's already a motion to

 3   quash, I'm not going to deal with it here.

 4              THE COURT:     In other words she didn't say it was

 5   untimely, she didn't say it was timely, she didn't address it

 6   one way or the other?

 7              MS. ALI:     Correct.   That's exactly right, Your Honor.

 8              MR. THACKSTON:     If you believe that the discovery is

 9   outside the time frame you can ask the trial court to quash a

10   subpoena and not to allow --

11              MS. ALI:     There was no motion pending before the court

12   asking for her to quash the subpoena, issue a protective order,

13   nothing.

14              MR. THACKSTON:     That's, that's --

15              MS. ALI:     That's correct.

16              MR. THACKSTON:     Judge, I didn't interrupt other

17   counsel.

18              THE COURT:     Okay.

19              MR. THACKSTON:     That's exactly my point:    That they

20   didn't go to the trial court because they know that discovery is

21   still open.   We're still dealing with it.

22              THE COURT:     They couldn't go to the trial court.     And

23   I was -- I actually should have asked that question at the very

24   beginning because I maybe could have avoided the whole thing.

25   Nobody asked to have this moved to the trial court.        Nobody --



                                       JA998
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                                                                                46
 1               MS. ALI:     No, Your Honor.

 2               THE COURT:     -- asked under 45(f) to say send this up

 3   to New York and let Judge Figueredo sort it out.

 4               MS. ALI:     That's correct.

 5               MR. THACKSTON:     All the arguments that they had in

 6   their motion -- my point is they have all these arguments in

 7   their brief about being outside the time limits of the trial

 8   court.    Those arguments would be made to the trial court.

 9   There's arguments made earlier this week with respect to Moline

10   and Northwell and the hearing was set in February, and the Court

11   said we're going to the to push things down the road, we're

12   going to hold this February 8th in person.         So that's -- those

13   arguments were, were irrelevant.

14               And we did say just tell us who the people are.          And

15   they say we can't tell you who the people are.         And so that

16   doesn't solve any of our problems.         There's nothing we can do

17   other than say when we need a ruling then, because we believe

18   that they're not protected in any way and that we don't believe

19   that imposes any burden whatsoever to just give us the

20   spreadsheet, and to say, well, you don't have releases in those

21   cases, well, that's circular.       We don't know what the cases are.

22   Obviously there are releases in those cases for medical

23   information or there wouldn't be lawsuits, right?         The only

24   question --

25               THE COURT:     Well, I don't know.    Any HIPAA waiver I've



                                     JA999
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                                                                               47
 1   ever seen in litigation is for the litigation only.        It

 2   wouldn't, it wouldn't extend to the nature of any participation

 3   in research or -- I mean, I don't know.       I don't know what the

 4   nature of the relationship between Dr. Emory and Dr. Maddox and

 5   the other doctors and these particular subjects were.           But Dr.

 6   Emory has put in a sworn affidavit that says she has a ethical

 7   duty to protect their confidentiality as research subjects.           And

 8   you know, I don't see any kind of inherent untrustworthiness in

 9   that statement.

10             MR. THACKSTON:     Well, but in the absence of a court

11   order to the contrary --

12             THE COURT:    Right.

13             MR. THACKSTON:     -- we made the same arguments, she

14   would be protected if there were a court order saying no, that

15   doesn't apply to litigation materials, you didn't go get

16   permission from those people, you didn't think you needed to

17   today get their permission to include them in the study because

18   you received their medical information only in the sense that it

19   was in depositions and interrogatory responses, if that's even

20   medical information.

21             In fact, if you look at the face, the reason I was

22   trying to go to the end of it, she said this was based on

23   depositions and interrogatory responses, and counsel's motion to

24   quash in this case doesn't say that.      It changes it and says

25   it's based on records from these people.       Well, a deposition is



                                  JA1000
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                                                                           48
 1   not a record, and an answer to a interrogatory is not a record.

 2   I think it's a little contortionist to take a deposition

 3   transcript and call it a medical record and say that it's

 4   entitled to protection and this is burdensome and we need to do

 5   all this stuff we --

 6             THE COURT:     Well, we're getting back to the arguments.

 7             Mr. Cook, did you want to say anything more about the

 8   45(d)(1) argument?

 9             MR. COOK:     Yeah, I don't know there's much more to

10   say, Your Honor.     I do think the subpoena -- I know Your Honor's

11   already ruled on it -- but I do think the subpoena was intended

12   to be tailored to the Gref case.      Your Honor has indicated a

13   number of the requests that were specific to tailor and allow us

14   to cross-examine the experts with respect to that.        So that was

15   certainly the intent when it was propounded and we have

16   proposed, I think, a good-faith solution to reduce any potential

17   burden on Peninsula Pathology that would take minutes for them

18   to produce that list, and we would take on, A-I-I would take on

19   the burden of getting the additional information which --

20             THE COURT:     Was there any discussion of a protective

21   order when you were having that conversation with them?         Was

22   there any discussion --

23             MS. LOCKWOOD:     Your Honor, if I could, which

24   discussion are we referring to here?

25             THE COURT:     I'm assuming there was a meet-and-confer?



                                  JA1001
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             49
 1   There was a verbal meet-and-confer before the motion was filed,

 2   or was it --

 3                MS. LOCKWOOD:   We did meet and confer with them.

 4   There was no request -- and I see Mr. Greve has joined on video.

 5   He participated.     There was no request that we disclose the

 6   names of the 75 people and start there.         That just did not

 7   happen.     So if that's what's been suggested, I'm not sure where

 8   it's coming from, Your Honor.

 9                MR. GREVE:   Your Honor, again, Kirk Greve.     It's a

10   pleasure to meet you.

11                THE COURT:   Mr. Greve, who are you?     I don't have your

12   appearance in the case.      Who are you for?

13                MR. GREVE:   Yes, sir.   I'm here with Mr. Thackston and

14   A-I-I.     I was the attorney who participated in the

15   meet-and-confer.     You know, as you indicated there was a

16   conference.     We did visit about this.    And the meet and confer

17   really boiled down to a discussion of the timeliness issue.           We

18   didn't get into any substantive discussion of pare down or what

19   steps could be done next, because counsel all agreed that this

20   was all going to turn on the timeliness issue first.         And then

21   once we resolved the timeliness issue then we could sit there

22   and we could focus on what we could or cannot do.

23                Ultimately there was never any detailed discussion on,

24   you know, producing a chart, because as they explained, this was

25   all something that they viewed as being untimely



                                   JA1002
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                           50
 1   fact-witness-driven and something that they weren't going to

 2   disclose as a result of that.     So that's what the focus of the

 3   meet-and-confer was.

 4             And then the spirit of it was there would be some type

 5   of follow-up or, you know, additional work where we may be able

 6   to get together and understand what certain limits were once we

 7   got through the timeliness issue.      Obviously, you know, that's

 8   something that we've just recently been dealing with.         So we're

 9   on a very expedited time frame, Your Honor.

10             THE COURT:    Okay.

11             MS. LOCKWOOD:     That's a little surprising to me that

12   that was their perspective of the spirit of the meet-and-confer,

13   so I think perhaps there was not a meeting of the minds.

14             On that I should also note, though, Your Honor, on the

15   same day that we filed a motion to quash, out of an abundance of

16   caution we served detailed objections where they could have

17   separately come back to us and tried to negotiate any of this,

18   or make any proposal.     And the fact is they didn't take any

19   steps at all, much less reasonable ones, and under

20   Rule 45(d)(1), that is what is required in order to avoid a

21   court's issuance of sanctions.

22             And everything that we've talked about here relates to

23   undue burden, the Court has already found the subpoena's unduly

24   burdensome.   That is the end of the inquiry.      It doesn't matter

25   if the Court decided it unduly burdensome for Reason A or Reason



                                  JA1003
            Paul L. McManus, RMR, FCRR Official Court Reporter
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 1   B.   What matters is the Court found it unduly burdensome, and so

 2   Rule 45(d)(1) requires that sanctions be issued.

 3               THE COURT:   Well, I disagree with that

 4   characterization of 45(d)(1).     I think it requires that I find

 5   that they failed to take steps, reasonable steps to avoid it

 6   being unduly burdensome.     I think you can take responsible steps

 7   to avoid it being unduly burdensome and still have a court find

 8   that it is unduly burdensome.

 9               But having said that, I do, I do agree with Ms.

10   Lockwood.    I don't find there were reasonable steps in this case

11   and I am going to award sanctions, because what it appears to me

12   is going on is that you are going to take -- you have taken an

13   opportunity where Dr. Emory and Maddox and Kradin, the authors

14   of the study, have very, very little to do with Mr. Gref's case.

15   There is no indication that Mr. Gref was a subject in this

16   study.    There is no identification of any of them as testifying

17   witnesses in the study.     And it seems as though you've taken

18   this opportunity to file a subpoena and ask another judge to

19   weigh in on the same questions that you've already gotten

20   negative answers to from multiple other judges in order to try

21   and pry open the survey.     And there's a very, very tenuous

22   connection to the Gref litigation that I find to be a very thin

23   reed on which to put the practice to the expense of defending

24   the subpoena.

25               So I do find that counsel failed to take reasonable



                                  JA1004
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 1   steps to avoid the undue burden and I am going to order

 2   sanctions.

 3                So I'm going to issue a short written order granting

 4   the motion to quash.      I'm going to take the motion for sanctions

 5   under advisement, request that counsel submit to me a sworn

 6   statement of the fees incurred in defending the case.         I will

 7   say I'm not -- I don't intend to award all of the fees, because

 8   I do think there's some merit in the suggestion that a lot of

 9   this was hinged on the timeliness of the subpoena, and that is

10   not the basis of the Court's ruling.        If the only issue were the

11   timeliness, I probably would not find it unreasonably

12   burdensome.     If there were otherwise a narrowly tailored

13   subpoena and there was some significant degree of relevance, I

14   probably would have reached a different conclusion.

15                So I'll permit you to submit a request for fees with

16   appropriate affidavits supporting the fees that you incurred in

17   preparing the motion to quash and responding to the opposition.

18                I'll give you 10 days.     Is that sufficient time to

19   submit that?

20                MS. LOCKWOOD:   Yes, Your Honor.

21                THE COURT:   Or where is that going to put us?     I know

22   people have holidays coming up.

23                What is today, the 16th?     That's actually right at

24   Christmas.

25                This is what I'm going to do:      I'm going to go to



                                   JA1005
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            53
 1   beyond the holidays because I'm hoping you all will get together

 2   and work this out and I won't need to rule on this question, and

 3   if you do, obviously just submit a statement to that effect.

 4                But I'll give you till January 4th to submit that

 5   statement and whatever brief you want articulating why those are

 6   reasonable fees, and then I'll give you all two weeks to respond

 7   to the statement.     That's January 18th.     And then I'll issue a

 8   separate short order regarding the fees under 45(d)(1).

 9                MR. THACKSTON:     Your Honor, I would ask you, just ask

10   that to the extent the Court's going to grant sanctions based on

11   the Court's statement that we had gotten a negative answer from

12   multiple other judges, I would certainly like to be put on

13   notice of what other judges ever gave us a negative answer.

14   Because this issue has not been before any other judge.          This is

15   the first time this issue's been argued as a discovery issue

16   that I'm aware of.        So if I'm going to get sanctioned --

17                THE COURT:     Well, it's my understanding is that Judge

18   Osteen said that you wanted the disclosure of names in the

19   Moline study and Judge Osteen declined to give you the

20   disclosure of any names other than Bell, which had already been

21   disclosed.

22                MR. THACKSTON:     Your Honor, as a point of negotiation,

23   during that case the magistrate judge indicated that she was

24   willing to order the discovery in the Bell case.        We, we just

25   pursued that and did not pursue the other ones.        That wasn't



                                     JA1006
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                 54
 1   specifically before Judge Osteen.          The only issue before Judge

 2   Osteen was the issue of whether to unseal the pleadings.

 3               So I'm sorry, Judge, the other rulings that you were

 4   told about was a trial court objection to questions while

 5   Dr. Moline was on the stand, and the court said we can't go too

 6   far into that while allowing some questions about Mrs. Bell.

 7               So I think that's been overstated and misrepresented

 8   to the Court.    This has not come up before another judge.           The

 9   Court has not been presented with any order where a court has

10   squarely considered as much as this court has considered

11   today -- and I respect the Court's decision -- but I don't think

12   that the Court has a clear understanding of whether any other

13   judge has ever done what you've done today.

14               THE COURT:     Okay.     I understand your argument.

15               MS. ALI:     I just want to correct the record.        This

16   issue was squarely litigated in Bell.          It's in the -- we didn't

17   submit the full transcript of the magistrate judge's hearing in

18   that case because there was already so much paper filed in the

19   court.    This is at Pages 83 and 84 of that transcript from 2020.

20   Mr. Thackston specifically asked for the identities of the other

21   32 subjects in the study.          The magistrate judge said I am not

22   going to allow that.       And it was repeated several times forward.

23   We cited the Fisher case in our briefing.          We cited the Johnson

24   and Lashley.    Whether it was in the context of a trial

25   transcript or a written order doesn't matter.          The issue was



                                    JA1007
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                                                                              55
 1   squarely teed up for the court and it was squarely decided.

 2                And we cited, I think it's Exhibit 1 to our reply

 3   brief, a letter that was filed on the docket in the Gref case, I

 4   think it's Pages 9 to 15 of that letter that walked through in

 5   pretty significant detail all of the sort of history of A-I-I's

 6   attempts to get this information the human subjects.          This is

 7   mostly relating to Dr. Moline, not to Dr. Emory, maybe

 8   exclusively to Dr. Moline because it was in the context of

 9   briefing that issue where she is, of course, a testifying expert

10   in Gref.     But you know, the issue is the same:     Whether subjects

11   in a study should be revealed.       And in every one of those cases,

12   there are additional cased that we didn't cite and attach to the

13   brief.     I'm thinking Harpster, I know there are others, where

14   the court has said this is not appropriate.       It is not

15   appropriate to issue this information.

16                So I know we're way far -- you know, Your Honor has

17   already ruled --

18                THE COURT:   Right.   I have already ruled.   And I want

19   to be clear about the limitations of my rule.        I am not saying

20   that it would never be appropriate.       And as I've already

21   observed, this is not a case where Dr. Emory is testifying.             If

22   she were testifying, it might be a different question.          But she

23   has very, very little connection to the Gref litigation.          And so

24   when I observed what other judges had done, Mr. Thackston, I was

25   observing it in the context of those judges had cases where the



                                   JA1008
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                                                                             56
 1   experts were testifying in front of them.        They were going to be

 2   in front of the jury relying on these studies in front of a

 3   jury.     And that is not this case.     Emory is not going to be in

 4   front of the jury, and neither is Maddox.        And the study may be

 5   there with Dr. Moline, but you have Dr. Moline and you have the

 6   ability to explore the credibility of Dr. Moline's testimony

 7   with a jury and to depose her at length and challenge those

 8   things.

 9                But to use this case and this subpoena in a case where

10   Dr. Emory is just, has this very, very tangential connection to

11   it is what troubles me.     And I don't think there were sufficient

12   efforts to try and avoid the dispute that we've resolved here

13   today.     So I am going to entertain a request under 45(d)(1).

14   I've set the briefing schedule to conclude that.

15                As I said, if you all get together and work it out,

16   let me know.     I don't relish doing that, but I think Ms.

17   Lockwood is right:     The statute is different.     It's not, it's

18   not a sanction because of the Court's inherent power, it is

19   enforcement of discovery rules.        That's what the rules are there

20   for.     And so I am going to enforce 45(d)(1) and impose an

21   appropriate sanction; however, if you all agree to a resolution

22   before the briefing schedule or at any time, communicate that to

23   me and I'll simply dismiss the matter.

24                But I am going to enter a short order today taking

25   that under advisement but granting the motion to quash.         Okay?



                                  JA1009
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                              57
 1   I mean, it probably will be Monday or Tuesday actually, not

 2   today.    But it will go out.       Okay?

 3                MR. THACKSTON:     The Court is granting the motion to

 4   quash, holding the question of whether --

 5                THE COURT:     I'm directing briefing, directing briefing

 6   and submission of attorney's fees to assess an appropriate

 7   sanction under 45(d)(1).

 8                MR. THACKSTON:     Right.      Thank Your Honor.

 9                MS. ALI:     Thank you, Your Honor.

10                THE COURT:     Okay.

11                MS. LOCKWOOD:     Thank you, Your Honor.

12                THE COURT:     All right.      Thank you all.

13                Anything else, Ms. Dodge?

14                COURTROOM DEPUTY CLERK:         No, sir.

15                THE COURT:     All right.      Thank you all.   Court will be

16   in recess.

17                (Whereupon, proceedings concluded at 3:57 p.m.)

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                                     JA1010
              Paul L. McManus, RMR, FCRR Official Court Reporter
Case 4:22-mc-00001-AWA-DEM Document 10 Filed 12/22/22 Page 58 of 58 PageID# 1025

                                                                           58
 1                              CERTIFICATION

 2

 3                I certify that the foregoing is a true, complete and

 4   correct transcript of the proceedings held in the above-entitled

 5   matter.

 6

 7                    __________________________________

 8                        Paul L. McManus, RMR, FCRR

 9                               ___________

10                                   Date

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                                  JA1011
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


  PENINSULA PATHOLOGY
  ASSOCIATES,

                        Plaintiff,

  v.                                                          Case No. 4:22-mc-1

 AMERICAN INTERNATIONAL
 INDUSTRIES,

                        Defendant.


                                              ORDER

        This matter is before the court on Peninsula Pathology Associates' ("Peninsula") motion

 to quash a third-party subpoena from American International Industries ("All"). (ECF No. 1).

 Peninsula "is a medical practice that has been providing pathology services to physicians

 throughout Eastern Virginia for more than 50 years." Mem. Supp. Mot. Quash ("Peninsula's

 Mem.") (ECF No. 2, at 4). All, a manufacturer of cosmetic products, served Peninsula with the

 third-party subpoena at issue in connection with Gref v. Am. Int'l Indus., et al., No. 1:20-cv-5589,

 which is currently being litigated before the United States District Court for the Southern District

 of New York. Id. at 5-6. In that case, which was filed in July 2020, All faces allegations from

 plaintiff Brian Gref that he developed mesothelioma as a result of repeated exposure to asbestos

 from using cosmetic talc products manufactured by AIi and other named defendants. Id.

        Peninsula is not involved in the Gref litigation. Id. at 6. However, its employee, Dr.

 Theresa S. Emory, co-authored an article in February 2020 entitled "Malignant mesothelioma

 following repeated exposures to cosmetic talc: A case series of 75 patients" ("the Article"). Id. at




                                           JA1012
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  4--5. The Article, which was also co-authored by Dr. John C. Maddox-another Peninsula

  employee-and Dr. Richard L. Kradin, analyzes the medical and legal records of 75 individuals

  with malignant mesothelioma whose only known, reported exposure to asbestos came from

  cosmetic talcum powder. Id. at 5. In the Article, which was published in March of 2020 in the

  American Journal of Industrial Medicine, the authors' brief analysis concludes that "cosmetic talc

  may be a cause of malignant mesothelioma," and that "[l]arge-scale controlled studies will be

  required to assess the prospective risk of developing mesothelioma following repeated exposures

  to talc." Peninsula's Mem., Ex. 2 (ECF No. 2-2, at 11).

         Mr. Gref's experts, Dr. Jacqueline Moline and Dr. Murray Finkelstein, have each opined

  that Mr. Gref developed malignant mesothelioma as a result of exposure to cosmetic talc. All's

  Opp'n, Ex. H (ECF No. 4-8, at 23); All's Opp'n, Ex. I (ECF No. 4--9, at 280).        Both experts

  submitted detailed expert reports in support of their opinions. The reports contain detailed

  summaries of Gref's medical treatment and diagnoses, the extensive medical evidence linking

  mesothelioma to asbestos exposure, and descriptions of the study of asbestos in talc and cosmetic

  talc products. All's Opp'n, Ex. H (ECF No. 4-8, at 4--24); All's Opp'n, Ex. I (ECF No. 4--9, at 3-

  280). Both reports also rely on and cite the Article briefly. All's Opp'n, Ex. H (ECF No. 4-8, at

  22 n.2); All's Opp'n, Ex. I (ECF No. 4--9, at 233).

         On November 7, 2022, All served the third-party subpoena on Peninsula seeking to

  uncover documents relating to (1) ''the Article and underlying study;" (2) "Peninsula and Dr.

  Emory's billing documents, income, and other financial records;" and (3) "SDNY plaintiff Mr.

  Gref." Id. at 6-7. Peninsula responded by filing the instant motion to quash on November 18,

  2022. (ECF No. 1). Peninsula argues that All's subpoena should be quashed under Federal Rule

  of Civil Procedure 45(d), Peninsula's Mem. (ECF No. 2, at 12-17), which states that a court "must



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  quash or modify a subpoena that ... subjects a person to undue burden."             Fed. R. Civ. P.

  45(d)(3)(A)(iv). All opposed Peninsula's motion, (ECF No. 4), and Peninsula replied, (ECF No.

  8). The court held a hearing on the motion via Zoom on December 16, 2022. For the reasons

  stated on the record and discussed briefly below, after reviewing the parties' briefs and arguments,

  the court GRANTS Peninsula's motion to quash.

         Federal Rule of Civil Procedure 26(b) limits the scope of civil discovery by requiring that

  all material sought be both "relevant to any party's claim or defense and proportional to the needs

  of the case." Fed. R. Civ. P. 26(b)(1 ). When assessing whether these two requirements-relevance

  and proportionality-have been satisfied in a particular case, courts must consider, among other

  things, "whether the burden or expense of the proposed discovery outweighs its likely benefit."

  See id.; Va. Dep't of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019). However, "[w]hen

  discovery is sought from nonparties" in particular, "its scope must be limited even more" beyond

 this standard Rule 26(b) analysis. Jordan, 921 F.3d at 189. Additional limitation is necessary

  because nonparties "have 'no dog in [the] fight,"' and therefore "have 'a different set of

  expectations from the parties themselves." Id. (quoting Cusumano v. Microsoft Corp., 162 F.3d

  708, 717 (1st Cir. 1998)). In short, "[n]onparties faced with civil discovery requests deserve

  special solicitude" and "should not be drawn into the parties' dispute unless the need to include

 them outweighs the burdens of doing so, considering their nonparty status." Id. at 194.

         In light of these concerns, "[a] more demanding variant of the [Rule 26(b)] proportionality

  analysis ... applies when detennining whether, under Rule 45, a subpoena issued against a

  nonparty 'subjects a person to undue burden' and must be quashed or modified." Id. at 189

  (quoting Fed. R. Civ. P. 45(d)(3)(A)(iv)). "As under Rule 26, the ultimate question is whether the

  benefits of discovery to the requesting party outweigh the burdens on the recipient," but the inquiry



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  is "even more demanding and sensitive ... than the one governing discovery generally" on account

  of the subpoena recipient's nonparty status. Id. (citing In re Mod. Plastics Com., 890 F.3d 244,

  251 (6th Cir. 2018); Citizens Union ofN.Y.C. v. Att'y Gen. ofN.Y., 269 F. Supp. 3d 124, 138

  (S.D.N.Y. 2017); Inre Pub. Offering PLEAntitrustLitig., 427 F.3d49, 53 (1st Cir. 2005)) (cleaned

  up).

          Several factors are pertinent to this weighing analysis. When assessing the benefit to the

  requesting party, courts should consider, among other things:


                  the relevance of the information sought [and] the requesting party's
                  need for it. The information sought must likely (not just
                  theoretically) have marginal benefit in litigating important
                  issues 1• • • • Courts should also consider what information is
                  available to the requesting party from other sources. To that end,
                  the requesting party should be able to explain why it cannot obtain
                  the same information, or comparable information that would also
                  satisfy its needs, from one of the parties to the litigation-or, in
                  appropriate cases, from other third parties that would be more
                  logical targets for the subpoena.

  Id. (citations omitted). Likewise, when assessing the burden to the recipient, courts should

  consider, among other things, the financial cost of producing the information as well as "other

  cognizable burdens," such as (1) the impact of production on privacy or confidentiality interests;

  (2) the interests-including business interests-of the recipient and others who might be affected;

  and (3) whether the subpoena is overbroad and would require "tailoring" by the nonparty. Id. at

  189-90.

          Weighing these factors, I find that the benefits of the subpoenaed material to All are

  significantly outweighed by the burdens on Peninsula and Dr. Emory in responding to the



  1 "Marginal benefit" simply means that ''the information must offer some value over and above what the
  requesting party already has." Jordan. 921 F.3d at 189.

                                                      4




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  subpoena. With respect to the benefit of the information to AII, it's crucial that neither Peninsula

  nor Dr. Emory are involved in the Gref litigation. Dr. Emory has not been named as a witness or

  deposed. And although Dr. Emory sometimes consults in mesothelioma cases-primarily for

  plaintiffs-there is no evidence she has consulted with Gref. Though AH speculated that Gref

  may have consulted with Peninsula, it made no factual proffer to that effect despite its ready access

  to discovery from him. 2 And All has waited until now, over two years into the Gref litigation, to

  request that Peninsula produce the information listed in the subpoena. While Dr. Moline and Dr.

  Finkelstein do cite the Article in their respective expert reports, they do so minimally-Dr. Moline

  cites the Article at the end of a string-cite in a single footnote, All's Opp'n, Ex. H (ECF No. 4-8,

  at 23), while Dr. Finkelstein's mention of the Article in his 292-page report accounts for a half

  page, most of which is devoted to reproducing the results of 11 tissue digestion studies appearing

  in the Article, All's Opp'n, Ex. I (ECF No. 4-9, at 233). Additionally, comparing Mr. Grefs age

  and date of diagnosis to the corresponding data for the participants in the Article's underlying

  study-which are already disclosed in the text of the piece itself.-it is plain that Mr. Grefwas not

  one of Dr. Emory's subjects. See All's Opp'n, Ex. E (ECF No. 4-5, at~). All of this evidence

  points to the conclusion that the information All seeks is minimally relevant to their defense in the

  Gref litigation.




  2 At the hearing, All argued at length that, although Dr. Emory is not an expert in the Gref litigation, the
  requested information is nonetheless relevant because Dr. Emory's article is a driving "linchpin" of modern
  talc litigation. However, the question before the court is not whether the Article is relevant to talc litigation
  generally, but whether it is relevant to the case at hand-which is Mr. Grefs pending action in the Southern
  District of New York. As such, I make no findings about the relevance of Dr. Emory's article to talc
  litigation generally, whether the subpoena would be proper in a different talc case, or whether the subpoena
  would be proper if Dr. Emory or one of her co-authors had been named as an expert witness in the Gref
  litigation.


                                                         5




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          AIi has also failed to explain why it cannot obtain from other sources "comparable

  information that would also satisfy its needs" for impeachment of Dr. Moline and Dr. Finkelstein

  at trial. See Jordan, 921 F.3d at 189. The company argues that it requires the identities of Dr.

  Emory's research subjects to try and prove they had other exposures to asbestos fibers that might

  undermine the Article's conclusion that their mesothelioma "may" have been caused by exposure

  to talc. But there is already extensive information on the face of the Article that All can use to

  attack the Article's conclusion, and its support for the opinions offered by Gref's experts. For

  example, Dr. Emory disclosed that she has ''testified in asbestos litigation, primarily for plaintiffs,"

  and that her 75 subjects anonymously reported by the Article were derived from "medical-legal

  consultation." See All's Opp'n, Ex. E (ECF No. 4-5, at 2, 7). Thus, as All's counsel has argued,

  there is ample basis to suggest that the self-selected sample oflitigation subjects is poorly reflective

  of the universe of people exposed to cosmetic talc. In light of these facts, I am persuaded that the

  additional information sought by subpoena would be minimally beneficial to All in the Gref

  litigation.

          With respect to the burdens on Peninsula and Dr. Emory, All has made dozens of document

  requests intended to encompass any and all records associated with the Article, Peninsula's and

  Dr. Emory's finances, and Mr. Gref. The overbreadth of these requests, especially given the

  minimal relevance of the information sought, is apparent on the face of the subpoena. Peninsula's

  president, Dr. David M. Smith, confirmed in his affidavit that the financial and logistical costs of

  gathering these documents and/or reasonably tailoring the production would be significant. Mot.

  Quash, Ex. 1 (ECF No. 1-2, at 3) ("Responding to the Subpoena, which contains many requests

  concerning the Article, Peninsula's correspondence with various individuals, Peninsula's financial

  records, and additional materials, would be burdensome and costly, and would divert time and



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  resources from Peninsula's busy medical practice."). And although, at oral argument, AII limited

  its demand to a list of the names of the participants in the Article's study, Dr. Emory stated in her

  affidavit that producing documents identifying those individuals would constitute a violation of

  the medical ethics rules by which she is bound as a board-certified physician. Peninsula's Mem.,

  Ex. 2 (ECF No. 2-2, at 4). In light of these facts, I am persuaded that compliance with All's

  subpoena would force Peninsula and Dr. Emory to bear heavy burdens, both financially and

  professionally. Consequently, I conclude that All's subpoena imposes an undue burden and

  therefore must be quashed under Rule 45(d)(3)(A)(iv).

         In its brief filed in support of its motion, Peninsula also argues that All's subpoena warrants

  sanctions under Rule 45(d)(l). Peninsula's Mem. (ECF No. 2, at 20-23). Rule 45(d)(l) imposes

  a duty on those issuing subpoenas to "take reasonable steps to avoid imposing undue burden or

 expense on a person subject to the subpoena." Fed. R. Civ. P. 45(d)(l). The court "must enforce

  this duty and impose an appropriate sanction-which may include lost earnings and reasonable

  attorney's fees-on a party or attorney who fails to comply." Id. (emphasis added). In its briefing,

  All did not address the sanctions argument except to argue that Peninsula had not demonstrated

 "bad faith." All's Opp'n (ECF No. 4, at 25 n.12). However, while the court must find bad faith

  when imposing sanctions under its inherent authority, when acting under Rule 45(d)(l), bad faith

  is not required. See Mount Hope Church v. Bash Back!, 705 F.3d 418,428 (9th Cir. 2012) ("[B]ad

  faith is sufficient to invoke Rule 45(c)(1)3 sanctions. But we have never stated that bad faith is

  necessary, and we do not do so now. More precisely, bad faith is a sufficient ground for sanction,

  but it is not a necessary ground if Rule 45(c)(1) is otherwise violated .... "); In re Mod. Plastics



  3Fonnerly, and at the time of the Ninth Circuit's decision in Mount Hope Church, the text of the current
  Rule 45(d)(l) was found in Rule 45(c)(l).

                                                     7




                                             JA1018
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  Corp., 890 F.3d 244, 251 (6th Cir. 2018) (rejecting appellants' argument "that sanctions may not

  be imposed under Rule 45(d)(l) absent a finding of bad faith" because "neither case [cited by

  appellants] supports a bad-faith requirement"); Jiangmen Kinwai Furniture Decoration Co. Ltd. v.

  IHFC Properties, LLC, No. l:14-CV-689, 2015 WL 12911773, at *1-2 (M.D.N.C. Oct. 27, 2015)

  (finding that, "[w]hile not necessary to the Court's decision" to award sanctions under Rule

  45(d)(l) for an unduly burdensome subpoena, the plaintiff and its attorney had acted in bad faith

  and could be subjected to sanction under the court's inherent authority). In light of my findings

  above, I conclude that All and its attorneys have failed to "talce reasonable steps to avoid imposing

  undue burden or expense" on Peninsula. See id. Consequently, sanctions are warranted under

  Rule 45(d)(l). The court will take the issue of sanctions under advisement and issue a separate

  order following requested briefing on the fees incurred matter.

         For the foregoing reasons, this court GRANTS Peninsula's motion to quash. Additionally,

  to aid the court in its determination of the appropriate sanctions under Rule 45(d)(l ), the court

  hereby ORDERS Peninsula to file a sworn statement ofits costs and fees by January 4, 2023, and

  ORDERS All to file its response by January 18, 2023.




                                                        Douglas E. Miller
                                                        United Slates Magistrate Judge

                                                DOUGLAS E. MILLER
                                                UNITED STATES MAGISTRATE JUDGE

  Norfolk, Virginia
  December 23, 2022

                                                    8




                                            JA1019
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                             Exhibit 1




                                  JA1020
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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                   Page 1

   1                    IN THE UNITED STATES DISTRICT COURT
   2              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
   3                            GREENSBORO DIVISION
   4      - - - - - - - - - - - - - - - x
   5      LLOYD BELL, Individually and                :
          as Executor of the Estate of                :
   6      BETTY WHITLEY BELL, Deceased                :
                             Plaintiff                :
   7              vs.                                 : Civil Action No.
          AMERICAN INTERNATIONAL                      : 1:17-cv-00111
   8      INDUSTRIES, INC., et al.                    :
                             Defendants               :
   9      - - - - - - - - - - - - - - - x
          AMERICAN INTERNATIONAL                      :
  10      INDUSTRIES, INC.                            :
                             Third-Party              :
  11                         Plaintiff                :
                  vs.                                 :
  12      NESLEMUR COMPANY f/k/a, THE                 :
          NESTLE-LEMUR COMPANY                        :
  13                         Third-Party              :
                             Defendant                :
  14      - - - - - - - - - - - - - - - x
  15                    VIRTUAL VIDEOTAPED DEPOSITION OF
  16                         THERESA SWAIN EMORY, M.D.
  17      DATE:              Thursday, October 1, 2020
  18      TIME:              10:21 a.m.
  19      LOCATION:          Remote Proceedings
  20      REPORTED BY: Denise M. Brunet, RPR
  21
  22

                                  Veritext Legal Solutions
                               202-803-8830 -- 410-494-8300
                                    JA1021
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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                   Page 2

   1                           A P P E A R A N C E S

   2

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  22       APPEARANCES:        (Continued on Next Page.)




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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                   Page 3

   1      APPEARANCES CONTINUED:

   2

   3      On behalf of Defendant Whittaker Clark & Daniels,

   4      Inc.:

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  15      Industries:

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  22         APPEARANCES:       (Continued on Next Page.)




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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                         Page 4

   1      APPEARANCES CONTINUED:

   2

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  10      On behalf of Defendant Neslemur Company f/k/a The

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  18                        kevin.mccaffrey@clydeco.us

  19

  20      ALSO PRESENT:        Kaitlin Motley

  21                           Jeffrey Elam, Videographer

  22      (All parties appearing remotely.)




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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                 Page 144

   1      insulation, that's not going to put me in the same

   2      category with them for sitting here with my

   3      microscope making a diagnosis in my office.

   4           Q      Okay.    Doctor, I'm going to switch gears.

   5      I'm going to mark your article from this year,

   6      2020, as the next exhibit.

   7                  (Deposition Exhibit Number 15 was marked

   8      for identification.)

   9      BY MR. SCHROLL:

  10           Q      Actually, while we're waiting for that to

  11      load, I'll ask you something else.

  12                  Your article is a case series, correct?

  13           A      Correct.

  14           Q      And you're familiar with Dr. Moline's

  15      article published this year that's also a case

  16      series, correct?

  17           A      Yes.

  18           Q      Are you aware of any epidemiological

  19      studies of users of cosmetic talcum powder?

  20           A      So what do you mean by epidemiological

  21      studies?

  22           Q      How about cohort studies?




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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                 Page 145

   1           A      So there's lots in the literature.

   2           Q      Can you give me an example?

   3           A      I mean, there's a lot of studies on talc

   4      and talc users and disease.              It's on my reliance

   5      list.

   6           Q      Okay.    Yeah.      That's my fault.       How

   7      about -- how about this:            Epidemiological studies

   8      of the users of cosmetic talcum powder showing an

   9      increased risk of mesothelioma.

  10           A      Well, that's what the whole point of, you

  11      know, the series that I put out -- and I'm sure

  12      that's part of the reason Dr. Moline put out -- so

  13      that the information can get out to the public and

  14      the medical community so people know, because we

  15      weren't -- it wasn't a commonly discussed topic.

  16      And so that's why we -- well, I don't know why she

  17      did, but that's why I worked on that series.

  18                  The same as with the meso- -- the

  19      gastrointestinal smooth muscle or stromal tumors

  20      that I published in back in the '90s.               When you

  21      have a rare disease and you're trying to find out

  22      etiology or also exposure -- in this case of




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                                    JA1026
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                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                 Page 146

   1      asbestos -- that's how the literature develops,

   2      that publications come, and sometimes it is case

   3      series and, you know, there are -- with regard to

   4      talc, there are a lot of case reports of people

   5      going back to the '40s on cosmetic talc or --

   6      miners and millers.

   7                  I mean, but as far as a big study, or a

   8      series, I would say that that's -- the purpose of

   9      the publication was just to add to the literature

  10      something that the public needs to be aware of,

  11      and physicians.        Medical and scientific community

  12      needs to be aware.

  13            Q     Are you familiar with the four studies

  14      looking at miners and millers from the Italian

  15      talc mines?

  16            A     So I'll have to go to my -- which ones

  17      are you speaking of and I'll look and see?                   What

  18      are you talking about, exactly?

  19            Q     There's a study by Rubino, et al.                Are

  20      you familiar with are that study?

  21            A     Yes.

  22            Q     I didn't see it on your reliance list.




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                             Theresa Swain Emory , M.D.            October 1, 2020

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   1           A      I had gone to Dr. Moline's paper.              Sorry,

   2      I'll go back to mine.

   3           Q      Okay.    I'm sorry, page 2 of your article

   4      under the "discussion" heading.

   5           A      Okay.

   6           Q      You note the 75 individuals in this study

   7      and then you note Moline, et al., reported 33

   8      cases.

   9                  Have you done anything to determine

  10      whether any of Dr. Moline's 33 cases are the same

  11      as the cases of your 75 individuals?

  12           A      So again, that would be unethical to find

  13      out the names or the identities of the human

  14      subjects that she had and mine.                But the best that

  15      could be done is to only look at the table that

  16      was available and -- in an attempt to not have any

  17      sort of overlapping.          So that is the best one

  18      could do, standing within ethics guidelines and

  19      anonymized human subjects.

  20           Q      And did you do a comparison based on the

  21      available data on the articles to determine

  22      whether there was any overlap?




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                                                                 Page 176

    1           A      Again, that's the only way that anyone

    2      can attempt to separate those, but again, there's

    3      no way -- you know, there were 75 of hers and -- I

    4      mean, of ours and I think 33 for her, and it was

    5      the best that could be done.

    6           Q      And I understand what you're saying is

    7      you can compare the tables of data on both

    8      articles, and I'm asking, did you do that?

    9           A      Yes.

  10            Q      And did you determine whether there was

  11       any overlap?

  12            A      There wouldn't be overlap, to the best of

  13       our ability.

  14            Q      Okay.     I want you to look at case

  15       number 72 of your article in your table number 1.

  16            A      Okay.

  17            Q      And case number 72, your article reports

  18       is a male with year of diagnosis in 2016, age 44,

  19       peritoneal-type, correct?

  20            A      No.     Pleural.

  21            Q      You are correct.          I misread that.     That's

  22       why I asked, did I read that correctly?




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    1      So I think -- I'd caution you because I don't know

    2      about the bar in Texas, if that's where you are,

    3      but I can tell you the board of medicine in

    4      Virginia is not going to tolerate my exposing and

    5      de-anonymizing human subjects.

    6           Q      Okay.     And in table 2 --

    7                  MR. SCHROLL:        Move to strike.

    8      BY MR. SCHROLL:

    9           Q      And in table 2 of Dr. Moline's article,

  10       the bottom of page 15, it says case number 6, and

  11       it finds asbestos type, anthophyllite and

  12       tremolite.        Do you see where I'm referring to?

  13            A      No.

  14            Q      Page 15, table 2.

  15            A      Not doing this, no.            I don't know what

  16       you're trying to do.          If you're trying to

  17       de-anonymize these patients -- I'm only going to

  18       talk about my paper.          I'm not comparing my paper

  19       to Dr. Moline's as we sit here today.

  20            Q      Do any of the 75 cases in your case

  21       article have -- had incidents of pleural plaques?

  22            A      What's reported in our paper is what's




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                                                                 Page 254
    1                    CERTIFICATE OF NOTARY PUBLIC
    2                  I, Denise M. Brunet, the officer before
    3      whom the foregoing deposition was taken, do hereby
    4      certify that the witness whose testimony appears
    5      in the foregoing deposition was sworn by me; that
    6      the testimony of said witness was taken by me
    7      stenographically and thereafter reduced to print
    8      by means of computer-assisted transcription by me
    9      to the best of my ability; that I am neither
  10       counsel for, related to, nor employed by any of
  11       the parties to this litigation and have no
  12       interest, financial or otherwise, in the outcome
  13       of this matter.
  14                            ~-vi,(_~
                                <%14541,Signature%>
  15                                       ___________________________
  16                                       Denise M. Brunet
  17                                       Notary Public in and for
  18                                       The District of Columbia
  19
  20       My Commission Expires:
  21       December 14, 2022
  22
                                   Veritext Legal Solutions
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                                     JA1031
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                             Exhibit 2




                                  JA1032
Case 4:22-mc-00001-AWA-DEM Document 18-2 Filed 01/11/23 Page 2 of 6 PageID# 1126
                                                                             1



    1                  IN THE COURT OF cat1JN PIBAS
    2           FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
    3                         CIVIL DIVISION
    4
    5   HOLLY FISHER, EXECUTRIX             JULY TERM 2019
        ESTATE OF SANDRA REICHART           NO. 19070087
    6

    7               vs.
    8
        AMERICAN INTERNATIONAL
    9   INIXJSTRIES, individually   :
        and as successor-in-interest:
  10    for the CLUPMAN BRAND, and
        the NESLEMUR CCMPANY and
  11    PINAUD CCMPANY, et al
  12
  13                      Thursday, October 13, 2022
                          Courtroom 675, City Hall
  14                      Philadelphia, Pennsylvania
  15
  16                          :MJRNING SESSION
  17
  18
  19    BEFORE:
  20                THE HONORABLE SIERRA THOMAS-STREET, J.
  21                                - - -
  22
  23    Reported by:      Stephanie Goffredo, RPR
                          Official Court Reporter
  24
  25
                                    JA1033
Case 4:22-mc-00001-AWA-DEM Document 18-2 Filed 01/11/23 Page 3 of 6 PageID# 1127
                                                                             2



    1   A P P E A RAN C E S:

    2

    3   SIMMONS HANLY CONROY
        JAMES KRAMER, ESQUIRE
    4   DONALD P. BLYDENBURGH, ESQUIRE
        OLIVIA KELLY, ESQUIRE
    5   ATTORNEY FOR PLAINTIFFS

    6
        IATHROP GEM
    7   ROBERT E. THACKS'ION, ESQUIRE
        ATTORNEY FOR DEFENDANT AII
    8
    9   MCGIVNEY KLUGER CLARK & INTOCCIA, P.C.
        DAVID W. SNYDER, ESQUIRE
  10    ATTORNEY FOR

  11
  12    WILLCOX SAVAGE
        ERIC D. COOK, ESQUIRE
  13    ATTORNEY FOR WHITTAKER AND CLARK

  14
  15
  16
  17
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  23
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  25
                                   JA1034
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                                                                            65
        Fisher vs. Arrerican International Industries, et al

    1   known exposure they had.
    2         Q     I want to discuss sane articles with you,
    3   Dr. Moline.
    4              MR. KRAMER:     I'd like to nark for
    5         identification P-304, P-330, and P-334?
    6              ~y I approach?
    7              MR. THACKS'ION:      'What is the --
    8              MR. KRAMER:    M2dical literature.        I can
    9         read the title.
  10                P-304, ~ignant Peritoneal M=sothelioma
  11          in a 17-year-old boy with evidence of previous
  12          exposure to chrysotile and trerrolite astestos.
  13                P-330, M=sothelic:ma. Associated with the
  14          Use of Cosrretic talc.
  15                P-334, ~ignant M=sothelic:ma. Following
  16          Repeated Exposures to Cosrretic Talc a case
  17          series of 75 patients.
  18                THE COURT:   Yes.     You may proceed.
  19               MR. KRAMER:    Thank you.
  20    BY MR. KRAMER:
  21          Q     Dr. Moline, turning first to P-304, do you
  22    recognize that article?
  23          A     Yes.
  24          Q     Can you tell us what significance, if any,
  25    this has related to the opinions you're going tote
                                   JA1035
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                                                                            68
        Fisher vs. Arrerican International Industries, et al

    1   you don't know where sorreone might be getting a
    2   disease fran.
    3                      In this particular paper we also were
    4   showing that individuals who had rresotheliara, we
    5   were unable to find any other source of asbestos
    6   exposure that could lead to their rresotheliara, so
    7   we highlighted that aspect of it.       'Ihat cosrretic
    8   talc was the ccrrrron therre in all of those cases.
    9         Q     'Ihen P-334, rralignant rresotheliara
  10    following repeated exposure to cosrretic talc, a case
  11    series of 75 patients, do you rely uµ::m this article
  12    in forming during opinions?
  13          A     Yes.   It's another case series.     It's a
  14    larger case series than the one that I published,
  15    and it's individuals similarly with a history of
  16    exposure to cosrretic talc who developed
  17    rresotheliara.
  18          Q    Are you familiar with the COC?
  19          A     Yes.
  20          Q     I guess we all are at this point.       You
  21    rrentioned before that you atterrpt to keep up on the
  22    rredical literature related to asbestos and disease;
  23    did I get that right?
  24          A     Yes.
  25          Q     Ibes the COC publish infomation in the
                                   JA1036
Case 4:22-mc-00001-AWA-DEM Document 18-2 Filed 01/11/23 Page 6 of 6 PageID#115
                                                                            1130




    1                        CERTIFICATE
    2               I hereby certify that the proceedings and
    3         evidence noted are contained fully and
    4         accurately in the stenographic notes taken by
    5         me on the proceedings of the above matter, and
    6         that this is a correct transcript of the same.
    7
    8

    9

  10
                   - -- - -- - -- - ---
  11
  12                Stephanie Goffredo, RPR
                    Official Court Reporter
  13
  14
  15                (The foregoing certification of this
  16          transcript does not apply to any reproduction
  17          of the same by any means, unless under the
  18          direct control and/or supervision of the
  19          certifying reporter.)
  20
  21
  22
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                                          JA1037
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                             Exhibit 3




                                  JA1038
   case
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    UNITED ST ATES BANKRUPTCY CO URT
    DISTRICT O F NEW JERSEY

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    ATTORNEYS FOR DEBTOR

    In re:
                                                        Chapter 11
                                 1
    LTL MANAGEMENT LLC,
                                                        Case No.: 21-30589 (MBK)
                  Debtor.
                                                        Judge: Michael B. Kaplan


    LTL MANAGEMENT LLC,
                  Plaintiff,
    V.
                                                        Adv. Proc. No. 22-_ _ (MBK)
    DR. JACQUELINE MIRIAM MOLINE,
                    Defendant.


                                           COMPLAINT




          The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's
   address is 501 George Street, New Brunswick, New Jersey 08933.




                                            JA1039
   case
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                                            INTROD·UCTION

           1.     This is an action to recover for the knowing and repeated disparagement of

   Johnson 's Baby Powder and Shower to Shower by Dr. Jacqueline Moline,

           2.     In 2019, Dr. Moline published an article c laiming that 33 individuals who used

   talc powder and developed the asbestos-related cancer mesothelioma had no other potential

   exposures to asbestos- pointing the finger squarely at ta lc products such as Johnson's Baby

   Powder. See Exhibit A, Moline, et. al., Mesotheliom(l Associated With the (Jse <>/Cosmetic Talc

   (2019) (the "Moline Article" or the "Article").

          3.       Dr. Moline knew that claim was false when she made it, and that individuals she

   re ferenced in her Article had admitted to-and indeed had made claims seeking compensation

   for-exposure to other sources of asbestos, or recklessly disregarded substantial evidence to the

   contrary, Dr. Mo line nonetheless reiterated her false clai ms to the media, in scientific literature,

   at public conferences, and to Congress, judges and juries. The misrepresentation has even

   infected this Court's proceed ings, where it has been cited in filings, including one as recently as

   yesterday.

           4.      Dr. Moline engaged in th is widespread deception- not for any laudable publ ic

   purpose-but for her own personal aggrandizement and gain. She received accolades, speaking

   opportunities, and acclaim for her self-proclaimed novel and disruptive study. And her

   disparaging statements provided a foundation for the mass tort asbestos plaintiffs' bar's baseless

   claims against LTL, and they richly compensated her with millions of dollars of fees to act as

   their "expert" and mouthpiece,

          5.       Dr. Moline's deception was recently laid bare by a federal judge in the District

   Court for the Middle District of North Carolina who rej ected the efforts of ce1iain plaintiffs' law

   firms for whom Dr. Moline works to keep the evidence of her deceit under seal. See Exhibit B,


                                                      I



                                              JA1041
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   Bell v. Am. Int'/ Indus. et al., No. I: 17-CV-00111 (M.D.N.C. Sept. 13, 2022), ECF No. 398 at 4,

   17, 22 (the "Bell Opinion"). The Bell Opinion excoriated Dr. Moline because of her

   "concealment" of information about occupational asbestos exposures of Betty Bell-a plaintiff

   in cosmetic talc litigation who was also confirmed to be one of the individuals included in Dr.

   Moline's artic le. Id. at I 6-18, 20. The court found that the inclusion of an individual with

   asbestos exposures apart from allegedly contaminated talc had "direct bearing on the study' s

   credibility" as it contradicted the entire foundation of the Article. The Court also expressed grave
   concern about the "groundbreaking nature" and "widespread influence" of the Moline Article

   "on the cosmetic talc litigation nationwide" given that this critical information had been shie lded

   from public disclosure unti l the Bell Opinion was issued. Id.

          6.      As Dr. Moline intended, her disparaging statements have caused LTL significant

   and ongoing commercial, reputational, and financial harm. In fact, when LTL' s predecessor

   announced that it would stop selling talc-based Johnson's Baby Powder in North America, it

   cited "declining" demand "due in large part to changes in consumer habits" that were "fueled by

   misinformation around the safety of the product and a constant barrage of litigation advertising."

   The Moline Article is a central element of that misinformation.

          7.      With her malfeasance now unvcil,cd, Dr. Moline should be held accountable for

   the egregious harm she has caused to LTL, and should be required to retract her Article and issue

   corrective disclosures. Further, the deliberate nature of Dr. Mo line's conduct demands a stringent

   award designed to deter such conduct, which bas become a hallmark of the mass tort plaintiffs'

   bar's business model.

          8.      Indeed, this most recent revelation concerning Dr. Mol ine's deceit is only further

   affirmation of a long-nmning and troubl ing trend of doctors leveraging their credentials to




                                                     2



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   case
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   fabricate false narratives and support "junk science" to bolster the mass tort plaintiffs' bar's

   claims.2 These purported experts contrive baseless op inions, which p laintiffs' lawyers then use to

   confuse j uries, secure extreme verdicts, and in rum pay these same experts. And all the while, the

   firms and expe11s fight to conceal their duplicity behind protective orders and fight disclosure of

   key facts that would illum inate this deceit.

           9.     This cycle must end. The false na:rratives contri ved by purported experts like Dr.

   Moline cause ha1m to the manufacturers whose products they target-and to those who are

   suffering from harm wrongly attributed to such products. Rather than addressing the actual cause

   of their harm, these individuals are led astray by contrived claims amplifi ed by the law firms that

   purport to represent their interests . This is a grave wrong that must be righted.

                                                   PARTIES

           10.    LTL is a North Carolina limited liability company with its principal place of

   business in New Jersey.

           11.    LTL was created through a corporate restructuring (the "2021 Corporate

   Restructuring") of the former Johnson & Johnson Consumer Inc. ("O ld JJCI") that was

   completed on October 12, 2021. As a result of the 2021 Corporate Restmcturing, Old JJ CI

   ceased to exist and LTL and Johnson & Johnson Consumer Inc., a New Jersey company ("New




   2 As just one example, earlier this month, the Southern District of Florida dismissed thousands of

   product liability claims advanced aga inst pharmaceutical manufacturers, detailing the unfounded,
   unreliable and unscientific opinions that had been submitted by a roster of plainti ffs' experts-
   includi11g Dr. Aru1e McTiernan, who also partnefed witb Dr. Mol ine 10 fabricate a false narrative
   regarding tbe very talc products at issue here. In re Zantac (Ranitidine), MDL No. 2924, Doc.
   No. 6120 (S.D. Fla. Dec. 6, 2022). The long history of manipulating science in asbestos
   litigation, and now talc litigation, is laid out in more detail in Section VI below. Sadly, the
   Moline Article is j ust the latest iteration that has come to light, but its impact- particularly as to
   LTL- has been substantial.


                                                      3



                                              JA1043
   case
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   JJCI"), were formed. Old JJCI manufactured and sold Johnson's Baby Powder and Shower to

   Shower.

           12.     As part of the 202 1 Corporate Restructuring, LTL was allocated and became

   solely responsible for certain liabilities of Old JJCI, including liabi lities arising from all claims

   (the "Talc Claims") relating in any way to injury or damage sustained or incurred in the exposure

   to talc or talc-contain ing products (other than claims for which the exclusive remedy is provided

   under a workers' compensation statute or similar laws). LTL also was allocated and received
   certain assets of Old JJCJ. Consequently, LTL received all causes of action and privi leges that

   relate to the assets and liabilities allocated to LTL in the Corporate Restructuring, including the

   claims asserted herein. 3

           13.     On October 14, 202 1, LTL commenced a Chapter 11 Case by fil ing a voluntary

   petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

   Court for the Western District of North Carolina. The bankruptcy case was transferred to this

   District on November I 6, 2021. LTL continues to be in possession of its property and is

   managing its business, as a debtor in possession, pursuant to sections l 107(a) and 1108 of the

   Bankruptcy Code.

           14.     Defendant Dr. Jacqueline Miriam Moline is an Occupational Medicine specialist

   and Professor of Occupational Med icine, Epidemiology and Prevention and Internal Medicine,

   and the Chairperson of the Depa1tment of Occupational Medicine, Epidemio logy and Prevention

   at the Donald & Barbara Zucker School of Medicine at Hofstra/Northwell, as well as Director of

   the Northwell Health Queens World Trade Center Health Program, and Director of the New


   3 In discussing events prior to the 2021 Corporate Restructuring concerning talcum powder

   products, Talc Claims, and talc litigation, "LTL" includes Old JJCI, LTL's immediate corporate
   predecessor.


                                                      4



                                               JA1044
   case
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   York State funded Occupational and Environmental Medicine of Long Island Cl inical Center.

   Upon infonnation and belief, Dr. Mol ine is a citi zen of New York.

           15.     Dr. Moline has been disclosed as a plaintiff's expert in over 200 cosmetic

   talc/mesothelioma cases against LTL. She has provided deposition testimony in 46

   ta lc/mesothelioma cases against LTL, as well as trial testimony in 16 of those cases.

                                             JURISDICTION

           16.    This Court has subject matter juri~diction over this adversary proceeding pursuant

   to 28 U.S.C. §§ 157, 133 1, 1332 and 1334. The parties are c itizens of different States and the

   amount in controversy exceeds the sum or value of $75,000, exclus ive of interest, costs and fees.

   Pursuant to 28 U.S.C. § 1331 , this Court has federal question jurisdiction over Plaintiffs' claims

   under the Lanham Act. Pursuant to 28 U.S.C. §§ 157 and 1334, this Cou11 has j urisdiction of the

   claims asserted herein because they relate to LTL's bankrnptcy proceed ing.

           17.     Venue is proper in this District pursuant to 28 U.S.C. § 1409.

           18.     Venue is further predicated upon 28 U.S.C. § 1391 , which provides for proper

   venue in any district in which a substantia l part of the events giving rise to the claim occurred.

                                                  FACTS
   I.      Dr. Moline: Plaintiffs' Paid Expert Witness

           19.     Dr. Moline has made a career and small fortune testifying on behalf of the mass

   tort asbestos plaintiffs' bar. She has been testifyi:ng as a paid expert in asbestos litigation for over

   20 years, always on behalf of plaintiffs. For playing that role, she is paid between approximately

   $250,000 and $300,000 per year (about 40% of her tota l income) and, in aggregate, has received

   over $3 mi llion.

          20.      In recent years, Dr. Moline's testimony mainly was in mesothelioma cases against

   LTL (and other manufacturers of talc powder products)-having been disclosed as a plaintiff's


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   case
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   expert in over 200 cases, provided deposition testimony in 46 cases, and testified in 16 separate

   trials against LTL.

           2 1.   Even before the recent controversy concerning the Article, Dr. Moline's reliability

   has faced heavy criticism. Notably, multiple appellate courts have excluded her opinions or

   found them insufficient to establish that, as she posited, the asbestos in the talc products at issue

   caused mesothelioma. 4

           22.    In Lanzo-a cosmetic talc case against LTL-tbe New Jersey Appellate Division
   "concluded that the trial court erred by allowing ... Mo line to provide expert testimony that non-

   asbestiforn1 minerals can cause mesothelioma." Lanzo v. Cyprus Amax Mins. Co., 467 N.J.

   Super. 476,513 (NJ. App. Div. 2021).

           23.     In O/so11-another cosmetic talc case against LTL-the New York Appellate

   Division reversed judgment entered in plaintifis' favor, concluding that Dr. Moline, as plaintiff's

   medical causation expert, failed "to establish sufficient exposure to a substance to cause the

   claimed adverse hea lth effect." Maller of New York City Asbestos Litig. (Olson), 207 A.D.3d

   4l 5,416(N.Y. lstDep't2022).

           24.    In Nemeth-a cosmetic talc case against another company-the New York Court

   of Appeals again concluded that Dr. Moline's opinion was insufficient to establish causation.

   The Court stated: "[T]he studies or scien tific li terature cited or relied upon by Dr. Moline" did


   4
    Dr. Moline 's opinions on the cause of mesothelioma also were rejected in cases involving other
   products. In Ju11i, Dr. Moline testified that asbestos allegedly in Ford Motor Company's friction
   products caused the plaintiff's mesothelioma. The New York Appellate Division found her
   opinion "insufficient" to, in fact, establish causation: "The evidence presented by plaintiff here
   was insufficient because it fai led to establish that the decedent's mesothelioma was a result of his
   exposure to a sufficient quantity of asbestos in friction products sold or distributed by defendant
   Ford Motor Company." in re New York City Asbestos Litig. (Juni), 148 A.D.3d 233, 236-37, 239
   (N.Y. App. Div. 1st Dep't 2017). The New York Court of Appeals affirmed. Matter of N. Y.C.
   Asbestos Litig. (./1111i), 32 N.Y.3d 11 16, 1122 (2018).


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    not "provide the necessary support for her conclusion as to proximate causation." Nemeth v.

    Brenn/ag N. Am., 38 N.Y.3d 336,345 (2022).

           25.    These appellate courts' determinations of the unscientific and unreliable nature of

    the testimony Dr. Mol ine bas offered time and again in various comt s against LTL and others

    affirms Dr. Mol ine's proclivity to make knowingly false and disparaging statements published

    outside of court 10 the scientific community and general public.

    II.    Dr. Moline Has Repeatedly Published Disparaging Statements About Johnson's
           Baby Powder and Shower to Shower in Multiple Forums

           A.      Dr. Moline Published an "Influential" and "Groundbreaking" Talc Article

           26.     Sta11i11g in October 2019, Dr. Moline repeatedly and widely published disparaging

    statements regard ing talc powder products, including, in particular, Johnson's Baby Powder and

    Shower lo Shower.

           27.     Specifically, Dr. Mo line repeatedly asserted that she had conducted the first

    comprehensive case study review of individuals whose sole exposure to asbestos was talc, and

    determ ined that the asbestos contamination in those talc products had caused their mesothelioma.

           28.     Dr. Moline concocted this "study"-along with another prominent plaintiffs'

    expert witness in asbestos and ta lc cases (Ronald E. Gordon, Ph.D.)-after courts began

    routinely excluding Dr. Moline's testimony regarding causation in other litigation cases, as

    discussed further below.

           29.    That scheme culminated in Dr. Moline and her co-authors' publication of an

    article in the widely read Journal of Occupational and Environmental Med icine entitled

    Mesothe/ioma Associated With the Use ofCosmetic Talc. Ex. A, Moline Article. The Article

    became ava ilable on line on October I0, 2019.




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           30.     As lead author, Dr. Moline asserted that the Article presented "the fu-st large case

    series to identify cosmetic talcum powder contaminated with asbestos as the cause of malignant

    mesothelioma in cosmetic talc users." Ex. A, Moline Article at 14.

           31.     Dr. Moline " pre,sent[s] 33 cases of individuals with malignant mesothelioma who

    were exposed to commercial talcum powder products." Ex. A, Moline Article at 11.

           32.     These 33 ind ividuals are all plaintiffs in litigation where Dr. Moline serves as an

    expert witness on behalf of plaintiffs' counsel. Ex. A, Moline A1ticle at 11.
           33.     The Article identifies Johnson's Baby Powder and Shower to Shower as the talc

    powders most commonly used by the ind ividuals.5

           34.     Dr. Moline also buttressed the Article by citing to 2017 statistics from the website

    Statista. Ex. A, Moline Article at 11 n. 26. Statista's 2017 statistics show that Johnson 's Baby

    Powder was the most commonly used brand of talc, accounting for approx imately 52% of users.

    That website also shows that Shower to Shower was the second most popu lar brand, accounting

    for approx imately 17% of users (for a total of just under 70%).

           35.     In the Article, Dr. Moli ne also rel ies on litigation testing that specifically names

    "Johnson & Johnson Baby Powder" and "Shower to Shower." Ex. A, Moline Article at 14 11. 35.6


    5 The Article asserts that the 33 individuals used 22 different brands of talc. Ex. A, Moline

    Article at 11, 15. Each brand is identified by a letter A through V. The Article contains
    "Appendix 3" for "type of talcum powder used," and provides a publ icly avai lable link to the
    Appendix: http://links.lww.com/JOM/A65 I. Ex. A, Moline Article at 12. The Appendix is a key
    identi tying which brand corresponds to each letter. It identifies Johnson 's Baby Powder as "D"
    and Shower to Shower as "I." Ex. A, Moline Art icle at App'x 3. Of the 33 cases, 19 (over half)
    used Johnson' s Baby Powder (brand "D"). Ex. A, Moline Article at 15. Johnson's Baby Powder
    was used by more individua ls in the Article than any other brand. Ex. A, Moline Artic le at 15.
    6
     Th is testing was conducted by Dr. Will iam Lorngo, another professional plaintiffs' expert
    witness and a central figure in talc litigation. Dr. Longo suffers from a s imi lar flaw to Dr.
    Moline, having falsely testified under oath at least IO times-including in litigation against
    LTL- that before he was reta ined in ta lc cases, h is laboratory had never tested cosmetic ta lc for



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            36.       Notably, however, Dr. Moline did not disclose the names of the 33 individuals

    featured in the Article and has actively a/lemp!ed to conceal the individuals' identities (as

    discussed further below).

            37.       The A11icle states mu ltiple times that the subjects of the Alticle had no 01her

    exposure to asbes/os apart from alleged exposure to asbestos from talcum powder:

                  •   "Objective: To describe 33 cases of malignant mesothelioma among individuals
                      with no known asbestos exposure other than cosmetic talcum powder." Ex. A,
                      Moline Article at 11.

                  •   "Results: Asbestos of the type found in talcum powder was found in all six cases
                      evaluated. Talcum powder usage was the only source of asbestos for all 33 cases."
                      Ex. A, Moline Article at 11.

                  •   " For all 33 cases, other potential exposures to asbestos were considered, with no
                      identified source apart from the talcum powder." Ex. A, Moline Al1icle at 11.

                  •   "The table identifies talcum powder as the only asbestos exposure these patients
                      have experienced. No individual identified any asbestos exposure apart from
                      contaminated ta lcum powder from workplace or household exposures." Ex. A,
                      Moline Article at 14.

                  •   "Like Wagner, we present 33 cases, predominantly of women, who had no known
                      exposure to asbestos other than prolonged use of talcum powder." Ex. A, Moline
                      Article al 14.

            38.       Since publishing the Article, Dr. Moline has doubled down on this proposition,

    testifying that a potential alternative asbestos exposure would have excluded that individual from

    the Article's case series.



    the presence of asbestos. In reality, he had tested. cosmetic talc and not found any asbestos,
    call ing the idea of asbestos contamination an "an urban legend." That all changed when Dr.
    Longo was hired as a plaintiffs' expert in talc litigation. Suddenly, Dr. Longo began to find
    " trace" asbestos in virtually every sample of talc that he tested. His new tactic: Call ii asbestos
    even ifil 'snot. At this point, Dr. Longo will even call talc "asbestos" by using an unpublished
    and self-invented method of detection. Other scientists, including another plaintiff-side expert,
    have said that what Dr. Longo is calling "chrysotile asbestos" is really nothing more than talc.
    But juries, judges, and the American public are told time and again that Dr. Longo has found
    asbestos in talc, including in Johnson's Baby Powder.


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             39.      Indeed, as a North Carolina federal court recently explained, the premise that all

    33 cases did not have other potential exposures to asbestos apart from talcum powder was the

    "principal factual underpinning of the article." Ex. B, Bell Opinion at 22.

             40.      Yet, facts have now come to light making clear that the statement that none of the

    33 individuals had any other exposure to asbestos is simply not true, as described more fully in

    Part Ill below.

             B,       Dr. Moline Repeatedly Republished Her False and Disparaging Statements
             4 1.     Dr. Moline has repeated the false premise of the Article time and time again , in

    myriad settings and with large and varied aud iences.

                      1.     Time Magaz ine Article

             42.      Shortly after the Moline Article became avai lable onl ine, Time magazine

    published a story about the Artic le on October 15, 20 19. Exhibit C, A New Study Suggests

    Tainted Talcum Powder Can Cause a Rare Cancer. Here's How That Could Play Out in the

    Courtroom (Oct. 15, 2019). 7

             43.      Dr. Moline is quoted in the story saying: "This is the first time that anyone has

    said, 'Let me look at all these cases, put it all together and identify the ones where [talc] is the

    sole exposure."'

             44.      She also said: "Everyth ing points to cosmetic talc being the cause" of the

    Article's subjects' mesothel ioma.




    7
        https://time.com/5692129/ta lcum-powder-mesothelioma/.




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                   2.      Romper.com Article

            45.    Dr. Moline similarly gave an intet'V iew for an article on Romper.com which was

    published on October 16, 2019. Exhibit D, Contaminated Baby Powders May Be Linked To

    Rare Cancer, New Study Suggests (Oct. 16, 2019).8

            46.    The subj ect of the Romper piece was the Mo line Article: "ln a case study of 33

    patients, researchers found strong evidence that exposure to asbestos-contaminated talcum

    powder, such as that's often used in baby powders, can resu lt in malignant mesothelioma."

            47.    That article quotes Dr. Moline:

                   •       "All the folks in the study used cosmetic ta lc, usually for decades, and
                           they all had mesothel ioma with no other asbestos source."

                   •        "We cou ldn't find any other source (o f exposure] apart from the cosmetic
                           talc."

                   3.      Asbestos.com Article

            48.    Dr. Moline's Time magazine quotes were reproduced in an October 18, 2019

    article on Asbestos.com, Case Study Shows Asbestos in Talc Causes Mesothelioma.

            49.    The Asbestos.com article emphasizes that: " 'Everything points to cosmetic talc

    being the cause,' co-author Dr. Jacqueline Moline told Time Magazine. 'This is the first time that

    anyone has said, 'Let me look at all these cases, p ut it together and identify the ones where (talc]

    is the sole exposure."" Exhibit E, Povtak T, Case Study Shows Asbestos in Talc Causes

    Mesothel ioma (Jan. 5, 202 1). 9

            50.    Asbestos.com is sponsored by plaintiffs' law firms conc-entrating in asbestos

    litigation.


    8 https://www.romper.com/p/contaminated-baby-powders-may-be-linked-to-rare-fom1-of-cancer-
    study-suggests-l 922I 063.
    9 https://www.asbestos.com/news/2019/ I0/18/talc-mesothelioma-case-study.




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                     4.          Congressional Subcommittee Testimony

            51.      On December 10, 2019, Dr. Mo line testified before a House Subcommittee on

    ta lc and talc litigation.

            52.      The day before, CNBC, Reuters, and Yahoo! Finance all covered the upcoming

    bearing.

            53.      In her written testimony, Dr. Moline stated: "(M]y colleagues and I reported on

    33 individuals with no other identifiable source of exposure apart from cosmetic talc." Exhibit

    F, Written Testimony of Jacqueline Moline at 2. 1 0

            54.      She also repeated in her oral testimony: "This talc exposure was their only

    exposure to asbestos." Exhibit G, Hearing Trans cript at 8 (Dec. I0, 2019).11

            55.      In her testimony, she discussed "Ms. D" (i. e. Ms. Bell discussed at length in Part

    III.B below). Dr. Moline testified that Ms. D "ha.d worked in various industries, including textile

    and tobacco, and had no exposure to asbestos" there. Id. at 9.

            56.      The witnesses who testified and the Representatives speaking throughout the

    seci;sion referred many times to Johnson & Johnson brand talcum powder products.

            57.      Indeed, the subcommittee's chairman began the hearing d iscussing the allegations

    of asbestos in "Johnson & Johnson's talc-based baby powder." Id. at 2.

            58.      And in his opening statement, he displayed images of Johnson's Baby Powder:




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     https://www.congress.gov/ 1 16/meeting/bouse/ I I031 1/witnesses/HHRG- I 16-OO05-Wstate-
    MolineJ-20191210.pdf.
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      https://docs.house.gov/meetings/GO/OO05/20 19 I 210/ 1 l03 I I/HHRG- 116-GO05-Transcript-
    2019 12 10.pdf.


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           59.     The congressional hearing was br-0adcast on C-SPAN, which also posted the

    hearing on YouTube.

           60.     The relevant Congressional Committee put out a press release listing among the

    "takeaways" from the hearing that "Dr. Jacqueline Moline testified that individuals who have

    only been exposed to asbestos through the use of ta lc-based Johnson & Johnson Baby Powder

    have developed mesothelioma." 12

           61.     The websites mesothelioma.com and mesothelioma.net-which are sponsored by

    plaintiffs' law fi rms specializing in asbestos litigation-published articles covering the hearing.13

    One story stated that " Dr. Moline "offered insights from 33 mesothelioma patients who were




    12
      https://oversight.house.gov/news/press-releases/oversight-subcommittee-held-second-hearing-
    on-the-pub Iic-health-ri sks-o f.
    13 https://www.mesothelioma.com/blog/congressiona l-hearing-exam ines-asbestos-detection-in-

    ta lc; https://mesothelioma.net/mesothelioma-news/congressional-hearings-regarding-asbestos-in-
    lalc-features-mesolhel ioma-victims-testimony/.


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    exposed to asbestos from talcum powder" and that "talcum powder was the only instance of

    asbestos exposure among all 33 patients in the study."

                    5.     2020 ADAO "Conversation"

             62.    On May 13, 2020, Dr. Moline participated in an Asbestos Disease Awareness

    Orgai1ization event by Zoom called ADAO Conversation with Dr. Jacqueline Moline & Robert

    Sussman. Discuss Asbestos, Talc, Prevention, and Policy. 14

             63.    During that event, she said of the Article: "What we found in these individuals is

    that these 33 did not have any other known source of asbestos exposure that we could discern

    from the information that we were provided."

             64.    She also said: "(R]eally the whole point of our paper" was "to say that

    mesothelioma can occur in individuals whose sole exposure is to cosmeti c talc."

                    6.     Statement on EPA's Risk Evaluation of Asbestos

             65.    On March 30, 2020, the EPA invited public input on its draft risk assessment of

    asbestos.

             66.    Dr. Moline submitted a comment, which was posted on the EPA 's website on

    May 31 , 2020. Exhibit H, Toxic Substances Control Act (TSCA) Science Adviso1y Committee

    on Chemicals Review of Risk Eva luation for Asbestos, Comment submitted by Jacqueline

    Moline (May 31 , 2020). 15

             67.    In her statement, she wrote: " (M]y colleagues and I reported on 33 individuals

    with mcsothcl ioma with no other identifiable source of exposure apart from cosmetic ta lc."




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         https://www.youtube.com/watch?v=PUiFlYuajjQ.
    15 https://www.regulations.gov/docket/EPA-HQ-OPPT-20 19-050 1/comments'!filter=moline.




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             68.    Dr. Moline's statement was also made available on the Asbestos Disease

    Awareness Organization's website. 16

                    7.     2022 ADAO Asbestos Awareness and Prevention Conference

             69.    On September 17, 2022, Dr. Moline gave a presentation at the 2022 ADAO

    Asbestos Awareness and Prevention Conjerence. 17 That presentation was j ust four days ajier the

    federal district court in Bell {discussed in Section lll) issued its opinion identifying altemative

    asbestos exposures beyond allegedly contaminated talc for one of the individuals in the Article.

             70.    She spoke during Session II: Med!ical Advancements: Diagnosing and Treati ng

    Mesothel ioma and Other Asbestos-Related Diseases.

             7 1.   During her presentation, she spoke extensively about the Article.

             72.    Although the Bell Court had j ust identified alternative asbestos exposures for Ms.

    Bell (aka Ms. D from her congress ional testi mony), and castigated Dr. Moline for stating

    otherwise in her Article, Dr. Moline made no reference to that alternative asbestos exposure.

    Instead, Dr. Moline reiterated once again that, with respect to the individuals referenced in her

    Article, that "[w]e were unaware of any other asbestos exposure apart from talc."

             73.    She also presented a slide regarding her Article stating: "Talcum powder as the

    only asbestos exposure":




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         https://www.asbestosdiseaseawareness.org/wp-content/uploads/2020/05,
                  EPA-Statement.pdf.
    17
         https://www.youtube.com/watch?v=sqW AzNM9SCA&t=20s.


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              Case histories detailed years or decades of talcum powder
              use

           • Moline, er. al (2019):
                    - 33 cases of individuals with maligna11t mesorhelioma
                       Utilized background controls

             Emory, et. al (2020):




                     8.      Dr. Moline Northwell Health Web Bio

           74.       Dr. Moline has a web bio on Northwell Hea lth 's website. Exhibit I, Jacqueline

    Moline, MD, MSc, Fe instein Institutes for Medical Research North well Health. 18

           75.       Even after the central premise of the Article was exposed as false by the Bell

    Court, her web bio to this day reads: "Dr. Moline published the first case series, identifying

    cosmetic talc as the asbestos source leading in m.esothel ioma in 33 individuals."

                     9.      Dr. Moline and Other Plaintiffs' Experts Cite the Article in Court

           76.       In addition to publ icly and widely disseminating her false statements, Dr. Moli ne

    (and other plaintiffs' experts) have routinely referenced the Article in numerous cosmetic talc

    trials across the country. Ex. B, Bell Opinion at 17-18.




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     https://feinstein.northwell.edu/institutes-researchers/our-researchers/jacqueli ne-moline-md-
    msc.


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            77.     After the online publication of the Article, Dr. Moline was disclosed in 58 other

    cosmetic talc/mesothelioma cases against LTL alone, where she began to routinely rely on the

    Article as the centerpiece of her testimony.

            78.     In September 2021, a California state coui1 ruled over LTL's obj ection that

    "Plaintiffs' experts can rely on the Article and sta te that they relied on it."

            79.     Dr. Moline then testified for the first time at an LTL talc trial (Shawn Johnson)

    about the Article.

            80.     That testimony included a statement that she "picked people [for the Article] who

    didn 't have any other exposure other than cosmetic talc" to "the best of(ber] knowledge."

            81.     But during cross examination, Dr. Moline refused to identify any of the subjects

    of the Article: "I will not disclose the name of the individuals in the paper."

            82.     Compounding this prejudice, another of plaintiff's experts (Dr. Allan Smith)

    testified that the Moline Article as a "main source of information that [he is] aware of today" and

    that he relics upon to testify that ta lcum powder causes mcsothclioma.

            83.     Shortly thereafter, in another LTL talc trial (Prudencio), another Californ ia court

    permitted plaintiffs' experts to rely on the Mo line AI1icle and give a summary of it "consistent

    with the establ ished rules of expert reliance."

            84.     And these two LTL trials were not the only cases where an expert has relied on

    the Moline Article. As the No11h Carol ina federal court explained: "other expert witnesses have

    begun relying on the article for the basis of their opinions." Ex. B, Bell Opinion at 17-18.

            85.     In 63 other cases against LTL, a combined 20 other plaintiffs' experts relied on

    the Moline Article in either their deposition or court disclosure-s: Ors. Brody, Castleman, Cohen,




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    Compton, Dodson, Egilman, Emory, Finkelstein, Gordon, Haber, Hom, Kanarek, Kradin, Longo,

    Maddox, Madigan, Radecki, Rigler, Verschraegen, and Zhang.

                86.   Evea here, in the LIL bankruptcy, the Article already has made an appearance.

    More specifically, when Mr. Satterley moved for relief from the prelimina1y injunction enforcing

    the bankruptcy stay on litigation, he subm itted an expert affidavit which relied on the Moline

    Article. And as recently as December 15, 2022, Mr. Satterley subm itted an update to this Court

    with an expert repo1t from a different expert witness that also relied upon and cited to the Moline

    article.

    III.        Dr. Molin e K new Her Statements Wer,e False or Recklessly Ignored Ava ilable
                Information Demonstrating T heir Fals ity ,vhco Made

                87.   When Dr. Moline published her statements in the public domain, to the scientific

    community, and in various courts across the counuy, she knew that the premise of her position-

    that she conducted a study of 33 mesothel ioma patients whose sole exposure to asbestos was

    through talc powder-was false or recklessly ignored available infom1ation demonstrating its

    fals ity.

                88.   The truth is that Dr. Moline was intimately familiar with the case histories of the

    33 individuals referenced in the Article from her role as a plaintiffs ' expert in the underlying tort

    cases in which those ind ividuals had asserted claims against LTL and others.

                89.   In other words, Dr. Mol ine knew full well that Ms. Bell, which the Article counts

    amongst the 33 individuals and whom she referenced repeatedly in various public statements

    inside and outside litigation, as well as others, had admitted to and claimed compensation for

    exposure to asbestos from other sources, or recklessly disregarded substantial evidence of

    alternative exposure.




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              A.     Dr. Moline's Intimate Knowledge of the True Asbestos Exposures of the 33
                     Individuals Referenced in the Article

              90.    To tru ly understand Dr. Moline's famil iarity with the 33 individuals covered in

    the Article, one must start with the very first cosmetic talc/mesothel ioma case to go to trial

    involving Johnson's Baby Powder-a case called He,ford, in which Dr. Moline was one of

    plaintiffs' key experts.

              9 1.   During the He,ford trial, Dr. Moline testified: "There are about 41 cases of

    individuals that I' ve reviewed records of[or] have in some cases had the opportunity to

    evaluate." Earl ier, she had acknowledged in her deposition that all 41 of those cases involved

    people who came to her through litigation- in other words, each of them were plaintiffs in

    mesothelioma cases.

              92.    Dr. Moline was examined at trial about her record review and evaluation of the 4 1

    cases. When asked "And would those evaluations include learning about their occupational and

    environ.mental history of exposures," Dr. Moli ne responded: "Yes."

              93.    On the Northwell website, Dr. Moline is quoted as saying that it is " important to

    take a comprehensive exposure history when eva luating patients presenting with cancers like

    mesothelioma." 19

              94.    Notably, the Neiford court precluded Dr. Mo line from testifying about her

    conclusions regarding the 41 individuals because she had eva luated them in "mcdicolcga l

    mailers" not in the "clinical context. "




    19
         https://feinstein.northwell.edu/news/the-latest/talc-powder-exposure-linked-to-mesothel ioma


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           95.     For the same reason, other courts thereafter repeatedly barred Dr. Moline from

    offering testimony on her litigation case review of these various plaintiffs.20 And so, for a period,

    Dr. Moline was stymied.

           96.     But Dr. Moline ultimately pivoted. To circumvent these piling and adverse

    rnlings, Dr. Moline pub lished the Article to add a veneer of credibility to the other plaintiffs she

    wanted to testify about, and her claim that their sole source of asbestos exposure was talcum

    powder.

           97.     That veneer has been dispelled by recently uncovered evidence disclosed in the

    Bell decision that demonstrates, unequivocally, that Ms. Bell 's exposure to asbestos reaches well

    beyond exposure to talc, as Dr. Moline knew full wel l.

           B.      The Record Now Shows that Individuals in the Article Claimed Exposures to
                   Asbestos from Sources Other than Talc

           98.     In September 2022, the Bell court unvei led the "concerning" contradiction

    between (1) Dr. Moli ne's representations that he:r study was con fined to individuals whose so le

    exposure to asbestos was talc, and (2) the evidence that she knew they had other exposures.

    Further scrntiny of the record indicates that th is concern ing contradiction extends beyond the

    individual who was the plaintiff in the Bell case.

                   1.      Case #9

           99.     The falsity of the Moline Article was most recently revealed in the context of the

    Bell case.



    20
      Fong et al. v. Johnson & Johnson , et al., No. BC675449 (Super. Ct. Ca., L.A. Cnty.); Hayes v.
    Co/gate-Palmolive Co., et al., No. 16-CI-003503 (Jefferson Cir. Ct., Ky.); Olson et al. v.
    Brermtag North America, Inc., et al., No. 190328/2017 (Supr. Ct. N.Y., N.Y. Cnty.); Pipes v.
    Johnson & Johnson, et al., No. CJ-2017-3487 (Dist. Ct., Okla. Cnty., Okla.); Lanzo v. Cyprus
    Amax Minerals Co., et a l., No. MID-7385-16 AS (Super. Ct. N.J., Middlesex Cnty.); Weirick v.
    Brenntag N. Am., Inc., No. BC656425 (Super. Ct. Ca., L.A. Cnty.).


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            100.    There, another talc defendant, American International Industries ("All"), was able

    to uncover critical evidence regarding Case #9 from the Mol ine Article: Betty Wh itley Bell

    (a.k.a . "Ms. D").

            10 I.   Ms. Bell worked most of her career as a hairdresser. She alleged using "Clubman"

    brand talc powder for over thirty years, beginn ing in the 1970s. She was diagnosed with

    mesothelioma in July 20 15. Ex. B, Bell Opin ion at 2.

            102.    Ms. Bell filed workers' compensation claims with the North Carolina Industrial

    Commission in September 201 5, asserting, under crim inal penalty for fa lse statements, that she

    was exposed to asbestos duri ng prior employment with two texti le employers-Hoechst

    Celanese Corporation and Pillowtex Corporation. Ms. Bell 's worker's compensation claims were

    eventually dism issed without prejudice. Ex. B, Bell Opinion at 2.

            103.    Ms. Bell filed a lawsuit2 1 in February 20 17, argu ing that exposure to asbestos in

    Clubman talc powder-not from her prior employment with texti le manufacturers-caused her

    mcsothcl ioma: Bell v. Am. I m'/ Indus., No. 17-cv-111 (M.D.N.C). 22

            I04.    Ms. Bell's workers' compensation claims were discussed at her deposition and

    included on Dr. Mol ine's list of materials reviewed in her 2016 expe11 repo11 in Ms. Bell's case.

    That means Dr. Mol ine knew or recklessly ignored a vailable information at the time she wrote

    and published the Article. Indeed, the Article itself states: "Data gathered for all 33 patients were




    21
      Ms. Bell passed away in June 20 17. The executor of her estate, Lloyd Bell, was substituted as
    Plainti ff in this action after Ms. Bell passed.
    22
      Attempting to hide or ignore asbe,stos trust claims is nothing new in cosmetic talc litigation. In
    one matter with LTL, the plaintiffs' law firm Weitz & Luxenberg (a firm that has reta ined Dr.
    Moline 30 times in cosmetic ta lc cases against LT L) failed to turn over asbestos trust c laims that
    they prepared themselves and were legally obl igated to provide.


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    gathered from each individual's medical records and sworn testimony (deposition transcripts) of

    individuals." Ex. A, Moline Article at 11.

            I 05.   Because the facts of Ms. Bell's case paralleled the description of Ms. D in Dr.

    Moline's congressional testimony, defendant AIi-who bad purchased the Clubman brand in the

    late I980s- suspected that Ms. Bell was one of the 33 anonymous individuals included in the

    Article. Ex. B, Bell Opinion at 4.

            106.    In a deposition for a different mesotbelioma c.ase, All asked Dr. Moline for
    specific information about the 33 individuals from the Article. As she did in the LTL cases, Dr.

    Moline decl ined to answer, claiming conlidentiaUity concerns. Ex. B, Bell Opinion at 4.

            107.    Instead, the plaintiffs counsel advised All that if it was determined to continue

    seeking information regarding the 33 individuals, it would have to subpoena Northwell Health

    (Dr. Moline's employer). When All did so, p laintiffs counsel moved to quash the subpoena. Ex.

    B, Bell Opinion at 4-5.

            I 08.   But All persisted. And after All provided Northwcll with a HlPAA authorization

    form signed by the plaintiff, Northwell produced! a single five-page document. The document is a

    spreadsheet containing information on each of the 33 individuals studied in the Article.

    Importantly, the entire document is redacted except for the row headings and the column listing

    Ms. Bell's information, wh ich identified her as Case #9. Ex. B, Bell Opin ion at 5:




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         Bell


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        •-- ---
                         Betty Rose


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                                                         7/20/2016




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            I 09.
                                                      --      ••
                    Upon learning that th is document had been disclosed, plaintiff's counsel filed an

    emergency motion for a protective order to preclude any inquiry into the identities of these

    individuals. The motion also sought the destmction of all copies of the Northwell document and

    requested that the document not be disseminated in Ms. Bell's case or any other forum . Ex. B,

    Bell Opinion at 5.

            I JO.   The plaintiff's counsel also reported All's counsel to the Department of Health &

    Human Services for supposedly violating Ms. Bell's HTPAA rights. Counsel "requested" that

    Northwell claw back the document, threatened to also report Northwell's counsel to HHS ifhe

    did not, and stated that she was "considering reporting [his] violation to the New York bar as th is

    is a staggering breach."




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       Please provide all correspondence with counsel for All and a copy of the HIPAA.

       I have reported Mr. -        to HHS for violating Ms. Bell's HIPAA rights. I again renew my request
       that you immediately claw back this production or I will have no choice but to report you as well.

       We will be filing a motion for a protective order and sanctions against Mr. -           in the Bell matter.
       I am also considering reporting your violation to the New York bar as t his is a staggering breach. You
       had no right to produce any information regarding my client based on the misuse of a HIPAA
       aut horization provided to you not by my client and without any notice to my client while a motion to
       quash was pending. I am just flabbergasted by your reckless conduct.



            111.    The plaintiff's counsel later conceded in court that none of the information in the

    document Northwell provided to All is HIPAA protected and therefore no HIPAA-protected

    infonnation was at risk of disclosure. Ex. B, Bell Opinion at 36. All had in any event provided

    Northwell with a HIPAA authorization form signed by the plaintiff. Ex. B, Bell Opinion at 5.

            112 .    In ruling on the plaintiff's motion for a protective order, the magistrate judge held

    that the Northwell document could be used in Ms. Bell's case, but that it, and the infonnation

    therein confirming Ms. Bell was one of the 33 individua ls the Article stud ied, was "confidential

    and limited solely to this case." The magistrate j udge expl icitly stated that this lim ited protective

    order could potentially be reconsidered as the case progressed. Ex. B, Bell Opinion at 6.

            113.    In response, No11hwell filed a Motion to Intervene and Extend Protective Order

    and sought to prevent defense counsel from questioning Dr. Moline about any link between Ms.

    Bell and the Article. Ex. B, Bell Opinion at 6.

            114.     Before Northwell's motion was adjudicated, the plaintiff essentially wi thdrew Dr.

    Moline as an expert by not offering her deposition by the court-ordered deadline. Accordingly, in

    February 202 1, the magistrate j udge denied Northwell 's intervention motion as procedurall y

    moot and untimely, as well as substantively meritless. Ex. B, Bell Opinion at 6.




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            115.   A few months later, All fi led a motion requesting that the court vacate the

    magistrate judge's protective order so that the information that it had learned could be used in

    defending other cases. Ex. B, Bell Opin ion at 6-8 .

            116.   The Bell com1 did in fact vacate the earlier protective order-allowing the

    Northwell document to be used in other cases- and unsealed numerous items on the docket. Ex.

    B, Bell Opinion at 36-40.

            117.   The coui1 took great lengths to ex.plain why the revelations uncovered in Bell

    should be made publicly available. The court began by observing the impact of the revelations on

    the Article's credibi li ty: "Ms. Bell's employment history, as well as her belief that she may have

    been exposed to asbestos during her texti le employment, undermines the weight of Dr. Moline's

    finding that each of the '33 cases ... had no known exposure to asbestos other than prolonged use

    of talcum powder."' Ex. B, Bell Opinion at 16.23

            118.   It went on: "The fact is that at least one study participant reported to a state

    agency that she did have another known asbestos exposure, at least one known to the study

    partic ipant. Given the groundbreaking nature o f the article and its express premise that all

    individuals stud ied had no known alternative asbestos exposures, the fact that one of the

    individuals clai med otherwise has d irect bearing on the study's credibility. This court expressed

    concern about th is seeming contradiction before and does so again." Ex. B, Bell Opinion at 17.




    23
        It' s telling that one of the co-authors of the Mo line Article is pathologist Dr. Ronald Gordon,
    an individual who bas served as a plaintiffs expert witness in asbestos and cosmetic talc
    litigation. Dr. Gordon was arrested in the early l 990s for conspiracy to commit bank fraud and
    money laundering, and he admitted to committing those crimes in the course of testifying as a
    cooperating witness aga inst a co-defendant. Yet Dr. Gordon repeatedly provided false testimony
    concerning this incident, including falsely testifying that be bad never been arrested ; never
    falsified a document; and that he had on ly ever testified in court as an expert witness.


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             119.   The com1 stated its "concern is magnified considering the influence the article has

    had on cosmetic talc litigation nationwide." Ex. B, Bell Opinion at 17.

             120.   The court pointed to the fact that "Dr. Moline gave testimony discussing her

    article in a California state com1 cosmetic talc trial" and that " plaintiffs counsel relied on Dr.

    Moline's artic le in his closing argument to connect cosmetic ta lc exposure to asbestos." Ex. B,

    Bell Opinion at 17.

             121.   Part of the court's concern included that "other expert witnesses have begun

    relying on the article for the basis of their opinions." And the court even noted that "(w] hen

    entering bankruptcy because of cosmetic talc liabi li ties, one prominent cosmetic talc seller [i.e.,

    LTL) specifically discussed the at1icle's integral role in supporting the plaintiffs' claims." Ex. B,

    Bell Opinion at 18.

             122.   The court concluded: "In th is case, a pri ncipal factual underpinning of the article

    is that in all thirty-three cases studied 'no identified source apart from the talcum powder' was

    identified. The absence of any specific information on the identities of the ind ividuals studied

    precludes inquiry into the basis of the factual underpinn ing ofno known exposure to asbestos

    other than talcum powder." Ex. B, Bell Opinion at 22.

             123.   Lest there be any doubt about the brazenness of Dr. Moline 's knowing or reckless

    disregard for the truth, at a publ ic conference on September 17, 2022- just four days after the

    Bell cou1t issued its decision confuming Ms. Bell's c laims for compensation from other sources

    of asbestos exposure and Dr. Moline's knowledge of the same- Dr. Moline again asserted that,

    with respect to the cases in her Article, she was " unaware of any asbestos exposure apart from

    talc."




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            124.    In other words, even now and despite the Bell order, Dr. Moline refuses to

    acknowledge that the foundational premise of the Article has been proven false.

            125.    What's more, although Ms. Bell's example was recently uncovered after

    extensive discove1y efforts in North Carol ina federal court, she is not the only individual in the

    Article with other asbestos exposures. The record demonstrates that additional individuals in the

    Article had a lternative sources of asbestos exposures beyond alleged contamination in talc.

            126.    What LTL and others have now found is that (I) there are several case.sin the

    Article that can be matched back to specific litigation plaintiffs wi th documented alternative

    asbestos exposures, and (2) these alternative asbestos exposures were known to Dr. Moli ne, but

    not disclosed in her A11icle.

            127.    Below are four additional exampl,es where it appears that alternative sources of

    exposure were present and known to Dr. Moli ne at the time the Article was written:

                    2.      Case #6

            128.    The falsity of the Moline Article is also evident given the information uncovered

    in the Lanzo case.

            I 29.   In 2016, Stephen Lanzo brought a claim against LTL alleging that he was exposed

    to asbestos through use of Johnson's Baby Powder.

            130.    Dr. Moline served as an expert witness in Mr. La nzo' s case against LTL-she

    served an expert report, sat for deposition, and testified at trial.

            131.    During the course of that case, alternative sources of asbestos exposure beyond

    alleged contamination in ta lc were identified. Additionally, evidence of the presence of

    commercial asbestos- not a type of"asbestos" a.llegedly present in Johnson's Baby Powder-

    was found in plaintiffs tissue.

            132.    Despite th is, Dr. Moline included Mr. Lanzo in her Article as Case #6:


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                                              Mr. Lanzo                            Case #6
                                                Male                                Male
                                                2016                                2016
       A e At Diaonosis                          43                                   43
       Mesothelioma Site                     Pleural                            Pleural
     Talcum Powder Brand              Johnson's Bab Powder              D Johnson's Baby Powder
      Estimated Years Of
                                                 40                                   40
             l/se
          Occupation
                                               Finance                             Finance

                                  Moline Expert Report at 5, 14           Moline Article at 13-14
                                    "developed chest pain after          "developed chest pain after
                                     playing hockey in 2012"              playing hockey in 2012"

                                   "Mr. Lanzo recalled using the         "Case 6 reca lled us ing the
                                  talcum powder in the bathroom        powder in the bathroom and in
                                     or his room, and that there       his room, and that there would
                                  would be powder on the floor."          be powder on his floor."

                                  "He applied the talcum powder       "He appl ied the talcum powder
                                    to his torso, gro in, legs and    directly to his torso, groin, legs,
                                   back, often twice a day after        and back, often twice a day
                                             showering."                      after showering."

                                  "He recalled getting mouthfuls       "He recalled getting mouthfuls
                                      of powder during the                 of powder during the
                                          application."                        app lication."



           133.    As further background, Dr. Moli ne states in her Article that "crocidolite" asbestos

    fibers "are encountered in cases of industrial andl occupational exposure, 11ot cosmetic talcum

    powder." Ex. A, Moline Article at 14 (emphasis added).

           134.    Dr. Moline knowingly made false statements or recklessly ignored available

    information demonstrating their fa ls ity when she stated in her Article that crocidolite asbestos

    was not found in the tissue of Case #6.




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             135.     Specifically, she state,s that "tissue samples from six patients were analyzed"

    (including Case #6) and that "(a]mosite and crocidolite, asbestos fibers ... were notfo1111d in

    any of these cases." Ex. A, Moline Article at 14 (emphasis added).

             136.     But in fact, crocidolite asbestos was found in the tissue of that Case #6--Mr.

    Lanzo.

             137.     In the Lanzo case, Plaintiff's expert Mr. Lee Poye analyzed Mr. Lanzo's tissue

    and found crocidolite asbestos:



                                      Asbestos by TEM - Gordon Grids Lanzo Case                                     •0 •~         nc
                                                                       LAB WORKSHEET                                ..
              Custome,: Joseph D. Satterley, Esq.                                                 Sample Number:    Gordon Grids
              J3 o,der #: JH1895372                                                                        Gflds:   lA•lD
                                                     HiRh Ma11nification Scan at 15.000X
               G,ld G.0. #      Non•    Asbes-tos-                                               lmaoes
                               Asbestos   Talty       l>cWiµ m)                TYPE             Momt.olo
                                                                                                                      Comment$
                                                                                          EDS              SA£D
               1B     84                                                    Oamae.ed
                      BS                                                    DamaR.ed
                      86                   NSO
                      87                     4         30 X 1.00            Crocidoltte   v.,      14               AJlG lndenttfled




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                      88                   NSO


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                                                                                                        Lee Poye
                                                                                                Plaintiff's Expert


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               138.    Defense expert, Dr. Matthew Sanchez, also found crocidolite in Mr. Lanzo's

    tissue:


          85      Field 75%intact               NSD
          86                                    NSD
          B7      1          27.5   0.5      Amphibole        F    NaMgSiFe V   ..;   ..;   Crocidolite
          B8                                    NSD
          B9                                    NSD




                                                                   Matthew Sanchez
                                                                    Defense Expert




               I39.    The statement in the Moline Article that no crocidol ite was found in the tissue for

    Case #6 is false.24

               140.    Dr. Moline also stated in her Article that the exposure data she obtained included

    "known abatement of asbestos while the patient was in school, home renovations that might have




    24
       Ignoring or concealing tissue analyses is also not a new tactic. ln one case aga inst LTL,
    plainti ffs' law firm Kazan, McC lain, Satterley & Greenwood (another firm that has retained Dr.
    Moline as an expert witness in cases against LTL) hid its expert's tissue analysis because he
    found no asbestos. The firm never produced the expert's voluminous analysis even though it was
    required to be disclosed under both the relevant California ruks of evidence and a case-specific
    deposition notice. And while the expert testified under oath that he did not know whether he ever
    tested the specific p laintiff's tissue, emails later leave no question that he did and knew that he
    did at the ti me of the false testimony.


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    used asbestos containing materials, and any other potential sources of asbestos exposure." Ex. A,

    Moline Article at 11.

           141.    But she testifi ed at Mr. Lanzo's trial in 2018 (before her Artic le was published)

    that 60 linear feet of exposed asbestos pipe was removed from Mr. Lanzo's basement. She had

    reviewed the asbestos record of abatement.

           142.    Dr. Moline also testified that she understood that the basement was a family room

    with a TV and couches, and that Mr. Lanzo spent time in the basement.
           143.    Case #6 is one of the cases Dr. Moline discusses in detail in her Article. Yet she

    does not mention the asbestos pipe in the basement as a potential source of exposure. She instead

    says that other potential exposures to asbestos were considered, with no identified source apa11

    from the talcum powder.

           144.    Mr. Lanzo also had potential exposures from bis schools.

           145.    In his elementary school, damage to the asbe,stos pipe insulation was found in

    multiple locations, includ ing hallways, classrooms, the lunchroom, and the boys ' locker room.

           146.    In the school he attended from grades 1-4 , the school district found what

    amounted to 64 bags of friable asbestos-containing material which would have been present

    while he attended (and removed after he left).

           147.    In the school he attended for grade 5, large amounts o f friable asbestos were

    found and removed from the boys' bathroom and classrooms in the years after his attendance.

           148.    In his midd le school, abatement records show that asbestos-containing material

    was removed from classrooms a fter Mr. Lanzo was a student at the school. At one point, 67 bags

    of friable waste was removed from the school. All this asbestos would have been present when

    Mr. Lanzo was there.




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           149.    In his high school, hundreds of bags of friable asbestos were removed. The school

    district removed 200 square-feet of friab le asbestos from the ground-floor lobby from 1989-

    1992-meaning some of the asbestos was removed during Mr. Lanzo's j unior and senior year.

           150.    Dr. Moline stated in her a11icle that she considered "known abatement of asbestos

    whi le the patient was in school." Ex. A, Moline Article at 11. But she did not mention any of the

    abatement in Mr. Lamw's schools in her Article.

                   3.      Case #17
           151.    Plaintiff Helen Kohr filed a claim against other cosmetic talc defendants alleging

    that she was exposed to asbestos in their products.

           152.    Dr. Moline appeared as an expert in Ms. Kohr's case.

           153.    Upon infomiation and belief, Case #17 is a likely match for Ms. Kohr:

                                             l\1s. Ko-hr                Case #17
              Gender                            Female                   Female
        Ycar of Dia nos is                       2015                     2015
         Age At Diagnosis                          80                       81
        l\1esothelioma Site                Pleural Epithel ial      Pleural Epithel ial
      Talcum Powder Brand                                           hm
                                 -    ~'-" =~~=~===~ -~~= , u
     Estimated Years Of Use                       40                       40
          Occu ation                        Qffice_\\:'.Prker  :::J  Of ,c Woke


           154.    Dr. Moline's own expert report in Ms. Kohr's case from 20/ 7 (well before her

    Article was published) stated that Ms. Kohr was exposed to asbestos-containing cigarettes

    known as Kent cigarettes.

           155.    Dr. Moline's report stated: "Ms. Kohr was exposed to asbestos from Kent

    Micronite cigarettes, wh ich she smoked from 1952- 1956 when crocidol ite asbestos was used in

    the filters" (emphasis added).




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       Powder and in more recent fiber release studies of samples of these products. The bulk
       analysis and fiber release studies done recently by Fitzgerald and others from ore taken
       from the same source mines as those used in the manufacnire of the Cashmere Bouquet
       and Coty products showed significant amounts of chrysotilc, anthophyllite, and trcmolitc
       asbestos. s Kohr was ex1ms"ecl to as ,e;,cos from Kent Mieronite 'igar tes , • 1ich sl
       smoked from !952-19S-6 w 1c11 crocido htc asbestos was used mt 1c filters. Snidies have
       shown that each filter contained IO milligrams of crocidolite asbestos and that m illions of
       fibers of asbestos were released into the lungs during smoking. Dr. Steven Compton has
       personally evaluated Kent Micronite cigarettes and noted crocidolite asbestos fibers
       present in the Micronite filter. Longo et al tested Kent cigarettes (Cancer Research 1995)
       and noted croeidolite fibers in both the-filte-rs and in the cigarette smoke itself.



           156.    She even stated the Kent cigarettes were a cause of the plaintiff's mesothelioma:

                   a.     "Her exposures to asbestos-contaminated face powder and asbestos-

           contaminated body powder ,md to Kent cigarettes were the cause of her mesotbelioma"

           (emphasis added).

                   b.     "Ms. Kohr had malignant mesothelioma of the pleura as a result of her

           exposure to asbestos from Kent cigarettes and cosmetic talc" (emphasis added).

           157.    But, in her Article, Dr. Moline represented that Case #17 bad no exposures to

    asbestos other than ta lcum powder. If Case # 17 is Ms. Kohr, Dr. Moline's statement that there

    were no other asbestos exposures for Case #17 is knowingly false.25

                   4.     Case #3

           158.    Plaintiff Doris Jackson fi led a claim against other cosmetic talc defendants

    alleging that she was exposed to asbestos in their products.

           159.    Dr. Moline appeared as an expert in Ms. Jackson's case.



    25 Although this particular case did not involve claims against LTL, it serves as a stark example

    of Dr. Moline's will ingness to make statements regarding the lack of exposures that she knew
    were false.


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           160.     Upon infom1ation and belief, Case #3 is a likely match for Doris Jackson.

                                            I\ Is ..Jack son         Case #3
              Gender                   Female                        Female
                                        2014                           2014
                                         84              J              84
       l\lesothelioma Site        Pleural Biphasic               Pleural Biphasic
     Talcum Ponder Brand         Cashmere Bou uet               Cashmere Bou uet
     Estimated Years Of Use              70                             70
           Occu ation       _ Elementary School .Teach<'W L ilementary School .Teacher:::]
         Tissue Di •estion              Yes                            Yes
        Asbestos Type in             Tremolite                      Tremolite
            Di •estion
           Site Found            Lung, Lymph Node              Lung, Lymph Node
          Concentration               0; 9,409                       0; 9,409
                                   Moline Expert Report at 3-4              Moline Article at 12

                                   "developed shortness of breath      "In September 2014, Case 3 ...
                                     with exertion in September         developed shortness of breath,
                                    2014, along with a cough and        a cough, and chest tightness."
                                         chest tightness..."

                                    "a chest x-ray showed a very        "A chest x-ray in November
                                     large left pleura l effus ion."     20 I 4 showed a large left
                                                                              pleura l effusion"



           161.     A medical record history form from Ms. Jackson's exam ination with Dr. Robert

    Cameron included a handwritten statement that she bad been exposed to "[c]eil ing pipes with

    degrading insulation" during her more than 30-year career as a public school teacher.

           162.     Dr. Moline noted the evidence of alternative exposure in her expert report for the

    Jackson case:


                Dr. Robert Cameron, a thoracic surgeon, saw Ms. Jackson on Febrnary 4, 20 15. In
        her ullake fonn. ,he noted that ,he wa, expo,ed for o,·er thllt • ca to ceihng_p1pe, with
        degrading 111,u a11on wink worl;mg a, a teacher 111 the DC Public School,. An MRJ o f the




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           163.    But, in her At1icle, Dr. Moline represented that Case #3 had no exposures to

    asbestos other than talcum powder. lfCase #3 is Ms. Jackson, Dr. Moline 's statement that there

    were no other asbestos exposures for Case #3 at least recklessly disregards available information.

                   5.     Case #4

           164.    Plaintiff Valerie Jo Dalis filed a claim against other cosmetic talc defendants

    alleging that she was exposed to asbestos in their products.

           165.    Dr. Moline appeared as an expert in Ms. Dalis's case.

           166.    Upon infomiation and belief, Case #4 is a likely match for Ms. Dalis.

                                                !\Is. Dalis                 Case #4
               Gender                             Female                     Female
          Ycar of Dia nosis                        20)4                       20 14
          A e At Dia nosis                          66                          66
         Mesothelioma Site                Peritoneal Epithelial       Peritoneal E ithelial
       Talcum Powder Brand                             uct Mcnnr u Cashmc
       Estimated Years Of Use                       30                          30
             Occu ation                        Baird esser                 Hairdresser
           Tissue Di •cstion                       Yes                         Yes
    Mttlt4Slltiillil,■ Ui44➔1hi,i              Chrysotile                  Chrysotile
             Site Found                        Peritoneum                  Peritoneum
            Concentration                           20                          20
                                      Moline Expert Report at 10            Moline Article at t 3

                                       "Ms. Dalis had additional           "Case 4 had additional
                                      exposure to talcum powder        exposure to talcum powder in
                                      when working as a licensed       the 1960s while working as a
                                            cosmetologist"                licensed cosmetologist"

                                      "She shook the powder onto           "She shook the talcum
                                        the necks and wiped the        powder onto the client's neck,
                                       powder off with a brnsh or      and wou ld wipe off the excess
                                              blow dlrycr."             with a brush or blow dryer."

                                         "She described wearing        She also used talcum powder
                                       gloves on a regular basis to      inside the gloves that she
                                       apply color, and she had to     donned prior to applying hair
                                        blow the powder into the                  color."
                                                gloves."



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            167.   Before Ms. Dalis filed her complaint against another cosmetic talc defendant, she

    subm itted an asbestos bankruptcy trust c laim for $450,000 and collected over $28,000 from the

    Manvill e Personal Injury Settlement Trust.

            168.   The Moline Article states: "Talcum powder exposure histories were reviewed

    based on sworn testimony by patients and in some cases, family members with first-hand

    knowledge of the use of talcum powder, such as parents who recalled using talcum powder whi le

    diapering the patient." Ex. A, Moline Article at 12.

            169.   The bankruptcy submissions were discussed at Ms. Dalis's deposition and her

    husband's deposition.

            170.   But again, in her Article, Dr. Moline represented that Case #4 had no exposures to

    asbestos other than talcum powder. If Case #4 is Ms. Dalis, Dr. Moline's statement that there

    were no other asbestos exposures for Case #4 is false.

    IV.    Dr. Moline and Plaintiffs' Counsel Concealed the Fa lsity of Her Statements

            171.   During the time Dr. Moline has been repeating this falsehood that none of the

    individuals in her Article had alternative exposures to asbestos, she, her employer, and plaintiffs'

    counsel resisted efforts by others to obtain infornnation about her cases which wou ld uncover the

    Article's false premise.

            172.   On IO separate occasions, Dr. Moline refused to testify at her deposition in cases

    against LTL regarding the identities of the individuals in her Article. For example:

               •   November 2019: "I will not comment on any further cases that might or might
                   not be included in the paper."

               •   February 2020: " I will not name names in this deposition. That is correct."

               •   June 2020: "I am not wi ll ing to d!iscuss any names of any of the individuals in the
                   paper of any of the 33."



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                 •   January 2021: "I decline to disclose the identi[t] ies or facts apart from what is
                     described in the paper, and my feelings on this have not changed or my position
                     on that has not changed."

              173.   In one instance, Dr. Moline bizarrely testified at her deposition that she could not

    identify " Ms. D" from her congressional testimony (i.e., Ms. Bell) because Ms. D was "based on

    an amalgam of different folks."

              174.   But when asked, "So is Ms. Done person'?" Dr. Moline responded, "In essence,

    yes."

              175.   She then refused to identify Ms. D : "Ms. D does have a real name. I will not

    disclose it because it was from one of the individuals in my paper."

              176.   She would not even answer the basic question: "Were there any documents that

    you saw that alleged exposure to asbestos other than from talc?"

              177.   She then refused to answer any questions regarding Ms. Bell's case.

              178.   A detendant moved to compel Dr. Moline's testimony identi fying the individuals

    in her article. Dr. Moline, her employer (Northwell Health), and the plaintiff all opposed the

    motion.

              179.   As noted, Ms. Bell 's example was only recently uncovered after extensive

    discovery efforts in No11h Carolina federal court.

    V.      Dr. Moline Was Motivated by Fame arnd Fortune

              180.   Dr. Moline disparaged Johnson's Baby Powder and Shower to Shower for her

    own professional aggrandizement and financial gain.

              181.   The Article in part represented an attempt to gain publicity and enl1ance her own

    stature within the scientific community.

              182.   In the Article, Dr. Moline attempts to explicitly align herself with one of the two

    most preeminent scientists in the asbestos space: Dr. J. Christopher Wagner. As the Article


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    describes, Dr. Wagner published a famous and groundbreaking article in 1960 concerning 33

    mesothelioma cases, which was the first epidemiology study linking asbestos exposure with the

    development ofmesothelioma. Ex. A, Mol ine Article at 11. Not coincidentally, Dr. Moline chose

    33 cases for her study, and was quick to make the connection: "Like Wagner, we present 33

    cases...." Ex. A, Moline Article at 11.

              183.   Dr. Moli11e also tirelessly promoted herself by using tbe Article, discussing it

    publicly at speaking engagements, before Congress, and to the media, as discussed above.
              184.   Her employer, Northwell Health, also used the Article to promote Dr. Moline. It

    ran a prominent story concerning the Article on its website, saying: "For the first time,

    Jacqueline Moline, MD, MSc, professor in the Institute of Health lm1ovations and Outcomes

    Research at The Feinstein Institutes for Medical Research, and her colleagues have identified

    household talcum powder contaminated with asbestos as tbe root cause of malignant

    mesothelioma in 33 long-tenn users, as published in the Journal of Occupational and

    Environmental Medicine."26

              185.   The web story repeated the false premise of the Article: "The patients had no

    other known exposure to asbestos, and in the six detailed, the tissue analysis revealed the

    presence of asbestos commonly found in talc and not that found in other commercial products,

    such as automobile brakes or home insulation materials. It was determined that the 27 other

    individuals in the study were also linked to contaminated talcum powder, as they had no

    additiona l exposure to asbestos."




    26
         https://feinstein.northwell.edu/news/the-latest/talc-powder-exposure-linked-to-mesothel ioma


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             186.    Beyond j ust the recognition the Article brough Dr. Moline, the asbestos plaintiffs '

    bar pays Dr. Moline hundreds of thousands of dollars a year to serve as an expert witness to help

    them win j ury verdicts. Th is litigation work represents nearly half her income.

             187.    Those verdicts then help fund plaintiffs' law firms, who typically receive a large

    percentage of the verdict amount (often in the mill ions of dollars). That money is then used, in

    part, to hire Dr. Mol ine for tbe next case.

             188.    To keep this cycle in motion and the money flowing, Dr. Moline has every

    incentive to try to help the p laintiffs' bar as much as possible, both by trying to sway publ ic

    opinion and by manufacturing support for what she is saying in court.

             189.    To be clear, Dr. Moline did not publ ish the A11icle or make tbe challenged public

    statements to advance academic or scientific discourse. Nor did she do so with the intent to

    advance the interests of any particular talc plaintjff Rather, Dr. Mol ine acted 10 further ber own

    interest, gain fame, and gain fortune for herself.

             I 90.   By helping the plaintiffs' lawyers, she ultimately was helping herself.

    VI.      Dr. Moline's Statements Perpetuated a Decades-Long Fraud in Asbestos Litigation

             191 .   The circumstances surrounding the Moline Article, including her knowing or

    reckless misrepresentations and subsequent effo11s to conceal pertinent facts, may at first blush

    appear difficu lt to believe. But, sadly, Dr. Mo line's actions fit a pattern of fraud both in the

    cosmetic talc litigation specifically and asbestos litigation writ-large.

             192.    One of the most egregious problems-central to the asbestos plaintiffs' bar's

    business model-is submitting c laims against mu ltiple defendants, without disclosing to each

    successive defendant the prior assertions predica ted on alternative uses . Then the sheer volume

    of claims is used to coerce portfolio settlements that don't reflect the merits of each individual

    claim.


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            193.   The Garlock proceedings are a famous example of fraud by hiding alternative

    exposures.

            194.    A North Carolina bankruptcy cou-rt found evidence of "wide-ranging, systematic,

    and well-concealed fraud designed to suppress evidence and inflate settlement values for

    mesothel ioma c laims." Garlock Sealing Techs., LlC v. Shei11, No. 3: l 3-cv- 137, 20 15 WL

    5 155362, at *2 (W.D.N.C. Sept. 2, 20 15) (citing in re Garlock Seali11g Techs. , LLC, 504 B.R.

    71, 85 (Bankr. W.D.N.C. 2014)).

            195.   More specifically, the Garlock court found that evidence of exposure to large,

    now-bankrupt asbestos manufacturing companies "disappeared" as a result of"the effort by

    some plaintiffs and their lawyers to withhold evidence of exposure to other asbestos products and

    to delay fil ing c laims against bankrupt defendants' asbestos trusts unti l after obtaining

    recoveries" in tbe tort system. 111 re: Garlock, 504 B.R. at 84. Tbe court found that these

    "demonstrable misrepresentation(s)" were "sufficiently widespread" in the asbestos tort system

    "to have a significant impact'' on settlement practices and results. Id. at 85.

            196.    Notably, the day before the bankruptcy court issued that holding, Garlock sued

    five plaintiffs' furns for the litigation conduct discussed by the cou11 under the Racketeer

    Influenced and Corrupt Organizations Act, better known as RJCO. 27 Upon information and

    belief, those lawsuits were instrumental in and resolved in connection with the final plan of

    reorganization in the Garlock case.




    27
      See Garlock Sealing Techs., LLC v. Simon Greensto11e Panatier Bartlett, P.C., No. 3: 14-cv-
    116 (W.D.N.C.); Garlock Sealing Techs., LLC v. Be/luck & Fox, LLP, No. 3: 14-cv-118
    (W.D. N.C.); Garlock Sealing Techs., LlC v. Waters & Kraus., No. 3: 14-cv-130 (W.D.N.C.)
    (Stanley-Iola, LLP also named a defendant); and Garlock Seali11g Techs., llC v. Shein la w
    Ce11ter. ltd., No. 3: l 4-cv- 137 (W.D.N.C.).


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            197.    One of the firms sued was Simon Greenstone Panatier Bartlett, P.C, a firm that

    has paid Dr. Moline to testify 20 times in one three-year span. And it is the very same firm that

    sought to keep her data sealed and hidden in the Bell matter.

            198.    Since Garlock, other recent bankruptcy proceedings have uncovered further

    examples of fraud.

            199.    Beshva/1 Bankrup tcy. ln a particularly damning twist, it appears that Dr. Moline

    is not the only plaintiff-expert-turned-author whose litigation-influencing misstatements are

    coming to light in bankruptcy courts right now. The North Carolina debtor Bestwall is faced with

    a conundrum much like the Moline Article, which it is presently conducting discovery on whi le

    the asbestos plaintiffs' bar fights tooth and nail to keep relevant infom1ation hidden. 28 Similar to

    Dr. Moline, Plaintiffs' expert James Dahlgren published a 20 12 article claiming to identify three

    cases ofmesothelioma in which the on ly known exposure to asbestos was from joint compound

    manufactured by Old Georgia Pacific (predecessor to Bestwall). Although the company settled

    all three of the cases covered in the article, it now has uncovered that these individuals submitted

    claims to various asbestos trusts claiming exposure to other sources of asbestos afler the cases

    were settled.

           200.     Jmerys Bankruptcy. Fraud has even been uncovered in a recent cosmetic talc

    bankruptcy filed by the talc supplier for .Johnson 's Baby Powder. In the lmerys bankruptcy

    pending in New Jersey, one plaintiffs' lawyer recently was forced to concede under oath that he

    took a list of individuals diagnosed with ovarian cancer or mesothclioma and asserted claims

    against the debtor wi thout even assessing whether the claimant ever used Johnson's Baby




    28 In re Bestwa/l LLC, No. 17-BK-31795 (LTB) (W.D.N.C. Bankr.).




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    Powder. What's more, in some instances, the claimant previously alleged and recovered on a

    theory that his/her disease was exclusively attributable to another company's products .

    VU.    LTL Was Gravely Harmed by Dr. Moline's False Statements

           20 I.   Dr. Moline's disparagement of Johnson's Baby Powder and Shower to Shower

    talc products for her own aggrandizement harn1ed LTL.

           202.    As discussed above, Dr. Moline repeated her fa lse statement mu ltiple times over

    the years, ensuring they would reach the public, particularly through the press such as Tim?

    Magazine.

           203.    Her Article became ava ilable online on October 10, 2019. In October 2019, the

    call center handl ing the Consumer bus iness of Johnson & Johnson saw a significant increase in

    contacts.

           204.    The sa les volume and profits from Johnson 's Baby Powder declined in 2019 and

    again in 2020. And an ever-increasing percentage of Johnson's Baby Powder sales was the corn

    starch-based version compared to the talc-based version. Dr. Mol ine's statements and the

    resulting publicity were a substantial cause of this sales decline.

           205.    LTL announced in May 2020 its discontinuation of talc-based Johnson 's Baby

    Powder in the United States and Canada. As the press release at the time explained: "Demand for

    ta lc-based Johnson' s Baby Powder in North America ha[d] been declining due in large part to

    changes in consumer habits and fueled by misinformation around the safety of the product and a

    constant barrage of litigation advertising." The Moline Article is a central element of that

    misinformation.

           206.    LTL also incurred substantial costs as a direct result of Dr. Moline' s false

    statements. Among other costs, LTL spent millions of dollars in fees paid to attorneys, expert

    witnesses, and other professionals to investigate, respond to, defend against, and otherwise


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    counteract Dr. Moline's false statements. That included deposing Dr. Moline mu ltiple times

    regarding her Article.

              207.    Indeed, Dr. Moline's false statements have forced LTL to file this lawsuit to

    correct the record.

                                                 CAUSES OF ACTION

                           Count I: Injurious Falsehood / Product Disparagement

              208.    LTL hereby incorporates each preceding paragraph as though fully set forth

    herein.

              209.    Dr. Moline has made statements fhat contain false and untrue assertions of fact,

    including the false statements referenced above, which include, but are not limited to (emphasis

    added):

                      a.      Multiple factual assertions in the Article, including:

                              1.       "Talcum powder usage was the on~v source of asbestos for all 33

                                       cases."

                              11 .     " For all 33 cases, other potential exposures to asbestos were

                                       considered, with 110 ide11tified source apart from the talcum

                                       powder."

                              iii. "[W]e present 33 cases, predominantly of women, who had no known

                                     exposure to asbestos o ther than prolonged use of talcum powder."

                              iv. "Amositc and crocido!itc, asbestos fibers .. . were 11otfo1md ill a11y" of

                                     the six subjects whose tissue samples were tested.

                      b.      Dr. Moline's statement to Time Magazine, published on October 15, 2019,

              that "[t]his is the first time that anyone has said, 'Let me look at all these cases, put it all

              together and identify the ones where [talc} is the sole exposure."'


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                 c.         Dr. Moline's statements to Romper.com, published on October 16, 2019,

          that "(a)ll the folks in the study used cosmetic talc, usually for decades, and they a./1 had

          mesothelioma with n o other asbestos source" and "[w)e couldn't find any other source

          apa11 from the cosmetic talc."

                 d.         Dr. Moline's statement in her written Congressional testimony that "my

          colleagues aad I reported oa 33 individuals with 110 other identifiable source of exposure

          apa1t from cosmetic talc," and her assertion that "Ms. D" had "no known exposure to
          asbestos" in her work in the textile industry.

                 e.         Dr. Moline's statement in her oral Congressional testimony that she and

          her colleagues "repo1t ed on 33 ind ividuals whose 011/y sou rce of asbestos exposure was

          cosmetic talc."

                  f.        Dr. Moline's statement at a May 13, 2020, event organized by the

          Asbestos Disease Awareness Organization that "[w)hat we found in these individuals is

          that these 33 did 11ot have a11y other k 110,v11 source of asbestos exposure that we could

          discern from the information that we were provided."

                 g.         Dr. Moline's c01mnent to EPA, posted on its website on June I, 2020, that

          "[m]y colleagues and I reported on 33 individuals with mesothcl ioma with no other

          identifiable source of exposure apart from cosmetic talc."

                 h.         Dr. Moline's statement, in discussing the article at a September 17, 2022,

          ADAO Asbestos Awareness and Prevention Conference, that "[w]c were unaware of any

          asbestos exposure apart from talc." A sl ide describing the Article falsely stated: "Talcum

          powder as the only asbestos exposure."




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              210.    Dr. Moline publ ished the false statements alleged herein to others, including

    through electronic and hard-copy publication of the Article, written and ora l testimony to

    Congress, at least one national magaz ine, and multiple conferences. Dr. Moline's false

    statements were read and otherwise received by the public at large, consumers and manufacturers

    of cosmetic talc products, Congressional and government officials, scientists, and attorneys and

    expert witnesses involved in talcum powder litigation, among others.

              21I.    Dr. Moline's false, influential, and groundbreaking Article has been republished

    by numerous sources, including multiple plaintiffs' firms and advocacy groups soliciting talc-

    related personal inj ury claims relied upon by plainti ffs' multiple expert witnesses in talc

    litigation; and considered by judges and juries throughout the country adj udicating cosmetic talc

    claims.

              2 12.   Dr. Moline intended and/or reasonably anticipated that the publ ication of her false

    statements would disparage the safety oftbe Johnson's Baby Powder and Shower to Shower

    products and harm LTL 's interests. Dr. Moline's fa lse statements did disparage the safety of

    those products.

              213.    Dr. Moline acted with actual malice because her false statements were made with

    the knowledge that they were false and/or with reckless disregard as to their trnth or fa ls ity.

    Moreover, as described herein, Dr. Moli ne has repeatedly sought to conceal evidence betraying

    the falsity of her statements and demonstrating that her statements were made with knowledge

    that they were false and/or with reckless d isregard as to their truth or falsity. Dr. Moline' s acts of

    concealment include statements reaffim1ing the false statements in the Article and refusing to

    disclose the identity of the 33 subj ects of the A1ticle or answer questions about the infonnation

    she reviewed prior to the Artic le's publication.




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           214.    Dr. Moline acted without any privilege, authorization, or immunity in making her

    false statements. The statements alleged herein are not protected statements of scientific opinion

    but, rather, economically-motivated, false, and inaccurate statements concerning the data

    underlying her Article.

           2 15.   Dr. Moline's false statements were made of and concern ing LTL's products. Dr.

    Moline's false statements impugned the safety of all cosmetic talc products, including Johnson's

    Baby Powder and Shower to Shower. Jolrnson's Baby Powder and Shower to Shower products

    were well-recogn ized, the leading brands among a discrete and lim ited number of cosmetic talc

    products in the market. The Article identifies Johnson's Baby Powder (product "D") and Shower

    to Shower (product "I'') as two of the 22 brands of cosmetic talc allegedly used by the A11icle' s

    33 subjects. According to the Article, 19 of the 33 subj ects allegedly used Johnson' s Baby

    Powder- more than any other brand.

           216.    Dr. Moline's false statements were published contemporaneously with statements

    referring to Johnson's Baby Powder, including through Congressional testimony, advocacy

    events, plainti fT attorney websites, and various media outlets. For example, the subcommittee

    chairman began the hearing featuring Dr. Moline's Congressional testimony by referencing

    allegations of asbestos in "Johnson and Johnson' s talc-based baby powder" and by displaying

    images o f Johnson's Baby Powder.

           217.    Anyone reading, hearing, or otherwise receiving Dr. Moline's false statements

    would have associated those statements with the Johnson's Baby Powder and Shower to Shower

    products. Indeed, on repeated occasions, .Johnson & .Johnson and LTL were asked to comment

    on Dr. Moline's Al1icle and false statements, thereby demonstrating that readers of the

    statements in fact associated them with LTL's products.




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              218.    After the online publication of the Article, Dr. Moline has been disclosed in 58

    cosmetic talc/mesothelioma cases against LTL. Dr. Mol ine routinely relies on her Article in

    these cases. Moreover, in 63 cosmetic talc/mesothelioma cases against LTL, a combined 20 other

    plaintiff expe11s have relied on the Al1icle in either their deposition or court disclosures.

              2 19.   As a direct and prox imate cause of Dr. Mol ine 's false statements, LTL has

    suffered, and continues to suffer, actual and special damages, including, without limitation, lost

    profits on the sale of Johnson's Baby Powder and Shower to Shower caused by the widespread

    dissemination of the Article; increased fees to defend (including substantial fees pa id to

    attorneys, expert witnesses, and other professionals to investigate, respond to, and defend against

    Dr. Moline's assertions) and resolve Talc Claims; and other expenses incurred to counteract and

    prevent Dr. Moline's false statements from causing further harm (including the costs of th is

    litigati on).

              220.    Dr. Moline knew or reasonably should have anticipated that her false statements

    and subsequent acts of concealment would cause the aforementioned actual and special damages

    10 LTL.

                                               Count II: Fraud

              221 .   LTL hereby incorporates each preceding paragraph as though fully set forth

    herein.

              222.    As alleged herein, Dr. Moline has made statements that contain false and untme

    assertions of fact.

              223.    Dr. Moline's fa lse statements were made with the knowledge that they were fa lse

    and/or with reckless disregard as to their tmth or falsity. Moreover, as described herein, Dr.

    Moline has repeatedly sought to conceal evidence undermining the falsity of her statements and




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    demonstrating the statements were made with knowledge that they were false and/or with

    reckless disregard as to thei r truth or falsity.

            224.    Dr. Moline acted without any privilege, authorization, or immun ity when she

    published her false statements. The statements alleged herein are not protected statements of

    scientific opinion but, rather, econom ically-motivated, false, and inaccurate statements

    concerning the data underlying her Article.

            225.    Dr. Moline made the false statements alleged herein intending that they be relied

    upon by others, including by the public at large, consumers and manufacturers of cosmetic talc

    products, Congressional and government officials, scientists, and attorneys and expert witnesses

    involved in talcum powder litigation, all of whom did reasonably and justifiably rely on Dr.

    Moline's false statements.

            226.    Dr. Moline omitted from her publ ications of and references to the Article that her

    statements regard ing the lack of alternative exposures were false and that she knew they were

    false. In view of her affirmative representations, Dr. Moline had a duty to fully disclose such

    facts. She instead actively concealed and thwarted LTL's e fforts to discover the truth. As a

    result, LTL did not know and could not have known of Dr. Moline's fraud until the Be// Opinion

    recently laid bare her knowledge and collaboration to conceal the falsity. LTL therefore made its

    bus iness decisions and de fense of Talc Claims, including but not limited to LTL's investigation

    of claims, approaches to settling such claims, retention of experts, and trial strategies-in

    reasonable and justifiable reliance on her fraudu lent partial disclosures.

            227.    As a direct and proximate cause of Dr. Mol ine 's false statements, LTL has

    suffered, and continues to suffer, actual and special damages, including, without limitation, lost

    profits on the sale of Johnson 's Baby Powder caused by the widespread dissemination of the




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    Article; increased fees to defend (includ ing substantial fees paid to attorneys, expert witnesses,

    and other professionals to investigate, respond to, and defend against Dr. Moline's assertions)

    and resolve Talc Claims; and other expenses incurred to counteract and prevent Dr. Moline's

    false statements from causing further harm (including the costs of this litigation).

                      Count III : Violation of Lanham Act§ 43(a), 15 U.S.C. § t 125(a)

              228.    LTL hereby incorporates each preceding paragraph as though fully set forth

    herein.

              229.    In connection with Johnson's Baby Powder and Shower to Shower and the

    services of Dr. Moline, both of which are offered in interstate commerce, Dr. Moline has made

    materi al false and misleading descriptions or rep·resentations of fact, as set forth above. The

    statements disparage and misrepresent the nature , characteristics, and qualities of Johnson's

    Baby Powder and Shower to Shower.

              230.    In connection with Johnson's Baby Powder and Shower to Shower and the

    services of Dr. Moline, both of which are offered in interstate co1mnerce, Dr. Moline has made

    materia l false and misleading omissions of fact, as set forth above, under c ircumstances where

    she had a duty to speak. The omissions disparage and misrepresent the nature, characteristics,

    and qualities of Johnson's Baby Powder and Shower to Shower.

              23 I.   Dr. Moline's statements and omissions are literally false, expressly and/or by

    necessary implication. In the alternative, Dr. Moline 's statements have actually deceived, or have

    the tendency to deceive, a substantial portion of the intended audience.

              232.    Dr. Moline's statements and omissions concerned matters that are material to

    purchasing decisions and to other commercial decisions, including but not limi ted to the safety of

    Johnson's Baby Powder and Shower to Shower.




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            233.    Dr. Moline's statements and omissions were made in commercial adve11ising, and

    therefore violate Section 43(a) of the Lanham Act, 15 U.S.C. § l l 25(a). Dr. Mol ine made the

    statements and omissions with a commercial motive: namely, to promote services as a testifying

    expert witness by making those services more desirable, gaining additional cl ients, and reaping

    additional compensation. Dr. Moline's statements and om issions were widely c irculated to the

    public nationwide as part of an organ ized effort to target a class or category of customers or

    potential customers.
            234 .   Although mens rea is not required to establish a Lanham Act violation, Dr.

    Moline made these statements and omissions knowingly and will fully. In the alternative, Dr.

    Moline made them with willful blindness and/or reckless disregard as to their truth or falsity.

            235.    As a direct and prox imate result of the deception caused by Dr. Mol ine 's

    statements and omissions, LTL has suffered, and will continue to suffer, loss of sales and

    customers, irreparable ham1 to its commercial re[Putation and goodwill, and other compensable

    damages. In addition, Dr. Mol ine' s statements and om issions resulted in the unjust enrichment of

    Dr. Moline and/or her collaborators at LTL's expense.

                                         PRAYER FOR RELIEF

            WHEREFORE, LTL respectfully requests judgment or relief against Dr. Moline as

    follows :

            I)      Awarding special, compensatory, and punitive money damages to LTL against

        Dr. Moline for inj urious falsehood and product infringement;

            2)      Awarding money damages (includ ing punitive damages) to LTL aga inst Dr.

       Moline for fraud;

            3)      Awarding money damages to LTL against Dr. Moline for her violations of the

       Lanham Act;


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          4)      Enjoining Dr. Moline from continuing to make false statements of the type

       alleged herein;

          5)      Enjoining Dr. Moline to answer questions regarding her Article that she has to

       date refused to answer;

          6)      Enjoining Dr. Moline to retract and/or issue a correction of her Article;

          7)      Enjoining Dr. Moline to produce unsealed records identitying the individuals in

       the Article;

          8)      Awarding LTL the costs of this action, including attorneys' fees, together with

       pre- and post-judgment interest; and

          9)      Awarding LTL such other rel ief as the Com1 deems just and proper.


     Dated: December 16, 2022                 Respectfully submitted,

                                              WOLLMUTH MAHER & DEUTSCH LLP

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                                              Paul R. Defilippo, Esq.
                                              James N. Lawlor, Esq.
                                               Lyndon M. Tretter, Esq. (pro hac vice)
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                                     SKADDEN, ARPS, SLATE,
                                     MEAGHER & FLOM LLP

                                     Allison M. Brown (0449920 12)
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                                     New York, New York 1000 I
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                                     ATTORNEYS FOR DEBTOR




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                             Exhibit 4




                                  JA1093
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                                                                 December 19, 2022

  VIA ECF
  Hon. Valerie Figueredo                                                 United States Magistrate Judge
                                                                                                    Dated: 12-23-2022

  Daniel Patrick Moynihan Courthouse                               Plaintiff’s letter motion at ECF No. 296 is DENIED. The parties are
  500 Pearl Street, Room 1660                                      directed to meet and confer about scheduling the deposition of Dr.
                                                                   Feingold, and the completion of Dr. Longo’s deposition, for dates in
  New York, NY 10007                                               January 2023. Once the parties have scheduled a date for Dr. Longo’s
                                                                   deposition, the parties are directed to schedule subsequent depositions
                                                                   of Drs. Segrave, Gunter, and Poye in February 2023. The deposition of
         Re:     Gref v. Am. Int’l Indus., et al., 20-cv-05589     Dr. Diette can proceed on March 3, 2023. The parties are directed to
                                                                   submit a joint letter updating the Court on the status of the expert
                                                                   deposition schedule by no later than Friday, January 13, 2023. The
  Dear Judge Figueredo:                                            Clerk of Court is directed to terminate the motion at ECF No. 296.


         Pursuant to Your Honor’s Rules of Practice § II(c)(2), Plaintiff Brian Gref writes to
  respectfully request your immediate intervention regarding a discovery dispute, which, if left
  unaddressed, will cause Plaintiff irreparable prejudice.
           As Your Honor is aware, Mr. Gref is living with mesothelioma, a rapidly-progressing
  terminal illness. It is his expressed intent to live long enough to see the claims asserted against the
  Defendants in this case be resolved by a jury trial. Despite these exigencies, Defendants have, for
  the last five months, taken the legally unsupported position that they will not produce their experts
  for deposition until the depositions of Plaintiff’s experts are completed. Notwithstanding the
  baselessness of this position, Plaintiff has attempted to accommodate Defendants by promptly
  making available his experts for deposition so that this case can proceed to trial. See e.g. Email
  dated Aug. 17, 2022, attached as Exhibit 1 (objecting to Defendants’ position as to the order of
  depositions and requesting a date for Dr. Carder as her testimony would not be affected by
  depositions of Plaintiff’s remaining experts). However, at this juncture, it is has become clear that
  Plaintiff’s efforts are to no avail. As demonstrated by the details of the illustrative exchanges set
  forth below, which represent dozens of communications between the parties over the last six
  months, Defendants are more intent on holding this case hostage than they are resolving discovery
  issues with Plaintiff in good faith.
          As per the previous scheduling order, expert depositions began in this case in the Summer
  of 2022. With as little rescheduling as possible, depositions of Plaintiff’s experts were completed
  on June 15, 2022 (Dr. Brody, cell biology), June 29, 2022 (Dr. Compton, microscopy and
  mineralogy), June 22, 2022 (Dr. Finkelstein, epidemiology), June 21, 2022, Sept. 9, 2022, and
  Sept. 19, 2022 (Dr. Krekeler, geology, mineralogy, and microscopy), June 8, 2022 (Dr. Kucsma,
  economics), Sept. 19, 2022 and Nov. 16, 2022 (Dr. Longo, mineralogy, microscopy, and material
  science), June 27, 2022 (Dr. Markowitz, state-of-the-art), July 6, 2022 and Sept. 23, 2022 (Dr.
  Moline, occupational and environmental medicine), and July 8, 2022 (Dr. Zhang, pathology and
  occupational medicine). As it stands, although Defendants have a request pending before the Court
  to continue the deposition of Dr. Moline for an unspecified length of time (regarding a number of
  subjects that Plaintiff has explained are patently improper) and the parties are negotiating a limited
  continuance of Dr. Longo’s deposition, Plaintiff’s experts have all been deposed in accordance
  with Rule 30 of the Federal Rules of Practice and Defendants are fully on notice of their opinions.




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         Since late July 2022, Plaintiff has been attempting to schedule depositions of Defendants’
  19 experts as promptly as possible. In nearly every instance, Plaintiff’s requests went unanswered
  and required multiple follow-ups with defense counsel. See Email dated Aug. 10, 2022, attached
  as Exhibit 2 (Plaintiff requesting dates for Defendant American International Industries’ (“AII”)
  expert dermatologist, Dr. Cardner, and other experts); Email dated Aug. 19, 2022, attached as
  Exhibit 3 (Plaintiff followed up for dates of Defendants’ experts).
          As of August 29, 2022, AII and Defendant Shulton, Inc. (“Shulton”) still had not provided
  dates for five of their experts: Mr. Segrave, Dr. Mundt, Dr. Mossman, Mr. Adams, and Mr. Poye.
  See Email dated Aug. 29, 2022, attached as Exhibit 4.
          As of October 14, 2022, depositions for Mr. Segrave, Dr. Carder, Dr. Gunter, and Dr. Diette
  were still not scheduled. See Email dated Oct. 14, 2022, attached as Exhibit 5. Plaintiff followed-
  up again for dates of these depositions on October 24, 2022, as well as dates to conclude the
  depositions of Dr. Attanoos and Dr. Mundt. See Email dated Oct. 24, 2022, attached as Exhibit 6.
         On November 3, 2022, Plaintiff wrote to all counsel of record regarding Defendants’
  repeated failure to provide deposition dates for more than half-a-dozen of their respective experts,
  including Dr. Attanoos (for completion), Dr. Carder, Dr. Diette, Dr. Feingold, Dr. Mundt (for
  completion), and Mr. Segrave. See Letter to ACR dated Nov. 3, 2022, attached as Exhibit 7.
       On November 10, 2022, AII advised Dr. Carder was available for a deposition on
  November 18, 2022, and offered Dr. Feingold, a medical causation expert, for only 2 hours on
  November 17, 2022. See Email dated Nov. 10, 2022, attached as Exhibit 8.
         On November 16, 28, and December 6, 2022, Plaintiff made additional follow-up requests
  for deposition dates for Mr. Segrave, Dr. Gunter, Dr. Diette, and the completion of Dr. Feingold’s
  deposition. See Email dated Nov. 16, 2022, attached as Exhibit 9; Email dated Nov. 28, 2022,
  attached as Exhibit 10; Email dated Dec. 6, 2022, attached as Exhibit 11.
         As of this writing, after months of requesting to take their depositions (or complete their
  depositions), Plaintiff is still awaiting a date for Mr. Segrave, Dr. Gunter, Dr. Diette, and Dr.
  Feingold.
          Equally problematic, once Defendants have scheduled depositions of their experts, they
  routinely unilaterally cancel the depositions within days of the date, sometimes without any
  explanation, claiming that a new date will be provided but often failing to follow through. See e.g.
  Email dated Oct. 4, 2022, attached as Exhibit 12 (unilaterally adjourning Dr. Gunter’s deposition
  on Oct. 7); Email dated Dec. 16, 2022, attached as Exhibit 13 (Plaintiff’s response to Colgate
  unilaterally adjourning Dr. Diette’s deposition on Dec. 16, 2022). For example, just last week,
  notwithstanding that Plaintiff’s medical causation expert, Dr. Jacqueline Moline, was deposed for
  about 7.5 hours and Defendant Colgate-Palmolive Company (“Colgate”), as successor-in-interest
  to The Mennen Company, has indicated it has a very limited basis on which to further question
  Dr. Moline, Colgate pulled the deposition of its medical causation expert, Dr. Diette, a week before
  it was scheduled to take place on December 22, 2022, claiming that Dr. Diette cannot be deposed
  before Dr. Moline’s deposition is completed.



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          In addition to being contrary to the Federal Rules of Practice and governing case law, the
  unilateral withdrawal of Dr. Diette’s long-awaited deposition has caused irreparable prejudice to
  Plaintiff, as Colgate has advised that he is not available again until March 3, 2023. Indeed, making
  Dr. Diette (or any other expert) unavailable to Plaintiff until long after expert discovery should
  have concluded places Plaintiff in the untenable position of either (i) agreeing to further delay the
  setting of a trial date and risk Mr. Gref passing before a jury is seated, or (ii) forgoing discovery
  of defense expert opinions in advance of trial.

          In Plaintiff’s good faith efforts to resolve matters without court intervention, numerous
  meet-and-confers surrounding Plaintiff’s repeated follow-up for deposition dates of Defendants’
  experts have taken place. Most recently, on Thursday, December 8, 2022, the issue of Dr.
  Feingold’s outstanding deposition was raised during an approximately 30-minute meet and confer
  with all Defendants. There, Defendants yet again indicated, without any authority, that they would
  remain steadfast in their position that their experts would not need to be deposed until all
  depositions of Plaintiff’s experts are completed. This borders on frivolous. Neither Your Honor’s
  Individual Practices nor the Local Rules of the Southern District of New York provide that a party
  can delay its expert witness depositions until after its adversary’s expert witnesses depositions
  have first been completed. Further, none of the scheduling orders entered in this case suggest, let
  alone state, that Plaintiff’s expert depositions must be completed before Defendants’ can be
  scheduled. This is unsurprising, given that “[t]he federal courts do not provide either party with
  priority on depositions.” Fernandez v. Calvary Mennonite Church, 1996 WL 197711, *1 (S.D.N.Y
  Apr. 23, 1996); see also Rodal v. Massachusetts Mut. Life Ins. Co., 2020 WL 3448278, *1
  (E.D.N.Y. Apr. 23, 2020) (“[t]here is no priority of depositions in the federal system.”). Instead,
  depositions should proceed in the order in which they were noticed. See Alheid v. Target Corp.,
  2017 WL 4174929 (S.D.N.Y. Aug. 29, 2017) (holding that “[t]o the extent defendants suggest that
  they are entitled to take plaintiff’s deposition before plaintiff deposes defendants, defendants’
  objection is frivolous” because “there is no priority of depositions in federal practice.”). Simply
  stated, Defendants’ excuse for not proceeding with expert discovery should be characterized for
  exactly what it is: nothing more than a baseless tactic to needlessly delay resolution of this case.

         In light of the foregoing, Plaintiff respectfully requests that the Court direct Defendants to
  provide by December 23, 2022, deposition dates falling no later than January 31, 2023 for all
  defense experts whose depositions have not yet been completed or, in the alternative, that the Court
  schedule a Local Rule 37.2 conference to address the issues raised in Plaintiff’s letter. Plaintiff’s
  counsel stands ready should the Court have any questions.
                                                        Respectfully submitted,




                                                        James M. Kramer



                                              JA1096
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                             Exhibit 5




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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION


   WILLIAM BURNETT, As Special Administrator
   Of the Estate of SARAH BURNETT, Deceased                                                PLAINTIFF


          v.                              CIVIL NO. 20-3046 – TLB


   AMERICAN INTERNATIONAL INDUSTRIES, et al.                                           DEFENDANTS



                                                 ORDER


          Before the Court for consideration are Defendants’ Motions to Compel Reliance Materials

   and Records Subpoenas (ECF Nos. 188 & 190). The Court conducted a hearing on these Motions

   on July 25, 2022, during which all parties appeared and participated by and through counsel. Since

   yesterday’s hearing, counsel for all parties have accepted the Court’s invitation to provide

   additional materials which may be instructive, amounting – in total – to more than 1,000 pages.

   While the Court pauses to consider these additional materials, it finds and directs as follows:

          1.      Dr. Theresa S. Emory, an author of Malignant mesothelioma following repeated

   exposures to cosmetic talc: A case series of 75 patients, published in the American Journal of

   Industrial Medicine on March 6, 2020, has been identified as an expert witness for Plaintiff and

   has submitted an expert report (ECF No. 202-2). It is well-settled that the Federal Rules of Civil

   Procedure and governing law permit litigants the opportunity to explore opposing expert witness’

   qualifications, opinions, factual and other foundations for opinions, and credibility – to include the

   expert’s biases. To that end, Defendants ask the Court to compel Plaintiff to provide information

   specifically identified in Exhibit K (ECF No. 188-15) which Defendants posit should have been

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   included in Dr. Emory’s Reliance Materials (ECF No. 202-4).         Plaintiff objects to the Motion

   without particularly dissecting the component parts of Exhibit K. While much of Exhibit K relates

   to the factual underpinnings for Dr. Emory’s study/article (understandably drawing a majority of

   the parties’ arguments), it also seeks information routinely sought from experts such as

   qualifications, billing records, foundations for Dr. Emory’s factual assumptions, and identification

   of information provided by the counsel who retained and compensated the expert. Exhibit K

   further seeks information related to a study/article written by Dr. Jacqueline M. Moline

   (Mesothelioma Associated with the Use of Cosmetic Talc, published in the Journal of Occupational

   and Environmental Medicine, January 2020) who is not an expert in this matter due to Plaintiff’s

   failure to timely identify her but upon whose work Dr. Emory apparently relies, in part, in reaching

   her disclosed opinions.

          2.      The Court directs counsel to specifically confer regarding Exhibit K and to

   advise the Court, in writing and not later than August 12, 2022, of any areas of agreed

   production by Plaintiff. It is the Court’s expectation that counsel can reach agreements on

   many of Exhibit K’s requests, save and except for the materials underpinning the Dr. Emory

   and Dr. Moline studies/articles, which form the central dispute herein.

          3.      The parties should know that this Court, as courts previously tackling this issue, is

   particularly concerned by Plaintiff’s argument that Dr. Emory’s study – based substantially on

   litigation documents (depositions, interrogatory responses) which are not privileged – cannot be

   subjected to scrutiny but must remain anonymized due to medical research methodology concerns.

   The Court observes from reading her article, Dr. Emory acknowledges her own conflict of interest

   in the subject(s) of her study. Defendants say, based on personal knowledge of their own cosmetic

   talc litigation history, that Dr. Emory likely served as an expert witness in a yet undetermined



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   number of the matters Dr. Emory included in her study. Defendants urge the Court to allow

   discovery so as not to permit advocacy of a legal theory to masquerade as science. Defendants

   further say they are entitled to discover both the process and facts relied upon (or disregarded)

   when Dr. Emory “ruled out” other asbestos exposures to the participants included in her study. On

   this matter, the Court finds Dr. Emory’s article opaque. Paramount of its concerns here is that the

   undersigned cannot be assured that Mrs. Burnett – for whom Dr. Emory seeks to offer a causation

   opinion – is not included in Dr. Emory’s study (or, for that matter, Dr. Moline’s). Such circularity

   could not be permitted to proceed unchallenged. Balanced against these concerns and this

   litigation’s quest for truth are legitimate concerns related to privacy/confidentiality, society’s need

   for participation in research studies, and scientific research anonymity which have been identified,

   briefed, and arduously articulated by Plaintiff.

          Should the Court compel Plaintiff to disclose information underpinning Dr. Emory’s study,

   the Court believes a protective order would be necessitated to govern disclosures. For this reason,

   the Court directs counsel for Defendants to draft a proposed protective order which would

   address the privacy concerns raised by Plaintiff’s opposition pleadings and to provide the

   draft to Plaintiff’s counsel and to the Court by August 12th. At a minimum, the draft order

   should identify a process or method for protecting from further disclosure the (a) identify of

   any participant in Dr. Emory’s study, and (b) any medical evidence related to that

   participant. Plaintiff will have until August 19th to propose modifications of the protective

   order. By that date, the Court will have considered the parties’ voluminous supplemental

   materials and be ready to rule on the Motions.

          4.       Defendants seek this Court’s approval of Exhibits L and M (ECF Nos. 188-16,

   188-17), Subpoenas Duces Tecum to Northwell Health and Dr. Moline, respectively. As noted



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   herein, Dr. Moline is neither a party nor an expert in this matter, and Northwell Health is not yet a

   party to this litigation. Although prudent of Defendants to notify the Court of this interrelated

   discovery issue, it is not the practice of the Court to offer guidance or blessing to the proposed

   employment of discovery tools. Federal law provides guidance on issuing subpoenas outside the

   jurisdiction and affording opportunity in the remote venues (in this instance, New York and

   Virginia) for challenging them. From the materials provided, it appears both Dr. Moline and

   Northwell Health are well-versed in the requests being contemplated and their opportunity to

   object/intervene. More does not need to be said with respect to Exhibits L and M.

          IT IS SO ORDERED this 26th day of July 2022.




                                         _______________________________________
                                         CHRISTY COMSTOCK
                                         UNITED STATES MAGISTRATE JUDGE




                                                    4

                                              JA1101
Case 4:22-mc-00001-AWA-DEM Document 20-1 Filed 01/25/23 Page 1 of 59 PageID# 1247




                              Exhibit 1




                                   JA1102
Case 4:22-mc-00001-AWA-DEM Document 20-1 Filed 01/25/23 Page 2 of 59 PageID# 1248

                                                                             1
 1                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
 2                          NEWPORT NEWS DIVISION

 3

 4   PENINSULA PATHOLOGY ASSOCIATES,   )
                                       )
 5               Petitioner,           )
                                       )
 6   v.                                )         Civil Action No.:
                                       )             4:22mc1
 7   AMERICAN INTERNATIONAL INDUSTRIES,)
                                       )
 8               Respondent.           )

 9

10                TRANSCRIPT OF VIDEOCONFERENCE PROCEEDINGS

11               (Hearing on Motions to Quash and Sanctions)

12
                              Norfolk, Virginia
13                            December 16, 2022

14

15   BEFORE:      THE HONORABLE DOUGLAS E. MILLER
                  United States Magistrate Judge
16

17

18   Appearances: (Via Videoconferencing)

19             ALI & LOCKWOOD
                   By: Kathryn Marshall Ali
20                     Elizabeth Catherine Lockwood
                       Counsel for Petitioner
21
               LATHROP GPM, LLP
22                 By: Robert E. Thackston
               -- and --
23             WILLCOX & SAVAGE
                   By: Eric David Cook
24                     Counsel for Respondent

25



                                   JA1103
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                 2
 1                            P R O C E E D I N G S

 2

 3               (Commenced at 2:41 p.m. as follows:)

 4

 5               THE COURT:     All right.   I'm sorry, I don't know what's

 6   going on with my computer, it's still spinning in the

 7   background, but my law clerk, Will Metcalf, is connected, so

 8   I'll have him sit next to me and use his computer so we can get

 9   started.    I apologize.

10               Ms. Dodge, is everyone else ready?

11               COURTROOM DEPUTY CLERK:      Yes, sir.   Peninsula

12   Pathology Associates v. American International Industries, Case

13   4:22mc1.

14               Are the parties ready to proceed?

15               MR. THACKSTON:     Yes.

16               THE COURT:     All right.   It looks like I have -- is it

17   Ali or a Ali?

18               MS. ALI:     You know, either is fine, Your Honor.       It's

19   the subject of debate in my household.        But I say Ali.

20               THE COURT:     All right.   Ms. Ali, it's nice to have,

21   you, and Ms. Lockwood, you all are here for the movant, I guess,

22   and Mr. Cook and Mr. Thackston for the party who initiated the

23   subpoena.    I'm not sure who's taking the lead on this.          Is it

24   going to be you, Ms. Ali?

25               MS. ALI:     I'm going to start, Your Honor.    Ms.



                                    JA1104
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               3
 1   Lockwood is better prepared --

 2              THE COURT:    Hold on a second.    My computer just

 3   decided to work.    Let me see if I can switch.

 4              (Pause in the record.)

 5              COURTROOM DEPUTY CLERK:     Can you hear us?

 6              Apparently not.

 7              THE COURT:    Okay.   So the good news is that we haven't

 8   had to use Zoom in a long time, so that's why we're apparently

 9   unfamiliar with it.     But in any event I'm going to...

10              MR. THACKSTON:    Your Honor, Robert Thackston.       I just

11   wonder if it would save some time if, rather than have the other

12   side try to characterize what they think the subpoena is, if I

13   were to characterize what we intend the subpoena to be, I wonder

14   if that might save the Court some time.

15              THE COURT:    I probably have more questions for you,

16   Mr. Thackston, if you're going to take the lead on this, I'm

17   fine to proceed that way.

18              MR. THACKSTON:    Thank you, Your Honor.

19              THE COURT:    I've read everything that you've submitted

20   and I've looked over -- the matter's obviously very thoroughly

21   briefed.

22              Let me just say before we begin, though, I see a

23   number of people who have weighed in to observe.         Obviously it's

24   a public hearing, anyone's welcome to listen in.         I will just

25   say, however, Paul McManus is an official federal court



                                   JA1105
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               4
 1   reporter, he's keep the transcript.       He should be the only

 2   person who's recording the proceedings.       So no one else should

 3   be making any kind of a record or transcript of what's going on.

 4              But go ahead, Mr. Thackston.      I'm happy to hear

 5   anything else you want to say.

 6              MR. THACKSTON:    Thank Your Honor.     And I appreciate

 7   your letting me go first, only because I think there's a little

 8   bit, there's some misunderstandings about what it is that we're

 9   trying to accomplish.

10              I represent a company called A-I-I, which is a family

11   owned management company out in California, and they have been

12   sued in a number of cases in which there have been allegations

13   that cosmetic talc had trace contaminations of asbestos and

14   caused mesothelioma.

15              Now, I don't know about the Court's knowledge about

16   the historical litigation involving asbestos --

17              THE COURT:    We are in the same district as the largest

18   Naval base and the largest Naval shipyard in the world, so we

19   have plenty of familiarity with mesothelioma and asbestos.          And

20   also I've read your entire brief and a good part of the exhibits

21   that were attached to both, so you don't need to give me the

22   whole background.    I do understand what Mr. Gref's issue is and

23   the nature of the claims that you're defending in New York, and

24   so you can just cut to the chase with regard to Dr. Emory's

25   article.   That's really what we're here about.



                                   JA1106
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               5
 1              MR. THACKSTON:    Absolutely, Your Honor.        And if I

 2   could share a screen to do that, I will put the article up.

 3              After decades of litigation involving asbestos that

 4   never mentioned anything about cosmetic talc, in the last

 5   several years, several individuals who are prolific experts for

 6   the plaintiffs in asbestos litigation, namely Gordon and

 7   Millette, they published one article; Moline published one

 8   article, and Emory published one article.        And they're

 9   ground-breaking articles to the extent that they claim that

10   nevermind what we said for the last 30 years, but it's cosmetic

11   talc that's causing mesothelioma.        It's adulterated with trace

12   levels of asbestos.     And we found these series of people that

13   have mesothelioma and they didn't have any asbestos exposure

14   except for cosmetic talc.

15              And the Emory article, the interesting thing about it

16   is the strawman here is can physicians protect confidential

17   information given them by patients.        Absolutely.     Does that have

18   anything to do with this issue before the Court?           Absolutely

19   not.   There's no allegation that the Dr. Emory was a physician

20   to any of these cases that she wrote about.        Instead -- and here

21   is the title if the Court can see the article --

22              THE COURT:    I've read it.     I've read it.     And again,

23   Mr. Thackston, I don't -- I'm happy to hear what you want to

24   say, but I've read it all.     I read the whole article.        It's only

25   seven pages long.     It's very brief.     I've looked at exactly how



                                   JA1107
             Paul L. McManus, RMR, FCRR Official Court Reporter
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 1   Dr. Moline is using it and Dr. Finklestein is using it.           So I

 2   know exactly what it is you're defending.        I don't need the

 3   background.

 4                Here's what I want to know:     Dr. Emory is not a

 5   witness.     She's not in the case.     She's not here.    Why would

 6   this be the case that Dr. Emory or her company would have to

 7   respond to this incredibly burdensome subpoena.           I just don't

 8   understand why you've picked this case to single out, because I

 9   frankly see almost no connection between Dr. Emory's study and

10   the case you're defending in New York, at least with respect to

11   Mr. Gref.

12                MR. THACKSTON:     Well, first of all, Your Honor, in

13   whatever case we issued a subpoena it's going to wind up before

14   Your Honor, right?        Because that's where Dr. Emory    is, and

15   that's where the records are.        So it wouldn't make any

16   difference which case it was.        Every case has an expert that's

17   relied on two things -- really three, Gordon, Moline and Emory,

18   right?     And so whichever case -- we almost got there in an

19   Arkansas case and the plaintiffs took the money the day that Dr.

20   Emory's stuff was due.        The Arkansas court says she will answer

21   these questions.     For all we know, Mr. Gref is one of the

22   subjects, right?

23                THE COURT:     Well, now, I wanted to ask you about that,

24   because it's very clearly spelled out in the study -- and I

25   looked at your own expert -- I mean, the expert's report.



                                     JA1108
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               7
 1   Dr. Moline says he was diagnosed in 2019, and there are two

 2   people who are diagnosed in 2019.      This is in the opposition

 3   brief.    And they're both over 70 years old and one of them's a

 4   woman.    And so again, she's not willing to tell you names, but I

 5   frankly don't see how, based on the very brief summary of that

 6   study, you can have a good-faith basis to believe that Mr. Gref

 7   was one of her subjects.

 8               MR. THACKSTON:   Well, Your Honor, we don't know.       And

 9   she --

10               THE COURT:   Why don't you know?     Why don't you know,

11   Mr. Thackston?

12               MR. THACKSTON:   Because -- well, we --

13               THE COURT:   Do you think she's lying to you about the

14   age or the year of diagnosis?

15               MR. THACKSTON:   Oh, no, no, no.     I mean, we don't know

16   about any of the specific people because they've taken the

17   position they can't tell us.

18               She said that she had something like a 100-plus files

19   that she looked at and she decided they did not belong in there,

20   and if Mr. Gref was one that did not belong in there because he

21   was, his parents were both in the Navy and they both worked and

22   lived in Newport News, that would be relevant information.

23               But the point is in the other case that we have with

24   Dr. Moline, the only reason we know that one of the people had

25   alleged occupational exposure to asbestos was a happenstance of



                                   JA1109
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                              8
 1   Dr. Moline happened.       And they're using these offensively.     If

 2   you've read the Bell decision.

 3               THE COURT:     When you say "they're" using it, who is

 4   using it?

 5               MR. THACKSTON:     Both Doctor -- both -- well, both

 6   plaintiff's expert is using --

 7               THE COURT:     This subpoena originated in New York, the

 8   Southern District, where you're defending a case that was filed

 9   by Mr. Gref.    Now, Mr. Gref has hired -- or his lawyers have

10   hired Dr. Moline and you've deposed Dr. Moline, and Dr. Moline

11   wrote her own study.       And I looked at Dr. Moline's report, I

12   looked at the 200-plus pages report from Dr. Finkelstein, and

13   I -- and you pointed me exactly to where it was, it was very

14   helpful.    It's like this.     It's like this [indicating].     It's

15   almost nothing.    I mean, the pages and pages of talc has

16   asbestos, talc has asbestos, this is the way asbestos can be

17   absorbed, these are all of the things, and oh, by the way, there

18   were two studies which found it happened after exposure to talc.

19   I mean, that's what they say.

20               MR. THACKSTON:     It's, it's the, it's the absolute

21   linchpin of talc litigation.       It is the only thing that --

22               MS. ALI:     May I be heard, Your Honor?

23               THE COURT:     Just a minute.   I'm going to give you an

24   opportunity to weigh in.

25               MR. THACKSTON:     Your Honor, it is the reason that talc



                                    JA1110
            Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             9
  1   litigation exists.     These two articles are the only alleged

  2   epidemiological link between cosmetic talc and mesothelioma.

  3              So they're in the shipyard.     You have many, many

  4   studies that show the occupations that are at risk for

  5   mesothelioma:   Shipyard workers, insulators, pipe fitters.

  6   Nobody has ever suggested that barbers, for example,

  7   cosmetologists who work with talc all the time, are at risk for

  8   mesothelioma, even though they work with cosmetic talc all the

  9   time.   That was a problem for the plaintiffs because you've got

 10   to have general causation, right?      Can cosmetic talc cause

 11   mesothelioma, before you get to specific causes, causes in this

 12   particular case.     And faced with that lack of epidemiology, the

 13   plaintiff's own experts created their own articles using

 14   litigation information.     And there's not -- and as just Osteen

 15   found in the Middle District of North Carolina, you can't use

 16   that affirmatively in these case as an expert in federal court

 17   and not disclose your reliance materials.

 18              And it's undisputed -- Your Honor, on the burden

 19   question, we'll take a list of the cases, right?        There was no

 20   offer of anything.     We could start with a list of the cases and

 21   then we can come back to the Court and say, well, here's 75

 22   cases, we have 20 litigation files, and in those 20 litigation

 23   files, these people have bankruptcy trust claims for asbestos

 24   exposure, they have Worker's Compensation claims like the Bell

 25   case.



                                   JA1111
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            10
  1               And so we asked the Court to allow us to go to the

  2   next step of saying produce the litigation materials, the

  3   depositions and the answers to interrogatories, nothing else at

  4   this point, and then if those show that there was other

  5   exposures then we might ask the Court to let us go to the next

  6   step.

  7               So we had to ask for all of it first, but we would

  8   start with just a list of the cases.      And nobody can claim that

  9   the list of the cases is private patient information, because

 10   she received that list of cases as an expert for the plaintiff

 11   in litigation.

 12               THE COURT:   Okay.

 13               MR. THACKSTON:   We can start with that, Your Honor.

 14               THE COURT:   Okay.

 15               MR. THACKSTON:   Mr. Cook has more on the specifics of

 16   why these privileges don't apply, but I just wanted to let the

 17   Court know --

 18               THE COURT:   Before we even get to the privileges I

 19   have to determine whether the subpoena itself unduly burdensome.

 20   And the question -- if it's unduly burdensome, and

 21   that requires -- I mean, frankly, this Fourth Circuit case

 22   Jordan which was just decided a couple years ago lays it out for

 23   non-parties.     And you have to look at both sides of this

 24   equation.    And the biggest problem I have with your motion -- or

 25   with your subpoena in this court in resisting the motion to



                                   JA1112
              Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            11
  1   quash it is we have a non-party who is a non-witness who has not

  2   been designated, whose only connection to the Gref litigation is

  3   the fact that her study -- a study she wrote with two co-authors

  4   which has been available for over two years is mentioned in one

  5   sentence and one footnote of Dr. Moline's report and a half a

  6   page of from Finkelstein's 280-plus pages.       And that means -- I

  7   know you say it's the linchpin, but from the record that's here

  8   on this motion, it doesn't seem like much of a linchpin.

  9             Now, maybe the attorneys are mis-using it, maybe the

 10   attorneys are moving it or saying that it says something that it

 11   doesn't say, but I don't know how that changes the relevance of

 12   the survey that Dr. Emory put together in terms of its relevance

 13   to Mr. Gref's case.

 14             MR. THACKSTON:     Your Honor, Judge Osteen just wrote a

 15   41-page opinion on nothing but this topic, right?

 16             THE COURT:    Well, Judge Osteen was presiding over a

 17   mesothelioma case, right?     Judge Osteen wasn't dealing with a

 18   non-party subpoena in a case that wasn't pending in front of

 19   Judge Osteen.

 20             MR. THACKSTON:     Well, the argument was -- it started

 21   out that way because we -- it was -- Moline and Emory were both

 22   in that case and we didn't know that he was presiding over one

 23   of the cases because they wouldn't disclose what the cases were.

 24             But Emory -- this is not a case where it's Cedar

 25   Sinai, had nothing to do with the litigation.        She is a



                                   JA1113
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                               12
  1   litigation witness in dozens of cases.       Maybe not Gref, but

  2   the --

  3               THE COURT:   We're talking about Dr. Emory?

  4               MR. THACKSTON:   And Dr. Emory and Dr. Emory      Maddox

  5   wrote this while serving as litigation consultants for the

  6   plaintiffs.

  7               If we scroll to the last, to the very last page of the

  8   article it says two important things:      One -- do we still have

  9   screen share on this?

 10               THE COURT:   It's all right.   I've seen the article.        I

 11   have it.    I know exactly what it says.     It says that they --

 12               MR. THACKSTON:   Here's why they're not just an

 13   innocent third party.     It says that they serve as expert

 14   witnesses for plaintiffs this talc litigation, right?         So this

 15   was written while they were serving as expert witnesses for use

 16   by expert witnesses, and there's no dispute that Dr. Emory used

 17   it as an expert witness in talc litigation.

 18               She's not in the Gref case at the moment but to say

 19   they only mentioned it one time, they -- they mention it as the

 20   reason that they should be entitled to go forward in these

 21   cases, both the Moline article and the Emory article.

 22               And as Judge Osteen said, he unsealed the fact that

 23   Bell was one of the plaintiffs because it's not fair to use this

 24   affirmatively.    He cited an example of the plaintiff's lawyer

 25   arguing in closing look at what Dr. Moline's article says?          It



                                   JA1114
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                             13
  1   says that cosmetic talc causes mesothelioma.

  2                The list of cases.    There's nothing -- just start off

  3   with what are the 75 cases.       That's one -- I'll show you an

  4   example of what Northwell produced in the Gref case -- in the

  5   Bell case.     They have a, they had a spreadsheet that has the

  6   name of the 33 in the Moline case and they just redacted the

  7   others.     They gave us one that showed it was Betty Bell.

  8                THE COURT:   The reason they redacted them is because

  9   the judge didn't order them disclosed.       The only one the judge

 10   ordered disclosed was Bell, which you already knew.

 11                MR. THACKSTON:   Well, we didn't know it until they

 12   admitted it, Your Honor.      We suspected it, but we didn't know

 13   it.   We suspected it because of circumstantial evidence, but we

 14   didn't know it until they produced this.

 15                And we didn't press the issue about the other 32.

 16   They said okay -- the magistrate judge said I'm not inclined to

 17   give you the other 32, we said that's fine, we didn't even

 18   appeal that, we said just give us Bell.       And when we got Bell,

 19   we said -- we won the case on summary judgment, then we went

 20   back and said we need to unseal this, and Judge Osteen followed

 21   the Fourth Circuit's rules for unsealing and felt there was a

 22   compelling public interest in this issue, because this article

 23   was being used offensively to support cosmetic talc.         And the

 24   defendant's hands were tied because even if all 75 of these

 25   cases or 33 in the Moline case, if they were dead wrong, we



                                    JA1115
                Paul L. McManus, RMR, FCRR Official Court Reporter
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  1   didn't have any way to ask questions about it.

  2                And Judge Osteen said from a public policy standpoint

  3   and from a Daubert standpoint the defendants are not only

  4   entitled but required to try to find out what the underlying in

  5   facts are.     So her litigation files are not privileged, it's not

  6   a burden to produce their list, and if we need anything more

  7   than that, we'll come back to the Court.         So today we would take

  8   a list of the 75 cases, period.

  9                THE COURT:     Okay.   Ms. Ali, do you want to respond to

 10   some of what you heard?

 11                MS. ALI:     Yes, Your Honor.   Thanks.

 12                I think, you know, you, Your Honor, cut to the heart

 13   of the matter here.        The question is, for this court, in

 14   connection with this motion that's pending before the court, is

 15   the relevance of Dr. Emory's study to the Gref litigation,

 16   right?    Rule 45 subpoenas, they're issued out of a particular

 17   case, this isn't a -- that's how they work, right?          The

 18   relevance question is, is it related to Gref?          And I haven't

 19   heard anything today, we haven't seen anything in the briefing.

 20   We've also read the Moline report, the Finklestein report, we've

 21   read their depositions, which were extensive, where Emory was

 22   barely discussed at all.        Whatever my colleagues on the other

 23   side think that Emory is relevant to in terms of national

 24   litigation, other litigations that they may be involved in,

 25   she's just barely relevant, if at all, to the Gref litigation.



                                      JA1116
               Paul L. McManus, RMR, FCRR Official Court Reporter
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  1   And that is sort of the start and end point here.

  2                In addition to other arguments we've made, obviously

  3   we've raised issues with timeliness, and we can talk about the

  4   privileges question if Your Honor would like, though I -- you

  5   know, as you said, these issues have been extensively briefed

  6   and I don't want to go round and round on things that we've put

  7   in the briefing.     But the question here is really what is the

  8   relevance to Gref as compared to the burden on Peninsula and the

  9   burden on Dr. Emory.     There is no basis under Rule 45 to do a

 10   broad fishing expedition for something that might be relevant to

 11   other litigations going on around the country.        You know, we --

 12   obviously that's what's going on here.       There's no answer to the

 13   question of what the relevance to Gref is.        You see it from the

 14   face of the reports, you see it from the face of the deposition

 15   transcripts.     You know, she's cited in a single sentence in the

 16   Moline report which cites, I think, 500 other sources.         She's

 17   cited in, you know, half-a-page most of which is a table in the

 18   Finkelstein report.

 19                And so, you know -- and they've made clear what they

 20   want this for today in this hearing.      They have made it clear in

 21   the briefing on Page 5 of their brief, on Page 23 of their

 22   brief, that this is for other cases pending throughout the

 23   nation.     But that's not what Rule 45 is for.     That is a total

 24   abuse of the subpoena process.     It is a violation of

 25   Rule 45(b)(1), a violation of (d)(3).      You know, that's the



                                   JA1117
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  1   context here about what's really going on.

  2                I do want to correct the record on a couple of things.

  3   No. 1, the concept that Dr. Emory's study is the linchpin of

  4   talc litigation throughout the country and asbestos litigation

  5   and it wouldn't exist without it.         First of all as they have

  6   said over and over again in their briefing, the cases in Dr.

  7   Emory's studies came from litigation.          All of this talc

  8   litigation predated the studies.         They're doing a retrospective

  9   study of cases that were already filed.          These articles were

 10   published in 2020.        You know, talc litigation has been going on

 11   for decades before that.         So it's, I don't -- I'm not a talc

 12   litigator, maybe there's something I don't know, but that

 13   doesn't track for me.

 14                And in Bell, you know, A-I-I has cited Bell as though

 15   it is this, you know the --

 16                THE COURT:     Bell is Judge Osteen's opinion?

 17                MS. ALI:     Yes.   I'm sorry.   It's Judge Osteen's

 18   opinion.

 19                THE COURT:     I thought that was the case.

 20                MS. ALI:     In that case, as Your Honor noted, first of

 21   all, it's the only case in the country that we're aware of where

 22   a court has allowed disclosure of any study, any subject of any

 23   study.     And Bell was extremely -- the Court was extremely

 24   careful -- and this is both in the magistrate judge -- the

 25   transcript that was held of the hearing held before the



                                       JA1118
               Paul L. McManus, RMR, FCRR Official Court Reporter
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  1   magistrate judge, and in the case in 2020 which we cited as an

  2   exhibit to our brief and also in the court's -- the recently

  3   order from a couple of months ago, that the district court's

  4   order was very explicit that any disclosure was limited to Ms.

  5   Bell herself.     And that was for a few reasons, none of which are

  6   present here.

  7                No. 1, she had executed a HIPAA waiver for that case,

  8   right?     She had said she had executed a HIPAA waiver to release

  9   medical records in the context of her own litigation, which that

 10   was.     She was dead by the time the study was even conducted.       So

 11   the Court, whether wrongly or rightly determined that she wasn't

 12   entitled to any human subject protection on account of that.

 13                And No. 3, the cat was already out of the bag.

 14   Northwell, whether -- again, I wasn't involved in this case, but

 15   my understanding is that Dr. Moline's employer sort of

 16   inadvertently produced a document that they later tried to claim

 17   protection over which had identified Ms. Bell as the subject of

 18   the study.

 19                So the cat was already out of the bag at that point,

 20   and there was sort of no way to right that ship.

 21                As to every other one of the studies, the subjects of

 22   the Moline study, the court was explicit that it was totally

 23   inappropriate to disclose the subjects of that study.

 24                And I'll mention as well that Dr. Emory was an expert,

 25   a testifying expert in Bell.     Counsel for A-I-I deposed her for



                                   JA1119
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  1   24 hours in that case.      They asked her to disclose the subjects

  2   of the study, she refused, and they never pursued it.         And then

  3   they waited, right, until -- and that was while this Gref case

  4   was pending.     And so they didn't pursue it in this case where

  5   she was a testifying expert, and instead they waited until a

  6   year after discovery closed in Gref to serve a third-party

  7   subpoena on Peninsula which has nothing really to do with this

  8   case.

  9              So again, I'm happy to go through the other reasons

 10   why we think --

 11              THE COURT:    No, I don't need, I don't really need to

 12   hear any more.

 13              I did want to ask Mr. Thackston with respect to the

 14   timing, it looks like from the briefing you were supposed to

 15   have another conference with Judge Figueredo in New York.         Did

 16   that occur and what was the status?      Did she authorize an

 17   additional or extension of the deposition of Dr. Moline?

 18              MR. THACKSTON:     It did occur, and interestingly, the

 19   judge ruled that she was going to hold in-person hearings in New

 20   York on this matter on February 8th with respect to Dr. Moline

 21   and Northwell.

 22              And no disrespect to Ms. Ali, but I have absolutely no

 23   idea where she's getting her information.       Some of what she said

 24   is about as wrong as -- we did not take Dr. Moline's deposition

 25   in Bell for 24 hours.     She disappeared.    She withdrew.    Judge



                                    JA1120
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                                                                              19
  1   Osteen's order says --

  2             MS. ALI:     That was Dr. Moline.      I'm talking about my

  3   client, Dr. Emory.     You did -- I can pull up the deposition

  4   transcript into the record.

  5             THE COURT:       Emory's deposition.

  6             MR. THACKSTON:       So Dr. Moline withdrew from the case.

  7             Your Honor, I guess what I'm not getting is, because

  8   Dr. Emory is there -- and by the way, talc litigation has not

  9   been going on for decades.       Talc litigation started after 2014

 10   with the Gordon/Millette article.       If the judge is aware of a

 11   cosmetic talc cases before 2014...

 12             The cases that have been filed many times, the cases

 13   have other -- that's the point of our subpoena.         Some of the

 14   cases are against asbestos defendants, right?         And if she's

 15   counting in her 75 cases ones that are against asbestos

 16   defendants, then they're not valid cases to say there was only

 17   cosmetic talc.    So...

 18             THE COURT:       I'm -- I don't mean to cut you off, but I

 19   don't -- I just think that you are overstating what this

 20   document says.    I mean, it's seven pages long.       It says cosmetic

 21   talc may cause mesothelioma and it has 11 digestion studies.            It

 22   draws an analogy between the fibers discovered in those

 23   digestion studies and the fibers which have been linked to

 24   certain mined talc.       That's what it says.    It doesn't do any

 25   more than that.



                                     JA1121
             Paul L. McManus, RMR, FCRR Official Court Reporter
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  1               Now, maybe lawyers are using it to say more than that,

  2   or other experts are using it to say more than that, but the

  3   study itself, it has -- a lot of what you're describing as

  4   undermining its legitimacy is right there on the face of the

  5   document.    She says we work for plaintiffs.     She says we got

  6   these studies from existing litigation.       She's not trying to

  7   hide the ball.

  8               MR. THACKSTON:     But by saying that there was no other

  9   exposure when there was --

 10               THE COURT:     She says there was no other reported

 11   exposure.    That's what she says, that there was no other

 12   reported exposure.

 13               MR. THACKSTON:     It's not that important.   Mr. Kramer,

 14   the plaintiff's counsel on the line, why don't we ask Mr. Kramer

 15   whether he will stipulate that none of his experts will mention

 16   Dr. Emory's report or article.       I'll bet it's so important that

 17   they absolutely have to use it.

 18               MS. ALI:     Your Honor, respectfully, that is not the

 19   test for relevance.       Whether an expert mentions another study

 20   among 492 others is not the test for relevance of the question

 21   on a Rule 35 subpoena is a balancing --

 22               THE COURT:     I'm not litigating the Gref case.    The

 23   Gref case is not being litigated here, nor is any other talc

 24   case that's being litigated here.       What's being litigated here

 25   is the extent to which this subpoena creates an undue burden,



                                     JA1122
             Paul L. McManus, RMR, FCRR Official Court Reporter
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  1   and one of the elements the Court has to examine is the extent

  2   of the relevance of the material or the moving party's, the

  3   subpoena's party's need for it.      And a number of things weigh

  4   against you, Mr. Thackston, including the things I've already

  5   observed with regard to how little they're mentioned by the

  6   actual testifying experts in your case.

  7             But also the timeliness -- I mean, frankly the

  8   timelinesses is of concern.     I don't think I would absolutely

  9   quash the subpoena solely on the basis that it was untimely,

 10   given that discovery is ongoing.      But the fact that it was not

 11   requested earlier in discovery does speak to its relevance to

 12   the Gref litigation.    The fact that the case had been going on

 13   for two years, and this deposition -- or this subpoena was only

 14   issued to Dr. Emory -- or to Dr. Emory's company in November of

 15   2022 speaks to its importance to the case and, in the Court's

 16   view, diminishes its importance to the Gref case.        So that

 17   weighs against you in terms of its burden that it creates.

 18             And it's also -- I find it to be an incredibly

 19   burdensome subpoena to respond to.      You've been a little bit

 20   dismissive of the statements by Dr. Smith and Dr. Emory

 21   regarding the burden of responding to this subpoena, but you

 22   have sworn declarations, and they don't appear to me to be

 23   incredible given the nature of the material that you're seeking

 24   in this case.

 25             MR. THACKSTON:     Well, Your Honor given that I've



                                   JA1123
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  1   conceded that all we're asking for is a list of cases, I don't

  2   think we can get the burden at this point.       It's not burdensome

  3   to print out your spreadsheet.

  4              And for counsel to on one hand say I know nothing

  5   about talc litigation and for the Court -- you know, with all

  6   due respect, Your Honor, if you don't know anything about a talc

  7   case, how can you say it is not important to a talc case?         I'm

  8   telling you that when these experts take the stand they might

  9   have 400 pages of fluff, but the two things that they talk about

 10   are Dr. Emory's study and Dr. Moline's study, because they're

 11   the only two studies in the world that claim to draw any kind of

 12   relationship between cosmetic talc exposure and mesothelioma.

 13   They say they're the first ones to do it.       And so it doesn't

 14   matter that you're talking about 40-year-old stuff, the

 15   40-year-old stuff wasn't getting you to the jury or wasn't

 16   getting past Daubert.    But these two things are getting you past

 17   Daubert.

 18              THE COURT:   So you did just hit on one point that I am

 19   interested in exploring with the other side, and that is the

 20   nature of the peer review that the article underwent.         Because

 21   one of the things that was requested in the subpoena was the

 22   peer review process.    And it does -- I mean, as I said to Mr.

 23   Thackston, I think a significant problem with the subpoena is

 24   that there's a lot of disclosure already in the article that

 25   provides the defense lawyers some ability to challenge the



                                   JA1124
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  1   strength of it as a research document in terms of the bias

  2   that's been disclosed, the litigation nature of the sample size,

  3   those things they already have to defend.       But one of things

  4   that insulates it from that is the fact that it is

  5   peer-reviewed, and I wonder what information's available to Dr.

  6   Emory or Dr. Maddox or whoever else was involved regarding the

  7   peer-review process that the article underwent.

  8               MS. ALI:   So I don't have the information about the

  9   peer-review process, because obviously our position here is that

 10   the subpoena should be quashed in its entirety.

 11               I will say, you know, they have -- A-I-I has deposed

 12   Dr. Emory in cases where she is a witness and taken, I assume,

 13   her [audio interrupted] everything that she's required to

 14   provide as an expert in state and federal cases that this is

 15   certainly something they could have probed in those cases,

 16   certainly something they can probe with her in the future, as I

 17   am certain this will not be the last time that Dr. Emory is

 18   involved in one of these cases in which they're also involved in

 19   the context of a third-party subpoena, where she is just not

 20   relevant.    I'm not saying -- first of all, I didn't say I didn't

 21   know anything about talc litigation, I said I'm not a talc

 22   litigate other.    But what I am saying here and what I think Your

 23   Honor has already sort of, you know, stated, is that the

 24   question is whether she's relevant to Gref.       Whether the article

 25   is relevant to Gref.     And we don't have that here.     So requiring



                                   JA1125
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  1   her to respond to a subpoena, any portion of it, is

  2   automatically unduly burdensome in that circumstance.         Where the

  3   relevance and the need is very, very low then, you know, it's a

  4   balancing test.   That's how it works.     And here, the relevance

  5   and the need, for all of the reasons we've said in our

  6   briefing -- you know, I know that Mr. Thackston has commented

  7   several times on the burden in terms of time and cost, which

  8   again, you know, we address in the declarations, but it's not

  9   just time and cost.     It is all of the other factors that go into

 10   burden, including things about medical ethics, which I won't get

 11   into unless Your Honor would like, and this sort of the broader

 12   chilling effect that we've briefed, it is, you know, deterring

 13   people from conducting studies and publishing articles like

 14   this.

 15              I don't have specifics on the peer-review process

 16   here.   It's also something I presume they could get from the

 17   journal about their general peer-review process.

 18              THE COURT:    Yeah, I did look at it.     I looked at it,

 19   frankly, to see whether it was there, and there is some

 20   information there on the journal about the peer-review process,

 21   but the identity of the peer reviewers is not available.         At

 22   least I couldn't determine how you could identify them.

 23              Do you know, Mr. Thackston?     Have you ever attempted

 24   or asked Dr. Emory, or aware?     That's the other thing that I am

 25   aware of from having been involved in -- I didn't say I knew



                                   JA1126
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  1   anything about talc litigation because I do not, but I do know

  2   something about asbestos litigation, and I know people talk.

  3   And there is more information sharing on both sides in asbestos

  4   litigation than just about any other kind of litigation there

  5   is.   And so I suspect if anyone's asked about this, everyone

  6   knows about this.

  7               Do you know, Mr. Thackston?

  8               MR. THACKSTON:     No, I absolutely do not.

  9               MR. COOK:    I can volunteer on that one Your Honor.

 10               THE COURT:    Mr. Cook?

 11               MR. COOK:    Yeah, Eric Cook from Wilcox Savage for

 12   A-I-I.

 13               I think we do actually cite some testimony, if I

 14   recall offhand it was Dr. Maddox from Peninsula Pathology, and I

 15   believe he testified it was less than two weeks, which is an

 16   extremely short time period with respect to the peer-review

 17   process.    We do not have the identities of any of the peer

 18   reviewers though, Your Honor.

 19               THE COURT:    Did he not know them?

 20               MR. COOK:    No.   I -- well, he didn't know the

 21   identities of them, Your Honor.       So whether he had -- you know,

 22   whether it was sent to somebody he might know, he didn't know

 23   the names to say.

 24               THE COURT:    Yeah.

 25               MR. COOK:    But if I could also just, if I could



                                     JA1127
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  1   clarify one point for the Court as well, and that goes to the

  2   burden issue:   We did identify in the opposition to the motion

  3   to quash Dr. Maddox's testimony indicating that there is

  4   existing a key, and I think that's what Mr. Thackston was

  5   alluding, to identifying the names of the individuals and the

  6   case numbers.   So from a burden perspective, Your Honor,

  7   Peninsula Pathology doesn't need to go back and reconstruct all

  8   of this information to pull those litigation files, they can

  9   produce just that key identifying the names of the individuals,

 10   and then A-I-I will take that burden on to go to the publicly

 11   filed lawsuits, to go to the deposition testimony, to go to the

 12   sworn interrogatories, all of which Your Honor does not have --

 13   or none of which has any confidentiality expectations.         And

 14   that's the test --

 15              THE COURT:   Well, right.    In other words, the publicly

 16   filed documents don't, but the key certainly does.        That's the

 17   problem.   And that's what Jordan -- what Jordan said is burden

 18   has multiple components.     One component is just the physical

 19   effort of undertaking the project, which Dr. Smith has

 20   addressed, and Dr. Emory in their declarations.        But the other

 21   is the confidentiality aspects of it.      And Dr. Emory has gone on

 22   at great length about the repercussions to her practice if she

 23   were to reveal that -- I know you disagree with that, you think

 24   that she's not right.    But I mean, she does -- she's articulated

 25   them on a number of occasions.



                                   JA1128
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  1                MS. ALI:   And no court has ever ordered production of

  2   the information they're asking nor, right?       There's not one case

  3   where a court has ever said just produce the key.        No big deal,

  4   just produce the key, right?      That's what we keep hearing.     The

  5   key is everything, right?      And no court has ever required

  6   production.     The only case that A-I-I has cited is Bell where it

  7   was a completely -- first of all it was limited to the named

  8   plaintiff in that case who had -- everybody agreed had executed

  9   a HIPAA waiver for release of that information in that case.

 10   And the court was explicit, as we said in our briefing, none of

 11   the other subjects of the study could be disclosed.        The court

 12   said it was critical -- this is -- I'm quoting the court right

 13   now, "That the other 32 subjects of the study had been

 14   redacted."     And that was key to the court's decision to say it's

 15   okay to release the information as to Ms. Bell, it is not

 16   appropriate to release any of the other information.         Here, of

 17   the 75 subjects of the study, all of them were exactly situated

 18   the way that the other 32 were in the Bell case.        There's not a

 19   single case supporting what A-I-I is seeking to do here.

 20                And so the -- as Your Honor correctly noted, burden is

 21   not just a matter of time and cost.      We disagree of course for

 22   all the reasons we said in our briefing and in the declarations,

 23   that this is simply a matter of, you know, printing out a key

 24   and turning it over, but that's one component of a much broader

 25   and more multifaceted burden inquiry that's required here.



                                    JA1129
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                                                                              28
  1              THE COURT:     Okay.

  2              MR. COOK:     Your Honor, if I may?

  3              THE COURT:     Go ahead, Mr. Cook.

  4              MR. COOK:     Couple quick points on that.

  5              There is a order that actually required Dr. Emory to

  6   respond to the -- with respect to the identity of one of the

  7   individuals.     That's the Burnett case from Arkansas, it's a

  8   federal court.    I can supplement the record with respect to

  9   that, Your Honor.      We received it after our briefing.

 10              I'd also note that with respect to the Bell case --

 11              THE COURT:     In other words, that ordered her to

 12   identify one person who they thought was a plaintiff in that

 13   case?

 14              MR. COOK:     It did.    And the Court did that as a

 15   starting point, Your Honor.        There was some additional

 16   requirements with respect to that order.         Ultimately Doctor --

 17   the case ultimately went away, but the Court said provide an

 18   affidavit on the identity of this individual and then I may

 19   order further discovery depending on what that affidavit says

 20   one way or the other.

 21              I'd also point the Court, with respect to the

 22   confidentiality issues that were raised by counsel, back to the

 23   Bell order again, Your Honor.        Indicates on Page 35 and 36 of

 24   the opinion that in a medical research study, the interest in

 25   confidentiality belongs primarily to the study participant not



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  1   the researcher or the sponsoring facility.

  2             And then it notes there that the study participant

  3   chose to publicly expose the fact of his mesothelioma by filing

  4   a complaint.     Every single individual underlying the Emory 2020

  5   study filed a lawsuit, publicly filed documents.        The

  6   information we're asking for on a key, Your Honor, is

  7   essentially the information -- in fact less than the information

  8   that would be obtained in a well-pleaded complaint filed in any

  9   court across the country.     And if we can go get that

 10   information, just the name, we will do the work to find out the

 11   underlying allegations of exposure in the case.        Because that's

 12   what we need to get to.

 13             The article claims that the only exposure is from

 14   cosmetic talc.    And this is a crux of this, Your Honor.        Because

 15   when we looked at Moline and the one case that was identified

 16   there in Bell, the person swore under penalty of perjury they

 17   had other exposures that weren't from cosmetic talc.          And we

 18   believe that there are individuals in the Emory case theory that

 19   had exposures to asbestos that are in no way alleged to have

 20   occurred from cosmetic talc.

 21             So if we get the names of those individuals we can go

 22   back -- we'll do the work.     We'll dig up the lawsuits, we'll

 23   give up the discovery transcripts, we'll get the sworn answers

 24   to interrogatories that provided the basis of that article, and

 25   then we can use that to cross-examine the experts in Gref, Your



                                   JA1131
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                                                                            30
  1   Honor.

  2               With respect to their concerns about privilege, that

  3   can be solved by a protective order and the Court can limit it,

  4   limit this production to the Gref case so we can do that

  5   information, we can cross the experts in this case.

  6               From a burden perspective, Your Honor, right, it's

  7   producing a chart, a chart that's already been prepared, so that

  8   we can do the work, and then from that protective order you can

  9   put a protective order in place so that we can pull the

 10   information, and if we find out there's other exposures then we

 11   can come back to the court and address it and not use it outside

 12   the context of the Gref case, Your Honor.

 13               But a protective order would protect them on that

 14   particular issue.

 15               THE COURT:     Okay.   I understand your argument.

 16               What did you want to say Ms. Ali, anything else?

 17               MS. ALI:     Just a response that in Bell -- you know,

 18   Mr. Cook is saying that there the court found that because the

 19   individual had placed her medical information at issue by filing

 20   a lawsuit, that waived confidentiality, waived HIPAA protection,

 21   all of that.    Again, that was exclusive to Ms. Bell.       The

 22   important thing that we keep sort of talking around here is that

 23   every one of the other subjects of the study had also filed a

 24   litigation, and the court was very, very careful to say none of

 25   those people had put their medical information at issue in that



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  1   case, right?     It was very, very case-specific.      The court was

  2   very careful to limit it.

  3                And here, as Your Honor, you know, noted right up at

  4   the top, Mr. Gref -- I don't know who the identities of the 75

  5   people in the study, of course, but it seems very clear to us,

  6   right, we weren't given any information when we drafted our

  7   brief about who was in the study, who was not.         Of course we

  8   don't have that information.       But it seems very clear from the

  9   face of the study and who Mr. Gref is and his age and date of

 10   diagnosis, that he is not likely one of those subjects.         And so

 11   we don't have the Bell issues here.         There is nobody in this

 12   Gref case which is the -- again, the only sort of relevant, the

 13   universe we're operating in, we just don't have any of those

 14   issues.

 15                And for this situation where we're talking about, the

 16   set of people we're talking about here, the 75 subjects of Dr.

 17   Emory's study, are basically identically situated to the 32

 18   other subjects of Dr. Moline's study in Bell where they are not

 19   the subject of the litigation.       They're situated identically.

 20   And in this context, what Judge Osteen held was that they

 21   cannot, their identities cannot be released.

 22                MR. THACKSTON:   He did not.     He did not.

 23                THE COURT:   Okay.   Well, go ahead.    I'll give you one

 24   more opportunity, Mr. Thackston, but then I think I'm ready to

 25   rule.



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  1             MR. THACKSTON:     Your Honor, there is a hearing in the

  2   Gref case on February 8th regarding whether Northwell and

  3   Dr. Moline will be required to turn these materials over.          Now,

  4   the only thing I would ask the Court about -- I'm just kind of

  5   astounded that counsel for a third party is trying to talk about

  6   what the defendants think is a key relevant study in cosmetic

  7   talc cases.   If this weren't a key relevant study, why would we

  8   go to all this trouble?    It is -- Dr. Moline testified before

  9   that cosmetic talc had nothing to do with mesothelioma.         Dr.

 10   Emory -- one of the things I would love to hear at some point --

 11             THE COURT:    So you already know that, Mr. Thackston.

 12             MR. THACKSTON:     Well --

 13             THE COURT:    One of the problems that you -- one of the

 14   problems that you have is that you already have a lot of

 15   material to work with to attack these studies.        And --

 16             MR. THACKSTON:     Judge, that's the opposite of what

 17   she's saying now.

 18             THE COURT:    Well --

 19             MR. THACKSTON:     That's the point.

 20             THE COURT:    -- you can certainly point that out when

 21   she testifies if it's true.       I'm not saying it's true or it

 22   isn't true, but if it's true, you already know it and you can

 23   already say it.

 24             MR. THACKSTON:     But she's saying it's different now

 25   because she's done a study, but she can't tell you who is --



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  1   none of these people agreed to be in a study, Your Honor.         It's

  2   not like these people came and said we want to be a part of your

  3   study or even knew that they were theoretically being a start of

  4   the study.     She took deposition transcripts that she

  5   subjectively reviewed.        But now plaintiff's counsel, as Judge

  6   Osteen said, they are using this offensively to say to juries we

  7   know cosmetic talc causes mesothelioma.

  8                In Mr. Gref's case, we know that his peritoneal

  9   mesothelioma, which has nothing to do with asbestos, we know it

 10   was caused by cosmetic talc.        His parents say they used men's

 11   shaving talc on him when he was an infant, but we know that

 12   causes mesothelioma because there are two studies out there,

 13   Moline and Emory, that say that cosmetic talc alone causes

 14   mesothelioma based on the --

 15                THE COURT:   Well, you're saying that's what they're

 16   saying, and Mr. Thackston, if that's what they're saying then

 17   you should be shredding them with their own expert report,

 18   because Dr. Finklestein's report has this much [indicating]

 19   about Dr. Emory's study and 200 pages of other stuff.         So it's

 20   not just Dr. Emory that he's leaning on.

 21                MR. THACKSTON:     He didn't testify about the 200 other

 22   pages at trial.

 23                THE COURT:   He only just comes in and says Dr. Emory

 24   says so, so therefore it's true?

 25                MR. THACKSTON:     That's what Judge Osteen said in his



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  1   record specifically.

  2             THE COURT:    Okay.     Well --

  3             MR. THACKSTON:     This is -- he quotes a plaintiff's

  4   lawyer closing that says Dr. Moline's study shows that cosmetic

  5   talc causes mesothelioma.       That's how important it is.    That's

  6   why it meets the Fourth Circuit's test for unsealing an order.

  7   Because it's important that juries know the truth.

  8             MS. LOCKWOOD:     Your Honor, if I could, before you rule

  9   I just wanted to remind the Court we're willing -- I know you're

 10   ready to rule -- requesting sanctions because if the Court

 11   decides that the subpoena is unduly burdensome and decides to

 12   quash it, Rule 45(d)(1) requires the Court also issue sanctions.

 13             THE COURT:    I'm going to give them an opportunity to

 14   respond separately to that issue, because I am going to grant

 15   the motion to quash.    And the reason is it is a non-party.         And

 16   so the non-party -- I mean, just read Jordan.        It's Fourth

 17   Circuit law.   It's two years old.      It very clearly says when the

 18   subpoena's issued to a non-party, that undue burden analysis is

 19   heightened because they're a stranger to the litigation.           Now

 20   say they're not a stranger to litigation, but they're as close

 21   as a stranger can be to the Gref litigation.

 22             Now it may be that Dr. Emory is deeply immersed in

 23   talc litigation and you may have the opportunity again to depose

 24   her, and if I were sitting in a case, a talc case where Dr.

 25   Emory was identified as an expert witness and this was part of



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  1   her CV and you were deposing her about it because she was

  2   offering her own expert testimony, that would be a different

  3   situation.     That would be a much different situation.      But

  4   that's not this situation.     Dr. Emory's study is minimally cited

  5   by the testifying experts, all of whom you have apparently ample

  6   access to in New York.     And so that is very minimal relevance to

  7   the material that you're seeking.

  8                And I would also point out that your hands are not

  9   tied in attacking Dr. Emory's conclusions, as you've already

 10   pointed out.     You have extensive reason to doubt the credibility

 11   of this study because it was drafted based on litigation

 12   reports.     You can already argue to the experts on

 13   cross-examination that every one of these people was suing a

 14   talc company for their mesothelioma because that's the only

 15   defendant they would have if their only exposure was as a result

 16   of talc.     So you already know that.   You already know they were

 17   self-selected, and Dr. Emory disclosed that.       She disclosed her

 18   potential bias and Dr. Maddox also is well-known.

 19                You've asked for information about how much money they

 20   make.   That is routinely asked when these witness testify and it

 21   is repeatedly shared, I know, among the asbestos bar:         What the

 22   these consultants make and how much they testify.        So that

 23   information is readily available from other sources.         You do not

 24   need to obtain it by issuing a third-party subpoena.

 25                And as you've stated, what you're really after is the



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  1   key.   But that is an incredibly burdensome thing to require Dr.

  2   Emory to disclose based on her own declaration.        I understand

  3   there may be -- it would be a closer question, certainly, and I

  4   don't know how I would rule if Dr. Emory were a testifying

  5   witness if I were sitting in Judge Osteen's shoes and examining

  6   this question with Dr. Emory as a testifying witness.         But she

  7   is not a testifying witness in Gref.

  8              And as we observed at the very beginning, based on the

  9   disclosed case studies in her report, it is extremely unlikely

 10   that Mr. Gref was a participant in this study.        I mean, the

 11   report very clearly indicates his diagnosis was that 2019, and

 12   at the time he was I think less than 40 years old, the

 13   participants in the studdie with those diagnoses are both over

 14   70 at the time.   So it's, again, as close as they can come to

 15   telling you without disclosing names, they have told you that

 16   you're not going to find anything about Mr. Gref in this study.

 17   And so there's just very, very minimal relevance to the Gref

 18   study in allowing this kind of burdensome disclosure.

 19              I understand your client might want it, and I

 20   understand why they might want it, and I understand why they

 21   might think it's highly relevant to their overall litigation

 22   strategy to try and discredit the study.       But with respect to

 23   Gref, I don't think it's relevant, and I do think the burden is

 24   undue based on my own examination of the subpoena and the

 25   information sought and Dr. Emory's declaration regarding the



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  1   importance of confidentiality to her work.       And the information

  2   already available in the record are available from other sources

  3   to permit you to attack the strength of the study when other

  4   experts rely on it.       So I am going to grant the motion to quash.

  5                I do want to give you an opportunity, Mr. Thackston or

  6   Mr. Cook, to respond to the request of sanctions, because I do

  7   think your opposition was a little bit thin on that question.

  8   And they were not seeking sanctions under the Court's inherent

  9   authority, they were seeking sanctions under 45(d)(1), which is

 10   more akin to failing to respond to a discovery order or the

 11   Court's obligation to police discovery when there's a Rules

 12   violation.     And that does not require any bad-faith showing.       So

 13   I do want to give you an opportunity to respond to their request

 14   for sanctions under (d)(1), because I do think it's a different

 15   standard than the one you've articulated in your brief.

 16                MR. THACKSTON:    Well, Your Honor, I'm sure we both

 17   want to comment on that, but for the finding that it's not

 18   relevant, it, it, it's absolutely relevant to --

 19                THE COURT:    I didn't say it was not relevant, Mr.

 20   Thackston.     I said it was minimally relevant.     And there is a

 21   difference.     It is minimally relevant in Gref.

 22                MR. THACKSTON:    Well, yeah, our belief and what's in a

 23   189-page expert report from Dr. Finkelstein -- and by the way I

 24   deposed him yesterday in another case, and I asked whether he

 25   thought that information provided through litigation was



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  1   protected by an expert and he said absolutely not.        In fact, he

  2   went and compelled it from Dr. Riley at Duke so he could look at

  3   the underlying data.     So what they say in their reports versus

  4   what they say at trial are two very different things, and that's

  5   why we pointed out that Judge Osteen had looked at the

  6   significance of these studies -- or Dr. Moline's study in the

  7   context of a talc case and cited in his order that plaintiff's

  8   counsel relied on that case in his closing to say this is why

  9   cosmetic talc causes mesothelioma.

 10                In the Gref case, the only thing they're going to have

 11   is Dr. Moline and Dr. Emory's studies to tell the jury that

 12   peritoneal mesothelioma is caused by cosmetic talc exposure.

 13   And so it's the judgment of the people involved and the lawyers

 14   involved in the cases are what the experts are really going to

 15   rely upon.     When they give you 189 pages, I think is what

 16   Dr. Finkelstein's report is, that makes it very difficult to

 17   figure out what you're really relying on.       But he's not going to

 18   get to testify for five or six days at trial, he's going to

 19   testify in and out, and the two things he's going to talk about

 20   are Moline and Emory with respect to epidemiology that he says

 21   connects cosmetic talc with mesothelioma.       That's all that's out

 22   there, Your Honor.     And that's why it's incredibly important to

 23   us, and one court in the Fourth Circuit has said it is relevant,

 24   and not only relevant but it's the defendant's duty to try to

 25   get at the factual basis of these experts' opinion.        And the



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  1   next case where a subpoena is issued -- oh, and the final thing

  2   is, when asked to produce this in the context of expert

  3   discovery, the witnesses have taken the position that it belongs

  4   to their employer and that you should go get it from their

  5   employer.     And then when you go get it from their employer they

  6   say, oh, no, it's not here, it's expert discovery, you should go

  7   get theirs.     To it's a game of whack-a-mole where it's shame on

  8   you if you don't try to discover your cases.       We have done both.

  9   At your suggestion we've gone and asked the employer to give us

 10   the names of the litigation cases that you relied upon.

 11               So Your Honor, it's is sort of dammed if we do, dammed

 12   if we don't.     We can't get it from the expert, we can't get it

 13   from the hospital, but they're still using it offensively.

 14               THE COURT:   Again, Mr. Thackston, if you had Dr. Emory

 15   as a witness or Dr. Maddox or Dr. Kradin, whoever the third

 16   author was, it might be a different question.        But none of them

 17   are involved in the Gref case.     And I agree with Ms. Ali and Ms.

 18   Lockwood that the relevance question in evaluating the burden is

 19   it's its importance to the parties in the case where the

 20   subpoena was issued.     And I think you have ample way to

 21   challenge the study given what it appears the way they appear to

 22   be using it in the disclosed reports.

 23               Now, if they use it different way, you know, that's,

 24   you'll have to take that up with the trial judge if they're

 25   misrepresenting what the study says.      I frankly don't think the



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  1   study goes that far.     It says may cause.     It specifically

  2   discloses these were all litigation cases.        It specifically says

  3   that this is a rare tumor and there's very little to be done and

  4   more needs to be done to find out the answer.        And I frankly

  5   think it's -- I understand your position that it's litigation

  6   driven and maybe it is, but to the extent it is, that's evident

  7   on the face of the document.

  8              MR. THACKSTON:    Well, I'd like to -- what's not on the

  9   face of the document is how much money were they making as

 10   expert witnesses when they were just testifying on asbestos

 11   cases and all the asbestos bankruptcies took place and

 12   everybody's filing trust claims, and now that they've started

 13   filing talc cases, how much money is Emory and Moline making,

 14   and that's not routinely disclosed.      We fight like crazy to try

 15   to get that stuff.

 16              THE COURT:    But you can get it.     If they're testifying

 17   you can get it.     It's clearly bias information.     And if you had

 18   a motion here asking me how much Dr. Emory made and she was your

 19   witness you would get it.     No question.     But she's not your

 20   witness.   She's not against you in this case.

 21              MR. THACKSTON:    That's being actively litigated in

 22   many cases and it's not, it's not forthcoming.        It is very, very

 23   difficult to get.

 24              THE COURT:    All right.   Mr. Cook, do you want to -- I

 25   do want to hear from you on the sanction question, Mr. Cook, or



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                                                                              41
  1   Mr. Thackston.

  2               MR. COOK:    Yeah.   Just very briefly, Your Honor.

  3               First of all, with respect to -- Your Honor's pointed

  4   to the article and said we can get everything we want from that.

  5   I just want to be clear --

  6               THE COURT:    I didn't say you can get everything you

  7   want.    I just said there was something there.      There was a lot

  8   there already.

  9               MR. COOK:    What's not clear from that and something

 10   that would be subject to this subpoena request that I don't

 11   think has been addressed is whether or not Mr. Gref was an

 12   individual that was ultimately excluded from the study because

 13   he had other exposures.      That would be highly relevant to the

 14   Gref case specifically, Your Honor, and something that the Court

 15   could order in order to give us that piece of information at

 16   least.

 17               THE COURT:    I don't know why -- I'm not sure why that

 18   would be relevant and why you couldn't get that from other

 19   sources.    I mean, I looked at Request 9 through 18 on your

 20   subpoena.    It's all about Mr. Gref.     Well, you've got Mr. Gref

 21   and Mr. Gref's lawyers.      You've got all of his exposure.      You

 22   can ask him anything you want to ask him, and I'm sure already

 23   have.    So you know, you would not need to get that from a

 24   third-party subpoena because you've got Mr. Gref.        He can tell

 25   you.



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  1              MR. COOK:     Well, unless it was provided to one of the

  2   authors of that study and they have information that wasn't

  3   provide to us, Your Honor.

  4              THE COURT:     But you could ask him, did you ever hire

  5   Dr. Emory as a consultant in the case and he would have to tell

  6   you if he did.     You can ask him that.

  7              MS. LOCKWOOD:     And Your Honor, Dr. Emory and Dr. Smith

  8   and Dr. Maddox have all already indicated that they're not

  9   involved in the Gref litigation in any way.       So we already know

 10   that.

 11              But I think it's telling, Your Honor, when you Your

 12   Honor asked for Mr. Cook or Mr. Thackston to respond to our

 13   request for sanctions, we still have not heard a response to our

 14   request for sanctions.      This is also what happened in the

 15   briefing as you noted.      I think their response was also about

 16   less than a page to this request.      And you know, as Your Honor

 17   noted, Rule 45(d)(1) is different because it's not permissive,

 18   it's mandatory.     It's mandatory that the court issue sanctions

 19   when a subpoena is unduly burdensome and the issuing party

 20   didn't take any reasonable steps to mitigate that burden.

 21              And if you look at their briefing, the only issue that

 22   they hit in any accurate detail is whether the subpoena imposed

 23   an undue burden.     They rest on the same arguments that Your

 24   Honor already dismissed, right, in finding that the opinion is

 25   unduly burdensome.      So then when you look at whether or not they



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  1   have taken any reasonable steps to mitigate the burden, it

  2   becomes quite clear that sanctions have to be issued here.         We

  3   asked for them to withdraw the subpoena.       This is the first

  4   we're hearing that they would take a list of the 75 or 140

  5   cases.    We've never heard that before.     And --

  6               THE COURT:   Although to be honest, if you had, you

  7   probably still would be here, right Ms. Lockwood?        I mean,

  8   that's the core of the dispute.      If they had told you all we

  9   want is the key we would still be arguing this motion, wouldn't

 10   we.

 11               MS. LOCKWOOD:   I think we would, Your Honor.      But I

 12   think it shows that they've really taken no steps at all, and to

 13   show up here on the day of the hearing and to spring that on us

 14   is quite remarkable when our client has had to already expend

 15   significant attorney's fees to litigate this, right?         We filed a

 16   motion, they responded, they doubled down.       They filed 700 pages

 17   in exhibits in opposition.     Do you think that, you know, was an

 18   easy thing for us to reply to?     It took a lot of hours.      And our

 19   client is on the hook for that now.      And the case law's clear

 20   that, when a subpoena on its face is unduly burdensome, when it

 21   never should have been issued in the first place, then literally

 22   everything done in response to that is an undue burden or

 23   expense that mandates sanctions under Rule 45(d)(1).         We haven't

 24   heard anything from the other side that would suggest a

 25   different result is appropriate here.



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  1               THE COURT:     All right.    Do you want to respond to the

  2   sanctions issue under 45(d)(1), either Mr. Thackston or

  3   Mr. Cook?

  4               MR. THACKSTON:     Your Honor --

  5               MR. COOK:     Go ahead, Robert.

  6               MR. THACKSTON:     Yeah.    I was, it's not true that we --

  7   they talked about timeliness, they talked about all the kinds of

  8   things in their response that as strange -- I don't think you

  9   can have it both ways and say you're a stranger to the case and

 10   then you urge a timeliness issue that the trial court has turned

 11   down.   If it really was untimely, then the Gref court would have

 12   said no, that's outside the scope of the discovery period in

 13   this case and I'm not going to allow it.

 14               MS. ALI:     Your Honor, could I respond on that?

 15   Because that's actually addressed specifically in the hearing

 16   that happened on Monday.

 17               MR. THACKSTON:     The timeliness question?

 18               MS. ALI:     We -- that's just not accurate.

 19               On the timeliness question the court said -- what

 20   happened is the court said I understand there's also a question

 21   about timeliness.       I have the transcript right in front of me.

 22   The counsel said there's a motion to quash pending in the

 23   Eastern District of Virginia, and the magistrate judge said I'm

 24   not going to deal with anything having to do with that subpoena,

 25   I'm going to let the district court in Virginia deal with that.



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  1   It wasn't addressed, it wasn't rejected.       She said there is

  2   already a motion to -- I understand there's already a motion to

  3   quash, I'm not going to deal with it here.

  4              THE COURT:     In other words she didn't say it was

  5   untimely, she didn't say it was timely, she didn't address it

  6   one way or the other?

  7              MS. ALI:     Correct.   That's exactly right, Your Honor.

  8              MR. THACKSTON:     If you believe that the discovery is

  9   outside the time frame you can ask the trial court to quash a

 10   subpoena and not to allow --

 11              MS. ALI:     There was no motion pending before the court

 12   asking for her to quash the subpoena, issue a protective order,

 13   nothing.

 14              MR. THACKSTON:     That's, that's --

 15              MS. ALI:     That's correct.

 16              MR. THACKSTON:     Judge, I didn't interrupt other

 17   counsel.

 18              THE COURT:     Okay.

 19              MR. THACKSTON:     That's exactly my point:    That they

 20   didn't go to the trial court because they know that discovery is

 21   still open.   We're still dealing with it.

 22              THE COURT:     They couldn't go to the trial court.     And

 23   I was -- I actually should have asked that question at the very

 24   beginning because I maybe could have avoided the whole thing.

 25   Nobody asked to have this moved to the trial court.        Nobody --



                                    JA1147
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                 46
  1               MS. ALI:     No, Your Honor.

  2               THE COURT:     -- asked under 45(f) to say send this up

  3   to New York and let Judge Figueredo sort it out.

  4               MS. ALI:     That's correct.

  5               MR. THACKSTON:     All the arguments that they had in

  6   their motion -- my point is they have all these arguments in

  7   their brief about being outside the time limits of the trial

  8   court.    Those arguments would be made to the trial court.

  9   There's arguments made earlier this week with respect to Moline

 10   and Northwell and the hearing was set in February, and the Court

 11   said we're going to the to push things down the road, we're

 12   going to hold this February 8th in person.         So that's -- those

 13   arguments were, were irrelevant.

 14               And we did say just tell us who the people are.          And

 15   they say we can't tell you who the people are.         And so that

 16   doesn't solve any of our problems.         There's nothing we can do

 17   other than say when we need a ruling then, because we believe

 18   that they're not protected in any way and that we don't believe

 19   that imposes any burden whatsoever to just give us the

 20   spreadsheet, and to say, well, you don't have releases in those

 21   cases, well, that's circular.       We don't know what the cases are.

 22   Obviously there are releases in those cases for medical

 23   information or there wouldn't be lawsuits, right?         The only

 24   question --

 25               THE COURT:     Well, I don't know.    Any HIPAA waiver I've



                                     JA1148
               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                47
  1   ever seen in litigation is for the litigation only.        It

  2   wouldn't, it wouldn't extend to the nature of any participation

  3   in research or -- I mean, I don't know.       I don't know what the

  4   nature of the relationship between Dr. Emory and Dr. Maddox and

  5   the other doctors and these particular subjects were.           But Dr.

  6   Emory has put in a sworn affidavit that says she has a ethical

  7   duty to protect their confidentiality as research subjects.           And

  8   you know, I don't see any kind of inherent untrustworthiness in

  9   that statement.

 10             MR. THACKSTON:     Well, but in the absence of a court

 11   order to the contrary --

 12             THE COURT:    Right.

 13             MR. THACKSTON:     -- we made the same arguments, she

 14   would be protected if there were a court order saying no, that

 15   doesn't apply to litigation materials, you didn't go get

 16   permission from those people, you didn't think you needed to

 17   today get their permission to include them in the study because

 18   you received their medical information only in the sense that it

 19   was in depositions and interrogatory responses, if that's even

 20   medical information.

 21             In fact, if you look at the face, the reason I was

 22   trying to go to the end of it, she said this was based on

 23   depositions and interrogatory responses, and counsel's motion to

 24   quash in this case doesn't say that.      It changes it and says

 25   it's based on records from these people.       Well, a deposition is



                                   JA1149
             Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                            48
  1   not a record, and an answer to a interrogatory is not a record.

  2   I think it's a little contortionist to take a deposition

  3   transcript and call it a medical record and say that it's

  4   entitled to protection and this is burdensome and we need to do

  5   all this stuff we --

  6             THE COURT:     Well, we're getting back to the arguments.

  7             Mr. Cook, did you want to say anything more about the

  8   45(d)(1) argument?

  9             MR. COOK:     Yeah, I don't know there's much more to

 10   say, Your Honor.     I do think the subpoena -- I know Your Honor's

 11   already ruled on it -- but I do think the subpoena was intended

 12   to be tailored to the Gref case.      Your Honor has indicated a

 13   number of the requests that were specific to tailor and allow us

 14   to cross-examine the experts with respect to that.        So that was

 15   certainly the intent when it was propounded and we have

 16   proposed, I think, a good-faith solution to reduce any potential

 17   burden on Peninsula Pathology that would take minutes for them

 18   to produce that list, and we would take on, A-I-I would take on

 19   the burden of getting the additional information which --

 20             THE COURT:     Was there any discussion of a protective

 21   order when you were having that conversation with them?         Was

 22   there any discussion --

 23             MS. LOCKWOOD:     Your Honor, if I could, which

 24   discussion are we referring to here?

 25             THE COURT:     I'm assuming there was a meet-and-confer?



                                   JA1150
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                                                                              49
  1   There was a verbal meet-and-confer before the motion was filed,

  2   or was it --

  3                MS. LOCKWOOD:   We did meet and confer with them.

  4   There was no request -- and I see Mr. Greve has joined on video.

  5   He participated.     There was no request that we disclose the

  6   names of the 75 people and start there.         That just did not

  7   happen.     So if that's what's been suggested, I'm not sure where

  8   it's coming from, Your Honor.

  9                MR. GREVE:   Your Honor, again, Kirk Greve.     It's a

 10   pleasure to meet you.

 11                THE COURT:   Mr. Greve, who are you?     I don't have your

 12   appearance in the case.      Who are you for?

 13                MR. GREVE:   Yes, sir.   I'm here with Mr. Thackston and

 14   A-I-I.     I was the attorney who participated in the

 15   meet-and-confer.     You know, as you indicated there was a

 16   conference.     We did visit about this.    And the meet and confer

 17   really boiled down to a discussion of the timeliness issue.           We

 18   didn't get into any substantive discussion of pare down or what

 19   steps could be done next, because counsel all agreed that this

 20   was all going to turn on the timeliness issue first.         And then

 21   once we resolved the timeliness issue then we could sit there

 22   and we could focus on what we could or cannot do.

 23                Ultimately there was never any detailed discussion on,

 24   you know, producing a chart, because as they explained, this was

 25   all something that they viewed as being untimely



                                    JA1151
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  1   fact-witness-driven and something that they weren't going to

  2   disclose as a result of that.     So that's what the focus of the

  3   meet-and-confer was.

  4             And then the spirit of it was there would be some type

  5   of follow-up or, you know, additional work where we may be able

  6   to get together and understand what certain limits were once we

  7   got through the timeliness issue.      Obviously, you know, that's

  8   something that we've just recently been dealing with.         So we're

  9   on a very expedited time frame, Your Honor.

 10             THE COURT:    Okay.

 11             MS. LOCKWOOD:     That's a little surprising to me that

 12   that was their perspective of the spirit of the meet-and-confer,

 13   so I think perhaps there was not a meeting of the minds.

 14             On that I should also note, though, Your Honor, on the

 15   same day that we filed a motion to quash, out of an abundance of

 16   caution we served detailed objections where they could have

 17   separately come back to us and tried to negotiate any of this,

 18   or make any proposal.     And the fact is they didn't take any

 19   steps at all, much less reasonable ones, and under

 20   Rule 45(d)(1), that is what is required in order to avoid a

 21   court's issuance of sanctions.

 22             And everything that we've talked about here relates to

 23   undue burden, the Court has already found the subpoena's unduly

 24   burdensome.   That is the end of the inquiry.      It doesn't matter

 25   if the Court decided it unduly burdensome for Reason A or Reason



                                   JA1152
             Paul L. McManus, RMR, FCRR Official Court Reporter
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  1   B.   What matters is the Court found it unduly burdensome, and so

  2   Rule 45(d)(1) requires that sanctions be issued.

  3               THE COURT:   Well, I disagree with that

  4   characterization of 45(d)(1).     I think it requires that I find

  5   that they failed to take steps, reasonable steps to avoid it

  6   being unduly burdensome.     I think you can take responsible steps

  7   to avoid it being unduly burdensome and still have a court find

  8   that it is unduly burdensome.

  9               But having said that, I do, I do agree with Ms.

 10   Lockwood.    I don't find there were reasonable steps in this case

 11   and I am going to award sanctions, because what it appears to me

 12   is going on is that you are going to take -- you have taken an

 13   opportunity where Dr. Emory and Maddox and Kradin, the authors

 14   of the study, have very, very little to do with Mr. Gref's case.

 15   There is no indication that Mr. Gref was a subject in this

 16   study.    There is no identification of any of them as testifying

 17   witnesses in the study.     And it seems as though you've taken

 18   this opportunity to file a subpoena and ask another judge to

 19   weigh in on the same questions that you've already gotten

 20   negative answers to from multiple other judges in order to try

 21   and pry open the survey.     And there's a very, very tenuous

 22   connection to the Gref litigation that I find to be a very thin

 23   reed on which to put the practice to the expense of defending

 24   the subpoena.

 25               So I do find that counsel failed to take reasonable



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  1   steps to avoid the undue burden and I am going to order

  2   sanctions.

  3                So I'm going to issue a short written order granting

  4   the motion to quash.      I'm going to take the motion for sanctions

  5   under advisement, request that counsel submit to me a sworn

  6   statement of the fees incurred in defending the case.         I will

  7   say I'm not -- I don't intend to award all of the fees, because

  8   I do think there's some merit in the suggestion that a lot of

  9   this was hinged on the timeliness of the subpoena, and that is

 10   not the basis of the Court's ruling.        If the only issue were the

 11   timeliness, I probably would not find it unreasonably

 12   burdensome.     If there were otherwise a narrowly tailored

 13   subpoena and there was some significant degree of relevance, I

 14   probably would have reached a different conclusion.

 15                So I'll permit you to submit a request for fees with

 16   appropriate affidavits supporting the fees that you incurred in

 17   preparing the motion to quash and responding to the opposition.

 18                I'll give you 10 days.     Is that sufficient time to

 19   submit that?

 20                MS. LOCKWOOD:   Yes, Your Honor.

 21                THE COURT:   Or where is that going to put us?     I know

 22   people have holidays coming up.

 23                What is today, the 16th?     That's actually right at

 24   Christmas.

 25                This is what I'm going to do:      I'm going to go to



                                    JA1154
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                                                                             53
  1   beyond the holidays because I'm hoping you all will get together

  2   and work this out and I won't need to rule on this question, and

  3   if you do, obviously just submit a statement to that effect.

  4                But I'll give you till January 4th to submit that

  5   statement and whatever brief you want articulating why those are

  6   reasonable fees, and then I'll give you all two weeks to respond

  7   to the statement.     That's January 18th.     And then I'll issue a

  8   separate short order regarding the fees under 45(d)(1).

  9                MR. THACKSTON:     Your Honor, I would ask you, just ask

 10   that to the extent the Court's going to grant sanctions based on

 11   the Court's statement that we had gotten a negative answer from

 12   multiple other judges, I would certainly like to be put on

 13   notice of what other judges ever gave us a negative answer.

 14   Because this issue has not been before any other judge.          This is

 15   the first time this issue's been argued as a discovery issue

 16   that I'm aware of.        So if I'm going to get sanctioned --

 17                THE COURT:     Well, it's my understanding is that Judge

 18   Osteen said that you wanted the disclosure of names in the

 19   Moline study and Judge Osteen declined to give you the

 20   disclosure of any names other than Bell, which had already been

 21   disclosed.

 22                MR. THACKSTON:     Your Honor, as a point of negotiation,

 23   during that case the magistrate judge indicated that she was

 24   willing to order the discovery in the Bell case.        We, we just

 25   pursued that and did not pursue the other ones.        That wasn't



                                      JA1155
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  1   specifically before Judge Osteen.          The only issue before Judge

  2   Osteen was the issue of whether to unseal the pleadings.

  3               So I'm sorry, Judge, the other rulings that you were

  4   told about was a trial court objection to questions while

  5   Dr. Moline was on the stand, and the court said we can't go too

  6   far into that while allowing some questions about Mrs. Bell.

  7               So I think that's been overstated and misrepresented

  8   to the Court.    This has not come up before another judge.           The

  9   Court has not been presented with any order where a court has

 10   squarely considered as much as this court has considered

 11   today -- and I respect the Court's decision -- but I don't think

 12   that the Court has a clear understanding of whether any other

 13   judge has ever done what you've done today.

 14               THE COURT:     Okay.     I understand your argument.

 15               MS. ALI:     I just want to correct the record.        This

 16   issue was squarely litigated in Bell.          It's in the -- we didn't

 17   submit the full transcript of the magistrate judge's hearing in

 18   that case because there was already so much paper filed in the

 19   court.    This is at Pages 83 and 84 of that transcript from 2020.

 20   Mr. Thackston specifically asked for the identities of the other

 21   32 subjects in the study.          The magistrate judge said I am not

 22   going to allow that.       And it was repeated several times forward.

 23   We cited the Fisher case in our briefing.          We cited the Johnson

 24   and Lashley.    Whether it was in the context of a trial

 25   transcript or a written order doesn't matter.          The issue was



                                     JA1156
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  1   squarely teed up for the court and it was squarely decided.

  2                And we cited, I think it's Exhibit 1 to our reply

  3   brief, a letter that was filed on the docket in the Gref case, I

  4   think it's Pages 9 to 15 of that letter that walked through in

  5   pretty significant detail all of the sort of history of A-I-I's

  6   attempts to get this information the human subjects.          This is

  7   mostly relating to Dr. Moline, not to Dr. Emory, maybe

  8   exclusively to Dr. Moline because it was in the context of

  9   briefing that issue where she is, of course, a testifying expert

 10   in Gref.     But you know, the issue is the same:     Whether subjects

 11   in a study should be revealed.       And in every one of those cases,

 12   there are additional cased that we didn't cite and attach to the

 13   brief.     I'm thinking Harpster, I know there are others, where

 14   the court has said this is not appropriate.       It is not

 15   appropriate to issue this information.

 16                So I know we're way far -- you know, Your Honor has

 17   already ruled --

 18                THE COURT:   Right.   I have already ruled.   And I want

 19   to be clear about the limitations of my rule.        I am not saying

 20   that it would never be appropriate.       And as I've already

 21   observed, this is not a case where Dr. Emory is testifying.             If

 22   she were testifying, it might be a different question.          But she

 23   has very, very little connection to the Gref litigation.          And so

 24   when I observed what other judges had done, Mr. Thackston, I was

 25   observing it in the context of those judges had cases where the



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  1   experts were testifying in front of them.        They were going to be

  2   in front of the jury relying on these studies in front of a

  3   jury.     And that is not this case.     Emory is not going to be in

  4   front of the jury, and neither is Maddox.        And the study may be

  5   there with Dr. Moline, but you have Dr. Moline and you have the

  6   ability to explore the credibility of Dr. Moline's testimony

  7   with a jury and to depose her at length and challenge those

  8   things.

  9                But to use this case and this subpoena in a case where

 10   Dr. Emory is just, has this very, very tangential connection to

 11   it is what troubles me.     And I don't think there were sufficient

 12   efforts to try and avoid the dispute that we've resolved here

 13   today.     So I am going to entertain a request under 45(d)(1).

 14   I've set the briefing schedule to conclude that.

 15                As I said, if you all get together and work it out,

 16   let me know.     I don't relish doing that, but I think Ms.

 17   Lockwood is right:     The statute is different.     It's not, it's

 18   not a sanction because of the Court's inherent power, it is

 19   enforcement of discovery rules.        That's what the rules are there

 20   for.     And so I am going to enforce 45(d)(1) and impose an

 21   appropriate sanction; however, if you all agree to a resolution

 22   before the briefing schedule or at any time, communicate that to

 23   me and I'll simply dismiss the matter.

 24                But I am going to enter a short order today taking

 25   that under advisement but granting the motion to quash.         Okay?



                                   JA1158
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                                                                               57
  1   I mean, it probably will be Monday or Tuesday actually, not

  2   today.    But it will go out.       Okay?

  3                MR. THACKSTON:     The Court is granting the motion to

  4   quash, holding the question of whether --

  5                THE COURT:     I'm directing briefing, directing briefing

  6   and submission of attorney's fees to assess an appropriate

  7   sanction under 45(d)(1).

  8                MR. THACKSTON:     Right.      Thank Your Honor.

  9                MS. ALI:     Thank you, Your Honor.

 10                THE COURT:     Okay.

 11                MS. LOCKWOOD:     Thank you, Your Honor.

 12                THE COURT:     All right.      Thank you all.

 13                Anything else, Ms. Dodge?

 14                COURTROOM DEPUTY CLERK:         No, sir.

 15                THE COURT:     All right.      Thank you all.   Court will be

 16   in recess.

 17                (Whereupon, proceedings concluded at 3:57 p.m.)

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               Paul L. McManus, RMR, FCRR Official Court Reporter
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                                                                                     58
  1                                   CERTIFICATION

  2

  3                I certify that the foregoing is a true, complete and

  4   correct transcript of the proceedings held in the above - entitled

  5   matter.
                                            Digitally signe<l l>y Paut L. McManus,
  6                   Paul L.               OCR
                                            ON: cn=Paul L. McManus, OCR, c=VA,

  7
                      MCManus OCR ,
                                            email=pmcmanusocr@gmail.com
                                            Date: 2022.12.22 15:29:01 -05'00'



  8                         Pau l L. McManus, RMR, FCRR

  9

 10                                       Date

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                Pau l L. McManus, RMR, FCRR Offic i a l Court Rep o rter
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                              Exhibit 2




                                   JA1161
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                                                                                                               now
   May 12, 2022

                                                                                                   ( ) Stantec
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   Re: Brian J. Gref, Plaintiff, v. American International Industries, et al. (regarding Whittaker, Clark &
   Daniels, Inc., American International Industries, and Shulton, Inc.)

   Dear Ms. Winters, Ms. Gowin and Mr. Hagaman:

   Thank you for requesting my epidemiological assessment of the above-referenced matter. It is my
   understanding that Plaintiffs allege that Brian Gref developed malignant peritoneal mesothelioma as a
   result of his personal use and his parents' use on him of various talcum powder products. These
   allegedly include products manufactured by Shulton Inc. and The Proctor & Gamble Company, and
   possibly containing cosmetic or pharmaceutical grade talc distributed by Whittaker, Clark & Daniels, Inc.
   or American International Industries.

   The following report provides summaries of my credentials and basic epidemiological concepts and
   methods, as well as overviews of the peer-reviewed published literature on the causes of malignant
   mesothelioma and the possible relationship with talc and talcum powder. Based on my review and
   synthesis of the epidemiological evidence and my review of the case materials provided by Defense
   Counsel - combined with my experience of over 30 years as an epidemiologist - I offer several expert
   opinions which I hold to a reasonable degree of scientific and epidemiological certainty.

   Please do not hesitate to contact me if you have any questions.

   Sincerely,




   Kenneth A. Mundt, PhD, FACE
   Senior Principal Health Scientist



                                                   JA1162
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   Expert Report of Kenneth A. Mundt, PhD, FACE
   Gref vs WCD, AII, and Shulton

   Summary of conclusions and expert opinions 1

       1. Epidemiological concepts and standard methods have been established for decades. Their proper
          use provides invaluable scientific analyses and perspectives in the process of evaluating and
          integrating evidence for purposes of determining preventable causes of human disease. Causal
          relationships identified from weight-of-evidence evaluations of the body of published
          epidemiological literature may be quantified in terms of exposure-disease relationships, i.e., risk
          assessment. Therefore, epidemiology serves as a primary basis for determining population risk
          and disease causation and by extension informs individual disease risk.

       2. Malignant mesothelioma is a cancer arising from the layer of cells lining body cavities and organs,
          known as the mesothelium. Epidemiological studies clearly and consistently demonstrate that
          substantial occupational or environmental exposure to respirable amphibole asbestos fibers
          significantly increases the risk of pleural and to a lesser extent peritoneal malignant
          mesothelioma; however, as such exposure scenarios over time become rarer, increasingly lower
          proportions of diagnosed mesotheliomas validly can be attributed to asbestos exposure. Further,
          higher quality epidemiological studies demonstrate low or no risk (i.e., risks similar to
          background rates) of mesothelioma among those with the lowest exposures to amphibole
          asbestos. Based on the materials provided, I found no documentation that Mr. Gref sustained
          substantial exposure to amphibole asbestos from any source that would have placed him at
          increased risk of malignant peritoneal mesothelioma.

       3. Other preventable risk factors for malignant pleural - and presumably peritoneal- mesothelioma
          include exposure to fibrous erionite or fibrous fluoro-edenite, therapeutic ionizing radiation,
          medical diagnostic procedures using injected thorium dioxide and possibly some infectious
          agents or chronic serosal inflammatory conditions. Nevertheless, there is no indication in the
          record that Mr. Gref had any of these risk factors.

       4. A substantial and growing proportion of mesothelioma cases diagnosed in men in the US today is
          unrelated to amphibole asbestos exposure or other recognized risk factors. These mesothelioma
          cases are considered idiopathic, literally meaning “of unknown cause”, and align with the role of
          unrepaired gene replication errors, but also may include undocumented or unrecognized causal
          factor(s) such as undiagnosed genetic susceptibility and unwitting exposure to substantial
          quantities of amphibole asbestos. Accordingly, and finding no clear evidence in the record that
          Mr. Gref ever had been exposed to substantial amounts of amphibole asbestos as well as his
          young age at diagnosis, I conclude to a reasonable degree of epidemiological certainty that Mr.
          Gref’s malignant peritoneal mesothelioma is idiopathic.

       5. Numerous epidemiological studies of groups including workers highly exposed to talc have been
          published and these were comprehensively identified and critically reviewed.

               a. A substantial body of published, peer-reviewed epidemiological studies of cohorts of talc
                  miners and millers highly exposed to mineral talc dusts – with all accessory minerals and


   1
    I provide here a summary of the conclusions and expert opinions I have formulated following my review of case
   materials and relevant scientific literature as presented in detail below. These conclusions and opinions – which I
   hold to a reasonable degree of scientific and epidemiological probability – are repeated at the end of the report.

                                                           1

                                                    JA1163
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   Expert Report of Kenneth A. Mundt, PhD, FACE
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                 contaminants – does not demonstrate that such exposures cause malignant
                 mesothelioma.

             b. Studies following patients receiving pleurodesis treatments involving injections of talc
                directly into the pleural space do not demonstrate increased risk of mesothelioma.

             c. Epidemiological cancer registry linkage studies also consistently demonstrate no
                increased risk of malignant pleural and peritoneal mesothelioma among hairdressers and
                barbers – who may be occupationally exposed regularly to talcum powder products.

             d. There are no peer-reviewed published epidemiological studies specifically evaluating
                consumer use of talcum powders and risk of malignant mesothelioma.

         Critical review and synthesis of the body of epidemiological studies directly addressing human
         health risks associated with exposure to talc, with all accessory and contaminant minerals
         present (even assuming trace levels of asbestos) do not scientifically substantiate – and therefore
         refute – the claim that exposure to talc, or the use of talcum powder products containing such
         talc, causes malignant mesothelioma.

     6. The allegations that Mr. Gref’s and his parent’s use of talcum powder products on him as a child
        somehow caused or contributed to causing his malignant peritoneal mesothelioma cannot be
        substantiated epidemiologically, i.e., based on human scientific evidence. Therefore, I conclude
        to a reasonable degree of scientific certainty that Mr. Gref’s and his family member’s alleged use
        of talcum powder products manufactured by Shulton Inc. or The Proctor & Gamble Company and
        possibly containing cosmetic or pharmaceutical grade talc distributed by Whittaker, Clark &
        Daniels, Inc. or American International Industries did not cause or contribute to his malignant
        peritoneal mesothelioma. Absent Mr. Gref’s use of these products, even assuming they may have
        contained trace amounts of asbestos, his risk of malignant peritoneal mesothelioma would have
        been unchanged.

   Credentials

     7. I hold a PhD in Epidemiology from the Department of Epidemiology, School of Public Health,
        University of North Carolina; a Master of Science (MS) in Epidemiology from the Department of
        Biostatistics and Epidemiology, School of Public Health, University of Massachusetts; a Master of
        Arts (MA) from the Department of English, University of Virginia; and a Bachelor of Arts (AB) from
        Dartmouth College.

     8. I have worked full-time as an epidemiologist for 35 years, first as a university professor and
        subsequently as a consultant. From September 1989 through June 1999, I served on the
        Graduate Faculty of the Department of Biostatistics and Epidemiology of the School of Public
        Health and Health Sciences (SPHHS), University of Massachusetts. In 1999 I joined Applied
        Epidemiology, Inc. (AEI) – a company I founded in 1991 – and in November 2003, AEI merged
        with ENVIRON International Corporation (ENVIRON). In 2015, ENVIRON merged with Ramboll,
        where I served as Health Sciences Global Practice Network Leader until July 2018. I joined Cardno
        ChemRisk in September 2018 as a Senior Principal Health Scientist. In 2021 I was named
        ChemRisk Fellow.



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     9. Since 2004 I have served as Adjunct Professor in the Department of Biostatistics and
        Epidemiology at the University of Massachusetts and Charter Member of the Dean’s Advisory
        Board. I was appointed Associate Director for Institutional Engagement of the University’s Global
        Health Institute in 2018. I was appointed Adjunct Professor in the Department of Environmental
        Health Sciences as well as Adjunct Professor in the Department of Epidemiology/Biostatistics,
        Arnold School of Public Health and Health Sciences, University of South Carolina at Columbia, in
        2016 and in 2018, respectively. I also serve on the Boards of the American University of the
        Caribbean, Les Cayes, Haiti, and two US 501(c)(3) non-profit organizations.

     10. I am a Fellow in the American College of Epidemiology (FACE) and member of the American
         College of Epidemiology Ethics Committee. In July 2016, I was appointed Secretary General of
         MEDICHEM, the international scientific association for occupational and environmental medicine
         and health in the production and use of chemicals. I currently serve as Advisory Editor for three
         peer-reviewed scientific journals: International Archives of Occupational and Environmental
         Health; Archives of Industrial Hygiene and Toxicology; and Journal of Public Health and
         Emergency. I am a member of the Executive Committee of the Dose-Response Society, which
         publishes the journal, Dose-Response. I regularly peer review papers submitted to these and
         numerous other medical and health professional journals.

     11. My scientific research and professional evaluations focus on identifying and quantifying human
         health risks related to occupational, environmental and consumer product exposures, typically
         leading to publication in peer-reviewed health and medical journals. This work typically involves
         critical review and synthesis of epidemiological findings and integrating this with evidence from
         exposure science, animal toxicology, and biological mechanisms of disease to improve scientific
         understanding the complex relationships between these exposure and risk of various diseases. I
         have provided epidemiological and human health risk evaluations to corporations, trade
         associations, governmental entities (including the US DoD and US EPA), institutions for statutory
         accident insurance and prevention (e.g., German Berufsgenossenschaften), inter-governmental
         organizations (e.g., the World Bank) and law firms. I have testified before legislative and
         regulatory bodies (including OSHA and US Congress) on human health risk matters.

     12. My curriculum vitae, included as Attachment A, provides a more detailed summary of my
         professional activities, as well as a complete list of my publications. A listing of my prior
         testimony in the last four years is included as Attachment B. My firm’s rate sheet is included as
         Attachment C, and my time is billed at $475 per hour.

   Principles of epidemiological methods and perspectives

     13. Epidemiology is the basic science of public health practice. Epidemiology uses measures such as
         the incidence, prevalence and distribution of diseases in populations, and compares these across
         otherwise comparable groups with different exposure and risk factor profiles to identify and
         evaluate factors that may be related to disease risk. Methods are employed to identify and
         interpret statistical correlations or “associations” between various exposures or other risk factors
         for disease and disease occurrence or “risk.” Epidemiological methods have been standardized
         for many years and are well described in numerous classical textbooks such as Hennekens and
         Buring (1987), Checkoway, et al. (2004) and Rothman (1986). Understanding and interpreting
         epidemiological study findings in light of all the conceptual, methodological and interpretational
         challenges constitute the “art” of epidemiology.

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     14. Epidemiological methods are broadly applied in understanding health and disease in populations,
         but also inform risks at the individual level. For example, clinical epidemiological trials and post-
         marketing epidemiological studies are used to determine the efficacy and side effects of new
         pharmaceutical agents. Physicians use this information to decide whether a drug is likely to
         benefit specific patients sufficiently to outweigh any risk of dangerous side effects. However, the
         actual outcome – beneficial or dangerous side effects – for a specific patient is not known in
         advance, as the epidemiological evaluations are conducted on groups of individuals and not that
         patient. Similarly, and by extension, the relationships observed in epidemiological studies provide
         information on the probabilities of disease in groups that can inform professional decisions
         regarding similarly situated individuals.

     15. There are two basic observational approaches used in epidemiology to evaluate possible
         associations between risk factors and disease: cohort studies, in which disease rates are
         compared between groups of exposed persons and groups of unexposed persons; and case-
         control studies, in which exposure history among individuals with disease (“cases”) is compared
         with exposure history among individuals without the disease (“controls”). Each approach has
         specific strengths and weaknesses. For example, cohort studies can directly observe rates of
         disease, and because cohort studies can characterize exposure before disease occurs, recall bias
         (the tendency of people diagnosed with a disease to recall exposures different or more
         thoroughly than those not similarly diagnosed) is avoided. However, the number of exposures or
         risk factors that can be considered is often limited, and the time and costs required may be
         prohibitive. On the other hand, case-control studies often can be conducted quickly and consider
         simultaneously numerous exposures or risk factors; however, information on historical exposures
         obtained from participants in case-control studies is subject to recall bias, and these studies
         cannot directly determine rates of disease in the study groups or the underlying population.
         Furthermore, underlying differences between the cases and controls or the differential
         participation of exposed cases or other selection bias may generate associations that do not
         validly reflect causal relationships.

     16. Relative risk is estimated and interpreted differently for cohort and case-control studies but is
         generally considered an indicator of the strength of association or correlation between the
         exposure or risk factor and the disease outcome of interest. It is estimated in cohort studies as
         the ratio of the rate of disease (i.e., risk) among the exposed and the rate of disease among the
         unexposed. In cohort studies, this measure of relative risk may be reported simply as the
         “relative risk” among exposed participants compared to unexposed participants, or it may be
         reported as a standardized incidence ratio, standardized mortality ratio, or standardized rate
         ratio. Relative risk is estimated in case-control studies as the ratio of exposure odds (the “odds
         ratio”) among cases compared with controls. Larger relative risk (or odds ratio) may indicate a
         strong statistical correlation but does not itself indicate whether this reflects a true causal
         association or some other statistical correlation arising from methodological error (“bias”) or
         simply random error (“chance”). Most relative risks are small (i.e., less than two) and more likely
         to reflect the effects of bias, confounding or chance (see below).

     17. Observational studies that utilize aggregate or population-level data as the unit of analysis rather
         than individual-level data often are called “ecological” studies. These studies most commonly are
         used to describe disease incidence or prevalence, particularly when the disease of interest is rare.
         Ecological studies also may be useful in generating hypotheses, but they are limited in their
         ability to account for confounding factors and often require the use of proxy measures of

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         exposure and outcome. Further, because individual exposures and risk factors are unknown, their
         results cannot directly address individual-level associations between a specific exposure and
         health outcome. Inaccurately interpreting the results of an ecological study that reports an
         aggregate-level association between and exposure and outcome as evidence of an individual-
         level association is referred to as “ecological fallacy.”

     18. Case reports and case series are descriptive presentations that usually characterize exposure and
         disease in a single case or several individuals. They are not epidemiological studies because they
         lack a valid comparison group and therefore rates of disease in exposed and unexposed groups
         (or frequency of exposure in diseased and non-diseased groups) cannot be compared to derive
         an estimate of relative risk. Cases typically represent unusual or novel observations in an
         undefined source group or population and results therefore cannot be generalized, i.e., validly
         applied to other individuals or circumstances. Thus, case reports and case series may be useful in
         generating hypotheses that can be tested using appropriate epidemiological study designs but
         are of little use in assessing causality.

     19. When diseases and/or exposures are classified imprecisely or erroneously, misclassification
         occurs, which can result in biases that distort the apparent association between exposure and
         the disease outcome of interest. For true causal agents, misclassification often results in
         overestimating risk at low exposures and the underestimating risks at higher exposures. Bias also
         arises from any number of other sources, e.g., selective participation of certain subsets of
         individuals can lead to selection bias, survival bias, volunteer bias, etc. and low response rates or
         systematic errors in measured data can lead to information bias, recall bias, social acceptability
         bias, etc. Additionally, the mixing of possible effects of other strong risk factors for the same
         disease with the exposure(s) of interest leads to confounding bias, and interaction (i.e., non-
         independence of the effects of a risk factor). Confounding bias leads to inaccurate measurement
         of the association between the primary exposure of interest and the outcome, either diminishing
         or inflating the estimated effect.

     20. Results of occupational studies comparing workers to a general population may be viewed by
         some as unreliable due to a so-called “healthy worker effect.” Differences between workers and
         the general population can and do arise due to the selective hiring and retention of healthy or fit
         workers and is seen primarily for cardiovascular diseases when disease patterns for these
         workers are compared with those of the general population. For cancer outcomes, however, such
         an effect is expected to be minimal or non-existent, except, e.g., for lung (or other smoking-
         related) cancers in occupations where smoking is more prevalent than in the general population.
         Most cancers occur at older ages and any future cancer risk would not influence workers’
         likelihood of being hired:

                Many investigators have argued that the HWE is of little or no consequence in
                interpreting data on cancer mortality. The reason for this is that it is unlikely that
                factors predicting eventual cancer deaths would be presented at 20 years of age,
                when many people become employed, which may not be true for factors that
                predict other causes of death. In other words, most cancers are not associated
                with a prolonged period of ill-health that would affect employability for a long
                time before death occurred (Li and Sung, 1999).




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         Furthermore, in higher-quality occupational cohort studies, workers meeting a minimal
         employment criterion (such as one year) are followed until the end of the study or death –
         whichever occurs first – regardless of occupational status.

     21. Disease induction and latent periods are epidemiological concepts that are important for
         properly evaluating the timing of relevant exposure. The “induction period” for a disease refers
         to the interval between an individual’s first exposure, or the first occurrence of physiological
         damage, and the onset of a disease process. The “latent period” is the interval between the
         physiological onset of disease and its detection due to overt symptoms or medical diagnosis. The
         induction and latent periods are not observable or measurable but are estimated as the time
         from first known exposure to the date of diagnosis, i.e., the maximum possible induction and
         latency. In the case of chronic diseases, and especially solid tumor cancers, the induction and
         latent periods can span decades. If the induction or latent periods are not properly accounted for
         in the design of an epidemiological study, then the measured or estimated exposures will be
         biased and may be irrelevant to disease risk, no matter how accurately measured.

     22. Interpretation of epidemiological evidence also must consider the role random error or chance
         plays in statistical analyses. Epidemiologists evaluate the probability that an observed result may
         be due to chance alone by applying tests of statistical significance and the necessary assumption
         that the results are not products of systematic error or bias. Statistically significant results do not
         imply or indicate causation and, by definition, some proportion (typically 5%) of statistically
         significant results is expected to arise simply due to chance.

     23. Establishing causation generally requires the systematic critical review and synthesis of the
         epidemiological, toxicological and disease mechanistic evidence, combined with a quality-based,
         weight-of-evidence integration across these lines of inquiry. The International Agency for
         Research on Cancer (IARC) uses this approach for classifying carcinogens (IARC 2006) as do US
         government agencies such as the Office of Health Assessment and Translation (OHAT) – part of
         the National Toxicology Program of the National Institute for Environmental Health Sciences –
         and the Integrated Risk Information System (IRIS) of the US Environmental Protection Agency
         (NTP 2019; EPA 2018). A quality-based weight-of-evidence approach assigns greater weight to
         high-quality studies than to weaker or clearly biased studies, which may be given much less
         weight or excluded. Key to the synthesis of epidemiological evidence is consideration of the
         strength and consistency of epidemiological evidence across high-quality studies performed using
         different methods and diverse populations. Results from any single observational study, no
         matter how compelling, are insufficient to demonstrate a causal association.

     24. Where individual exposures can be quantified accurately and validly associated with disease risk,
         epidemiological evidence also can help determine the shape of the exposure- or dose-response
         relationship and can be used to derive estimates of disease risk at various levels of exposure.
         Such quantitative risk assessments or risk evaluations often provide the basis for setting risk-
         based exposure limits for exposure in the workplace and the environment, and in establishing the
         safety of consumer products and ultimately preventing disease. With better understanding of
         dose-response relationships and underlying disease mechanisms, the linear-no-threshold (LNT)
         assumption of dose-response is increasingly replaced with more accurate and refined
         characterizations (Rhomberg et al. 2011; Bogen 2016; Bevan and Harrison 2017).



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   The epidemiology of cancers

     25. Cancers include many diseases with common characteristics including irreversible or unrepaired
         genetic damage and uncontrolled division of the abnormal cells. Cancers originate in many
         different cells, tissues and organs, and can metastasize, or spread to other cells, tissues, and
         organs (ACS, 2021). Cancer sites with the highest rates in the United States include female breast,
         lung and bronchus, prostate, colon and rectum, melanoma of the skin, bladder, non-Hodgkin
         lymphoma, kidney and renal pelvis, uterus and leukemias (ACS, 2021).

     26. For many known carcinogens, the dose-response relationship is not linear and may be described
         more accurately in terms of a threshold, biphasic or other exposure-risk function. For example,
         cadmium and cadmium compounds, nickel compounds, crystalline silica and formaldehyde all are
         genotoxic carcinogens associated with exposure thresholds (Bevan and Harrison, 2017). Where
         dose-response data are lacking for low exposure ranges where risks may be absent or too small
         to be detected, the conservative LNT assumption often is invoked as the default (and simplest)
         model. This is fueled by a persistent belief in the LNT and at its extreme the notion that “a single
         molecule” or “a single fiber” can trigger the carcinogenic process. However, the LNT model often
         masks or mischaracterizes true dose-response relationships, especially epidemiologically where
         risks observed at high exposure levels are extrapolated to lower exposures where increased risks
         have not been observed. Therefore, the lack of an observed threshold effect from exposure to
         any carcinogen may arise simply from the inappropriate application of the LNT risk model. The
         appearance of increased risk at very low levels of exposure to a cancer hazard also arises due to
         exposure misclassification.

     27. Asbestoses appear to be among the carcinogens that demonstrate exposure thresholds. IARC
         (2012) notes “substantial controversies” regarding quantification of the risks between asbestos
         exposure and lung cancers including “whether there is a risk at low levels of exposure (i.e.,
         environmental exposure).” Cox and colleagues developed a physiologically based
         pharmacokinetic (PBPK) model combined with an inflammation-driven two-stage clonal
         expansion model of carcinogenesis to describe asbestos exposure thresholds for mesothelioma
         and lung cancer. The threshold model aligned with the observed activation thresholds of NLRP3
         inflammasomes, which in sufficient concentrations cause chronic inflammation. The authors
         emphasized that “low concentrations of asbestos do not trigger chronic inflammation and
         resulting increases in cancer risk observed at higher exposure concentrations” (Cox, 2019, p. 12).
         Although evidence of exposure thresholds for asbestos exposure and mesothelioma and lung
         cancer is mounting, the available data do not allow accurate or precise quantification of these
         thresholds.

     28. There is a common but erroneous belief that cancers primarily are caused by chemical exposures,
         whether in the workplace, in the environment or from consumer products, regardless of the
         actual exposure levels. However, occupational and environmental exposure to chemical
         carcinogens has been estimated to cause or contribute to causing only a small proportion of all
         cancers (Doll and Peto 1981). Accordingly, a substantial proportion of human cancers arises due
         to other causes, especially the lifetime accumulation of random mutations in normally dividing
         stem cells (Moolgavkar et al. 2017). Advances in molecular biology have elucidated the
         fundamental influence of acquired genetic and epigenetic changes on cancer risk (Tomasetti and
         Vogelstein 2015; Tomasetti et al. 2017). More specifically, evaluations of biological mechanisms
         underlying cancers suggest that “only a third of the variation in cancer risk among tissues is

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           attributable to environmental factors or inherited predispositions” (Tomasetti and Vogelstein
           2015), and the remaining two thirds result from random errors occurring during normal stem cell
           divisions. The authors concluded:

                  [T]hese studies provide a well-defined, molecular explanation for the large and
                  apparently unpreventable component of cancer risk that has long puzzled
                  epidemiologists. It is, of course, possible that virtually all mutations in all cancers
                  are due to environmental factors, most of which have simply not yet been
                  discovered. However, such a possibility seems inconsistent with the exhaustively
                  documented fact that about three mutations occur every time a normal cell
                  divides and that normal stem cells often divide throughout life (Tomasetti et al.
                  2017).

       29. While many site-specific cancers are relatively rare, all cancer sites combined represent the
           second most common cause of the death in the United States (ACS, 2021). According to the
           American Cancer Society, approximately one in three people in the United States will develop
           some form of cancer in their lifetime (ACS, 2019a). This is not surprising as aging dramatically
           increases the risk of most cancers, consistent with increasing rates and accumulation of
           spontaneous genetic changes with age (Laconi et al. 2020). Specifically, most cancers have very
           similar temporal incidence dynamics and despite their cell origins, demonstrate “approximately
           the same fractional increases in incidence with age” attributed to the changing cellular
           environment of aging somatic cells (Rozhok and DeGregori 2019). DNA methylation is one of the
           key mechanisms underlying the association between cancer and aging (Dugue et al. 2020;
           Takeshima and Ushijima 2019). A prospective cancer epidemiology study reported that cancer
           risk overall increased 4-9% for every 5-year “age acceleration” in methylation (Dugue et al.,
           2020). Thus, the independent role of aging cells (and the accumulation of genetic damage and
           epigenetic alterations) contributing to increased cancer rates aligns with the epidemiological
           observation that the risk of most cancers increases with age, independently from potential
           environmental causes or risk factors.

       30. Furthermore, nearly all cancers have multifactorial etiologies, meaning that many different
           causes and risk factors combine to contribute to the disease process (ACS, 2019a). These factors
           include inherited genetic traits; effectiveness of clearance or metabolism of toxins and pathogens
           (including the impact of co-morbidities); natural (e.g., immunological) defense mechanisms;
           exposures to sufficient quantities of physical, chemical or biological hazards (or combinations);
           numerous behavioral, physical and mental stressors; and unrepaired spontaneous genetic
           replication errors that accumulate with age. For most cancers, determining epidemiologically
           whether any of these factors are true causal factors, co-causal factors or surrogates for causal
           factors remains difficult if not impossible.

       31. Diseases of unknown origin or cause are considered idiopathic. Lexico defines “idiopathic” as
           “[r]elating to or denoting any disease or condition which arises spontaneously or for which the
           cause is unknown.” 2 Accordingly, idiopathic cancers may arise spontaneously or due to some
           unrecognized or unknown causal factor. Among individuals with a specific cancer, some
           proportion (depending on the prevalence of the exposure) will have historical exposures to

   2
    https://www.lexico.com/en/definition/idiopathic “Lexico.com is a new collaboration between Dictionary.com and
   Oxford University Press (OUP) to help users worldwide with everyday language challenges.”

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          cancer hazards that occurred independently of the disease and played no role in its development
          (i.e., coincidental exposures), and some proportion will have none. Greenland (2014) wrote
          “people who have the exposure can develop the disease from a mechanism that does not include
          the exposure” and presented the following example: “a smoker may develop lung cancer through
          some mechanism that does not involve smoking (e.g., one involving asbestos or radiation
          exposure, with no contribution from smoking). For such lung-cancer cases, their smoking was
          incidental; it did not contribute to the cancer causation” (Greenland 2014). This concept helps
          explain, for example, that as smoking prevalence in the US has declined over several decades,
          rates of small and squamous cell lung cancers (i.e., the cancer types most strongly associated
          with smoking) also have dropped. In contrast, rates of lung adenocarcinoma (the major lung
          cancer type least strongly associated with smoking) have remained stable in men and have
          increased in women (Meza, et al. 2015). Temporal trends in lung cancer mortality among
          smokers and non-smokers indicate that “age-adjusted mortality for lung cancer in never smokers
          is increasing among males and females despite decreasing mortality rates for lung cancer overall
          since 1997” (Hosgood et al. 2020). This might reflect improved diagnostic acuity leading to the
          identification and treatment of more cancers that may be idiopathic, or at least acknowledged to
          be unrelated to smoking. A recent genetic epidemiological study of 232 lung cancer cases in
          never smokers revealed distinct mutational signatures arising from natural or endogenous
          processes, further illustrating how the accumulation of mutations leads to cancer development
          (Zhang et al. 2021). A similar pattern is becoming increasingly clear for mesotheliomas, where
          diagnostic acuity and accuracy have improved detection and where greater proportions of
          diagnosed cases have no significant amphibole asbestos exposure.

   Review approach

      32. I have reviewed the epidemiological literature on the risk factors and causes of malignant
          mesothelioma, including malignant mesothelioma of the pleura and peritoneum.

      33. Occupational epidemiological studies of workers exposed to asbestos and mesothelioma risk
          were reviewed to determine the exposure conditions associated with increased risk of
          mesothelioma. To cover the wide range of potential occupational exposure scenarios, studies in
          the primary asbestos industries, i.e., mining or milling of raw asbestos or manufacturing
          asbestos-containing materials, as well as secondary asbestos industries, i.e., thermal insulators,
          shipbuilders and other trades using or manipulating asbestos-containing products were identified
          and reviewed. Historically, industrial talc and asbestos have been used in some of the same
          industries or for some of the same purposes, e.g., stiffening rubber products (IARC 2010).
          Consequently, studies of workers in settings where talc and asbestos have been used
          concurrently (e.g., rubber and ceramics industries) are not useful for differentiating the risks
          individually associated with asbestos or talc and were not reviewed.

      34. I also have evaluated the peer-reviewed, published epidemiological literature specifically on
          mesothelioma risk among talc miners and millers highly exposed to mineral talc as well as other
          occupational groups likely exposed intermittently or to lesser quantities of talcum powders
          containing cosmetic-grade talc (i.e., hairdressers and barbers).

      35. My comprehensive evaluation of the published epidemiological literature on talc exposure and
          risk of mesothelioma required the identification and screening of published primary research
          studies as well as reviews of the scientific literature. Searches of the published primary research

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           studies were performed using PubMed, a search engine provided by the US Library of Medicine
           (NLM) that allows free access to the NLM database of indexed citations and abstracts for medical
           literature published since about 1966. The following search terms were included in various
           combinations: “epidemiology,” “mesothelioma,” “pleural,” “peritoneal,” “cancer,” “pleurodesis,”
           “talc,” “talcum,” “hairdresser,” “barber,” “occupation,” and “exposure assessment.” Abstracts
           were screened for relevance, and full versions of relevant publications obtained and reviewed.

      36. I have utilized standard and widely accepted methods for critically reviewing and synthesizing the
          scientific literature, and formulated my scientific opinions and conclusions based on this
          assessment. In addition to the relevant peer-reviewed, published epidemiological literature, I
          draw upon my education, training and professional experience to formulate my professional
          opinions and conclusions, which I hold to a reasonable degree of scientific and epidemiological
          certainty.

   Review of the epidemiological literature on exposure to asbestos and risk of malignant mesothelioma

      A. Overview of the characteristics and toxicity of asbestos fibers

      37. “Asbestos” or “asbestiform minerals” are common terms for several naturally occurring mineral
          silicates from the serpentine and amphibole groups specifically in the crystalline fiber, i.e.,
          “asbestiform” habit. These same silicate minerals can also occur in a non-fibrous or “non-
          asbestiform” habit, including elongate cleavage fragments, which are not asbestos (IARC 2012).
          The table below, adapted from Lippmann (2014) summarizes the mineral names, differentiating
          constituents and primary geographical sources.

    ____________________________________________________________________________________

     Commercial fiber                   Mineral                             Mineral                  Major cations within
          name                           name                                group                      the silicates
        Chrysotile                     Chrysotile                          Serpentine                      Mg, Fe
        Crocidolite                    Riebeckite                          Amphibole                     Na, Mg, Fe
       Anthophyllite                  Anthophyllite                        Amphibole                       Mg, Fe
         Amosite                       Grunerite                           Amphibole                     Fe, Mg, Mn
        Actinolite                     Actinolite                          Amphibole                     Ca, Fe, Mg
        Tremolite                      Tremolite                           Amphibole                     Ca, Mg, Fe
                                        Winchite                           Amphibole                     Ca, Mg, Fe
                                       Richterite                          Amphibole                     Ca, Mg, Fe
    Chrysotile, actinolite, anthophyllite and tremolite are generally encountered as asbestiform minerals, and are grayish white.
    Actinolite asbestos is found as a contaminant of amosite from South Africa.
    Amosite is the asbestiform version of grunerite, and is brown.
    Anthophyllite asbestos was mined and commercially used in Finland.
    Crocidolite is the asbestiform version of Riebeckite, and is blue.
    Tremolite asbestos is exploited commercially in Korea, and is a contaminant in some chrysotile ores and in vermiculite mined in
        Libby, Montana.
    Winchite and Richterite are the major asbestiform contaminants of vermiculite ore mined in Libby, Montana.
    ____________________________________________________________________________________

      38. Asbestos fibers in general display excellent tensile strength; flexibility; and resistance to thermal,
          chemical and biological degradation, which made them popular for many applications including

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          fire protection and energy conservation (ATSDR 2001; Virta 2002; Virta 2005; NIOSH 2011; IARC
          2012).

     39. Because of its widespread historical use and natural occurrence, human exposure to asbestos is
         ubiquitous. Asbestos fibers in air come from natural sources such as the erosion of rock or soils
         containing asbestos and from the disturbance of manufactured products containing asbestos.
         According to the US Agency for Toxic Substances and Disease Registry (ATSDR), “Low levels of
         asbestos that present little, if any, risk to your health can be detected in almost any air sample.
         For example, 10 fibers are typically present in a cubic meter (fibers/m3) of outdoor air in rural
         areas. (A cubic meter is about the amount of air that you breathe in 1 hour). . . Typical levels
         found in cities are about 10-fold higher” (ATSDR 2001). However, risk of mesothelioma among
         women appears not to differ across rural-urban gradients, suggesting that these levels are too
         low to influence risk (Glynn et al. 2018). Analyses of SEER data for malignant pleural
         mesothelioma indicate that “female urban and female rural incidence rates remained relatively
         constant from 1973 to 2012.” The authors note that the 10-fold differences in ambient air
         concentrations of asbestos around the country are too small to influence the observed risk of
         mesothelioma (Glynn et al. 2018).

      40. Chrysotile is the only member of the serpentine group, and the one used historically in the
          greatest quantity in the US. Inhaled chrysotile fibers readily break down as they are susceptible
          to dissolution whether engulfed by macrophages via the process called phagocytosis or degraded
          externally (Churg and Wright 1994; Bernstein and Hoskins 2006; Craighead and Gibbs 2008;
          Bernstein et al. 2013). Chrysotile fibers detected in tissue samples likely reflect recent exposures
          (Churg and Wright 1994; Bernstein and Hoskins 2006; Craighead and Gibbs 2008; Bernstein et al.
          2013).

      41. The amphibole group of minerals consists of crocidolite (“blue asbestos” or riebeckite asbestos),
          amosite (“brown asbestos” or grunerite asbestos), tremolite, anthophyllite and actinolite (Virta
          2002; Bernstein et al. 2003). Predominately crocidolite and amosite asbestos have been mined
          commercially, but sometimes the other types of asbestos are present as contaminants of other
          extracted minerals (Virta 2002; Roggli and Oury 2004). Unlike serpentine fibers, which are softer
          and curly, amphibole asbestos fibers are rigid and rod or needle-shaped (ATSDR 2001; Virta 2002;
          Virta 2005; NIOSH 2011; IARC 2012; Bernstein et al. 2013).

      B. Overview of the epidemiology of malignant mesothelioma

      42. Malignant mesothelioma is a form of cancer arising from the layer of cells lining body cavities and
          organs, known as the mesothelium (ACS, 2019b). There are three main cell variations: epithelioid
          (accounting for more than 50%), sarcomatoid (about 10% to 20%) and mixed (or biphasic) (about
          20-30%), and each cell variation has subtypes (ACS, 2019b; Carbone et al. 2019). Mesothelioma
          mainly occurs in the pleura (about 75%) (International Classification of Diseases, 10th Revision
          (ICD-10): C45.0), i.e., originating from cells surrounding the lungs, followed by the peritoneum
          (ICD-10: C45.1), originating from the abdominal lining (ACS, 2019b). As with many cancers,
          mesothelioma can spread to adjacent tissues or metastasize to more remote locations. Other
          primary or metastatic cancers at any of these sites can resemble mesothelioma and mistakenly
          be diagnosed as primary mesothelioma:




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                When the diagnosis of mesothelioma is based on histologic features alone,
                primary mesothelioma may resemble various primary or metastatic cancers that
                have directly invaded the serosal membranes. Some of these metastatic
                malignancies, particularly carcinomas and sarcomas of the pleura, pericardium
                and peritoneum, may undergo desmoplastic reaction in the pleura, thereby
                mimicking mesothelioma, rather than the primary tumor (Kerger et al. 2014)

         It should be noted that prior to the implementation of the 10th revision to the International
         Classification of Diseases (ICD-10) in 1999, deaths due to malignant mesothelioma may have
         been misdiagnosed or misclassified. Thus, historical epidemiological studies generally relied on
         the broader categories of “pleural cancers” (of which mesothelioma is the largest member) or
         “peritoneal cancers.” These broader categories often included metastatic cancers, and possibly
         benign conditions, of unknown origin (Fordyce et al. 2019).

     43. Synthesis of the body of epidemiological studies demonstrates that substantial exposure to
         commercial amphibole asbestos (i.e., crocidolite and amosite) is the most important and
         preventable cause of malignant pleural mesothelioma, and to a lesser extent, peritoneal
         mesothelioma. The greatest risks have been reported among groups highly exposed several
         decades prior to disease development (Rake et al 2009, Hilliard et al. 2003, Sluis-Cremer et al.
         1992, Berry et al. 2012, Luberto et al. 2019). Increased risk of mesothelioma also has been
         associated with substantial environmental exposure to asbestos including naturally occurring
         asbestos, neighborhood exposure to mining operations, household exposure to family members
         contaminated occupationally with asbestos, and other domestic sources (Newhouse and
         Thompson 1965; Magnani et al. 2001; Marchevsky et al. 2006; Metintas et al. 2008; Pintos et al.
         2009; Mirabelli et al. 2010; Liu et al. 2017; Noonan 2017).

     44. In recent years in the US, the annual incidence of malignant mesothelioma for all sites combined,
         but predominantly pleural mesothelioma, is approximately one per 100,000 (Henley et al. 2013;
         Howlader et al. 2020). Given the overall rate of all cancers in the US of 442.4 per 100,000 for
         2013-2017, mesothelioma represents only 0.2% of all cancers (Howlader et al. 2020). Peritoneal
         mesothelioma is much rarer and has an estimated age-adjusted rate of one per 1,000,000
         (Moolgavkar et al. 2009). Proportionately, peritoneal mesothelioma occurs more frequently in
         women (22.8% of mesothelioma) than in men (6.4% of mesothelioma) (Price and Ware 2009).
         Rarer sites, accounting for less than 1% of all mesotheliomas, include the pericardium (lining of
         the heart) (ICD-10: C45.2) and the tunica vaginalis (lining of the testicles) (ICD 10: C45.7,
         Mesothelioma of other sites) (Mezei et al. 2017).

     45. Based on the US National Cancer Institute’s Surveillance, Epidemiology, and End Results Program
         (SEER) data, time trends reveal that between 1973-2013 the rate of malignant pleural
         mesothelioma in men initially increased before beginning to decrease in the mid-1990s, likely
         reflecting reduced use of amphibole asbestos and improved workplace exposure controls in the
         preceding decades (Moolgavkar et al. 2017). Trends in the age-adjusted incidence rates of
         malignant pleural mesothelioma in women during 1973-2013 remained remarkably stable, likely
         reflecting the lower probability of occupational exposure to amphibole asbestos compared to
         men (Moolgavkar et al. 2009; Moolgavkar et al. 2017). These results are consistent with results
         for mesothelioma (all locations combined) reported by the US National Cancer Institute, showing
         a clear rise and decline among men in contrast with stable rates in women (see Figure
         reproduced below from Howlader et al. (2020)).

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                                                                           Figure 17.1



                                                     Mesothelioma
                                               SEER Incidence, 1975-2017
                                                  All Races, By Sex
                                Rate per 100,000
                            5




                            4------------------------------------------------------------
                                                                                                          •   Males

                                                                                                          •   Females

                            3------------------------------------------------------------

                                                                       •
                            2 ___________ .....

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                                 • --------------------------------------------------------
                                 ---

                                                                                                                             ....
                            Oh~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                            1975        1980        1985        1990        1995         2000      2005        2010                 2017
                                                                       Year of Diagnosis

                          Source: SEER 9 areas. Rates are age-adjusted to the 2000 US Std Population {19 age groups -Census P25-1103).
                          Regression lines are calculated using the Joinpoint Regression Program Version 4.8, April 2020,
                          National Ganeer Institute.




     46. The rates of peritoneal mesothelioma (all types) in both men and women in the US have
         remained relatively stable over the years 1973-2013 (Moolgavkar et al. 2017). As Moolgavkar
         (2009) noted specifically for peritoneal mesothelioma for men and women, “this observation
         suggests that asbestos exposure was responsible for only a minor fraction of peritoneal
         mesotheliomas in SEER over the period 1973–2005.” The same was observed in updated analyses
         (Moolgavkar et al. 2017). Further, Hemminki and Li (2003) reported similar age-specific rates of
         malignant peritoneal mesothelioma among women and men in Sweden from 1961-1998,
         consistent with the trends reported by Moolgavkar et al. (2009). In Norway, age-standardized
         incidence rates for peritoneal mesothelioma were consistently below 0.08 per 100,000 from
         2000 to 2019, leading the authors to conclude that “the association with asbestos exposure is
         less clear, and the stable and very low incidence rate substantiates this notion” (Brustugun et al.
         2021).

      C. Overview of asbestos and other known risk factors for malignant mesothelioma

      47. Occupational studies of asbestos exposure and malignant pleural and peritoneal mesothelioma
          risk demonstrate positive exposure-response relationships, with substantially elevated risks


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         reported among those exposed at higher levels of amphibole asbestos and low or no risk
         observed among those with the lowest exposures (Albin et al., 1990; Bang et al., 2006;
         Finkelstein, 1984; Hilliard et al., 2003; Pukkala et al., 2009; Rake et al., 2009; Rolland et al., 2010;
         Sluis-Cremer et al., 1992; Talcott et al., 1989; Till et al., 2018; Petersen et al. 2020). This is
         illustrated by a study of about 114,000 US veterans, including US Navy personnel, with followup
         for mortality through 2010 (Till et al. 2018). Historically, asbestos exposure among some
         maritime – including US Navy – personnel may have been very high given the large quantities of
         asbestos-containing insulation, primarily amosite, applied throughout seagoing vessels
         (Rushworth 2005; Williams et al. 2007). Till et al. (2018) reported that US Navy job categories
         with the highest potential for amphibole asbestos exposure (e.g., machinist’s mates, boiler
         technicians, water tender, pipe fitters, and fireman) had increased risk of mesothelioma mortality
         whereas occupations with low or medium potential exposure to amphibole asbestos (e.g.,
         Boatswain’s Mate and Seamen) had risks of mesothelioma similar to background rates (see table
         2 from the study reproduced below) (Till et al. 2018).

                          Table 2. Standardized mortality ratio of mesothelioma by selected rat ings
                          and potential for asbestos exposure among 63,81S enlisted naval person-
                          nel (sailors).
                          Asbestos potential              No. of
                          and rating                     sailors•   Observed   Expected   SMR      95% Cl
                          High Potential
                            Boiler technician              1002        8         0.72     11 .1   4.78- 21.9
                            Pipe fitter                    283         3         0.23     13.0    2.62- 38.1
                            Machinist's mate               3809       29         3.2      9.18    6.15- 13.2
                            Water tender                   845         2         0.65     3.06    0.34-11 .1
                            Fireman                        7302       30         6.2      4.85    3.27- 6.92
                          Total                           12,880      69         10.7     6.47    5.03- 8.19
                          Low/ Medium Potential
                            Boatswain's mate               2938        2        2.40      0.83    0.09- 3.01
                            Hull technician                  2         0        < .01     n/ a       n/ a
                            Seaman                        21,144      25        17.7      1.42    0.92- 2.09
                          Total                           23,936      27        19.9      1.35    0.89- 1.97
                          Any Potential (Low t o High)    36,639      96        30.5      3.15    2.55- 3.85
                          No to minimal potential         27,176      30        23.4      1.28    0.87- 1.83
                          0
                              Six hundred and eighty-two naval personnel have more than one rating.

     48. The increased risk of malignant mesothelioma within a single occupation or industry among
         workers historically exposed to substantial amounts of amphibole asbestos is further illustrated
         in a systematic review and meta-analysis regarding the risk of various cancers among petroleum
         refinery workers in which a statistically significantly increased risk of mesothelioma based on 18
         studies (meta-RR=2.36, 95% CI: 1.78-3.13). The relative risk estimate was very high for refinery
         maintenance workers (meta-RR=4.03, 95% CI: 3.33-4.88) likely reflecting more frequent exposure
         to asbestos insulation among these workers as “asbestos was commonly used as an insulating
         material in refineries” (Schnatter et al., 2018, p. 3337-3338).

      49. The risk of peritoneal mesothelioma is associated with much higher asbestos exposure, on
          average, than pleural mesothelioma (Coggon et al. 1995; Hilliard et al. 2003). For example,
          Finkelstein (1984) reported that the mean cumulative asbestos exposure for eleven pleural
          mesothelioma cases was 42 f/ml-years, whereas for eight peritoneal mesothelioma cases it was
          161 f/ml-years, all of whom had been exposed to crocidolite. Peritoneal mesothelioma cases
          have been observed in occupational and environmental settings involving large cohorts with
          substantial to very heavy amphibole asbestos exposure (i.e., laggers and other insulation

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         workers) (Newhouse and Thompson 1965; McDonald and McDonald 1980; Coggon et al. 1995;
         Hodgson and Darnton 2000; Boffetta et al. 2007). Apart from those heavily exposed to amphibole
         asbestos, peritoneal mesothelioma rarely is associated with prior asbestos exposure (Lee et al.
         2013; Liu et al. 2014; Carbone et al. 2019). In a large pathological study, 92% of individuals
         diagnosed with peritoneal mesothelioma did not report any prior asbestos exposure (Lee et al.
         2013). Moreover, peritoneal mesothelioma affects men and women equally, suggesting that
         gender differences in occupational asbestos exposure have no apparent effect on peritoneal
         mesothelioma rates (Liu et al. 2014; Carbone et al. 2019). Boffetta (2007) corroborated the
         weaker association between amphibole asbestos exposure and risk of peritoneal mesothelioma
         relative to pleural mesothelioma.

     50. In contrast to results of occupational cohort studies that demonstrate low or no increased risk of
         malignant mesothelioma at low levels of exposure, a few population-based and hospital-based
         case-control studies report higher prevalence of post-hoc self-reported low-level occupational
         exposure to asbestos among cases than among controls (Iwatsubo et al., 1998; Rodelsperger et
         al., 2001; Lacourt et al., 2014). However, in addition to the problem of not identifying the specific
         asbestos fiber type, methodological challenges have been noted, especially including information
         bias and consequentially, exposure misclassification which are common limitations to population-
         based case-control studies (Siemiatycki and Boffetta, 1998). Some population-based cohort
         studies also suffer from similar limitations. For example, 58,279 men aged 55 to 69 enrolled in
         the Netherlands Cohort Study were followed for various diseases including mesothelioma.
         “Asbestos” exposure was estimated using two different job-exposure matrices (JEMs) based on
         self-reported occupational histories (Offermans et al. 2014). JEMs often are constructed where
         homogeneous exposure groups and time periods are defined and estimates (preferably based on
         industrial monitoring data) are derived for each job-time combination. Applying one of the JEMs,
         Offermans et al. (2014) reported a statistically significantly elevated risk for mesothelioma in a
         low exposure category (HR=2.69; 95% CI: 1.60-4.53, median 0.2 fibers/year/mL; based on 20
         cases) but not when using the other JEM (HR= 0.71; 95% CI: 0.32-1.56; mean 4 fiber unit-years; 7
         cases). This study highlights the large impact of exposure misclassification inherent to studies
         relying on historical recall, self-reporting and ecological exposure ascertainment methods.

     51. Time since initial exposure to significant concentrations of respirable amphibole asbestos, as a
         surrogate for the period of induction and latency (combined), also is a strong predictor of
         mesothelioma risk (McDonald et al. 1983; Talcott et al. 1989; McDonald et al. 1997). The highest
         risk of mesothelioma occurs, on average, 40-50 years after first known substantial exposure to
         amphibole asbestos, and a majority of asbestos-related cases occur between 30 and 60 years
         from initial significant exposure (Seidman and Selikoff 1990; McDonald et al. 1997; Bianchi et al.
         2001; Hilliard et al. 2003; Clements et al. 2007; Marinaccio et al. 2007; Kishimoto et al. 2010; Tse
         et al. 2010; Berry et al. 2012; Reid et al. 2013; Reid et al. 2014). However, the interplay of factors
         such as frequency and intensity of exposure and fiber type contribute to a highly variable latency
         period for mesothelioma across study populations, with the shortest average latency (i.e., around
         20 to 30 years) observed in a few occupational settings with likely very high exposure to
         amphibole asbestos, with a more typical and longer latency among those with moderate to high
         exposure (Bianchi et al. 1997). A cohort following children exposed to environmental asbestos
         from a cement plant using amphibole asbestos reported that the median age at mesothelioma
         diagnosis was 60.9 years and that 97% of the cases developed mesothelioma more than 30 years
         after completing the seventh grade (Dalsgarrd et al. 2019).


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     52. Epidemiological evidence addressing risks of mesothelioma associated with other types of
         amphibole asbestos is sparse. Two reports identified four cases of mesothelioma among miners
         extracting anthophyllite in Finland (Karjalainen et al. 1994; Meurman et al. 1994). Wylie et al.
         (2020) estimated that the modeled mesotheliogenic potency of asbestiform anthophyllite is
         similar to that of amosite and tremolite, but lower than that of crocidolite.

     53. Epidemiological studies of all primary asbestos industries, i.e., those producing and directly using
         amphibole asbestos fibers, have reported increased mortality from pleural and peritoneal
         mesothelioma. Increased risks of malignant mesothelioma have been reported among employees
         in asbestos mining and milling (de Klerk et al. 1989; Piolatto et al. 1990; Sluis-Cremer et al. 1992;
         Berry et al. 2012; Reid et al. 2014), asbestos cement manufacturing (Thomas et al. 1982;
         Finkelstein 1984; Alies-Patin and Valleron 1985; Ohlson and Hogstedt 1985; Gardner et al. 1986;
         Hughes et al. 1987; Raffn et al. 1989; Albin et al. 1990; Neuberger and Kundi 1990; Ulvestad et al.
         2002; Magnani et al. 2008; Menegozzo et al. 2011; Luberto et al. 2019), asbestos textile
         manufacturing (McDonald et al. 1982; McDonald et al. 1983; Peto et al. 1985; Dement et al.
         1994; Pira et al. 2005), manufacturing of friction and insulation materials (McDonald et al. 1984;
         Enterline et al. 1987; Newhouse and Sullivan 1989) and filter manufacturing and assembly
         (McDonald et al., 1978; Jones et al., 1980; Talcott et al., 1989).

     54. Workers in secondary asbestos industries, i.e., those working with or handling asbestos-
         containing products also have been studied epidemiologically. High risks of mesothelioma have
         been reported especially where workers manipulated materials containing amphibole asbestos
         and generated high concentrations of respirable amphibole asbestos fiber. Some of the largest
         risks have been demonstrated among workers employed in shipyards during and in the decades
         following World War II, where large quantities of thermal insulation containing amosite were
         used (Rusiecki et al. 2018; Roelofs et al. 2013; Puntoni et al. 2001). Other occupations where
         mesothelioma risks were high include thermal insulators, steamfitters and pipefitters, and
         construction workers where job tasks involved manipulating thermal insulation containing
         amosite. Cutting asbestos block, removing or manipulating friable thermal insulation, applying or
         working in the vicinity of spray-on asbestos insulation operations, and mixing dry asbestos
         cement are examples of activities likely to generate significant concentrations of respirable
         amphibole asbestos fibers (Jarvholm and Sanden 1998; Roggli and Sanders 2000; Koskinen et al.
         2003; Jarvholm 2006; Williams et al. 2007; Bianchi and Bianchi 2009; Merlo et al. 2018).

      55. Mesothelioma in groups without clear or known occupational asbestos exposure can result from
          substantial environmental exposure to asbestos (Newhouse and Thompson 1965; Magnani et al.
          2001; Marchevsky et al. 2006; Metintas et al. 2008; Pintos et al. 2009; Mirabelli et al. 2010; Liu et
          al. 2017; Noonan 2017) or other unidentified sources of amphibole asbestos exposure, especially
          in areas where large quantities of amphibole asbestos historically were extracted, processed or
          discarded (Musk et al. 2017). Environmental exposure results from asbestos released from
          industrial operations (e.g., asbestos mines and mills, asbestos cement or other product
          manufacturing), weathering of natural soil deposits or outcroppings, or the erosion of asbestos-
          containing building materials (ATSDR 2001). A meta-analysis by Xu et al. (2018) reported ten-fold
          increased summary relative risk estimates (SRRE) for mesothelioma associated with
          neighborhood and domestic exposure to amphibole asbestos.

     56. Although critical review and synthesis of the body of epidemiological literature confirms that
         substantial exposure to respirable amphibole asbestos causes mesothelioma, the findings for

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            chrysotile asbestos exposure are much less conclusive (Poland and Duffin 2019; Yano 2018;
            Yarborough 2006). For example, the differences in mesothelioma risk by asbestos fiber type are
            illustrated by McCormack et al. (2012) who evaluated the proportional distribution of
            mesothelioma deaths among total deaths based on 55 cohort studies finding that the proportion
            of mesothelioma in the pure or predominantly chrysotile category was 0.27% compared with
            9.84% for crocidolite. On the other hand, one case-control study from Southeastern China
            reported an association between malignant mesothelioma and hand-spinning raw chrysotile fiber
            (Jiang et al. 2018).

     57. Several reviews have been published on chrysotile asbestos exposure and mesothelioma risk.
         Five of these reviews assert that chrysotile is a cause of mesothelioma (Smith and Wright 1996;
         Stayner et al. 1996; Nicholson 2001; Li et al. 2004; Kanarek 2011); however, it is not clear that
         any of these systematically identified and excluded studies where mixed fiber exposures were
         likely, or where prior exposure to amphibole asbestos reasonably could be ruled out. Four
         additional reviews attempted to address the relationship between exposure to amphibole-free
         chrysotile and mesothelioma risk and reported that chrysotile exposure alone appears not to
         contribute to the risk of mesothelioma (Yarborough 2006; Yarborough 2007; White et al. 2008;
         Bernstein et al. 2013). Evaluation and synthesis of the evidence from the individual
         epidemiological studies included in these reviews and those published afterwards (McDonald et
         al. 1984; Gardner et al. 1986; Piolatto et al. 1990; Dement et al. 1994; Smailyte et al. 2004; Hein
         et al. 2007; White et al. 2008; Pira et al. 2009; Sichletidis et al. 2009; Du et al. 2012; Lin et al.
         2012; Wang et al. 2012; Pierce et al. 2016; Pira et al. 2017c; Jiang et al. 2018; Loomis et al. 2019;
         Ferrante et al. 2020; Wong et al. 2020), indicate no clear or consistent relationship with
         mesothelioma. Additionally, epidemiological reviews and meta-analyses indicate no significantly
         increased risk of mesothelioma among mechanics working with chrysotile-containing friction
         products (Garabrant et al. 2016; Poland and Duffin, 2019; Thomsen et al. 2021). Overall, the body
         of epidemiological evidence does not demonstrate that moderate or low-level exposure to
         chrysotile causes malignant mesothelioma.

      58. Mechanisms underlying malignant mesothelioma caused by asbestos have been elucidated and
          appear to involve genetic factors as well as chronic inflammation due to fiber morphology and
          persistence in pleural and peritoneal mesothelial tissues (Donaldson et al. 2013; Fishbein et al.
          2020; Gaudino et al. 2020). Amphibole asbestos fibers are insoluble, do not readily break down
          and are much less likely to be eliminated by phagocytosis; therefore, these fibers tend to
          accumulate and may be identified in lung tissue samples many years after exposure occurred
          (Gilham et al. 2016). Because of their rigidity and extreme thinness, amphibole asbestos fibers
          are capable of translocating from the lungs to sites including the pleura where they can persist
          for decades and induce chronic inflammation increasing the risk of malignant mesothelioma
          (ATSDR 2001; Craighead and Gibbs 2008). Epidemiological and toxicological evidence confirms
          that mesothelioma risk depends on the type of asbestos fiber to which individuals have been
          exposed. Relative risks for both pleural and peritoneal mesothelioma are many times greater
          among those exposed to amphibole asbestos than those exposed only to chrysotile or mixtures
          (Hodgson and Darnton 2000; Berman and Crump 2008a; Berman and Crump 2008b; Hodgson and
          Darnton 2010; McCormack et al. 2012; Lippmann 2014).

      59. Corroborative evidence comes from laboratory studies where bio-persistent fibers thinner than
          about • •• •• • •• • • ••• • • • •••• • • •••••••••••••
                                                       about •••••••••
                                                                     • •• •• ••• •• •• • ••• •• • •• •• • ••• • • ••••• • • • •nn   • •2014).
                                                                                                                                        ••••••••••••••••••••••••••
          • • •• • •• •• • • • •• • •• •• •• • ••• ••••• • ••••• • • • •••• • • •• • • • ••• • •• • ••• • • • ••• • •• • • • ••• • •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                                                                                                                    by phagocytes,

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         the phagocytes repeatedly attach to the fibers and rupture, releasing their acidic content and
         inducing inflammation of the surrounding tissue. This has been termed “frustrated
         phagocytosis.” It is this chronic inflammatory process that is believed to lead to fibrosis and to
         carcinogenic transformations in the pleural mesothelium, including malignant mesothelioma
         (Jaurand and Fleury-Feith 2005; Donaldson et al. 2006; Donaldson et al. 2010; Schinwald et al.
         2012; Barlow et al. 2017; Gaudino et al. 2020).

     60. Integration of the epidemiological evidence with evaluations based on coherent information on
         fiber morphology, toxicology and pathology leads to the conclusions that 1) moderate to
         substantial exposure to amphibole asbestos increases the risk of malignant mesothelioma, but
         that negligible exposure does not; and 2) even moderate exposure to chrysotile asbestos does
         not increase the risk of malignant mesothelioma. This contrast underscores the importance of
         differentiating asbestos type as well as magnitude and timing of exposure in evaluating
         associated malignant mesothelioma risk.

     61. Other possible risk factors for malignant pleural mesothelioma include exposure to the following:

             a. Erionite, a fibrous zeolite mineral, with a similar physical resemblance to crocidolite and
                occurs naturally in the western US (Carbone et al. 2012; Jasani and Gibbs 2012; Van
                Gosen et al. 2013; Ortega-Guerrero et al. 2015; Saracci 2015; Attanoos et al. 2018;
                Beaucham et al. 2018; Berry et al. 2022);

             b. Other amphibole minerals that form crystalline fibers such as fibrous fluoro-edenite
                (Comba et al. 2003; Ballan et al. 2014; Bruno et al. 2014; IARC 2017; Attanoos et al. 2018;
                Wylie et al. 2020), fibrous winchite and fibrous richterite (possible components of “Libby
                amphibole”) (Sullivan 2007; NIOSH 2011; Dunning et al. 2012; Wylie et al. 2020);

             c. Therapeutic ionizing radiation (Hassan and Alexander 2005; Tward et al. 2006; Hodgson
                et al. 2007; Teta et al. 2007; Brown et al. 2007; Craighead and Gibbs 2008; De Bruin et al.
                2009; Goodman et al. 2009; Carbone et al. 2012; Jasani and Gibbs 2012; Farioli et al.
                2013; Gibb et al. 2013; Farioli et al. 2016; Chang et al. 2017; Moolgavkar et al. 2017;
                Attanoos et al. 2018);

             d. Thorotrast, an injected radioactive contrast medium containing thorium dioxide and used
                in X-ray diagnostics in the US until the 1950s (Goodman et al. 2009; Jasani and Gibbs
                2012);

             e. Infectious agents possibly including Simian virus 40 (SV40) that contaminated polio
                vaccines produced between 1955 and 1963 (Carbone et al. 2020a; Jasani and Gibbs 2012;
                Thanh et al. 2016; Attanoos et al. 2018) and Yersinia enterocolitica exposure from
                handling raw meats (Saebo et al. 1993); and

             f.   Some chronic serosal inflammatory conditions (e.g., empyema or possibly related to
                  ventriculoperitoneal shunt) and infectious diseases (e.g., tuberculosis) have been
                  suggested as contributing to mesothelioma, consistent with the biological observation
                  that cancer frequently arises at sites of chronic inflammation and injury (Fishbein et al.
                  2020; Attanoos et al. 2018; Simonsen et al. 2014; Carbone et al. 2012).



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          Combined, and even if true etiologic agents, these other risk factors explain a relatively small
          proportion of total mesothelioma cases (Attanoos et al. 2018). The risk factors for malignant
          peritoneal mesothelioma (other than amphibole asbestos) appear to be similar to those for
          malignant pleural mesothelioma, e.g., increased risk of peritoneal mesothelioma has been
          reported among individuals exposed to erionite and Thorotrast, and to a lesser extent, SV40
          (Boffetta et al. 2007). Note that the extensive body of epidemiological literature exploring all
          possible causes of malignant mesothelioma does not demonstrate (or suggest) that exposure to
          cosmetic talc or talcum powder products increases the risk of malignant mesothelioma.

   Overview of the epidemiology of malignant mesothelioma not associated with amphibole asbestos or
   other known causal agents

     62. Mesothelioma in groups without clear or known occupational or environmental asbestos
         exposure – and absent the other likely causes – is considered idiopathic (Attanoos et al. 2018).
         Because women historically were less likely to be occupationally exposed to amphibole asbestos,
         the proportion of pleural mesotheliomas unrelated to asbestos is substantially higher among
         women than among men and may exceed 90% (McDonald and McDonald 1980; Price and Ware
         2009). Depending on the methods and definitions used to identify historical asbestos exposure,
         malignant pleural mesothelioma without identifiable amphibole asbestos exposure has been
         estimated to account for 13%–45% (see Table below) of cases in men (McDonald and McDonald
         1980; Spirtas et al. 1994; Teschke et al. 1997; Agudo et al. 2000; Gorini et al. 2002; Gennaro et al.
         2005; Goldberg et al. 2006; Price and Ware 2009; Rake et al. 2009; Aguilar-Madrid et al. 2010;
         Marinaccio et al. 2012; Lacourt et al. 2014; Kraynie et al. 2016; Mensi et al. 2016).

   Table: Proportion of Malignant Pleural Mesothelioma Cases with No Identifiable Asbestos Exposure
   among Men (modified from Attanoos et al. 2018)
           Reference                 Source of Cases                   Time Period           Proportion Unexposed

        McDonald &            Population based case-control        Canada (1960-1972);               44.9%
       McDonald (1980)           study, Canada and US                  US (1972)
      Spirtas et al. (1994)   US Cancer Registries, Veterans            1975-1980                    42%*
                                 Administration Hospital

      Teschke et al. (1997)   Population based case- control            1990-1992                     41%
                              study, British Columbia, Canada
      Agudo et al. (2000)     Population based case- control            1993-1996                   38% **
                                       study, Spain
      Gorini et al. (2002)        Tuscany, Italy Registry               1988-2000                     15%
     Gennaro et al. (2005)         Liguria, Italy Registry              1996-2002                     15%
     Goldberg et al. (2006)   French National Mesothelioma              1999-2001                    16.8%
                                  Surveillance Program
     Price and Ware (2009)          US SEER Registries              1973-2005 SEER data            27.3-29.2%
                                                                       used to project
                                                                  proportion of asbestos-
                                                                   related mesothelioma
                                                                       cases in 2008.




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       Rake et al. (2009)               UK Cancer Registry and physician                      Cases born since 1925;                               14%
                                                   records                                     interviewed between
                                                                                                    2001-2006.
      Aguilar-Madrid et al.               Population based case- control                            2004-2006                                     19.4%
             (2010)                               study, Mexico
        Marinaccio et al.                        Italian Registry                                      1993-2004                                   14%
             (2012)
      Lacourt et al. (2014)               Population based case-control                                1998-2002                                   13%
                                                  study, France
      Kraynie et al. (2016)                     Fiber analysis, US                                     1997-2013                                   14%
                                            546 mesothelioma cases
      Mensi et al. (2016)                   Lombardy, Italy Registry                                   2000-2012                                  22.8%
     * Results presented for peritoneal mesothelioma.
     ** Includes small number of female mesothelioma cases.

     63. The proportion of individuals diagnosed with mesothelioma and with reported asbestos exposure
         depends directly on the accuracy of the exposure ascertainment and estimation methods
         employed. Self-reporting of historical asbestos exposure is often inaccurate, and susceptible to
         recall and reporting biases. When exposure assessment is based on individual-level workplace
         measurement or expert assessment, focuses on amphibole asbestos, considers confidence or
         probability of exposure, and considered within proper latency windows, the proportion of
         mesothelioma cases attributable to asbestos exposure will be reduced and approach a more valid
         estimate. In other words, the weaker or less specific the definition of asbestos exposure (such as
         self-reported “ever” versus “never”), the greater the proportion of cases will be that have
         coincidental or assumed exposure. For example, Spirtas et al. (1994) applied a more accurate
         definition for asbestos exposure and found that only 48.3% of pleural mesothelioma cases in men
         had an exposure history including at least one job with a National Occupational Hazard Survey
         ••• • ••• • • • •• ••• • • ••• ••• •• • ••• ••• •• • •• •• ••• ••• • • • • •• • •• ••• • •• • • • • •• • •• ••• ••• • • • ••• ••• • •••• • • ••• •••••••••••••••••••••••••••••••
         = 25), only one (4%) was determined to have been exposed to asbestos based on probability of
         exposure (Spirtas et al. 1994). In contrast, where the prevalence of substantial exposure to
         amphibole asbestos is documented to be higher, the relative proportion of mesotheliomas
         unrelated to asbestos will be smaller. The proportion of cases in which asbestos actually caused
         or contributed to the cancer occurrence is likely lower than indicated by these estimates, as
         there is a tendency to assume that any reported or presumed past asbestos exposure might have
         caused the cancer rather than being coincidental or nonexistent (Spirtas et al. 1994). The
         proportion of idiopathic mesothelioma cases in a given population increases as the prevalence of
         exposure to substantial quantities of amphibole asbestos and the cases caused by such exposures
         decline.

     64. Additional but indirect evidence of malignant mesothelioma occurring absent asbestos exposure
         is found in studies reporting mesothelioma risks (i.e., standardized incidence ratios) for a range of
         different occupations and industries with no known use or handling of asbestos, such as
         secretaries, teachers or mail carriers (Pukkala et al. 2009; Rolland et al. 2010; Roelofs et al. 2013;
         Plato et al. 2016). However, most of these studies are based on current, most recent or usual
         occupation, and occupational categories reporting statistically significant excesses may miss
         important occupational exposures from prior jobs commonly held decades earlier, such as
         working in the engine rooms of vessels while serving in the US Navy. In contrast, many
         occupations also have been identified for which statistically significant deficits of malignant


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             mesothelioma were reported, i.e., suggesting a protective effect. For example, Pukkala et al.
             (2009) specifically reported results for “Religious workers etc”: among men, 51 newly diagnosed
             mesothelioma cases were identified with 96 expected (based on general population rates)
             resulting in a statistically significant decreased relative risk estimate (SIR=0.53, 95% CI 0.40-0.70).
             Men employed as “Hairdressers” (and potentially exposed to talc) similarly were reported to
             have a statistically significant deficit of malignant mesothelioma incidence (SIR=0.29, 95% CI 0.08-
             0.75). 3

        65. As with many cancers, genetic mutations appear to play a role in mesothelioma risk. Gene
            mutations are changes to DNA that can lead to a wide variety of downstream cellular responses,
            such as the deactivation of genes that control cell replication (ACS 2014). Typically, cells must
            accumulate many mutations before becoming cancerous (ACS 2014). For mesothelioma, both
            germline (inherited) and somatic mutations, independent of environmental exposures, can
            contribute to increasing disease risk (Carbone et al. 2019; Laitman et al. 2021).

        66. Some heritable genetic mutations can predispose individuals to increased mesothelioma risk,
            including mutations of BAP1 and other genes that regulate DNA repair, such as MLH1, MLH3,
            TP53, and BRCA2. Overall, at least 12% of mesotheliomas occur in carriers of genetic mutations
            (Neri et al. 2008; Carbone et al. 2012; Carbone et al. 2019). Of these, mutation of the BAP1 gene
            is the most common, leading to BAP1 tumor predisposition syndrome (Testa et al. 2011; Carbone
            et al. 2020b). Germ-line mutations in BAP1 also are associated with basal cell carcinomas, breast
            carcinomas, cholangiocarcinomas, kidney (specifically renal cell) cancers, skin melanomas, uveal
            melanomas and various brain tumors (Carbone et al. 2019; Carbone et al. 2020b).

                  a. One study reported on 57 families with 174 individuals carrying a germline BAP1
                     mutation (Rai et al. 2016). All but one of the families had members with one or more of
                     the primary cancers (uveal melanoma, malignant mesothelioma, cutaneous melanoma,
                     renal cell carcinoma) implicated in BAP-1 cancer predisposition syndrome, and 22% of
                     the 174 individuals were diagnosed with malignant mesothelioma. Among individuals
                     diagnosed with mesothelioma 36% were diagnosed with at least one additional primary
                     cancer.

                  b. Among 198 study participants with mesothelioma, 23 (12%) were identified as having a
                     germline mutation (two occurred in one individual), and BAP1 was the most common,
                     accounting for six (25%) of the 24 identified genetic mutations (Panou et al. 2018). The
                     authors noted that “[a] significant proportion of patients with MM [malignant
                     mesothelioma] carry germline mutations in cancer susceptibility genes, especially those
                     with peritoneal MM, minimal asbestos exposure, young age and a second cancer
                     diagnosis.” Histologically, individuals with familial BAP1-related malignant mesothelioma
                     typically show epithelioid morphology (Pagliuca et al. 2021).

                  c. A family history of cancer, including mesothelioma, kidney and urinary bladder cancers,
                     substantially increases the risk of developing mesothelioma (Ji et al. 2016). Risk of
                     familial mesothelioma was substantially increased when either a parent (SIR = 3.88, 95%
                     CI: 1.01-10.04) or a sibling (SIR = 12.37, 95% CI: 5.89-22.84) was diagnosed with
                     mesothelioma. Individuals with a sibling who was diagnosed with kidney (SIR = 2.13, 95%

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       This study is discussed further below.

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                  CI: 1.16-3.59) and bladder cancer (SIR = 2.09, 95% CI: 1.32-3.14) also had increased risk of
                  mesothelioma (Ji et al. 2016).

     67. Consistent with the etiology of many cancers, malignant mesothelioma also arises due to the
         accrual of unrepaired spontaneous (i.e., non-heritable) mutations of somatic BAP1 and DNA
         repair genes. Laitman et al. 2021 conducted one of the largest studies of the spectrum of tumors
         that harbor somatic BAP1 gene mutations, reporting that almost half (45.24%) of the 575
         mesothelioma cases had inactivating BAP1 genomic alterations. The high frequency of
         pathogenic BAP1 mutations was seen in both pleural (44.27%) and peritoneal (48.32%)
         mesothelioma cases. Deletions in somatic BAP1 genes accounted for approximately 14% of all
         the BAP1 mutations observed among the mesothelioma cases (Laitman et al. 2021). In addition
         to mesothelioma, spontaneous BAP1 mutations are associated with uveal melanoma and clear
         cell kidney cancer. Individuals with these mutations do not have a germline BAP1 gene mutation
         and are less likely to have a family history of mesothelioma, uveal melanoma or clear cell kidney
         cancer (Carbone et al. 2019; Genetics Home Reference 2020). For mesothelioma occurring in
         men, Tomasetti et al. 2017 estimated that 31% of driver gene mutations leading to cancer were
         due to replication errors (i.e., not attributable to heredity or environmental factors) versus 68.5%
         for environmental factors and 0.5% for hereditary factors (see Fig. 3 and Table S6). Based on this
         estimate, almost one-third of malignant mesothelioma cases among men likely results from
         chance mutations.

      68. Mesothelioma occurs at all ages, but is extremely rare in young people (i.e., < 40 years of age).
          Mesothelioma (of all sites) among young people accounted for approximately only 2% of
          mesothelioma patients in the SEER database from 1990 to 2010 (Thomas et al. 2015). A few
          descriptive epidemiological assessments compared the distribution of clinical and etiologic
          factors across younger and older mesothelioma patients to identify potential differences. These
          studies report a lower male to female ratio, comparable frequencies of pleural and peritoneal
          mesothelioma, and significantly less asbestos exposure among younger patients (Thomas et al.
          2015; Vivero et al. 2018). Risk factors for mesothelioma occurring at young ages have not been
          well characterized, but some reports suggested that therapeutic radiation, familial history of
          breast cancer, germline mutations in DNA repair genes, and genetic rearrangements may
          increase risk of malignant mesothelioma among young people (Thomas et al. 2015; Desmeules et
          al. 2017; Vivero et al. 2018; Hung et al. 2018, Panou et al. 2018). The differences observed in the
          biology of malignant mesothelioma between younger and older age groups may reflect disparate
          etiologic drivers, i.e., different constellations of causes and a lesser role, if any, of asbestos
          (Vivero et al. 2018). These differences, combined with the latency estimates for asbestos-related
          malignant mesothelioma, indicate that the probability that malignant mesothelioma among
          those under age 40 can be attributed to asbestos exposure is very low.

      69. Malignant mesothelioma (primarily pleural) caused by substantial exposure to amphibole
          asbestos represents the largest group of preventable mesotheliomas, as the other known
          environmental risk factors collectively explain only a small percentage of total mesothelioma
          cases (Attanoos et al. 2018). As the number of individuals in the US historically exposed to
          substantial amphibole exposure such as the occupational groups identified above declines,
          mesothelioma rates also have declined among men, and remain consistently flat among women.
          Consequently, a substantial proportion of the remaining mesotheliomas (and a large majority of
          peritoneal mesotheliomas) remains idiopathic. Furthermore, malignant mesothelioma diagnosed
          among young people is unlikely related to asbestos exposure (Thomas et al. 2015; Vivero et al.

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          2018). It is possible that nearly all malignant mesothelioma cases eventually will be unrelated to
          asbestos (Price and Ware 2009). Therefore, the implication that asbestos exposure causes nearly
          all malignant mesotheliomas (e.g., Moline et al. 2020) is unsupported by the epidemiological
          evidence.

   Review of the epidemiological literature on talc and mesothelioma risk

      70. Talc (hydrated magnesium silicate) is neither an amphibole mineral nor a form of asbestos. IARC
          Monograph 93 (IARC 2010, p. 277) states: “Talc particles are normally plate-like. When viewed
          under the microscope in bulk samples or on air filters, they may appear to be fibres and have
          been identified as such. Talc may also form as true mineral fibres that are asbestiform;
          asbestiform describes the pattern of growth of a mineral that is referred to as a ‘habit’.” IARC
          (2010) further states: “asbestiform talc must not be confused with talc that contains asbestos”
          (IARC 2010, p. 406). Depending upon the geological conditions under which it is formed, talc may
          co-exist with other accessory minerals such as serpentine, quartz and amphibole (non-
          asbestiform tremolite and anthophyllite) (Van Gosen et al. 2004; IARC 2010). Pharmaceutical talc
          consists of a minimum of 99% talc whereas cosmetic talc consists of a minimum of 90% talc. The
          balance may include associated accessory minerals such as calcite, chlorite, dolomite, kaolin and
          magnesite that may be present in various shapes and sizes after milling, but not any detectable
          asbestiform minerals (Cosmetic Ingredient Review Expert Panel 2013). Industrial talc may contain
          a greater proportion of accessory minerals.

      71. Some cosmetic talc as well as finished talcum powders have been reported to contain trace levels
          of asbestiform minerals or structures resembling asbestos; however, much controversy
          surrounds the methods used to correctly identify and quantify asbestos fibers (Cosmetic
          Ingredient Review Expert Panel 2013). As asbestos is ubiquitous, asbestos fibers can be detected
          almost everywhere – even in the cleanest air in remote rural areas (Agency for Toxic Substances
          and Disease Registry (ATSDR) 2001). Asbestos fibers in air can arise from the disturbance of
          manufactured products such as insulation and cement and from naturally occurring asbestos
          sources (ATSDR 2001). As with most any product analyzed for the presence of asbestos,
          contamination may occur at any point following production, including in the laboratory
          performing the analysis. Therefore, the mere identification of asbestos fibers in air, water and
          consumer products is neither unexpected nor necessarily constitutes a human health hazard.

      72. No epidemiological study was dentified that specifically evaluated personal cosmetic talcum
          powder use and risk of mesothelioma. Three recent case series reported lung fiber burdens of
          select individuals with mesothelioma in the context of medico-legal consultation (Moline et al.
          2020; Emory et al. 2020; Roggli et al. 2020). These case series may help formulate hypotheses but
          are not epidemiological studies and are subject to numerous biases that proper epidemiological
          study design aims to prevent. The primary limitations include not knowing the size or
          characteristics of the population that gave rise to the cases, and most importantly the lack of an
          appropriate comparison group. Case series therefore cannot address disease risk, isolate or
          quantify risks associated with any specific factor, or establish the causal relationship between a
          hypothesized risk factor (e.g., talcum powder use) and the risk of disease (e.g., mesothelioma).
          That a case series draws on individuals involved in litigation due to an exposure likely increases
          the chances cases have such exposure, regardless of whether it played any role in the disease.
          Therefore, these case series and case reports are of no causal inferential value.


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       73. Hairdressers and barbers represent occupational groups with periodic but possibly frequent use
           of cosmetic talc products. Two studies using occupational classification codes reported results for
           mesothelioma among hairdressers and barbers (Pukkala et al. 2009; Plato et al. 2016). As part of
           the Nordic Occupational Cancer (NOCCA) study, Pukkala et al. (2009) evaluated 6,017
           mesothelioma cases in men and 1,548 in women identified from national cancer registries in
           Denmark, Finland, Iceland, Norway and Sweden. They reported mesothelioma deficits both in
           men (standardized incidence ratio (SIR) = 0.29; 95% CI: 0.08-0.75) and women (SIR = 0.42; 95% CI:
           0.09-1.23) employed as hairdressers (including barbers, beauticians and others). In contrast, and
           as expected, occupations with likely amphibole asbestos exposure – such as plumbers and
           seamen – had statistically significant excesses of mesothelioma cases. Plato et al. (2016)
           extended follow up through 2009 for the Swedish NOCCA cohort members, which continued to
           demonstrate no excess risk of pleural or peritoneal mesothelioma among the 18,912 women and
           7,056 men classified as hairdressers and beauticians. These large studies provide no indication
           that even regular professional use of cosmetic talc might be associated with any increased risk of
           mesothelioma, as rates of mesothelioma lower than those of the general unexposed population
           were reported. 4 Further, PMR estimates obtained from the National Occupational Mortality
           Surveillance (NOMS) system for barbers, hairdressers and cosmetologists in the US fail to
           demonstrate any excess of mesothelioma deaths (NIOSH 2019).

       74. A few studies have followed patients for many years after receiving talc pleurodesis – a medical
           procedure in which talc is directly injected into the pleural space to prevent pleural effusion
           (accumulation of fluid) or pneumothorax (collapsed lung) in patients with other medical
           conditions including lung cancer and mesothelioma. Although the number of patients followed in
           these studies was small and the total follow-up time limited, no cases of mesothelioma were
           reported (Chappell et al. 1979; Lange et al. 1988; Viskum et al. 1989; Györik 2007).

       75. Workers engaged in talc mining and processing historically had the greatest occupational
           exposure to talc and all accessory minerals (Marsh and Ierardi 2020). For example, respirable
           dust counts obtained for such operations routinely exceeded 1000 million particles per cubic foot
           (mppcf) (i.e., over one billion particles per cubic foot) prior to 1955 and the implementation of
           some dust control measures such as wet drilling (Rubino et al. 1976; Kleinfeld et al. 1967). In
           contrast, the estimated dust exposure concentration per application of cosmetic talcum powder
           was nearly 6,000 times lower (median 0.1752 mppcf), highlighting the vast range of talc
           concentrations across exposure scenarios and the especially high concentrations historically
           encountered by talc miners and millers (Hildick-Smith 1976).

       76. Several epidemiological studies have been published on talc mining and milling workers in
           locations including New York State (Kleinfeld et al. 1967; Kleinfeld et al. 1974; Dement et al.
           1980; Stille and Tabershaw 1982; Lamm et al. 1988; Brown et al. 1990; Honda et al. 2002), Italy
           (Rubino et al. 1976; Rubino et al. 1979; Coggiola et al. 2003; Pira et al. 2017a; Ciocan et al. 2021),
           Norway (Wergeland et al. 1990; Wergeland et al. 2017), France and Austria (Wild et al. 2002),
           and Vermont (Selevan and Dement 1979; Selevan et al. 1979; Fordyce et al. 2019). One additional
           study of cancer mortality among workers employed in the production of silica, fire-bricks, gold
           mining and talc mining and milling in Russia did not mention mesothelioma, presumably because

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     It is not appropriate to interpret these statistically significant deficits as indicating a protective effect of talc
   exposure, just as the reporting of a few statistically significant positive associations would not validly constitute a
   causal effect.

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         no mesothelioma deaths were observed (Katsnelson and Mokronosova 1979). This study is not
         addressed further. Each of the other studies of talc workers was reviewed and summarized
         briefly below.

     77. Epidemiological studies of talc miners and millers in upstate New York span several decades.
         Commercial talc from this region primarily was used for industrial purposes and is reported to
         contain a variety of accessory minerals including tremolite, anthophyllite, carbonate and a small
         amount of crystalline silica. Kleinfeld and coworkers published two studies on New York talc
         miners and millers, largely in response to earlier reports of fibrogenic pneumoconiosis (possibly
         talcosis) among several miners (Kleinfeld et al. 1967; Kleinfeld et al. 1974). Kleinfeld et al. (1967)
         was the first study to address cancer in association with occupational exposure to fibrous talc
         dust. The authors reported a greater than three-fold increase in expected mortality from cancers
         of the lung and pleura. Nine of the ten malignancies in this group were lung carcinomas, and one
         was a pleural fibrosarcoma. Confounding factors including smoking and previous employment
         histories were not considered. One peritoneal mesothelioma was reported in both publications
         (the same individual who died in the late 1950s) and analyses including this case in the category
         of “gastric cancers” found no excess risk overall or by specific age categories. A three-fold excess
         of mortality due to nonmalignant respiratory disease was reported, however, reflecting the
         extraordinarily high concentrations of dust present in the workplace; prior to 1948, median
         exposures ranged from 61 to 1,196 mppcf. Most job categories after 1948, when more effective
         controls were introduced including wet-drilling methods, had median exposures between 13 and
         63 mppcf (Kleinfeld et al. 1974).

     78. Stille and Tabershaw (1982) and Lamm et al. (1988) examined another group of New York talc
         miners, the latter reporting one mesothelioma (site not specified) in an electrician hired at the
         plant only 15 years before his death. Brown et al. (1990) studied the same plant, but in their
         NIOSH Health Hazard Evaluation Report mentioned no mesotheliomas. Honda et al. (2002)
         extended follow-up of this cohort through 1989 and examined mortality in subgroups based on
         work area, years since hire, years worked and estimated cumulative exposure to respirable dusts.
         Two deaths from mesothelioma were reported; however, on the death certificates used to
         identify underlying cause of death, New York State nosologists officially coded one of these as
         “benign neoplasm of the respiratory system” and the other as “malignant neoplasm of bronchus
         and lung, unspecified” despite specific mention of mesothelioma elsewhere on the certificate.
         Methodologically, it is questionable whether it was appropriate for these to be analyzed as
         mesothelioma deaths without performing the same level of scrutiny on all of the death
         certificates used to determine the reference rates. Furthermore, neither case clearly appears to
         be related to employment at the talc plant. Despite a relatively high cumulative talc exposure,
         one of these workers died only 15 years after being hired at the plant (possibly the electrician
         reported by Lamm et al. (1988)) suggesting there was likely not adequate time to allow for the
         induction of mesothelioma since the individual first began working at the talc plant. The other
         possible mesothelioma case was in an employee who “worked only briefly at the facility as a
         draftsman during mill construction in 1948–49. His job would have entailed minimal exposure to
         talc dust” (Honda et al. 2002). Statistically significant excesses of nonmalignant respiratory
         diseases were reported, however, again reflecting the extremely high mineral dust exposures in
         this industry.

      79. A study of miners and millers employed at a talc mine reportedly not containing asbestiform
          minerals in the Gouverneur Talc District of upstate New York reported one mesothelioma death.

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          The employee diagnosed with mesothelioma was hired at the mine 16 years prior to his death,
          indicating too short a latency to be related to his talc mining exposures (Dement et al. 1980). It
          was reported that this individual worked for 11 years in construction prior to being employed by
          the mine.

     80. In sum, epidemiological studies of New York talc workers have not demonstrated a clear or
         consistent excess risk of mesothelioma, despite ample evidence of very high exposures to talc
         and all accessory minerals. None of the few cases of mesothelioma identified (and assuming the
         two reported in Honda et al. (2002) were indeed mesotheliomas) is convincingly associated with
         employment in the talc mining and milling facilities. Several studies appear to have been on the
         same population and may have repeatedly reported on the same case(s), giving an impression of
         more cases than actually had occurred in this population. Some debate regarding the
         identification of additional mesothelioma cases among these miners and millers has surfaced;
         however, the epidemiological studies have not been updated systematically, precluding formal
         evaluation (Finkelstein 2012; Nolan et al., 2013).

      81. Several studies of talc miners and millers have been conducted in regions where the talc deposits
          are considered pure, i.e., without significant contamination by fibrous minerals and free of
          asbestos. These regions include the following: Montana, Texas and North Carolina (Gamble et al.
          1982); Vermont (Selevan and Dement 1979; Selevan et al. 1979; Fordyce et al. 2019); Italy
          (Rubino et al. 1976; Rubino et al. 1979; Coggiola et al. 2003; Pira et al. 2017a; Ciocan et al. 2021);
          Norway (Wergeland et al. 1990; Wergeland et al. 2017); and France and Austria (Wild et al.
          2002). Talc from these mines is of a higher grade, and is used in cosmetic and pharmaceutical
          applications (Rubino et al. 1976). Hildick-Smith reported that cosmetic talc “contains more than
          90% mineral talc, is free of detectable asbestos, and contaminated by only limited amounts of
          other minerals” (Hildick-Smith 1976). Specifications were introduced in the US in 1976 requiring
          that cosmetic talc must not contain detectable, fibrous asbestiform fibers (Fiume, et al. 2015).

     82. Although very small and not intended to evaluate mesothelioma incidence or mortality, Gamble
         et al. (1982) performed a cross-sectional study of 299 talc miners and millers from Montana,
         Texas, and North Carolina, with a focus on respiratory symptoms, lung function, and chest X-rays.
         This is the only known epidemiological study on this group of talc workers and sheds some light
         on possible exposures. Dust samples collected at each location were examined using PCM and
         TEM. PCM detected no fibers, but TEM detected tremolite and antigorite fibers in the Texas talc
         only, but the authors did not describe them as asbestiform. No significant increases in symptoms
         or pneumoconiosis or significant reductions in lung function were found, although bilateral
         pleural thickening was observed in some workers (Gamble et al. 1982).

     83. A study jointly conducted by investigators from the US National Institute for Occupational Safety
         and Health (NIOSH) and Occupational Safety and Health Administration (OSHA) followed men
         employed for a minimum of one year as miners and millers (not mutually exclusive) in the
         Vermont talc industry between January 1, 1940 and December 31, 1969 (Selevan and Dement
         1979; Selevan et al. 1979). These workers were invited to participate in a chest x-ray screening
         program by the Vermont Department of Health as part of an annual survey of workers in dusty
         trades, results of which produced no indication of exposure to asbestos or crystalline silica
         (Selevan et al. 1979). The authors noted, “The talc in one of the closed mines is reported to have
         had "cobblestones" of serpentine rock which were highly tremolitic. In the mining of this talc,
         these "cobblestones" were avoided and/or discarded [during extraction]. Therefore, miners may

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          have been exposed to tremolite, but it is unlikely that the millers from this company were.”
          (Selevan et al. 1979). The authors do not describe the tremolite as asbestiform. Nonmalignant
          respiratory disease mortality was observed in excess among the millers, but not the miners,
          reflecting the greater exposure to talc among the millers. No mesothelioma cases were reported.

     84. Rossner et al. (2020) evaluated historical respirable dust exposures in the Vermont talc mines
         and mills. Included in the assessment were approximately 700 respirable dust samples (as a proxy
         for talc exposures) collected at seven site locations over a 30 year time period (from the late
         1970s to the early 2000s). Sampling data were extracted from two sources: mining company
         records including original sampling data sheets, and Mine Safety and Health Administration
         (MSHA) records from historical inspections. The arithmetic mean (AM) of respirable dust
         concentrations collected across all seven sites during MSHA inspections from 1978 to 1980 (n =
         26) was 2.23 mg/m3, 2.29 mg/m3 from 1981 to 1989, and 0.69 mg/m3 from 1990 to 1998. Dust
         concentrations were generally higher in the milling areas than in the mining operations. Several
         mining and milling jobs categories, however, had estimated average respirable dust
         concentrations that exceeded the OSHA PEL (3 mg/m3) and ACGIH TLV (2 mg/m3). These findings
         are consistent with evaluations from other talc mines (e.g., Val Chisone) where very high
         historical dust concentrations were documented (Rubino et al. 1976).

     85. Fordyce et al. expanded the Vermont cohort inclusion period from 1930 to 1983, increasing the
         cohort by 35 workers, and extended follow up through 2012 (Fordyce et al. 2019; Fordyce et al.
         2020). No mesothelioma deaths were identified using the original study methods. Further
         examination of additional information reported on death certificates, however, led to the
         identification of one mesothelioma death. The authors concluded there was “no evidence of
         increased risk of respiratory cancer.” In contrast, a statistically significant increase of
         nonmalignant respiratory disease mortality was reported – primarily due to emphysema,
         bronchitis and other nonmalignant respiratory diseases (which may include pneumoconiosis)
         (Fordyce et al. 2019).

      86. A study of talc miners and millers (Wergeland et al. 1990) conducted by the Norwegian
          Directorate of Labour Inspection and the Cancer Registry of Norway was designed to determine if
          excess cancer risk from respiratory diseases could be demonstrated after exposure to high purity
          Norwegian talc. Norwegian talc reportedly contains only trace amounts of quartz, tremolite and
          anthophyllite, and very low fiber (unspecified) content has been confirmed by electron
          microscopy. Workers first employed in 1944 (mine) or 1935 (mill) were followed for cancer
          incidence and cause-specific mortality. No mesothelioma cases or deaths were identified, and no
          excess of nonmalignant respiratory disease was observed, however one death certificate
          identified “talcosis” (a nonmalignant disease or pneumoconiosis caused by breathing dusts
          containing high concentrations of talc) and two death certificates noted “silicosis” (a
          nonmalignant disease caused by breathing dusts containing high concentrations of crystalline
          silica) as contributory causes of death (Wergeland et al. 1990). In an update of this cohort that
          extended follow up through 2011, no cases of mesothelioma were identified, and a statistically
          significant deficit of nonmalignant respiratory diseases other than pneumoconiosis was observed
          (Wergeland et al. 2017).

      87. Wild et al. (2002) conducted parallel cohort studies among talc miners and millers in France and
          Austria, coupled with nested case-control analyses of non-malignant and malignant respiratory
          diseases. Included were all men who had worked continuously for at least one year in any of

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         several companies producing talc. The French cohort consisted of those employed since January
         1, 1945 and followed through 1994. The Austrian cohort consisted of the workers employed
         beginning January 1, 1972 and followed through 1995. In neither cohort was any mesothelioma
         case identified; however, a significant excess of pneumoconiosis associated with talc exposure
         was reported (Wild et al. 2002).

     88. The longest studied cohort of talc miners and millers is that of the Val Chisone region of Italy,
         considered to have one of the largest and purest talc deposits extracted. Workers first hired at
         the Val Chisone facilities since 1930 have been followed continuously over many years (Rubino et
         al. 1976; Rubino et al. 1979; Coggiola et al. 2003; Pira et al. 2017a). Rubino (1976) followed from
         1948 through June 30, 1974 workers who were hired between 1921 and 1950 and worked for at
         one year at the mines and mills. They reported no mesotheliomas among the workers, whereas
         two mesothelioma deaths were identified in the unexposed control population – a community
         roughly 50 miles away from the mines. Investigation of these two cases revealed no history of
         asbestos exposure. As seen in most studies, non-malignant respiratory disease mortality was
         elevated among these workers, reflecting very high dust concentrations (i.e., typically between
         100 and 800 mppcf – with some measurements well exceeding one billion particles per cubic
         foot), especially in the mining operations prior to 1955. Concentrations associated with milling,
         and with mining after 1955 generally had been reduced to below 50 mppcf (Rubino et al. 1976).
         Rubino et al. (1979) re-analyzed these study data comparing the mortality experience of the
         miners and millers with that of the general Italian population. This analysis also reported a deficit
         (i.e., fewer observed than would be expected based on general population rates) of
         mesothelioma deaths based on zero cases among the talc workers (Rubino et al. 1979) but
         confirmed the clear excess of nonmalignant respiratory diseases among the miners.

     89. Pira et al. (2017a) reported statistically significant overall mortality, largely driven by excess
         mortality due to non-malignant respiratory disease (primarily pneumoconiosis and specifically
         silicosis among the miners), cirrhosis of the liver, and digestive tract disease (Pira et al. 2017). The
         authors concluded: “The data of our cohort confirm, with a follow-up extended to a maximum of
         66 years, our previous observation that occupational exposure to Val Chisone talc is not
         associated with an increased risk of mesothelioma. In the new study, we observed no deaths
         from mesothelioma, and could exclude a two-fold excess risk” (Pira, et al. 2017b).

     90. In the latest update of this cohort, Ciocan et al. (2021) further extended follow-up through 2020.
         A total of 1,749 men contributed 64,349 person-years of observation and 76.7% of the cohort
         was deceased at the end of follow-up. Among all men employed at least one month in the mine
         or mill between 1946 and 1995 and followed through the end of 2020 no death from pleural
         cancer or peritoneal mesothelioma was identified (including among those censored at age 85).
         Consistent with previous analyses, large and statistically significant excess deaths from
         pneumoconiosis and especially silicosis continued to be observed, especially among miners (SMR
         = 12.75, 95% CI: 9.8-16.3). It was concluded that “[t]his uniquely long-term follow up confirms
         the results of previous analyses, namely the lack of association between exposure to talc with no
         detectable level of asbestos and lung cancer and mesothelioma” (Ciocan et al. 2021).

     91. In sum, no excess risk of malignant mesothelioma has been reported in any of the available
         epidemiological studies of workers heavily exposed to talc (reflected in significant excesses of
         non-malignant respiratory diseases including talcosis). Though each individual study was small,
         the collective number of workers followed and cumulative person-years observed were

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          substantial, workers were clearly and highly exposed and the cohorts were followed for many
          decades.

      92. Ierardi et al. (2022) updated the pooled analyses by Marsh et al. (2019) and Finley et al. (2017) by
          incorporating new information from the Vermont, Italian and Norwegian cohorts. Based on
          130,154 cumulative person-years of follow-up across the five cohorts, it was estimated that
          about 4.14 cases (mid-value estimate) of mesothelioma would have been expected based on
          local general population rates (Ierardi et al. 2022). They determined that the pooled cohorts had
          59% and 78% power to detect a 2.5-fold or greater and a 3.0-fold or greater increased risk of
          mesothelioma, respectively. Given the additional extended follow-up of the Italian study (i.e.,
          Ciocan et al. 2021) and the impromptu examination of cause of death of censored workers – all
          without identifying any mesothelioma deaths, further increases effective statistical power.
          Nevertheless, to date only one mesothelioma death has been identified to date across these five
          cohorts, suggesting the observed deficit of mesothelioma cases among talc miners and millers
          persists.

      93. Using the most recent data from the cosmetic talc miners and millers cohort studies and the
          asbestos-exposed occupational groups identified by McCormack et al. (2012), I calculated
          proportionate mortality percentages (PMPs) for mesothelioma by predominant asbestos fiber-
          type exposure group and for talc miners and millers. Additionally, for comparative purposes, I
          included PMPs for mesothelioma among men and women in the United States general
          population. PMPs are represented as mesothelioma deaths per 1,000 deaths due to all combined
          causes (see Table below). Overall, the proportion of deaths due to mesothelioma among cohorts
          of talc miners and millers is much lower than the mesothelioma burden among asbestos-exposed
          occupational groups and is indistinguishable from that of women in the US general population, a
          group with essentially no substantial exposure to amphibole asbestos. The mesothelioma PMP
          for cosmetic talc miners and millers (0.04%) includes the single mesothelioma death identified in
          the latest Vermont cohort (Fordyce et al. 2019). That single mesothelioma death was identified
          by examining all notations on the death certificates of deceased cohort members; however, the
          same procedure was not performed on any portion of the comparison population so it is not
          known what the expected number would have been (Fordyce et al. 2019). Therefore, including
          this mesothelioma in the calculation of proportionate mortality is conservative, as technically the
          proportion based on standard methods would be zero, and even further below the proportion
          observed among women in the US general population.




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                  FIGURE: PERCENTAGE OF MESOTHELIOMA DEATHS
                           AMONG ALL CAUSES OF DEATH
    9.00%

               8.01%
    8.00%


    7.00%



    6.00%



    5.00%


    4.00%                    3.63%


    3.00%



    2.00%                                 1.70%



    1.00%



    0.00%
             Crocidolite    Mixed or
                           unspecified
                                         I
                                         Amosite
                                                       0.74%


                                                       ■
                                                   Crocidolite and
                                                     Chrysotile
                                                                         - -
                                                                         0.25%


                                                                       Chrysotile
                                                                        (pure or
                                                                     predominantly)
                                                                                       0.19%


                                                                                    US General
                                                                                    Population:
                                                                                       Men
                                                                                                    0.06%

                                                                                                  US General
                                                                                                  Population:
                                                                                                   Women
                                                                                                                  0.04%

                                                                                                                 Cosmetic
                                                                                                                Grade Talc:
                                                                                                                 Miners &
                                                                                                                  Millers




      94. In stark contrast with the body of published epidemiological evidence to date on the causal link
          between substantial exposure to amphibole asbestos and the risk of malignant mesothelioma,
          the epidemiological evidence to date on occupational groups exposed to substantial levels of talc
          uniformly demonstrates no increased risk of malignant mesothelioma. The very high exposures
          to talc sustained by talc miners includes the overburden minerals encountered in accessing and
          extracting the talc and for millers includes all accessory minerals that are pulverized with the talc
          and incorporated into talcum powder and other cosmetic products. The lack of any excess - and
          in fact a moderate observed deficit - of mesothelioma deaths across studies of talc miners and
          millers contradicts the hypothesis and medical claims that exposure to finished (processed) talc
          or consumer products containing finished pharmaceutical or cosmetic grade talc causes
          malignant pleural or peritoneal mesothelioma.




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   Brief case background

     95. Mr. Brian Gref was born on July 25, 1982 (B. Gref Vol. I: p. 11). He began to experience abdominal
         pain in 2016 or 2017 and was diagnosed with torsion of the omentum (B. Gref Vol. I: pp. 193-
         195). Six months after surgery for the omentum torsion, Mr. Gref developed abdominal
         distension, recurrent abdominal pain and ascites (B. Gref Vol. I: pp. 199-200). A CT guided biopsy
         was collected on November 25, 2019, and subsequently he was diagnosed with malignant
         peritoneal mesothelioma, epithelioid type. He was 37 years old at the time of diagnosis (Mayo
         Clinic Pathology: p. 2; B. Gref Vol. I: pp. 212-213). Mr. Gref reported no personal or family history
         of cancer (Cancer Specialists of North Florida: p. 5; B. Gref Vol. I: pp. 28, 34).

     96. Mr. Gref started working in approximately 1997 or 1998, but did not allege being occupationally
         exposed to asbestos in any of his jobs including bank manager, assistant store manager, security
         guard, military medic, lube tech and gas station attendant (B. Gref Vol. I: pp. 130, 141, 146).

     97. Mr. Gref also did not allege any domestic or environmental exposures to asbestos. Mr. Gref’s
         parents worked in various roles in the U.S. Navy. Mr. Gref’s mother served at Guantanamo Bay
         from 1982 to 1985, at a fleet training center from 1985 to 1989, and aboard the USS Yosemite
         from 1989 to 1992 (K. Nappi Vol. I: pp. 30-35). Mr. Gref’s father served in the US Navy primarily
         as an equal opportunity specialist (B. Gref Vol. I: pp. 41, 232; R. Gref: pp. 40-45).

     98. Mr. Gref did allege being exposed to asbestos from his family’s use of cosmetic talcum powder
         products on him as a child as well as his personal application of talcum powders from
         approximately 1982 to 2019 (B. Gref Vol. I: pp. 47, 64).

             a) Mr. Gref testified that his parents applied talcum powder to him as an infant after baths
                (B. Gref Vol. I: pp. 46-47, 52). He recalled the following talcum powder products brands
                being present in the family home: Clubman, Old Spice, English Leather, Johnson’s Baby
                Powder, Shower to Shower, and Mennen (B. Gref Vol. I: p. 47).

             b) Mr. Gref’s mother testified that she used Clubman, Mennen, Shower to Shower, Old
                Spice, and English Leather brand talcum powders on him as an infant after diaper
                changes and baths (K. Nappi Vol. I: pp. 55-57) and as part of his personal hygiene routine
                until he was eight years old (approximately in 1990) (K. Nappi Vol. I: p. 101).

             c) Mr. Gref reported that he personally apply talcum powder products daily beginning in
                1991 and estimated that he applied powder once per week by the age of twelve (B. Gref
                Vol. I: pp. 59-60, 64-65). He recalled that he “pretty equally” used Johnson’s Baby
                Powder, Clubman, Mennen, English Leather, Shower to Shower and Old Spice talcum
                powders after baths (B. Gref Vol. I: pp. 47, 64-66). . He continued to use talcum powder
                products until 2019 (B. Gref Vol. I: p. 120).




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   Summary of conclusions and expert opinions

     99. Epidemiological concepts and standard methods have been established for decades. Their proper
         use provides invaluable scientific analyses and perspectives in the process of evaluating and
         integrating evidence for purposes of determining preventable causes of human disease. Causal
         relationships identified from weight-of-evidence evaluations of the body of published
         epidemiological literature may be quantified in terms of exposure-disease relationships, i.e., risk
         assessment. Therefore, epidemiology serves as a primary basis for determining population risk
         and disease causation and by extension informs individual disease risk.

      100. Malignant mesothelioma is a cancer arising from the layer of cells lining body cavities and
         organs, known as the mesothelium. Epidemiological studies clearly and consistently demonstrate
         that substantial occupational or environmental exposure to respirable amphibole asbestos fibers
         significantly increases the risk of pleural and to a lesser extent peritoneal malignant
         mesothelioma; however, as such exposure scenarios over time become rarer, increasingly lower
         proportions of diagnosed mesotheliomas validly can be attributed to asbestos exposure. Further,
         higher quality epidemiological studies demonstrate low or no risk (i.e., risks similar to
         background rates) of mesothelioma among those with the lowest exposures to amphibole
         asbestos. Based on the materials provided, I found no documentation that Mr. Gref sustained
         substantial exposure to amphibole asbestos from any source that would have placed him at
         increased risk of malignant peritoneal mesothelioma.

      101. Other preventable risk factors for malignant pleural - and presumably peritoneal- mesothelioma
         include exposure to fibrous erionite or fibrous fluoro-edenite, therapeutic ionizing radiation,
         medical diagnostic procedures using injected thorium dioxide and possibly some infectious
         agents or chronic serosal inflammatory conditions. Nevertheless, there is no indication in the
         record that Mr. Gref had any of these risk factors.

     102. A substantial and growing proportion of mesothelioma cases diagnosed in men in the US today
        is unrelated to amphibole asbestos exposure or other recognized risk factors. These
        mesothelioma cases are considered idiopathic, literally meaning “of unknown cause”, and align
        with the role of unrepaired gene replication errors, but also may include undocumented or
        unrecognized causal factor(s) such as undiagnosed genetic susceptibility and unwitting exposure
        to substantial quantities of amphibole asbestos. Accordingly, and finding no clear evidence in the
        record that Mr. Gref ever had been exposed to substantial amounts of amphibole asbestos as
        well as his young age at diagnosis, I conclude to a reasonable degree of epidemiological certainty
        that Mr. Gref’s malignant peritoneal mesothelioma is idiopathic.

     103. Numerous epidemiological studies of groups including workers highly exposed to talc have been
        published and these were comprehensively identified and critically reviewed.

             a. A substantial body of published, peer-reviewed epidemiological studies of cohorts of talc
                miners and millers highly exposed to mineral talc dusts – with all accessory minerals and
                contaminants – does not demonstrate that such exposures cause malignant
                mesothelioma.

             b. Studies following patients receiving pleurodesis treatments involving injections of talc
                directly into the pleural space do not demonstrate increased risk of mesothelioma.

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             c. Epidemiological cancer registry linkage studies also consistently demonstrate no
                increased risk of malignant pleural and peritoneal mesothelioma among hairdressers and
                barbers – who may be occupationally exposed regularly to talcum powder products.

             d. There are no peer-reviewed published epidemiological studies specifically evaluating
                consumer use of talcum powders and risk of malignant mesothelioma.

         Critical review and synthesis of the body of epidemiological studies directly addressing human
         health risks associated with exposure to talc, with all accessory and contaminant minerals
         present (even assuming trace levels of asbestos) do not scientifically substantiate – and therefore
         refute – the claim that exposure to talc, or the use of talcum powder products containing such
         talc, causes malignant mesothelioma.

     104. The allegations that Mr. Gref’s and his parent’s use of talcum powder products on him as a child
        somehow caused or contributed to causing his malignant peritoneal mesothelioma cannot be
        substantiated epidemiologically, i.e., based on human scientific evidence. Therefore, I conclude
        to a reasonable degree of scientific certainty that Mr. Gref’s and his family member’s alleged use
        of talcum powder products manufactured by Shulton Inc. or The Proctor & Gamble Company and
        possibly containing cosmetic or pharmaceutical grade talc distributed by Whittaker, Clark &
        Daniels, Inc. or American International Industries did not cause or contribute to his malignant
        peritoneal mesothelioma. Absent Mr. Gref’s use of these products, even assuming they may have
        contained trace amounts of asbestos, his risk of malignant peritoneal mesothelioma would have
        been unchanged.




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   Materials received from Defense Counsel

   Cited in background

      1.   Videoconference and Telephonic Deposition of Brian Gref Volume I (dated May 13, 2021)
      2.   Videotaped Virtual Deposition of Karen Nappi Volume I (dated June 16, 2021)
      3.   Videoconference and Telephonic Deposition of Roger Gref (dated June 23, 2021)
      4.   Various Medical Records (various dates)

   Not cited in background

      1. Videoconference and Telephonic Deposition of Brian Gref Volume II (dated May 14, 2021)
      2. Videotaped Virtual Deposition of Karen Nappi Volume II (dated June 17, 2021)
      3. Various Clubman talc container photos (no date provided)
      4. Videoconference and Telephonic Deposition of Tabetha Ulgage (dated August 18, 2021)
      5. Videotaped Videoconference of Carrie Gref (dated September 14, 2021)
      6. Videotaped Virtual Deposition of Hannah Madison McKinlay (dated September 16, 2021)
      7. Videoconference and Telephonic Deposition of Jeneane Bennett (dated July 21, 2021)
      8. Expert Report of David Y. Zhang, MD, PhD, MPH (dated July 19, 2021)
      9. Declaration of David Y. Zhang, MD, PhD, MPH, FCAP (dated September 1, 2021)
      10. Expert Report of Murray Finkelstein, PhD, MD (dated September 7, 2021)
      11. Expert Report of Jacqueline Moline, MD, MSc, FACP, FACOEM (dated October 28, 2021)
      12. Military Records of Brian Gref (Part 1 of 2) (various dates)
      13. Military Records of Brian Gref (Part 2 of 2) (various dates)
      14. National Personnel Records of Brian Gref (various dates)
      15. Department of Veteran Affairs Records of Brian Gref (various dates)
      16. Additional Department of Veteran Affairs Records of Brian Gref (various dates)
      17. Karen Nappi National Personnel Records – Produced in response to a subpoena (various dates)
      18. Roger Gref National Personnel Records – Produced in response to a subpoena (various dates)
      19. Brian Gref’s Answers to the Interrogatories (dated April 7, 2021)
              a. Brian Gref’s Answers Request for Production of Documents (dated April 7, 2021)
              b. Chart A – Jobsite-Specific Exposure History (dated April 6, 2021)
              c. Various Medical Records (various dates)
      20. Plaintiff’s Answers to Patriarch Partners, LLC’s First Set of Interrogatories (dated July 2, 2021)
      21. Plaintiff’s Initial Fact Sheet (dated July 8, 2020)
      22. Plaintiff’s Letter Regarding Responses and Objections to Deposition Demands (dated May 7,
          2021)
      23. Affidavit of Tabetha Smith Ugalde (dated July 13, 2021)
      24. Whittaker, Clark & Daniels, Inc.’s Responses to Plaintiff’s Interrogatories and Requests for
          Production (dated August 26, 2021)
      25. Tabetha Ulgade Documents in Response to Plaintiff’s Subpoena (various dates)
      26. Carrie Gref Documents in Response to Plaintiff’s Subpoena (various dates)
      27. Plaintiff’s Answers to Whittaker, Clark & Daniels, Inc.’s First Set of Interrogatories (dated August
          5, 2021)
      28. Plaintiff’s Answers to Whittaker, Clark & Daniels, Inc.’s First Set of Requests for Production
          (dated August 5, 2021)

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      29. Plaintiff’s Responses to Defendant American International Industries’ First Set of Interrogatories
          Directed to Plaintiff (dated July 26, 2021)
      30. Plaintiff’s Responses to Defendant American International Industries’ First Request for
          Production of Documents (dated July 26, 2021)
      31. Plaintiff’s Responses to the Proctor & Gamble Company and Shulton, Inc.’s First Set of
          Interrogatories (dated August 5, 2021)
      32. Plaintiff’s Responses to the Proctor & Gamble Company and Shulton, Inc.’s First Set of Requests
          for Production (dated August 5, 2021)
      33. Plaintiff’s Responses to Colgate-Palmolive Company’s First Set of Interrogatories (dated August
          5, 2021)
              a. Exhibit A – Plaintiff’s Financial Records (various dates)
      34. Plaintiff’s Responses to Colgate-Palmolive Company’s First Set of Requests for Production (dated
          August 5, 2021)
      35. Plaintiff’s Responses to Kolmar Laboratories, Inc.’s First Set of Interrogatories (dated August 5,
          2021)
      36. Plaintiff’s Responses to Kolmar Laboratories, Inc.’s First Set of Requests for Production (dated
          August 5, 2021)
      37. Remote Videotaped Deposition of Charles Loveless (dated November 17, 2021)
      38. Errata Sheet of Charles Loveless (no date provided)
      39. Videotaped Virtual Deposition of Suprith Badarinath, MD (dated January 11, 2022)
      40. Videotaped Virtual Deposition of Dennis St. George (dated November 23, 2021)
              a. Various Exhibits (various dates)
      41. Videotaped Virtual Deposition Upon Oral Examination of Paul Joseph Vincenti (dated September
          24, 2021)
      42. Videotaped Remote Deposition of William Ward (dated October 19, 2021)
      43. Videotaped Virtual Deposition of Zvi Ryzman (dated August 12, 2021)
              a. Various Exhibits (various dates)
      44. Military Records (various dates)
      45. Declaration of David Y. Zhang, MD, PhD, MPH, FCAP (dated September 1, 2021)
              a. Various Exhibits (various dates)
      46. Declaration of Murray M. Finkelstein, PhD, MD (dated March 29, 2022)
              a. Various Exhibits (various dates)
      47. Expert Report of Arnold R. Brody, PhD (dated June 12, 2020)
              a. Various Exhibits (various dates)
      48. Declaration of Steven Patrick Compton, PhD (dated March 30, 2022)
              a. Various Exhibits (various dates)
      49. Declaration of Dr. Mark P. S. Krekeler (dated March 17, 2022)
              a. Various Exhibits (various dates)
      50. Expert Report of Kristin K. Kucsma, MA, and Kenneth T. Betz, MBA, MA (dated March 31, 2022)
      51. Declaration of William Edward Longo, PhD (dated March 31, 2022)
      52. Various Exhibits of William Edward Longo, PhD (various dates)
      53. Declaration of David Rosner, PhD (dated March 20, 2022)
              a. Various Exhibits (various dates)
      54. Declaration of Gerald E. Markowitz, PhD (dated March 23, 2022)
              a. Various Exhibits (various dates)
      55. Expert Report of Alan Segrave, PG (dated April 29, 2022)



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   Expert Report of Kenneth A. Mundt, PhD, FACE
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                             Attachment A – Curriculum Vitae




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JA1212
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                                                              <I) Cardno"
                                                                       ChemRisk




 Professional History
 Senior Principal Health Scientist, Cardno ChemRisk (2018-Current)

 Cardno ChemRisk
 Nominated Chem Risk Fellow, December 2021.

 Appointed by US Environmental Protection Agency (US EPA) Administrator to US EPA's
 Science Advisory Board (SAB) and Chair, US EPA's Chemical Assessment Advisory
 Committee (CAAC) (2021). (2021). Congress established the SAB in 1978 to provide
 scientific advice to the EPA Administrator.

 Principal and Health Sciences Global Network Leader (2003-2018)
 Rambo/I US Corporation (formerly ENVIRON International Corporation)
 Developed and lead Ramboll US's (formerly ENVIRON International Corporation's)
 Health Sciences Global Practice; directed the Applied Epidemiology Practice Area.

 President and Founder (1991 -2003)

 Applied Epidemiology, Inc.
 Formed consultancy focused on applying epidemiological concepts and methods to
 diverse occupational and environmental health challenges.

 Associate Professor, Department of Family Medicine and Community Health (1 997-2002)

 University of Massachusetts Medical School, Worcester
 Adjunct faculty member of and advisor to the Occupational Medicine Residency Program.
 Collaborated in conducting clinical trial on carpal tunnel release surgery. Taught
 epidemiology component of Masters in Public Health (MPH) Program.

 Associate Professor of Epidemiology, School of Public Health and Health Sciences
 (1989-1999)

 University of Massachusetts at Amherst
 Taught at the graduate university level in epidemiological concepts and methods in the
 Department of Biostatistics and Epidemiology. Developed and directed the Occupational
 Epidemiology Unit. Mentored dozens of students at the doctoral and masters level.


      >   Appointed Senior Principal in Cardno's Technical Excellence Program
          (2020).Kammer Merit in Authorship Award, American College of Occupational
          and Environmental Medicine, 2017
      >   Award for Significant Contributions to the field of Public Health, University of
          Massachusetts School of Public Health, 2011
      >    Teaching Excellence Award, University of Massachusetts School of Public
           Health, 1995
      >    Delta Omega Award for Dissertation Research, University of North Carolina at
           Chapel Hill, 1990



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      >    Fellow, American College of Epidemiology (FACE)
      >    Delta Omega - Public Health Honorary Society
      >    International Commission on Occupational Health
      >    MEDICHEM
      >    Sigma Xi - The Scientific Research Honor Society
      >    Society for Risk Analysis


      >    Secretary General, MEDICH EM, 2015-2020
      >    Secretary, ICOH Scientific Committee on Occupational Health and Safety in the
           Chemical Industry 2016-2019
      >    Associate Director for Institutional Engagement, Institute for Global Health,
           University of Massachusetts, 2018-present
      >    Officer and Member of the Board, Alliance for Global Health Innovation (a
           501 (c)(3) charitable organization), Atlanta, GA., 2018-present
      >    Member of the Board, American University of the Caribbean, Les Cayes, Haiti,
           2019-present
      >    Member, Dean's Advisory Board, University of Massachusetts School of Public
           Health and Health Sciences, 2002-present
      >    Editorial Service
                    Member, Editorial Board, Journal of Public Health and Emergency,
                    2019-present
                    Advisory Editor, Archives of Industrial Hygiene and Toxicology, 2013-
                    present
                    Member Executive/Steering Committee, International Hormesis Society,
                    2005-preset
                    Advisory Editor, International Archives of Occupational and
                    Environmental Health, 2002-present
                    Associate Editor, Dose-Response, 2001-2012

      >   Member, Ethics Committee, American College of Epidemiology, 2016-2019
      >   Invited Observer, Proceedings of IARC Monographs on the Evaluation of
          Carcinogenic Risks to Humans, Volumes 93, 98 and 100f, International Agency
          for Research on Cancer (IARC), 2006-2009
      >    Scientific Consultant, Science Review Board, FIFRA Scientific Advisory Panel,
           United States Environmental Protection Agency (EPA), 2002-2004
      >    Epidemiology Consultant and Scientific Advisor, Health Services Department,
           The World Bank, 1993-2004
      >    Member of the Board of Directors and Haiti Program Director, Opportunities for
           Communities, Inc., a 501(c)(3) educational organization, 2008-present
      >    Peer Reviewer in Epidemiology, Agency for the Toxic Substances and Disease
           Registry, 1993-2005




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      >   Annals of Epidemiology
      >   Archives of Industrial Hygiene and Toxicology
      >   BMC Cancer
      >    Cancers
      >    Critical Reviews in Toxicology
      >    Dose-Response
      >    International Archives of Occupational and Environmental Health
      >    Occupational and Environmental Medicine
      >    Regulatory Toxicology and Pharmacology


      >   Adjunct Professor of Epidemiology, University of South Carolina, 2018-present
      >   Adjunct Professor of Environmental Health, University of South Carolina, 2016-
          present
      >   Adjunct Professor of Epidemiology, University of Massachusetts, 2005-present
      >   Adjunct Professor of Epidemiology, University of North Carolina, 2007-2019
      >   Adjunct Associate Professor, Department of International Health, School of
          Nursing and Health Studies, Georgetown University, 2002-2007
      >    Consulting Faculty, United States Navy, Department of Undersea Medicine,
           Naval Submarine Base, New London, CT, 1999
      >    Visiting Professor, Abteilung fur Sozialmedizin und Epidemiologie, Ruhr-
           Universitat Germany 1991-1994
      >    Epidemiology Short Course Instructor: Norway, Germany, Slovakia, Thailand,
           Italy, Switzerland and USA



 Publications in Peer-Reviewed Medical and Health Journals
      >   Haase LM, Birk T, Bachand AM, Mundt KA. A Health Surveillance Study of
          Workers employed at a Copper Smelter - Effects of Long-Term Exposure to
          Copper on Lung Function using Spirometric Data. J Occup Environ Med. 2021
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      >   Mundt KA, Dell L, Boffetta P, Beckett E, Lynch H, Desai V, Lin C-K, Thompson
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          epidemiological studies of environmental carcinogens. BMC Cancer. 2021 Mar
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      >    Dell LD, Gallagher AE, Yost LJ, Mundt KA. Integration of Evidence on
           Community Cancer Risks from Elongate Mineral Particles in Silver Bay,
           Minnesota. Risk Anal. 2021 Sep;41(9):1674-1692.
      >   Lauer DJ , Mundt KA, Thompson WJ, Best EA. Letter to the Editor: Largely
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          the USA. World J Surg. 2020 Dec;44(12):4279-4280.
      >   Sax SN, Gentry PR, Van Landingham C, Clewell HJ, Mundt KA. Extended
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           Bus H, Sherman JH, Greim H, Bolt H, Marsh GM, Checkoway H, Coggon D,
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      >    Catalani SF, Donato F, Madeo E,Apostoli P, De Palma G, Pira E, Mundt KA,
           Boffetta P. Occupational exposure to formaldehyde and risk of non hodgkin
           lymphoma: a meta-analysis. BMC Cancer 2019;19(1):1245.
      >    Checkoway H, Lees PSJ, Dell LD, Gentry PR, Mundt KA. Peak Exposures in
           Epidemiologic Studies and Cancer Risks: Considerations for Regulatory Risk
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      >    Vincent MJ, Kozal JS, Thompson WJ, Maier A, Dotson GS, Best EA, Mundt KA.
           Ethylene Oxide: Cancer Evidence Integration and Dose-Response Implications.
           Dose Response 2019;17(4): 1559325819888317.
      >    Boffetta P, Mundt KA, Thompson WJ. The epidemiologic evidence for elongate
           mineral particle (EMP)-related human cancer risk. Toxicol Appl Pharmacol
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           leukemogenicity. Regulatory Toxicology and Pharmacology 2018 (Feb);92:472-
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           with Exposure to Bitumen and Bitumen Fumes: An Updated Systematic Review
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      >    Mundt KA, Gallagher AE, Dell LD, Natelson N, Boffetta P, Gentry PR.
           Formaldehyde, Hematotoxicity, and Chromosomal Changes - Letter to the
           Editor. Cancer Epidemiology, Biomarkers & Prevention 2018 (Jan 27);(1 ):119.
      >    Berge W, Mundt KA, Luu H, Boffetta P. Genital use of talc and risk of ovarian
           cancer: A meta-analysis. European Journal of Cancer Prevention 2018
           (May);27(3):248-257.
      >    Mundt KA, Gallagher AE, Dell LD, Natelson EA, Boffetta P, Gentry PR. Does
           occupational exposure to formaldehyde cause hematotoxicity and leukemia-
           specific chromosome changes in cultured myeloid progenitor cells? Critical
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      >    Mundt KA, Dell LD, Crawford L, Gallagher AE. Quantitative estimated exposure
           to vinyl chloride and risk of angiosarcoma of the liver and hepatocellular cancer
           in the US industry-wide vinyl chloride cohort: mortality update through 2013.
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      >    McCunney RJ , Merfeld P, Colby WD, Mundt KA. Wind Turbines and Health: An
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           An Attempt to Estimate an Exposure Threshold Is Not a Scientific Exercise-
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          Health: A Report. The World Bank, Washington, D.C.
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          Environmental and Occupational Health in the Emerging Market Economies and
          Democracies of Central and Eastern Europe, June 26 - July 1, 1992. Published
          by Management Sciences for Health, Boston, pages 193-197.




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   Expert Report of Kenneth A. Mundt, PhD, FACE
   Gref vs WCD, AII, and Shulton



                  Attachment B – Prior Testimony List (last 4 years)




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                                            LITIGATION TESTIMONY

   In the previous four years, Dr. Kenneth A. Mundt has provided the following deposition, hearing and
   trial testimony presented by topical area:

   Asbestos

      David McKneely vs. Nokia of America Corporation as successor-in-interest to Western Electric
      Company, et al. 19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana.
      Case No. C-713174. Deposition: April 19, 2022. (disease: lung cancer; alleged exposure: occupational
      asbestos exposure)

      Duff Stanley, Individually and as the Representative of the Estate of Barbara Light, deceased; Brian
      Edward Light; and Michelle Light vs. Chanel, Inc., Macy’s Inc. and Revlon Consumer Products Corp.
      Superior Court of the State of California for the County of Los Angeles. Case No.
      JCCP4674/20STCV42059. Deposition: March 25, 2022. (disease: peritoneal and pleural
      mesothelioma; alleged exposure: contaminated cosmetic talc)

      Julie Peterson, as Special Administrator of the Estate of Margie A. Foster v. Revlon, Inc. and
      Whittaker, Clark & Daniels, Inc., et al. Circuit Court of Cook County, Illinois. Case No. 18-L-003411.
      Deposition: February 17, 2022. (disease: pleural mesothelioma; alleged exposure: contaminated
      cosmetic talc)

      Jose Martinez vs. The Boeing Company, et al. Superior Court of the State of California for the County
      of Alameda. Case No. RG21104635. Deposition: February 7, 2022. (disease: pleural mesothelioma;
      alleged exposure: asbestos from being near aircraft mechanical work)

      Lynne L. Roy vs. Chanel, Inc., Whittaker, Clark & Daniels, Inc., et al. Civil District Court for the Parish
      of Orleans, State of Louisiana. Case No. 2020-02718, Section 16, Division “A.” Deposition: January
      27, 2022. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Dr. Robert O. Wilson and Faith Wilson v. Whittaker, Clark & Daniels, Inc., et al. Superior Court of the
      State of California for the County of Alameda. Case No. RG21092931 Deposition: January 3, 2022.
      (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Myriam Kerr and Robert Kerr v. Revlon, Inc. and Whittaker, Clark & Daniels, Inc., et al. Superior Court
      of the State of California for the County of Los Angeles. Case No. JCCP4674/21STCV22475.
      Deposition: December 30, 2021. (disease: pleural mesothelioma; alleged exposure: contaminated
      cosmetic talc)

      Maria Gomez v. Revlon, Inc. and Whittaker, Clark & Daniels, Inc., et al. United States District Court
      for the Southern District of Florida, Ft. Lauderdale Division. Case No. 0:21-cv-60594-CIV-MARTINEZ-
      SNOW. Deposition: December 13, 2021. (disease: pleural mesothelioma; alleged exposure:
      contaminated cosmetic talc)

      Michelle Roedel, Individually and as Successor-in-Interest to the Estate of Doreen Myers, Deceased,
      and Steven Myers, v. Whittaker, Clark & Daniels, Inc., et al. Superior Court of the State of California
      for the County of Los Angeles. Case No. JCCP4674/BC720136. Trial: December 7, 2021. Deposition:
      September 3, 2021. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)



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                                           LITIGATION TESTIMONY

      Nedelka Vanklive v. Whittaker, Clark & Daniels, Inc., et al. Superior Court of the State of California
      for the County of Alameda. Case No. RG20062734. Trial: November 29, 2021. Deposition: June 17,
      2021. (diseases: pleural mesothelioma, ovarian cancer, fallopian tube cancer; alleged exposure:
      contaminated cosmetic talc)

      Mae K. Moore v. Chanel, Inc., Lucky Stores, Inc., Revlon, Inc., and Whittaker, Clark & Daniels, Inc.
      Superior Court of the State of California for the County of Los Angeles. Case No.
      JCCP4674/21STCV05513. Deposition: November 17, 2021. (disease: pleural mesothelioma; alleged
      exposure: contaminated cosmetic talc)

      Edward Richards and Linda Richards v. John Crane, Inc. Superior Court of the State of California for
      the County of Alameda. Case No. RG21088294. Deposition: October 15, 2021. (disease: pleural
      mesothelioma; alleged exposure: occupational asbestos from gaskets and packing)

      John Hurley, Special Administrator of the Estate of Leanne Hurley, v. Chanel, Inc., Revlon, Inc.,
      Whittaker, Clark & Daniels, Inc. Circuit Court of Cook County, Illinois. Case No. 2020 L 004159.
      Deposition: October 8, 2021. (disease: pleural mesothelioma; alleged exposure: contaminated
      cosmetic talc)

      Rosemary Dobson, Individually and as Personal Representative of the Estate of Eric Dobson, v.
      Chanel, Inc., Whittaker, Clark & Daniels, Inc. Court of Common Please, Cuyahoga County, Ohio. Case
      No. CV-19-910745. Deposition: October 8, 2021. (disease: pleural mesothelioma; alleged exposure:
      contaminated cosmetic talc)

      Marla Hamilton, Marcus Hamilton, and Jackson Hamilton v. Chanel, Inc., Macy’s Inc., Whittaker,
      Clark & Daniels, Inc., et al. Circuit Court of the 13th Judicial Circuit, Hillsborough County, Florida. Case
      No. 19-CA-009136. Deposition: September 17, 2021. (disease: peritoneal mesothelioma; alleged
      exposure: contaminated cosmetic talc)

      Stephanie Salcedo, Individually and as Administrator of the Estate of Theresa M. Garcia, Deceased, v.
      Whittaker, Clark & Daniels, Inc., Revlon, Inc. et al. Circuit Court of Cook County, Illinois. Case No.
      2020 L 004505. Deposition: August 23, 2021. (disease: pleural mesothelioma; alleged exposure:
      contaminated cosmetic talc)

      Frank George Petas, Individually and as Personal Representative of the Estate of Victoria Petas,
      deceased, et al. v. Whittaker, Clark & Daniels, Inc., et al. Superior Court of the State of California for
      the County of Los Angeles. Case No. JCCP4674/BC701655. Deposition: August 16, 2021. (disease:
      peritoneal mesothelioma; alleged exposure: contaminated cosmetic talc)

      Steven M. Sexton and Patricia A. Sexton v. YBJD, Inc., et al. Superior Court of the State of California
      for the County of Alameda. Case No.: RG20074721. Deposition: May 3, 2021. (disease: pleural
      mesothelioma; alleged exposure: joint compound)

      Connie Dietrich v. The Boeing Company, et al. Superior Court of the State of California for the County
      of Los Angeles. Case No. JCCP4674/18STCV00436. Deposition: April 23, 2021. (disease: pleural
      mesothelioma; alleged exposure: asbestos from husband’s aircraft mechanical work)

      Todd Lopez as Personal Representative of the Estate of Jack Trout, et al. v. Cameron International
      Corporation, formerly known as Cooper Cameron Corporation, Cooper-Bessemer Corporation, and

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                                         LITIGATION TESTIMONY

      Cooper Industries, et al. Case No. D-101-CV-2019-00046. Deposition: April 20, 2021. (disease: pleural
      mesothelioma; alleged exposure: occupational asbestos from engines and compressors)

      Vernon Eggers, Individually and as the Personal Representative of the Estate of Barbara Eggers,
      Deceased, v. Coty, Inc. and Whittaker, Clark & Daniels, Inc. District Court in and for Oklahoma
      County, State of Oklahoma. Case No. CJ-2018-4739. Deposition: April 16, 2021. (disease: pleural
      mesothelioma; alleged exposure: contaminated cosmetic talc)

      Christina Prudencio v. Vi-Jon, Inc., Longs Drugs Stores California, LLC, Perrigo Company of Tennessee,
      et al. Superior Court of the State of California for the County of Alameda. Case No. RG20061303.
      Deposition: April 14, 2021. (disease: peritoneal mesothelioma; alleged exposure: contaminated
      cosmetic talc)

      Willie McNeal, Jr. v. Whittaker, Clark & Daniels, Inc. and Shulton Company, et al. Superior Court of
      the State of California for the County of Los Angeles. Case No. BC698965. Trial: April 8, 2021.
      Deposition: July 31, 2020. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic
      talc)

      Dalal Metwally v. Whittaker, Clark & Daniels, Inc. and Revlon, Inc. Superior Court of the State of
      California for the County of San Francisco. Case No. CGC-19-276780. Deposition: March 24, 2021.
      (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Wendi J. Hirshberg and Richard Hirshberg v. Elizabeth Arden, Inc. and Whittaker, Clark & Daniels, Inc.
      Superior Court of the State of Washington for King County. Case No. 20-2-05603-1 SEA. Deposition:
      February 23, 2021. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Robert Runne and Catherine Runne v. Cyprus Mines and Whittaker, Clark & Daniels, Inc. Superior
      Court of the State of California for the County of Alameda. Case No. RG20061377. Deposition:
      February 8, 2021. (disease: pleural mesothelioma; alleged exposure: industrial talc)

      Lloyd Bell, Individually and as Executor of the Estate of Betty Whitley Bell, Deceased, v. American
      International Industries and Whittaker, Clark & Daniels, Inc. USDC for the Middle District of North
      Carolina Greensboro Division. File No.: 1:17-cv-00111. Deposition: February 2, 2021. (disease:
      pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Donald G. West and Bertha Nadine West v. T.W. Smith Company. Superior Court of the State of
      California for the County of Alameda. Case No. RG20061848. Deposition: November 25, 2020.
      (disease: mesothelioma; alleged exposure: occupational exposure to asbestos from contracting
      work)

      Michael Lefton, et al. v. The Shulton Company and Whittaker, Clark & Daniels, Inc. In the Court of
      Common Pleas, Cuyahoga County, Ohio. Case No. CV-19-910745. Deposition: November 16, 2020.
      (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Curt O. Sawmiller, Individually and as Personal Representative of the Estate of Paul Sawmiller, v.
      Danly Machine Corp., et al. In the Court of Common Pleas, Cuyahoga County, Ohio. Case No. CV-18-
      902897. Deposition: October 2, 2020. (disease: pleural mesothelioma; alleged exposure: presses in
      automotive manufacturing)


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                                           LITIGATION TESTIMONY

      Arthur Rosengren v. The Boeing Company, North American Aviation, Douglas Air, and McDonnell Air,
      et al. United States District Court, Central District of California. Case No. 2:19-CV-09064-SVW-E.
      Deposition: September 28, 2020. (disease: pleural mesothelioma; alleged exposure: aircraft
      mechanical work)

      Gary Parsons, et al. v. Danly Machine Corp., et al. In the Circuit Court of Common Pleas, Cuyahoga
      County, Ohio. Case No. CV-18-897821. Deposition: September 11, 2020. (disease: peritoneal
      mesothelioma; alleged exposure: presses in automotive manufacturing)

      William A. Clark and Stephanie I. Clark v. Deere & Company, et al. Superior Court of Washington for
      King County. Case No. 19-2-26061-1 SEA. Deposition: July 24, 2020. (disease: pleural mesothelioma;
      alleged exposure: asbestos from farm equipment)

      Linda Zimmerman v. Chanel, Inc., et al. Superior Court of the State of California for the County of Los
      Angeles. Case No. BC720153. Deposition: March 3, 2020. (disease: pleural mesothelioma; alleged
      exposure: contaminated cosmetic talc)

      Joyce DuQuette, Individually and As Personal Representative of the Heirs and Estate of Thomas
      Joseph DuQuette v. Whittaker, Clark & Daniels, Inc. In the Circuit Court of Cook county, Illinois. Case
      No. 16 L 5625. Deposition: February 28, 2020. (disease: pleural mesothelioma; alleged exposure:
      contaminated cosmetic talc)

      Adam Breakell v. Whittaker, Clark & Daniels, Inc. Superior Court, J.D. Fairfield at Bridgeport, State of
      Connecticut. Case No. FBT-CV-17-6066689S. Deposition: January 28, 2020. (disease: peritoneal
      mesothelioma; alleged exposure: industrial talc)

      Margaret Rose Langley Lashley and Edward Lashley v. American International Industries, et al.
      Superior Court of New Jersey, Middlesex County. Docket No. MID-L-7336-16 AS. Dwayne Johnson v.
      American International Industries, et al. Superior Court of New Jersey, Middlesex County. Docket No.
      MID-L-06651-16 AS. Joint Deposition: Oct. 29, 2019. (diseases: peritoneal and pleural mesothelioma;
      alleged exposure: contaminated cosmetic talc)

      Lubertha McLeod v. Nokia of America Corporation as successor-in-interest to Western Electric
      Company, et al. Civil District Court for the Parish of Orleans, State of Louisiana. Division J-15. Case
      No. 2018-5352. Deposition: October 9, 2019. (disease: pleural mesothelioma; alleged exposure:
      occupational exposure to asbestos from telecommunications work)

      Robert Skelton, individually and as successor in interest to Wanda Skelton, deceased, Gary Skelton,
      and Jerry Skelton v. S. Martinelli & Company, et al. Superior Court of the State of California for the
      County of Alameda. Case No. RG17868697. Deposition: September 27, 2019. (disease: pleural
      mesothelioma; alleged exposure: asbestos from husband’s work clothing)

      Kevin F. Chabaud v. Ameron International Corporation, et al. 23rd Judicial District Court for the Parish
      of St. James, State of Louisiana. No. 37286 Div. A. Deposition: September 24, 2019. (disease:
      idiopathic pulmonary fibrosis; alleged exposure: occupational exposure to asbestos)

      George Crudge and Shara Crudge v. American International Industries, et al. Superior Court of the
      State of California for the County of Los Angeles. Case No. BC685901. Deposition: May 30, 2019.
      (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

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                                           LITIGATION TESTIMONY


      Candace Carmichael v. Soco West, Inc., sued individually and as successor-in-interest to, parent, alter
      ego and equitable trustee of Western Chemical & Manufacturing Co. and A.J. Lynch & Co., et al.
      Superior Court of the State of California for the County of Los Angeles. Case No. BC711670.
      Deposition: May 24, 2019. (disease: peritoneal mesothelioma; alleged exposure: asbestos from
      father’s work clothing)

      Larry Boynton, individually and on behalf of the heirs of Barbara Boynton, v. Kennecott Utah Copper
      LLC, et al. Third Judicial District Court in and for Salt Lake County, State of Utah. Case No.
      160902693. Deposition: May 21, 2019. (disease: pleural mesothelioma; alleged exposure: asbestos
      from husband’s work clothing)

      Jody E. Ratcliff v. Brenntag, Inc. and Whittaker, Clark & Daniels, Inc. United States District Court for
      the Middle District of North Carolina. Case No. 1-17-CV-00174. Deposition: May 6, 2019. (disease:
      peritoneal mesothelioma; alleged exposure: contaminated cosmetic talc)

      Ervan Groves and Jo Ann Groves vs. D.W. Nicholson, et al. Superior Court of the State of California
      for the County of Los Angeles. Case No. BC696433. Deposition: January 29, 2019. Trial: April 10,
      2019. (disease: pleural mesothelioma; alleged exposure: occupational exposure to asbestos from
      contracting work)

      Patricia Schmitz vs. Whittaker, Clark & Daniels, Inc., et al. Superior Court of the State of California for
      the County of Alameda. Case No. RG18923615. Deposition: April 1, 2019. (disease: pleural
      mesothelioma; alleged exposure: contaminated cosmetic talc)

      Daniel W. Strajna vs. SoCo West, Inc., et al. Superior Court of the State of California for the County of
      Alameda. Case No. RG18898464. Deposition: March 15, 2019. (disease: pleural mesothelioma;
      alleged exposure: occupational exposure to asbestos from emberizing fireplace materials)

      Ann Ripley and Philip Ripley vs. Chanel, Inc., and Whittaker, Clark & Daniels, et al. Superior Court of
      New Jersey Law Division-Middlesex County. Docket No. MID-L-00562-18AS. Deposition: February 27,
      2019. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Mark Rininger, Executor for the Estates of Joanne Rininger and Dean Rininger vs. Chanel, Inc., et al.
      In the Court of Common Please, Summit County, Ohio. Case No. 2014 11 5256. Deposition: January
      28, 2019. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

      Carolyn Walquist and Howard Walquist vs. Deere & Company, et al. Circuit Court, Twentieth Judicial
      Circuit, St. Clair County, Illinois. Case No. 17-L-81. Deposition: January 23, 2019. (disease: pleural
      mesothelioma; alleged exposure: asbestos from husband’s work clothing)

      James Forgie, Jr., Individually and as Personal Representative of the Estate of Patricia Forgie,
      decedent, and Anna Forgie, and Julia Forgie vs. Bristol Myers Squibb Company, Revlon, Inc. et al.
      Superior Court of the State of California for the County of Santa Barbara. Case No. 17CV01032.
      Deposition: January 11, 2019. (disease: peritoneal mesothelioma; alleged exposure: contaminated
      cosmetic talc)




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                                          LITIGATION TESTIMONY

      William Shampanore, Jr. and Mary Shampanore v. Harris Corporation, et al. Superior Court of the
      State of California for the County of Los Angeles. Case No. BC 630446. JCCP Case No. 4674.
      Deposition: November 15, 2018. (disease: pleural mesothelioma; alleged exposure: asbestos from
      typesetting equipment)

      Anna Marie Tucker v. Chanel, Inc., et al. In the Circuit Court of the State of Oregon for the County of
      Multnomah. Case No. 17CV13605. Trial: September 11-12, 2018. (disease: pleural mesothelioma;
      alleged exposure: contaminated cosmetic talc)

      Carla Allen v. Bristol-Myers Squibb Company, Revlon, Inc., Yves Saint Laurent America, Inc., et al.
      Superior Court of the State of California, for the County of Humboldt. Case No. DR180132.
      Deposition: September 7, 2018. (disease: pleural mesothelioma; alleged exposure: contaminated
      cosmetic talc)

      Carolyn Weirick and Elvira Graciela Escudero Lora v. Chanel, Inc., et al. Superior Court for the State
      of California for the County of Los Angeles. Case No. BC 656425. JCCP No. 4674. Deposition: May 14,
      2018. (disease: pleural mesothelioma; alleged exposure: contaminated cosmetic talc)

   Chemicals

      Gary Melloway v. The Savogran Company, W.M. Barr & Company, Inc., et al. Superior Court of the
      State of California for the County of Alameda. Case No. RG19045434. Deposition: August 19, 2021.
      (disease: acute myeloid leukemia; alleged exposure: benzene)

      Oral comments before the Illinois State Senate Executive Committee on November 13, 2019
      regarding House Bill 3888 (Environmental Protection Act – Ethylene Oxide Phase Out).
      Representation: Vantage Specialty Chemicals, Inc. and Illinois Manufacturers Association. (diseases:
      breast cancer and lymphatic cancers; exposure: ethylene oxide)

      In the Matter of the Complaint of Maersk Tankers as, as Owner and Operator of
      the MIT Carla Maersk for Exoneration from or Limitation of Liability (Regarding CONTI
      168. Sehifffahrts-GMBH & Co. Bulker KG MS “CONTI PERIDOT,” Bremer
      Bereederungsgesellschaft MBH & Co. KG). United States District Court for the Southern District of
      Texas, Galveston Division. C.A. No. 3:15-CV-00106 (Admiralty). Deposition: June 11, 2019. (disease:
      various acute and chronic effects; exposure: methyl tert-butyl ether)

      Clayton Leo Thompson v. Kinder Morgan Altamont, LLC, et al. United States District Court, District of
      Utah, Central Division. Case No. 2:15-cv-00623-JNP-BCW. Evidentiary Hearing: September 27, 2018.
      (disease: chronic myeloid leukemia; exposure: benzene)

   Wind Turbines

      In the Matter of the Application of FIRELANDS WIND, LLC for a Certificate of Environmental
      Compatibility and Public Need for a Wind-Powered Electric Generating Facility in Huron and Erie
      Counties, Ohio. Before the Ohio Power Siting Board. Case No. 18-1607-EL-BGN. Written Testimony:
      September 11, 2020. Hearing: October 9, 2020. (disease: various health complaints; alleged
      exposure: wind turbine noise emissions)



                                                       6

                                                JA1230
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                                             LITIGATION TESTIMONY

       In the Matter of the Application of REPUBLIC WIND, LLC for a Certificate of Environmental
       Compatibility and Public Need for a Wind-Powered Electric Generating Facility in Seneca and
       Sandusky Counties, Ohio. Before the Ohio Power Siting Board. Case No. 17-2295-EL-BGN. Written
       Testimony: October 21, 2019. Hearing: November 5, 2019. (disease: various health complaints;
       alleged exposure: wind turbine noise emissions)

   Other:

       In re: Guadalupe Olivera. Before the Board of Industrial Insurance Appeals, State of Washington.
       Claim No. SG21191. Docket No. 21 13955. Deposition: April 8, 2022. (disease: COVID-19; employer:
       Tyson Foods)

       Regional Municipality of Halton, et al. (Applicants) and Canadian National Railway Company and
       Ministry of the Attorney General (Ontario) (Respondents). Ontario Superior Court of Justice. Court
       File No. CV-18-592382. Cross-examination: April 4, 2022. (health outcome: sleep disturbance;
       exposure: intermodal terminal night-time noise)

       John J. “Gus” Hoefling and Margaret Hoefling v. U.S. Smokeless Tobacco Company and Pinkerton
       Tobacco Company. United States District Court for the Eastern District of Pennsylvania. Civil Action
       No. 2:19-cv-03847-JD. Deposition: March 29, 2021. (disease: tonsillar cancer; alleged exposure:
       smokeless tobacco)

       Scott D. McClurg, et al. v. Cotter Corporation and Mallinckrodt LLC. United States District Court,
       Eastern District of Missouri, Eastern Division. Lead Case No. 4:12CV00361 AGF. Deposition: August
       12, 2020. (disease: various cancers; alleged exposure: environmental exposure to radionuclides in
       Coldwater Creek area)

       Don Strong, et al. v. Republic Services, Inc., Bridgeton Landfill, LLC, et al. Circuit Court of St. Louis
       County, State of Missouri. Case No. 17SL-CC01632-01. Deposition: December 9, 2019. (disease:
       various cancers; alleged exposure: radiation leakage from landfill)

       Roger Shinnerl v. Ascension Health, Inc., et al. Circuit Court of the County of Vanderburgh in the
       State of Indiana. Cause No. 82C01-1702-CT-000865. Deposition: July 18, 2019. (disease: thyroid
       cancer; alleged exposure: radiation from medical equipment)


   Last updated: April 25, 2022




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                                                   JA1231
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   Expert Report of Kenneth A. Mundt, PhD, FACE
   Gref vs WCD, AII, and Shulton



                     Attachment C – Cardno Chemrisk Rate Sheet




                                             JA1232
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  f" r---.. Cardno
  '-' /           ChemRisk
2021 Rate Sheet Ͳ DƵŶĚƚ

                                  itle                                                Hourly Rate
Senior Managing Principal                                                      $       575 - 600
Managing Principal                                                             $       500 - 565
Senior Principal                                                               $       450 - 500
Principal                                                                      $       400 - 450
Principal Science Advisor                                                      $       375 - 400
Senior Managing                                                                $          350
6HQLRU &RQVXOWDQW                                                              $          
Managing                                                                       $          280
Senior Supervising                                                             $          270
Supervising                                                                    $          255
Senior                                                                         $          245
Health Scientist I - II                                                        $       215 - 225
Senior Associate I - II                                                        $       175 - 190
Associate I - II                                                               $       150 - 165
Assistant I - II                                                               $       130 - 145
Research Associate I - II                                                      $       100 - 120
Administrative                                                                           75

 Other Direct Costs

                                                                               $         8/hour
Direct Project Expense*
                                                                                          20%
Subcontractor Markup
Expense Markup                                                                           20%




 'U 0XQGW V UDWH LV  SHU KRXU

* Expenses associated with the allocation of internal administrative costs
such as telephone, fax, copy jobs less than 100 pages, postage,
administrative support, etc. that are too small to track and allocate individually.

  ote Outstanding balances over          days are subject to        APR.




                                                     JA1233
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                              Exhibit




                                   JA1234
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  Moline et al.                                                                                                                        Journal of Occupational
  Journal of Occupational Medicine and Toxicology               (2023) 18:1
  https://doi.org/10.1186/s12995-023-00367-S                                                                                           Medicine and Toxicology


    RESEARCH                                                                                                                                                Open Access

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  Exposure to cosmetic talc and mesothelioma                                                                                                                                   Check for
                                                                                                                                                                               \,pdates



  Jacqueline Moline 1.2·, Kesha Patel 1 and Arthur L. Frank3



    Abstract
    Aim Mesothelioma is associated with asbestos exposure. In this case series, we present 166 cases of individuals who
    had substantial asbestos exposure to cosmetic talc products as well as some who had potential or documented addi-
    tional exposures to other asbestos-containing products and who subsequently developed mesothelioma.
    Methods Data were gathered for all subjects referred to an occupational and environmental medicine specialist as
    part of medicolegal review. Years of total cosmetic talcum powder usage was noted as well as the latency from the
    onset of talcum powder use to the mesothelioma diagnosis. Alternate asbestos exposure in addition to the exposure
    from cosmetic talc was categorized as none, possible, likely, and definite.
    Results In 122 cases, the only known exposure to asbestos was from cosmetic talc. For 44 cases, potential or docu-
    mented alternate exposures in addition to the cosmetic talc were described.
    Conclusion Cumulative exposure to asbestos leads to mesothelioma; for individuals with mixed exposures to asbes-
    tos, all exposures should be considered. Use of cosmetic talc is often overlooked as a source of asbestos exposure. All
    individuals with mesothelioma should have a comprehensive history of asbestos exposure, including cosmetic talc
    exposure.
    Keywords Malignant mesothelioma, Cumulative asbestos exposure, Cosmetic talcum powder


  Introduction                                                                               as "take-home" exposure has been well described in the
  Mesothelioma, described as a sentinel tumor, is inti-                                      literature [2- 5]. An underappreciated source of exposure
  mately associated with asbestos exposure. Asbestos has                                     is the use of cosmetic talc products. The International
  been used for decades in thousands of products, both in                                    Agency for Research on Cancer (IARC) [6] states that
  occupational and non-occupational settings, historically                                   asbestos contaminated talc is carcinogenic and should be
  accounting for the bulk of mesothelioma cases. Non-                                        treated as if one were dealing with asbestos. Asbestos lev-
  occupational exposures can be environmental in nature,                                     els in talcum powder are significantly above background
  from effluents from mines and factories, from para-                                        ambient asbestos exposure levels [7- 9]. Talc applica-
  occupational exposures such as "shade-tree mechanics"                                      tion simulation studies have been published [7, 8] where
  using friction products, and from home renovations [l ].                                   exposures to talcum powder were 1.9 flee and 257 flee,
  Household exposures affecting family members, known                                        respectively. According to the Gramond et al. [10] cate-
                                                                                             gorization of intensity, asbestos exposure at these levels
  "Correspondence:
                                                                                             would be considered to be high(> 1- 10 f/ml).
  ./acquellne Moline                                                                            Historically, asbestos exposures at work have been
  Jmollne@northwell.edu                                                                      linked to multiple products. The overall risk for asbes-
   1
     Department of Occupational Medicine, Epldemlology and Prevention,
  Northwell Health, Great Neck, NY 11021, USA
                                                                                             tos related disease, including mesothelioma, is related
  2 Donald and Barbara Zucker School of Medicine at Hofstra/Northwell,                       to cumulative exposure. As agencies such as NIOSH,
  Hempstead, NY 11549, USA                                                                   OSHA, the EPA, and others have recognized, there
  3 Dornslfe School of Public Health of Drexel UnlVerslty, Phlladelphla, PA

   19104,USA
                                                                                             is no known safe exposure to asbestos. Low doses of
                                                                                             exposure to asbestos contribute to mesothelioma [11].

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                                                                              JA1235
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  Moline et al. Journal of Occupational Medicine and Toxicology   (2023) 18:1                                                Page 2 of 13




  Both time from first exposure (latency) and total expo-                   cleaning clothes), do-it-yourself home repair, domestic
  sure (cumulative dose) to asbestos must be taken into                     (handling asbestos material or living in the presence
  account when evaluating risk. With multiple repeated                      of asbestos material susceptible to damage at home),
  incidences of exposure, all those above background level                  or environmental (living near and asbestos processing
  should be thought of as “’substantial.” When considering                  plant). This study was conducted with approval from
  the elevated risk of mesothelioma in sheet metal work-                    the Human Research Protection Program at North-
  ers [12, 13], Zoloth and Michaels considered the multi-                   well Health Feinstein Institute for Medical Research
  ple bystander exposures to different products, not simply                 (#21–0897-OTH).
  one construction material. This case series presents 166
  cases of individuals who had a minimum of five years and
  a mean of 40.8 years of exposure to asbestos through cos-                 Results
  metic talc products, some with possible other exposures,                  We identified 166 individuals with exposure to cosmetic
  but all developed mesothelioma.                                           talc who were diagnosed with a malignant mesothelioma
                                                                            between 2014 and 2021. None of these individuals were
  Methods                                                                   previously included in publications by the authors [14]. A
  Data were gathered for all subjects referred to an occu-                  summary of the case findings is found in Table 1. Overall,
  pational and environmental medicine specialist, JM,                       the average age of diagnosis was 63.3 (age range 26–94)
  as part of medicolegal review. All cases were reviewed                    years of age. The majority of cases were epithelioid meso-
  personally by an occupational medicine specialist with                    thelioma (75.3%). The average length of exposure to cos-
  experience evaluating asbestos exposure in thousands                      metic talc was 40.8 years (range 5–76 years of use), and
  of individuals. The individual’s medical records were                     the average latency period from the onset of talcum pow-
  reviewed and mesothelioma diagnoses were based on                         der use to the development of mesothelioma was 52.4
  pathological reports that were performed as part of                       (20—83 years). We identified 122 individuals with asbes-
  their diagnostic evaluation. Exposure data was obtained                   tos exposure solely through use of cosmetic talc. Expo-
  by sworn testimony of the mesothelioma patients in                        sure to talcum powder could have been for personal use,
  all cases, and/or from family members who had direct                      in an occupational setting (for example, a nurse applying
  knowledge of the individual’s use of cosmetic talc and,                   talcum powder to a patient), or applying talcum powder
  if present, other sources of asbestos exposure. Use of                    to others such as children. For 122 individuals, they either
  talc was recorded as being diapered or powdered as a                      used cosmetic talc while diapering children or recalled
  child; diapering or powdering children or others; apply-                  applying talc to others (such as their children). Overall,
  ing talcum powder to oneself after bathing, or other                      80.6% of women and 52.4% of men used talcum powder
  personal applications of talc. Years of total cosmetic                    for diapering or applying talc to others. For 44 individu-
  talcum powder usage was noted as well as the latency                      als, potential alternate asbestos exposure in addition to
  from the onset of talcum powder use to the mesothe-                       cosmetic talc was reported. Table 1 presents the 44 cases
  lioma diagnosis. Age was presented within a 10 year                       with alternate exposure ranked by possible, likely, and
  window to maintain confidentiality. Data reviewed                         definite asbestos exposure. Twenty-two women (17.8%)
  included family occupational histories (parents or any-                   and fifteen men (35.7%) had likely or definite alternate
  one cohabitating with the individual), hobbies, resi-                     exposure to asbestos in addition to their talcum powder
  dence, living with or laundering clothes of an asbestos                   usage. [Details of the exposure history of all 166 individu-
  exposed worker, if indicated, home renovations that                       als with cosmetic talc exposure is presented in Table 2,
  could have exposed the individual to asbestos contain-                    including a description of the alternate exposure.] Table 1
  ing construction materials, residence close to a facility                 also shows the site of the tumor by gender. Of the 166
  with environmental contamination, or other potential                      cases, 109 were pleural, 52 were peritoneal, 4 were dis-
  asbestos exposures. In those individuals with potential                   covered in both the pleura and peritoneum and the origi-
  asbestos exposure in addition to the cosmetic talc, cat-                  nal site could not be determined. One case of pericardial
  egorization of these exposures was done by two occu-                      mesothelioma was noted out of the 166 cases, which
  pational physicians, JM and ALF. Alternate asbestos                       reflects the rarity of this site for mesothelioma. The per-
  exposure in addition to the exposure from cosmetic talc                   centages of peritoneal mesothelioma were similar for
  was categorized as none, possible, likely, and definite                   women (29.8%) and men (35.7%). The high proportion
  following the descriptions by Gramond et al. [10]. Non-                   of peritoneal mesothelioma tumors relative to pleural
  occupational exposure to asbestos was characterized                       tumors, consistent with prior case series of patients with
  as paraoccupational (living with an asbestos worker or                    malignant mesothelioma after cosmetic talc use [14, 15],
                                                                            is unusual and deserves further investigation.

                                                                  JA1236
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  Table 1 Characteristics of 166 mesothelioma cases with cosmetic talc usage
                                                                                                        Total (N = 166)         Female (n = 124)             Male (n = 42)

  Average Age (range)                                                                                   63.3 (26 – 94)          64.3 (26 – 94)               60.9 (28 – 83)
  Years of Talc Use* (range)                                                                            40.8 (5 – 76)           40.4 (6 – 76)                42.0 (5 – 74)
  Talc Latency in Years (range)                                                                         52.4 (20 – 83)          53.3 (20 – 83)               49.9 (28 – 74)
  Diapering or Applying Talc to Others**                                                                122 (73.5%)             100 (80.6%)                  22 (52.4%)
  Talc Use Only                                                                                         122 (73.5%)             97 (78.2%)                   25 (59.5%)
  Talc Use and Alternate Exposure                                                                       44 (26.5%)              27 (21.8%)                   17 (40.5%)
  Certainty of Alternate Exposure (n = 44) (26.5%)                  Possible                            7 (4.2%)                5 (4.0%)                     2 (4.8%)
                                                                    Likely                              17 (10.2%)              14 (11.3%)                   3 (7.1%)
                                                                    Definite                            20 (12.0%)              8 (6.5%)                     12 (28.6%)
  Tumor Location                                                    Pleura                              109 (65.7%)             83 (66.9%)                   26 (61.9%)
                                                                    Peritoneum                          52 (31.3%)              37 (29.8%)                   15 (35.7%)
                                                                    Both Pleura & Peritoneum            4 (2.4%)                3 (2.4%)                     1 (2.4%)
                                                                    Pericardium                         1 (0.6%)                1 (0.8%)                     0
  Tumor Subtype                                                     Biphasic                            24 (14.5%)              18 (14.5%)                   6 (14.3%)
                                                                    Epithelial                          125 (75.3%)             92 (74.2%)                   33 (78.6%)
                                                                    Sarcomatoid                         16 (9.6%)               13 (10.5%)                   3 (7.1%)
                                                                    Not specified                       1 (0.6%)                1 (0.8%)                     0
  *
   Years of Talc Use: includes years of being diapered or powdered with talc as a child; years of diapering or powdering children or others with talc; and years applying
  talcum powder to oneself after bathing or other personal use
  **
       Diapering or Applying Talc: restricted to diapering or powdering children with talc or applying talcum powder to others, including occupational use




  Discussion                                                                               [23] In some instances authors limited the characteriza-
  This paper presents 166 individuals with malignant mes-                                  tion of asbestos exposure in women to certain industries,
  othelioma and asbestos exposure through documented                                       such as shipbuilding during wartime [24], thus neglecting
  use of cosmetic talcum powder. For 122 of 166, their only                                other potential sources and decreasing the attributable
  known exposure to asbestos was their use of cosmetic tal-                                risk. Conversely, when non-occupational exposures were
  cum powder. Without the recognition of asbestos expo-                                    included for women, even with low-intensity domestic
  sure through cosmetic talcum powder, 73.5% of the cases                                  exposure considered, the attributable risk increased from
  might well have been considered “idiopathic.” Similarly,                                 40% to 64.8% [21].
  for those 26.5% of cases with additional asbestos exposure                                  Given that all types of asbestos can cause mesothe-
  along with the talc, those alternate exposures would have                                lioma [6], it is important to consider every source of
  been mistakenly considered as the sole, and sufficient,                                  exposure to asbestos in an individual. Talcum powder has
  cause of the mesothelioma. Historically, the attributable                                been contaminated with both chrysotile and amphibole
  risk of asbestos for mesothelioma in women ranged from                                   asbestos (predominately anthophyllite and tremolite) [8,
  around 20–50%. However as Baur et al. point out, mis-                                    25, 26]. Recently, Wong et al. (2021) found significantly
  classification or inadequate exposure ascertainment has                                  elevated risks of mesothelioma among individuals with
  led to this low attributable risk for women compared to                                  only chrysotile exposure and for mixed fiber exposure.
  men. [16]. Data from occupationally exposed cohorts that                                 [27]. Chrysotile alone (OR = 3.8) and in combination
  included men and women actually show that compared                                       with tremolite/anthophyllite asbestos (OR = 3.9) were
  to similarly exposed men, women had higher mortality                                     associated with similar increases in risk of mesothelioma.
  rates from mesothelioma [17–20]. Lacourt found that                                      These three fiber types are most commonly found in cos-
  at low-level cumulative asbestos exposure ((0 – 0.1 f-cc/                                metic talc, and given that different ore sources were used
  year) women were more likely to develop mesothelioma                                     in manufacturing over time, it is likely that many formu-
  than men [21]. Magnani (2008) found the SMR for mes-                                     lations and uses of talcum powder involved mixed fiber
  othelioma was higher for women than for men among                                        type exposure. There is no scientific basis to state that
  workers at an asbestos cement plant [22]. Frank et al.                                   one type of exposure was the sole cause of the mesothe-
  (2009) found mesothelioma rates in the Qingdao region                                    lioma in a mixed exposure scenario. For example, rates of
  of China were correlated with a higher proportion of                                     mesothelioma have been evaluated based on either job
  women employed in asbestos manufacturing industries.                                     type or locale (e.g., construction, shipping) rather than

                                                                             JA1237
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  Table 2 Description of 166 mesothelioma cases
  Age at           Sex Tumor              Tumor            Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Pleura           Epithelial       Cosmetics          41    36         Yes             None
                                                           factory
  31–40            F     Peritoneal       Biphasic         Marketing          39    12         No              None
  91–100           F     Pleura           Epithelial       Clerical worker    69    57         Yes             Definite       Smoked Kent
                                                                                                                              cigarettes in
                                                                                                                              1950s
  51–60            M     Pleura           Biphasic         Warehouse          54    22         No              Definite       Home renova-
                                                           supervisor                                                         tions as child
  21–30            M     Peritoneal       Epithelial       Aircraft techni-   28    5          No              None
                                                           cian
  41–50            F     Pleura           Biphasic         Marketing          47    47         Yes             Definite       Automotive fric-
                                                                                                                              tion exposure
  41–50            F     Peritoneal       Epithelial       Operator           37    36         Yes             Likely         Parents worked
                                                           technician                                                         in chemical
                                                                                                                              plant/with
                                                                                                                              automotive
                                                                                                                              friction materials;
                                                                                                                              no work clothes
                                                                                                                              laundered at
                                                                                                                              home
  61–70            F     Peritoneal,      Epithelial       Hairdresser        65    57         Yes             Definite       Household expo-
                         pleura                                                                                               sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  41–50            F     Pleura           Epithelial       Industrial         45    10         Yes             None
                                                           engineer
  71–80            M     Pleura           Biphasic         Firefighter,       59    59         No              Definite       Occupational
                                                           painter                                                            exposures to
                                                                                                                              industrial talc,
                                                                                                                              firefighting
  51–60            F     Peritoneal       Epithelial       Dental assis-      58    57         Yes             Definite       Automotive
                                                           tant, secretary,                                                   friction product
                                                           logging busi-                                                      exposure
                                                           ness
  51–60            F     Peritoneal,      Epithelial       Nurse              50    20         Yes             None
                         pleura
  71–80            F     Pleura           Epithelial       Secretary          60    61         No              None
  61–70            M     Peritoneal       Epithelial       Software           53    53         No              Likely         Construc-
                                                           engineer                                                           tion work as
                                                                                                                              teenager;
                                                                                                                              family member
                                                                                                                              machinist
  61–70            F     Pleura           Epithelial       Secretary          61    20         Yes             None
  61–70            M     Pleura           Epithelial       Law professor      46    45         No              None
  21–30            F     Peritoneal       Biphasic         Customer ser-      26    12         No              None
                                                           vice manager
  51–60            F     Pleura           Epithelial       Dental assis-      50    17         Yes             Likely         Dental tape used
                                                           tant, sales                                                        in office
  21–30            F     Pleura           Epithelial       Programmer         29    17         Yes             None
  51–60            F     Pleura           Epithelial       Clerical worker    54    48         No              None
  71–80            F     Pleura           Biphasic         Dental             64    34         Yes             Possible       Possible house-
                                                           assistant,                                                         hold exposure
                                                           receptionist                                                       from parental
                                                                                                                              occupations
  61–70            F     Pleura           Epithelial       Systems            62    61         Yes             None
                                                           analyst


                                                                   JA1238
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Peritoneal       Epithelial       Clerical worker    59    31         Yes             Likely         Asbestos shingle
                                                                                                                              exposure as child
  71–80            F     Peritoneal       Epithelial       Teacher’s aide,    46    46         No              None
                                                           customer
                                                           service
  51–60            M     Pleura           Epithelial       Baked goods        55    49         Yes             None
                                                           manufacturer
  61–70            F     Pleura           Epithelial       Housekeeping, 51         23         No              None
                                                           packaging
  41–50            M     Peritoneal       Epithelial       Lawyer             46    23         Yes             None
  51–60            M     Pleura           Sarcomatoid      IT                 30    30         Yes             None
  61–70            F     Peritoneal       Epithelial       Bookkeeper         62    15         Yes             None
  71–80            M     Pleura           Epithelial       Engineer           71    20         No              Definite       Home renova-
                                                                                                                              tions, automotive
                                                                                                                              friction products,
                                                                                                                              cement in molds
  41–50            F     Pleura           Epithelial       Restaurant         46    12         No              None
  81–90            F     Pleura           Epithelial       Not provided       62    62         Yes             Likely         Household expo-
                                                                                                                              sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  81–90            F     Pleura           Epithelial       LPN                67    18         Yes             Likely         Household expo-
                                                                                                                              sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  31–40            F     Peritoneal       Epithelial       Nanny, teacher 26        7          Yes             Definite       Home renova-
                                                                                                                              tions
  61–70            M     Peritoneal       Epithelial       Packaging,      48       48         Yes             Definite       Cut transite and
                                                           machine                                                            cement pipes;
                                                           operator, weld-                                                    automotive
                                                           ing                                                                friction exposure
                                                                                                                              (“shade tree”)
  71–80            F     Peritoneal       Biphasic         Clerical worker    61    39         Yes             None
  51–60            F     Peritoneal       Epithelial       Lawyer             54    18         No              None
  41–50            F     Pleura           Sarcomatoid      Research           44    45         Yes             None
  51–60            F     Peritoneal       Epithelial       Variety of jobs    50    48         Yes             Definite       Home renova-
                                                                                                                              tion
  41–50            M     Peritoneal       Epithelial       Farrier,           41    35         Yes             Definite       Occupational
                                                           mechanic,                                                          exposure
                                                           general labor
  81–90            M     Pleura           Epithelial       Barber             50    36         Yes             Likely         Boiler work in rail
                                                                                                                              yards
  71–80            M     Pleura           Biphasic         Bus driver, fac-   47    47         Yes             None
                                                           tory worker
  51–60            F     Peritoneal       Epithelial       Physician          20    12         Yes             None
  61–70            F     Pleura           Epithelial       Cashier, sales,  53      53         No              None
                                                           clerical worker,
                                                           wire assembler
  51–60            F     Peritoneal       Epithelial       Laborer            41    50         Yes             Likely         Home renova-
                                                                                                                              tions, family
                                                                                                                              member worked
                                                                                                                              with clay



                                                                    JA1239
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  Table 2 (continued)
  Age at           Sex Tumor               Tumor           Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location            Subtype                       Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  61–70            M     Pleura            Epithelial      Accountant         69    69         Yes             Definite       Home renova-
                                                                                                                              tions during
                                                                                                                              1970s
  81–90            F     Pleura            Biphasic        Bookkeeping,       83    32         Yes             None
                                                           rehab coun-
                                                           seling
  71–80            F     Pleura            Sarcomatoid     Office manager 75        75         Yes             None
  61–70            F     Pleura            Epithelial      Merchandising 31         18         Yes             None
                                                           manager
  41–50            F     Pleura, perito-   Epithelial      Teacher            46    22         Yes             None
                         neal
  51–60            M     Pleura            Epithelial      Automechanic, 31         44         Yes             Definite       Occupational
                                                           pipefitter                                                         and take home
                                                                                                                              exposure (ship-
                                                                                                                              yard)
  51–60            F     Peritoneal        Epithelial      Clerical worker    40    38         Yes             None
  41–50            F     Pericardium       Sarcomatoid     Medical center     50    31         Yes             None
  71–80            M     Pleura            Epithelial      Mechanic,          61    50         No              Definite       Occupational
                                                           parts manager                                                      naval exposure
                                                                                                                              to asbestos,
                                                                                                                              automotive
                                                                                                                              friction material
                                                                                                                              handling
  71–80            F     Pleura            Epithelial      Secretary,         50    25         No              Definite       Household expo-
                                                           cosmetics,                                                         sures laundering
                                                           cashier                                                            clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  61–70            F     Pleura            Sarcomatoid     Catering           45    40         Yes             None
  61–70            F     Pleura            Epithelial      Cleaner, per-      52    50         Yes             None
                                                           sonal assistant
  51–60            M     Pleura            Epithelial      Meat inspector 41        26         No              None
  71–80            F     Pleura            Epithelial      Office manager 65        55         Yes             Possible       Household
                                                                                                                              exposure from
                                                                                                                              husband (drilling
                                                                                                                              wells, pipes)
  71–80            F     Pleura            Epithelial      Clerical worker    60    59         Yes             Possible       Family member
                                                                                                                              worked at ser-
                                                                                                                              vice station (no
                                                                                                                              details on work)
  71–80            M     Pleura            Sarcomatoid     Accountant         47    39         Yes             None
  61–70            F     Pleura            Epithelial      Sales, business    60    16         No              None
  81–90            M     Peritoneal        Epithelial      Accountant         68    56         No              None
  51–60            F     Pleura            Epithelial      Social worker      40    6          No              None
  71–80            F     Pleura            Epithelial      Hairdresser        60    49         Yes             None
  41–50            M     Pleura, perito-   Epithelial      Warehouse          47    8          No              Definite       Automotive filler
                         neal                              worker                                                             exposure
  51–60            F     Pleura            Epithelial      Retail, banktel-   56    56         Yes             None
                                                           ler, work at
                                                           school
  61–70            F     Pleura            Biphasic        Bakery             64    49         Yes             None
  71–80            F     Pleura            Epithelial      Hospitality        61    58         Yes             None
  51–60            F     Pleura            Epithelial      Cashier            57    56         Yes             None
  81–90            F     Peritoneal        Epithelial      Teacher            40    50         Yes             Possible       Abatement done
                                                                                                                              at work


                                                                    JA1240
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc         Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency      of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)     ­Use*      to ­Others**    Exposure       Exposure

  81–90            F     Pleura           Epithelial       Physical ther-      64    62         Yes             None
                                                           apy assistant
  31–40            M     Peritoneal       Epithelial       IT                  35    25         No              None
  51–60            F     Pleura           Epithelial       Housekeeper         42    34         Yes             None
  81–90            F     Pleura           Epithelial       Teacher             54    50         Yes             Likely         Home renova-
                                                                                                                               tions
  61–70            M     Pleura           Epithelial       Accounting          63    63         Yes             None
  71–80            M     Pleura           Epithelial       Tractor driver,     62    60         No              Likely         Oil drilling
                                                           race track
  71–80            F     Pleura           Epithelial       Research            62    42         Yes             None
  51–60            F     Peritoneal       Epithelial       Agriculture         53    53         Yes             None
                                                           consultant
  31–40            F     Peritoneal       Epithelial       Clerical worker     39    27         Yes             None
  41–50            F     Pleura           Biphasic         Clerical worker     49    49         No              Likely         Ceramics use
  71–80            M     Pleura           Epithelial       Communica-          47    49         Yes             None
                                                           tions system/
                                                           office
  81–90            F     Pleura           Not specified    Nurse               76    70         Yes             Likely         Family member
                                                                                                                               worked in
                                                                                                                               shipyard
  71–80            F     Peritoneal       Epithelial       Meat wrapper        56    47         Yes             None
  71–80            M     Pleura           Biphasic         Advertising         62    62         Yes             None
  71–80            F     Peritoneal       Epithelial       Teacher, hospi- 70        70         Yes             None
                                                           tal administra-
                                                           tion
  41–50            M     Peritoneal       Epithelial       Chef                37    36         No              None
  51–60            F     Peritoneal       Epithelial       Case manager        53    52         Yes             None
  41–50            F     Peritoneal       Epithelial       Finance and         42    34         No              None
                                                           marketing
  51–60            M     Pleura           Epithelial       Painter, carpet     38    38         Yes             Definite       Automotive fric-
                                                           installer                                                           tion product use
  81–90            F     Pleura           Epithelial       Secretary           63    45         Yes             None
  71–80            F     Pleura           Epithelial       Nursing             69    40         Yes             None
  51–60            F     Peritoneal       Epithelial       Nurse               46    22         Yes             None
  41–50            M     Peritoneal       Epithelial       Industrial          48    53         Yes             None
                                                           engineer
  71–80            F     Peritoneal       Epithelial       Librarian           55    44         Yes             None
  51–60            F     Pleura           Biphasic         Clerical worker, 53       15         No              None
                                                           hostess
  71–80            F     Pleura           Epithelial       Secretary           67    55         Yes             None
  71–80            F     Pleura           Epithelial       Clerical worker     64    20         Yes             None
  71–80            F     Peritoneal       Sarcomatoid      Secretary,          47    47         Yes             None
                                                           medical billing
  81–90            F     Pleura           Epithelial       Communica-          69    69         Yes             None
                                                           tions and real
                                                           estate
  41–50            F     Peritoneal       Epithelial       Home health         42    24         Yes             None
  51–60            F     Pleura           Biphasic         Clerical worker, 53       15         Yes             None
                                                           hostess
  71–80            F     Pleura           Biphasic         Therapy aid         67    67         Yes             None
  61–70            M     Pleura           Biphasic         Restaurant,     50        47         Yes             None
                                                           lead technician
  61–70            F     Pleura           Sarcomatoid      Teacher             51    43         Yes             None


                                                                   JA1241
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc       Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency    of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)   ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Pleura           Epithelial       Sales             44    16         Yes             None
  41–50            F     Pleura           Epithelial       Chicken farm-     48    48         Yes             None
                                                           ing, medical
                                                           assistant
  41–50            M     Peritoneal       Epithelial       Physician         40    17         No              None
  71–80            F     Pleura           Epithelial       Secretary         69    64         No              None
  61–70            F     Pleura           Epithelial       Assembly line     51    52         Yes             None
                                                           worker
  61–70            F     Pleura           Epithelial       X-ray techni-     40    40         Yes             None
                                                           cian
  51–60            F     Pleura           Biphasic         Factory worker, 33      14         Yes             None
                                                           housekeeper
  51–60            F     Pleura           Epithelial       Clerical worker   38    29         Yes             None
  61–70            F     Pleura           Epithelial       Clerical worker   54    27         Yes             None
  81–90            F     Pleura           Epithelial       Variety of jobs   76    76         Yes             None
  71–80            F     Peritoneal       Epithelial       Receptionist,    45     35         Yes             None
                                                           dental assistant
  71–80            F     Pleura           Epithelial       Midwife           55    47         Yes             None
  81–90            F     Pleura           Epithelial       Seamstress        63    56         Yes             None
  71–80            F     Peritoneal       Epithelial       Accounting        65    65         Yes             None
  61–70            F     Pleura           Epithelial       Nurse             57    57         Yes             None
  71–80            M     Peritoneal       Epithelial       Sales, truck      45    32         No              Definite       Automotive
                                                           driver                                                            friction products
                                                                                                                             use
  51–60            M     Pleura           Epithelial       Lawyer            48    48         Yes             None
  51–60            F     Pleura           Sarcomatoid      Customer          56    27         Yes             None
                                                           service
  81–90            F     Pleura           Sarcomatoid      Teacher           53    47         Yes             None
  71–80            F     Peritoneal       Epithelial       Not provided      67    48         No              Definite       Smoked Kent
                                                                                                                             cigarettes in
                                                                                                                             1950s
  31–40            F     Peritoneal       Biphasic         Banking           39    19         Yes             None
  71–80            M     Pleura           Epithelial       Logger, run       74    74         Yes             Possible       Automotive
                                                           loader                                                            friction product
                                                                                                                             use and home
                                                                                                                             renovations
  71–80            F     Peritoneal       Epithelial       Hairdresser       50    50         Yes             Likely         Hairdryers pre-
                                                                                                                             sent in salon
  31–40            F     Pleura           Sarcomatoid      Certified Nurs-   39    24         Yes             None
                                                           ing Assistant
                                                           and phleboto-
                                                           mist
  71–80            F     Pleura           Epithelial       Seamstress        62    52         Yes             None
  31–40            F     Peritoneal       Epithelial       Variety of jobs   27    20         Yes             None
  61–70            F     Pleura           Epithelial       Laborer           51    51         Yes             None
  41–50            M     Peritoneal       Biphasic         Casino worker     47    47         Yes             None
  81–90            F     Pleura           Epithelial       Nurse             67    18         Yes             None
  71–80            M     Pleura           Epithelial       Accountant,       70    30         Yes             Possible       Home renova-
                                                           comptroller                                                       tions
  61–70            F     Pleura           Sarcomatoid      Clerical worker   60    27         No              None
  61–70            F     Pleura           Biphasic         Secretary,        52    52         Yes             Likely         Home renova-
                                                           cleaner                                                           tions in 1970s



                                                                   JA1242
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  Table 2 (continued)
  Age at                Sex Tumor                 Tumor              Occupation(s) Talc                Years      Diapering/         Certainty of      Type of
  Diagnosis                 Location              Subtype                          Latency             of Talc    Applying Talc      Alternate         Alternate
                                                                                   (years)            ­Use*       to ­Others**       Exposure          Exposure

  61–70                 F     Pleura              Sarcomatoid        Office cleaner,    64            64          Yes                None
                                                                     food prep
  61–70                 F     Pleura              Epithelial         Insurance          58            57          Yes                None
                                                                     agent
  71–80                 F     Pleura              Epithelial         Cook, cleaner,     54            44          Yes                None
                                                                     concierge
  31–40                 M     Peritoneal          Epithelial         Lab technician     36            36          No                 None
  91–100                F     Pleura              Epithelial         Variety of jobs    60            60          No                 None
  51–60                 F     Pleura              Epithelial         Real estate        36            35          Yes                None
                                                                     broker
  41–50                 F     Pleura              Biphasic           PhD in astron-     37            37          No                 None
                                                                     omy, dance
                                                                     teacher
  71–80                 F     Pleura              Epithelial         Switchboard        64            50          No                 None
                                                                     operator, HR
  51–60                 F     Peritoneal          Epithelial         Nurse              50            46          Yes                Likely            Ceramics work
                                                                                                                                                       for 4–5 years
  41–50                 F     Peritoneal          Epithelial         Lawyer             44            20          No                 None
  71–80                 F     Pleura              Epithelial         Quality control    67            67          Yes                None
  51–60                 F     Pleura              Sarcomatoid        Counselor          55            54          No                 None
  71–80                 F     Pleura              Biphasic           Certified nurs-    62            35          Yes                Likely            Vermiculite
                                                                     ing assistant,                                                                    exposure
                                                                     ranch work
  71–80                 M     Peritoneal          Epithelial         Physician          67            67          Yes                None
  41–50                 F     Peritoneal          Epithelial         Nurse Practi-      44            34          Yes                None
                                                                     tioner
  31–40                 M     Pleura              Epithelial         Not provided       29            30          No                 None
  61–70                 F     Pleura              Epithelial         Banking            60            50          Yes                None
  51–60                 F     Peritoneal          Epithelial         Nurse              56            45          Yes                None
  71–80                 F     Pleura              Sarcomatoid        Hairdresser        61            25          Yes                None
  71–80                 M     Pleura              Sarcomatoid        Mechanic           60            48          No                 Definite          Occupational
                                                                                                                                                       exposure and
                                                                                                                                                       home renova-
                                                                                                                                                       tions
  61–70                 M     Peritoneal          Epithelial         Worked at spe- 57                50          No                 None
                                                                     cial education
                                                                     preschool
  71–80                 F     Peritoneal          Biphasic           Teacher            65            46          Yes                None
  71–80                 F     Pleura              Biphasic           Teacher            71            59          Yes                Possible          Family member
                                                                                                                                                       was Linotype
                                                                                                                                                       operator
  81–90                 F     Pleura              Epithelial         Cashier, wait-     60            58          Yes                None
                                                                     ress
  31–40                 F     Pleura              Epithelial         Administrator      28            7           No                 None
  71–80                 F     Peritoneal          Epithelial         Teacher            50            51          Yes                Likely            Household expo-
                                                                                                                                                       sure to laundry
                                                                                                                                                       (automotive fric-
                                                                                                                                                       tion materials)
  31–40                 M     Pleura              Epithelial         Homeland           33            33          No                 None
                                                                     Security
  61–70                 M     Pleura              Epithelial         Trucking com-      55            56          Yes                None
                                                                     pany
  71–80                 F     Pleura              Epithelial         Office worker      62            45          Yes                None
  *
   Years of Talc Use: includes years of being diapered or powdered with talc as a child; years of diapering or powdering children or others with talc; and years applying
  talcum powder to oneself after bathing or other personal use
  **
       Diapering or Applying Talc: restricted to diapering or powdering children with talc or applying talcum powder to others, including occupational use

                                                                             JA1243
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  on each specific task or exposure within the job category.                of these two occupational subgroups, teachers with per-
  Furthermore, mesothelioma is a disease that occurs fol-                   sonal use of cosmetic talc, and hairdressers with occu-
  lowing a long latency period. It is important to consider                 pational use of cosmetic talc, show the importance of
  whether the latency period for all exposures, whether due                 obtaining a thorough history and determining all poten-
  to asbestos in talcum powder, or through occupational or                  tial sources of asbestos exposure.
  para-occupational exposures meets the minimum latency                        This case series describes mesotheliomas in end-users
  period.                                                                   of cosmetic talcum powder, thus using no personal pro-
     Subgroups of individuals not traditionally known to be                 tective equipment or dust suppression activities, unlike
  exposed to asbestos have been identified, such as teach-                  some cohorts with occupational exposures [35]. Prior
  ers. In this case series, 12 teachers (7.2% of cases) were                mortality studies of talc miners and millers in Italy (and
  diagnosed with mesothelioma. Anderson et al. identified                   other countries) have not identified mesotheliomas in
  12 school teachers with mesothelioma in Wisconsin (6                      their populations, although two cases of peritoneal can-
  male, 6 female). [28]. Nine cases had no known exposure                   cer were identified by Pira et al. [36]. The Rubino, Cog-
  to asbestos, although several worked in school buildings                  giola and Pira et al. studies used mortality data collected
  with asbestos containing building materials (ACBM) pre-                   prior to an ICD mesothelioma code, which could impact
  sent, but the condition of the ACBR while the teachers                    proper classification of mesothelioma. [35–37]. The stud-
  were present in the school was unknown. No history of                     ies had a relatively small sample size, which given the
  talcum powder use was elicited. Marianaccio et al. iden-                  rarity of mesothelioma, even among highly exposed indi-
  tified mesotheliomas in 11 female teachers in Italy. [29].                viduals, would have led to insufficient statistical power
  Mazurek et al. evaluated mesothelioma deaths in women                     [38]. Fordyce studied Vermont talc miners and found two
  in the United States from 1999–2020 using death cer-                      mesotheliomas in the small cohort of 427 miners; Ver-
  tificate data. [30]. Mesothelioma was noted in 32 female                  mont talc has been used in cosmetic talcum powder [39].
  elementary and middle school teachers. No information                        Fiber burden studies were done in some individuals
  on exposure to asbestos or specific tasks at work or a                    from the two prior case series of mesothelioma among
  comprehensive exposure history was available; no his-                     individuals with cosmetic talcum powder use. Moline
  tory of talcum powder use was elicited, as the study was                  et al. reported on tissue fiber analysis in six of 33 individ-
  based solely on death certificates. Tomasallo et al. found                uals. Asbestos fibers, of the types found in cosmetic talc,
  increased mortality among school teachers in Wiscon-                      were found in all six samples. Emory et al. found antho-
  sin, USA. [31]. They noted that para-occupational or take                 phyllite asbestos in all 9 individuals for whom tissue fiber
  home exposure could be responsible for the increased                      analysis was done. Tremolite was found in six of the cases
  risk. Again, no history of asbestos exposure through tal-                 in addition to the anthophyllite. Hull et al. [40] looked
  cum powder usage was ascertained. It might be possible                    at New York State talc miners and found anthophyllite,
  that exposure to ACBM played some role in these meso-                     tremolite/actinolite, chrysotile and talc in their lungs.
  theliomas, however, the notable history of exposure to                    There were over a dozen cases of mesothelioma identi-
  asbestos-containing talcum powders among teachers in                      fied in these talc miners. Our case series did not include
  this case series, highlights the importance of assessing                  data on tissue sampling, which is not typically done for
  this source of exposure in future studies of mesothelioma                 clinical purposes; rather we relied on patient history. For
  in teachers and other predominantly female professions.                   occupational exposures to asbestos, fiber analysis is not
     Mazurek et al. found seven cases of mesothelioma                       required to ascertain a history of exposure, rather the
  among female hairdressers. [30]. Our series identified                    history of exposure to asbestos is sufficient [41]. This
  five hairdressers/barbers with documented occupational                    should be no different for environmental exposures, such
  exposure to asbestos containing talcum powder. Moline                     as asbestos exposure in cosmetic talcum powder, or even
  et al. found three hairdressers who used cosmetic talc as                 para-occupational exposures.
  part of their occupation, [14] and Emory et al. [15] found                   Pleural mesothelioma is more common than perito-
  4 hairdressers out of 75 patients. Pavlisko et al. identified             neal mesothelioma [42], with estimates of pleural mes-
  a hairdresser in their study of mesothelioma in women,                    othelioma occurring approximately 80–90% of the time
  but classified the case in the non-occupational/paraoc-                   compared to peritoneal mesothelioma. The presenting
  cupational exposure category. [32] McDonald attributed                    location for the tumor, either pleural or peritoneal, was
  the finding of tremolite in the lung tissue of a chrysotile               similar in all three recent case series. In Moline et al.,
  worker to his prior occupational exposure to talc as a                    11 of 33 patients had peritoneal mesothelioma and in
  barber [33]. Rodelsberger recognized talc as a source of                  Emory et al., 23 of 75 cases were peritoneal mesotheli-
  asbestos exposure and identified hairdressers and bar-                    oma. In this larger case series, the proportion of perito-
  bers as asbestos-exposed industries [34]. The examples                    neal mesotheliomas was 31.3%. The proportion of men

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  in each of the three case series was similar. In Emory                    information regarding talcum powder usage was cor-
  et al., 15% of the cases were men, compared with 18%                      roborated by sworn testimony of family members.
  of the cases in Moline et al. In the current case series,                 Typically, the questioning of individuals about alternate
  among 122 cases with talc-only exposure, 20.5% were                       exposures to asbestos as part of litigation is fairly com-
  men, slightly above the proportion in two previous case                   prehensive, but it is possible that there were additional,
  series. This might reflect growing awareness among                        unknown sources. This presents a challenge for any
  men that talcum powder use could explain their meso-                      study of asbestos exposure and, in particular, mesothe-
  thelioma, particularly when no other identifiable source                  lioma, given the long latency period from the onset of
  of asbestos was identified. Few individuals in this case                  exposure to the development of disease.
  series underwent testing for the tumor suppressor gene,
  BAP-1, which is associated with an increased risk for                     Conclusion
  mesothelioma when associated with asbestos exposure,                      For individuals with exposure to asbestos through cos-
  [43] including greater susceptibility at low doses of                     metic talc usage and additional alternate sources, all
  asbestos such as exposures from cosmetic talcum pow-                      exposures contribute to the development of mesothe-
  der use. Interestingly, there was a greater frequency of                  lioma. Published case reports and case series have identi-
  peritoneal mesothelioma cases in those with the BAP-1                     fied over 100 individuals whose sole exposure to asbestos
  mutation and asbestos exposure [44].                                      was through cosmetic talcum powder usage [14, 15, 49].
    Several authors have written about the importance                       Thus, is it critical to obtain a history of all potential expo-
  of the cumulative dose, which has been related to sev-                    sures to asbestos. In this case series, 122 cases would
  eral asbestos-caused diseases, both non-malignant and                     have had no source of asbestos identified if a history of
  non-malignant. Luberto et al. discussed the “increased                    asbestos-containing cosmetic talc had not been elicited.
  mortality risk due to asbestos exposure for malignant                     The other 44 would have likely been misclassified as
  neoplasm of pleura, peritoneum, lung and ovary, as                        having only alternate exposures. It is indisputable that
  well as asbestosis, all increasing with cumulative expo-                  asbestos causes mesothelioma, therefore, it is critical to
  sure.” [19] Henderson et al. commented on the use of                      elicit all potential sources of asbestos exposure so that we
  the cumulative exposure model in the Helsinki Criteria.                   can better understand, and prevent, future cases of this
  [45] Iwastsubo and colleagues, citing only low expo-                      deadly cancer.
  sures leading to disease noted that “excess of mesothe-
                                                                            Acknowledgements
  lioma was observed for levels of cumulative exposure.”                    Not applicable.
  [46] Ferrante and her colleagues [47] found that the
  “risk of pleural malignant mesothelioma increased with                    Authors’ contributions
                                                                            Jacqueline Moline conceived of the manuscript, and was involved in the
  cumulative asbestos exposure and also in analyses lim-                    acquisition of data, analysis and writing of the manuscript. Kesha Patel was
  ited to subjects non-occupationally exposed,” compa-                      involved in data presentation and analysis. Arthur L. Frank was involved
  rable to the current case series. Albin et al. [48] even                  in writing and evaluation of alternative exposures. The author(s) read and
                                                                            approved the final manuscript.
  noted that “colorectal cancer displayed a clear relation
  with cumulative dose,” as one would reasonably expect                     Funding
  with asbestos-related diseases.                                           No funds or external assistance were obtained by any outside source in the
                                                                            development, writing, analysis or conclusions of this manuscript.
    This case series may reflect the potential sources of
  bias that impact all studies that use cases in which liti-                Availability of data and materials
  gation is occurring. However, because mesothelioma                        The datasets generated and/or analyzed during the current study are not
                                                                            publicly available. Individuals of details of cases will not be provided to protect
  is a rare disease and full environmental histories are                    the confidentiality of the cases presented in the study. Efforts to minimized
  rarely obtained or documented, it would be impossi-                       identification, such as describing age in a range were employed.
  ble to amass so many cases with one type of exposure
  using standard sources such as hospital or cancer reg-                    Declarations
  istry records. Furthermore, most patients (and their
                                                                            Ethics approval and consent to participate
  clinicians) are unaware of the presence of asbestos                       The project received approval from the Institutional Review Board and we
  in talcum powder, leading them to report no known                         received a waiver of consent to include the participants in the study. (IRB #:
  asbestos exposure. The data related to years of expo-                     21–0897).
  sure to cosmetic talcum powder was obtained and typi-                     Consent for publication
  cally described in great detail during sworn testimony.                   Not applicable.
  For nearly one-quarter of the individuals in this series,
                                                                            Competing interests
  additional exposures to asbestos were reported along                      Authors Jacqueline Moline and Arthur L. Frank have served as expert wit-
  with the cosmetic talcum powder. When available,                          nesses in asbestos litigation, including talc litigation for plaintiffs.


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                              Exhibit 4




                                  JA1248
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                    VERITEXT
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                                  Deposition of:
                   Theresa Swain Emory , M.D.
                                October 1, 2020


                                 In the Matter of:

                    Bell, Lloyd et al v. American
                    International Industries et al




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                                                                                 Page 1

   1                    IN THE UNITED STATES DISTRICT COURT
   2              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
   3                           GREENSBORO DIVISION
   4                            -    -   -   -   -   -   -   X

   5      LLOYD BELL, Individually and
          as Executor of the Estate of
   6      BETTY WHITLEY BELL, Deceased
                            Plaintiff
   7              vs.                                            Civil Action No.
          AMERICAN INTERNATIONAL                                 l:17-cv-00111
   8      INDUSTRIES, INC., et al.
                            Defendants
   9                                             -   -   -   X

          AMERICAN INTERNATIONAL
 10       INDUSTRIES, INC.
                            Third-Party
 11                         Plaintiff
                  vs.
 12       NESLEMUR COMPANY f/k/a, THE
          NESTLE-LEMUR COMPANY
 13                         Third-Party
                            Defendant
 14                                                      -   X

 15                     VIRTUAL VIDEOTAPED DEPOSITION OF
 16                         THERESA SWAIN EMORY, M.D.
 17       DATE:             Thursday, October 1, 2020
 18       TIME:             10:21 a.m.
 19       LOCATION:         Remote Proceedings
 20       REPORTED BY: Denise M. Brunet, RPR
 21
 22

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                                             JA1250
                       Theresa Swain Emory , M.D.      October 1, 2020

                                                       Page 2

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                                                                  Page 4

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20   ALSO PRESENT:     Kaitlin Motley

21                     Jeffrey Elam, Videographer

22   (All parties appearing remotely.)




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1                       C O N T E N T S

2    EXAMINATION BY:                                   PAGE

3    Counsel for Colgate-Palmolive                        8

4    Counsel for Whittaker Clark & Daniels              195

5

6    DEPOSITION EXHIBITS:                                     MARKED

7    Exhibit 1    Notice of deposition                          7

8    Exhibit 2    Emory curriculum vitae                        7

9    Exhibit 3    Emory report                                 26

10   Exhibit 4    Prior testimony list                         38

11   Exhibit 5    PPA Invoice dated 12/19/19                   47

12   Exhibit 6    PPA Invoice dated 2/4/20                     49

13   Exhibit 7    PPA Invoice dated 6/29/20                    50

14   Exhibit 8    Surgical pathology report                    58

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16   Exhibit 10   Reliance materials                           82

17   Exhibit 11   Revised prior testimony list                110

18   Exhibit 12   Printout from FDA website                   118

19   Exhibit 13   Claim for benefits to North Carolina

20                Industrial Commission                       124

21   Exhibit 14   Longo expert report for Vinson              136

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1    BY MR. SCHROLL:

2        Q    Okay.     The data that is contained here in

3    the article would have been accessed by you,

4    Dr. Maddox and Dr. Kradin, correct?

5        A    The authors of the paper are myself,

6    Dr. Maddox and Dr. Kradin.

7        Q    Did you have any clerical staff or any

8    assistance that also had access to this data in

9    preparation of this paper?

10       A    Not that I'm aware of.

11       Q    So the only three people who would have

12   had access to the underlying data would be

13   yourself, Dr. Maddox and Dr. Kradin, correct?

14       A    As far as I know.           With regard to writing

15   of the paper, with the paper.             Obviously, you

16   know, we got the material and people must have

17   information.     But as far as writing this paper, we

18   did not have clerical assistance to write the

19   paper.

20       Q    And you served as a legal expert in some

21   number of these cases; is that correct?

22            MS. KAGAN:       Objection.         Foundation.




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1                THE WITNESS:     I've never -- I don't know

2    where you see that written in the paper.

3    BY MR. SCHROLL:

4        Q       I'm asking if you did.

5        A       It's not in the paper, so there's nothing

6    to say about that.       I'm not going to de-anonymize

7    these people.     And you can try however you want,

8    but I think that the bar -- your state bar

9    probably would have a question about trying to

10   de-anonymize human subjects that were in medical

11   research.

12               MR. SCHROLL:     Move to strike.

13   BY MR. SCHROLL:

14       Q       Doctor, I understand you're not going to

15   tell me.     I just need you to tell me that you're

16   not going to tell me for purposes of the record

17   and the questions and answers will go much faster.

18       A       I don't care how long it takes, but I'm

19   not telling you any more than what's in the paper.

20               MR. GREVE:     I need the restroom real

21   quick.

22               MR. SCHROLL:     Okay.      Let's go off the




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1    record.

2              THE VIDEOGRAPHER:          We are going off the

3    record.   The time is 3:03 p.m.

4              (Whereupon, a short recess was taken.)

5              THE VIDEOGRAPHER:          We are back on the

6    record.   The time is 3:10 p.m.

7    BY MR. SCHROLL:

8        Q     Okay.   Doctor, on page 2 of your article,

9    under methods, it says, "Exposures were identified

10   through sworn deposition testimonies and answers

11   to sworn interrogatories provided from subjects,

12   parents and spouses."

13             Did your review of these cases also

14   include expert reports from the litigation of

15   these cases?

16       A     I think that what it says here in the

17   methods is what we have reported.

18             I just want to make one thing clear.               I

19   know you're not asking me a question, but just so

20   it's clear, since you need to get it all on the

21   record, that revealing anonymized human subjects

22   would jeopardize my medical license.              And I am




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1    unwilling for someone to try to de-anonymize these

2    human subjects and put me in jeopardy.            And quite

3    frankly, if that happens, I think that -- I would

4    think that that might be a problem for whoever is

5    trying to force this.

6                You know, just like you can't reveal a

7    patient that comes to the emergency room or a rape

8    victim or whatever, when they're anonymized,

9    they're anonymized.        And these are anonymized

10   patients.     Not patients.       Human subjects.

11               But when it is a patient, or even someone

12   that comes to me from a social service issue and

13   says, I'm being beaten by my spouse, you cannot

14   reveal these things.

15               And again, that could jeopardize my

16   medical license.     And I just want that to be

17   perfectly clear, that revealing human subjects

18   that have been anonymized is a very unethical and

19   inappropriate exercise.

20               MR. SCHROLL:     Okay.      Move to strike.

21   BY MR. SCHROLL:

22       Q       At the -- page 6 of your article, at the




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1    cuminganite -- and I'm -- poor court reporter, I'm

2    sorry -- and Sanchez reported cuminganite, which

3    is also amosite, in his J&J Vermont talc.            So it's

4    the same mineral, but the trade name is amosite.

5        Q      Okay.   The next exhibit, Exhibit 16, is

6    the case series by Dr. Moline and Dr. Gordon from

7    this year.

8               (Deposition Exhibit Number 16 was marked

9    for identification.)

10              THE WITNESS:       Okay.

11   BY MR. SCHROLL:

12       Q      One moment, please.

13       A      I have it up.

14       Q      Okay.   Doctor, I think in your report,

15   you said that, with your case series and

16   Dr. Moline's case series, that that shows well

17   over 100 incidents of cosmetic talcum powder

18   causing mesothelioma in the literature; is that

19   correct?

20       A      Where are you looking?

21       Q      In your article -- I'm sorry, page 12.

22   Hold on.




                             JA1259
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1        A    I had gone to Dr. Moline's paper.             Sorry,

2    I'll go back to mine.

3        Q    Okay.   I'm sorry, page 2 of your article

4    under the "discussion" heading.

5        A    Okay.

6        Q    You note the 75 individuals in this study

7    and then you note Moline, et al., reported 33

8    cases.

9             Have you done anything to determine

10   whether any of Dr. Moline's 33 cases are the same

11   as the cases of your 75 individuals?

12       A    So again, that would be unethical to find

13   out the names or the identities of the human

14   subjects that she had and mine.             But the best that

15   could be done is to only look at the table that

16   was available and -- in an attempt to not have any

17   sort of overlapping.      So that is the best one

18   could do, standing within ethics guidelines and

19   anonymized human subjects.

20       Q    And did you do a comparison based on the

21   available data on the articles to determine

22   whether there was any overlap?




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1        A    Again, that's the only way that anyone

2    can attempt to separate those, but again, there's

3    no way -- you know, there were 75 of hers and -- I

4    mean, of ours and I think 33 for her, and it was

5    the best that could be done.

6        Q    And I understand what you're saying is

7    you can compare the tables of data on both

8    articles, and I'm asking, did you do that?

9        A    Yes.

10       Q    And did you determine whether there was

11   any overlap?

12       A    There wouldn't be overlap, to the best of

13   our ability.

14       Q    Okay.     I want you to look at case

15   number 72 of your article in your table number 1.

16       A    Okay.

17       Q    And case number 72, your article reports

18   is a male with year of diagnosis in 2016, age 44,

19   peritoneal-type, correct?

20       A    No.     Pleural.

21       Q    You are correct.           I misread that.   That's

22   why I asked, did I read that correctly?




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1               It is a 72-year-old male, year of

2    diagnosis 2016, age 44, pleural mesothelioma,

3    correct?

4        A      That's what it says.

5        Q      Okay.    And if you look at Dr. Moline's

6    article, in table number 1, that reports a male,

7    2016 year of diagnosis, age 43, pleural

8    mesothelioma, correct?

9        A      What number?

10       Q      Case number 6 in table 1 of Dr. Moline's

11   article.

12       A      Yes.    And that's a different -- the

13   person was 44 in mine.

14       Q      Okay.

15       A      Again, if you're trying to de-anonymize

16   these, I warn you that's it's a perilous thing to

17   try to do for no apparent reason except for the

18   fact that it could cause you, and me maybe, to

19   lose our licenses.

20              These are human --

21       Q      Okay.

22       A      -- subjects that are in medical research.




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1    So I think -- I'd caution you because I don't know

2    about the bar in Texas, if that's where you are,

3    but I can tell you the board of medicine in

4    Virginia is not going to tolerate my exposing and

5    de-anonymizing human subjects.

6        Q    Okay.     And in table 2 --

7             MR. SCHROLL:        Move to strike.

8    BY MR. SCHROLL:

9        Q    And in table 2 of Dr. Moline's article,

10   the bottom of page 15, it says case number 6, and

11   it finds asbestos type, anthophyllite and

12   tremolite.     Do you see where I'm referring to?

13       A    No.

14       Q    Page 15, table 2.

15       A    Not doing this, no.            I don't know what

16   you're trying to do.       If you're trying to

17   de-anonymize these patients -- I'm only going to

18   talk about my paper.       I'm not comparing my paper

19   to Dr. Moline's as we sit here today.

20       Q    Do any of the 75 cases in your case

21   article have -- had incidents of pleural plaques?

22       A    What's reported in our paper is what's




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1    reported in our paper.

2        Q    Okay.     So the answer is you will not tell

3    me that, correct?

4        A    The data that's put into the paper is the

5    data that I will discuss.           I will not discuss

6    anything else.     You're trying to de-anonymize

7    human subjects.

8        Q    Okay.     Is Betty Bell one of the 75 cases

9    in your article?

10            MS. KAGAN:       I'm going to object and

11   instruct Dr. Emory not to answer.                 If she is going

12   to de-anonymize Betty Bell, that would violate

13   Betty Bell's confidentiality.             And I'm objecting

14   on behalf of Betty Bell and not on behalf of

15   Dr. Emory.

16            MR. SCHROLL:        Okay.      That's fine.

17   BY MR. SCHROLL:

18       Q    Dr. Emory, are you going to tell me the

19   answer to that question?

20       A    I will not de-anonymize anybody.                 So I'm

21   not telling you anything about any name of anyone.

22       Q    And Dr. Moline is also an expert in this




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1    case, correct?

2        A    I think so.

3        Q    Okay.     Would you tell the brand of talcum

4    powder that any of the individuals used to

5    Dr. Moline?

6        A    I think I've made it very clear that I

7    won't tell any additional information with regard

8    to these 75 human subjects than what was published

9    in the peer-reviewed literature.

10       Q    Okay.     Hold on.       I'm trying to load the

11   next exhibit.     Okay.    Let's pull up Exhibit 17.

12            (Deposition Exhibit Number 17 was marked

13   for identification.)

14   BY MR. SCHROLL:

15       Q    Let me know when you can view it.

16            Are you able to see it, Doctor?

17       A    Yes.

18       Q    And this is an e-mail exchange that you

19   had with Dr. David Egilman, correct?

20       A    Yes.

21       Q    And he's asking you a question about case

22   number 75, correct?




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1        A     Yes.

2        Q     And you reply to him and you give

3    information about case number 75, correct?

4        A     Number 75 -- yes.

5        Q     Okay.     And you tell Dr. Egilman that she

6    used one product, Cashmere Bouquet, correct?

7        A     Yes.

8        Q     Okay.     And you would not tell me today

9    the brand of talcum powder used by any of these 75

10   individuals in your case series, correct?

11       A     That's correct.

12       Q     And why is it that you're able to tell

13   Dr. Egilman the brand of talcum powder?

14       A     Because he wasn't trying to de-anonymize

15   anyone.   He asked a question for his medical

16   research, I'm sure, but there was no attempt of

17   de-anonymizing anyone, which is what you're here

18   to do today.      So information between people with

19   regard to de-anonymization can occur, but that's

20   not something that somebody is trying to do.

21       Q     How do you know he's not trying to

22   de-anonymize anyone?




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1               CERTIFICATE OF NOTARY PUBLIC

2             I, Denise M. Brunet, the officer before

3    whom the foregoing deposition was taken, do hereby

4    certify that the witness whose testimony appears

5    in the foregoing deposition was sworn by me; that

6    the testimony of said witness was taken by me

7    stenographically and thereafter reduced to print

8    by means of computer-assisted transcription by me

9    to the best of my ability; that I am neither

10   counsel for, related to, nor employed by any of

11   the parties to this litigation and have no

12   interest, financial or otherwise, in the outcome

13   of this matter.

14

                       <%14541,Signature%>

15                                ___________________________

16                                Denise M. Brunet

17                                Notary Public in and for

18                                The District of Columbia

19

20   My Commission Expires:

21   December 14, 2022

22




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                          Theresa Swain Emory , M.D.       October 1, 2020

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1     Leah Kagan, Esquire

2     lkagan@sgptrial.com

3                               October 5, 2020

4     RE:    Bell, Lloyd Et Al v. American International

                        Industries Et Al

5           10/1/2020, Theresa Swain Emory, M.D. (#4275487)

6           The above-referenced transcript is available for

7     review.

8           Within the applicable timeframe, the witness should

9     read the testimony to verify its accuracy. If there are

10    any changes, the witness should note those with the

11    reason, on the attached Errata Sheet.

12          The witness should sign the Acknowledgment of

13    Deponent and Errata and return to the deposing attorney.

14    Copies should be sent to all counsel, and to Veritext at

15    cs-midatlantic@veritext.com

16

17     Return completed errata within 30 days from

18   receipt of testimony.

19      If the witness fails to do so within the time

20   allotted, the transcript may be used as if signed.

21

22                     Yours,

23                     Veritext Legal Solutions

24

25


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1    Bell, Lloyd Et Al v. American International Industries Et Al

2    Theresa Swain Emory, M.D. (#4275487)

3                     E R R A T A     S H E E T

4    PAGE_____ LINE_____ CHANGE________________________

5    __________________________________________________

6    REASON____________________________________________

7    PAGE_____ LINE_____ CHANGE________________________

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19   PAGE_____ LINE_____ CHANGE________________________

20   __________________________________________________

21   REASON____________________________________________

22

23   ________________________________       _______________

24   Theresa Swain Emory, M.D.                     Date

25


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                         Theresa Swain Emory , M.D.            October 1, 2020

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1    Bell, Lloyd Et Al v. American International Industries Et Al

2    Theresa Swain Emory, M.D. (#4275487)

3                   ACKNOWLEDGEMENT OF DEPONENT

4        I, Theresa Swain Emory, M.D., do hereby declare that I

5    have read the foregoing transcript, I have made any

6    corrections, additions, or changes I deemed necessary as

7    noted above to be appended hereto, and that the same is

8    a true, correct and complete transcript of the testimony

9    given by me.

10

11   ______________________________        ________________

12   Theresa Swain Emory, M.D.                  Date

13   *If notary is required

14                     SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                     ______ DAY OF ________________, 20___.

16

17

18                     __________________________

19                     NOTARY PUBLIC

20

21

22

23

24

25


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                         Exhibit 1




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Case 4:22-mc-00001-AWA-DEM Document 21-1 Filed 01/31/23 Page 2 of 9 PageID# 1424
                             Theresa Swain Emory , M.D.            October 1, 2020

                                                                     Page 1

   1                    IN THE UNITED STATES DISTRICT COURT
   2              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
   3                            GREENSBORO DIVISION
   4      - - - - - - - - - - - - - - - x
   5      LLOYD BELL, Individually and             :
          as Executor of the Estate of             :
   6      BETTY WHITLEY BELL, Deceased             :
                             Plaintiff             :
   7              vs.                              : Civil Action No.
          AMERICAN INTERNATIONAL                   : 1:17-cv-00111
   8      INDUSTRIES, INC., et al.                 :
                             Defendants            :
   9      - - - - - - - - - - - - - - - x
          AMERICAN INTERNATIONAL                   :
 10       INDUSTRIES, INC.                         :
                             Third-Party           :
 11                          Plaintiff             :
                  vs.                              :
 12       NESLEMUR COMPANY f/k/a, THE              :
          NESTLE-LEMUR COMPANY                     :
 13                          Third-Party           :
                             Defendant             :
 14       - - - - - - - - - - - - - - - x
 15                      VIRTUAL VIDEOTAPED DEPOSITION OF
 16                          THERESA SWAIN EMORY, M.D.
 17       DATE:              Thursday, October 1, 2020
 18       TIME:              10:21 a.m.
 19       LOCATION:          Remote Proceedings
 20       REPORTED BY: Denise M. Brunet, RPR
 21
 22

                                   Veritext Legal Solutions
                                202-803-8830 -- 410-494-8300
                                     JA1272
                       Theresa Swain Emory , M.D.      October 1, 2020

                                                       Page 2

1                      A P P E A R A N C E S

2

3    On behalf of Plaintiff:

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12   On behalf of Defendant Colgate-Palmolive Company:

13                   MATTHEW SCHROLL, ESQUIRE

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21

22    APPEARANCES:     (Continued on Next Page.)




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                      Theresa Swain Emory , M.D.        October 1, 2020

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1    APPEARANCES CONTINUED:

2

3    On behalf of Defendant Whittaker Clark & Daniels,

4    Inc.:

5                  TRACY E. TOMLIN, ESQUIRE

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14   On behalf of Defendant American International

15   Industries:

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22     APPEARANCES:    (Continued on Next Page.)




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                                                                  Page 4

1    APPEARANCES CONTINUED:

2

3    On behalf of Defendant Cyprus Amax Minerals Co.:

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10   On behalf of Defendant Neslemur Company f/k/a The

11   Nestle-Lemur Company:

12                   KEVIN McCAFFREY, ESQUIRE

13                   Clyde & Co US LLP

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15                   405 Lexington Avenue

16                   New York, New York                10174

17                   (212) 710-3952

18                   kevin.mccaffrey@clydeco.us

19

20   ALSO PRESENT:     Kaitlin Motley

21                     Jeffrey Elam, Videographer

22   (All parties appearing remotely.)




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1                       C O N T E N T S

2    EXAMINATION BY:                                   PAGE

3    Counsel for Colgate-Palmolive                        8

4    Counsel for Whittaker Clark & Daniels              195

5

6    DEPOSITION EXHIBITS:                                     MARKED

7    Exhibit 1    Notice of deposition                          7

8    Exhibit 2    Emory curriculum vitae                        7

9    Exhibit 3    Emory report                                 26

10   Exhibit 4    Prior testimony list                         38

11   Exhibit 5    PPA Invoice dated 12/19/19                   47

12   Exhibit 6    PPA Invoice dated 2/4/20                     49

13   Exhibit 7    PPA Invoice dated 6/29/20                    50

14   Exhibit 8    Surgical pathology report                    58

15   Exhibit 9    CT report                                    68

16   Exhibit 10   Reliance materials                           82

17   Exhibit 11   Revised prior testimony list                110

18   Exhibit 12   Printout from FDA website                   118

19   Exhibit 13   Claim for benefits to North Carolina

20                Industrial Commission                       124

21   Exhibit 14   Longo expert report for Vinson              136

22   (Exhibits continued on the next page.)




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1    DEPOSITION EXHIBITS:                                  MARKED

2    Exhibit 15   Article - Malignant mesothelioma

3                 following repeated exposures to

4                 cosmetic talc:     A case series of 75

5                 patients                                      144

6    Exhibit 16   Article - Mesothelioma associated with

7                 the use of cosmetic talc                      174

8    Exhibit 17   E-mail chain starting with e-mail from

9                 Emory to Egilman dated 3/18/20                180

10

11         (Exhibits attached to the transcript.)

12

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14

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1                   P R O C E E D I N G S

2              (Deposition Exhibit Numbers 1 and 2 were

3    premarked for identification.)

4              THE VIDEOGRAPHER:        Good morning.   We are

5    going on the record at 10:21 a.m. on October 1st,

6    2020.   Please note that audio and video recording

7    will continue to take place unless all parties

8    agree to go off the record.

9              This is the video-recorded deposition of

10   Theresa Swain Emory, M.D., taken by counsel for

11   defense in the matter of Lloyd Bell, individually

12   and as executor of the estate of Betty Whitley

13   Bell, deceased, versus American International

14   Industries, Incorporated, et al., versus Neslemur

15   Company, f/k/a the Nestle-Lemur Company,

16   third-party defendant, filed in the United States

17   [sic] Court for the Middle District of North

18   Carolina, Greensboro Division, case number

19   1:17-CV-00111-WO-JEP.

20             This is a remote proceeding virtual Zoom.

21   My name is Jeffrey Elam from the firm Veritext

22   Legal Solutions and I am the videographer.          The




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1    court reporter is Denise Brunet from the firm

2    Veritext Legal Solutions.           I am not related to any

3    party in this action nor am I financially

4    interested in the outcome.           Counsel and all

5    present is noted on the stenographer record.

6               Will the court reporter please swear in

7    the witness.

8    WHEREUPON,

9                   THERESA SWAIN EMORY, M.D.,

10   called as a witness, and having been remotely

11   sworn by the notary public, was examined and

12   testified as follows:

13              THE VIDEOGRAPHER:         Thank you.       We may

14   proceed.

15                  EXAMINATION BY COUNSEL FOR

16                  DEFENDANT COLGATE-PALMOLIVE

17   BY MR. SCHROLL:

18       Q      Good morning, Dr. Emory.

19       A      Good morning.

20       Q      Can you hear me okay?

21       A      Yes, and I can't see you.              I was hoping

22   whoever I was speaking with I would be able to




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                                                          Page 9

1    see.

2               MR. SCHROLL:       Can other people see me?

3               THE REPORTER:        Yes.

4               MS. KAGAN:      Dr. Emory, Matt is the one in

5    the blue shirt.

6               THE WITNESS:       Okay.      I do see him.

7    BY MR. SCHROLL:

8           Q   Okay.   My name is Matthew Schroll.             I

9    represent Colgate-Palmolive Company, defendant in

10   this case.    Can you please state your full name.

11          A   Theresa Swain Emory, M.D.

12          Q   Okay.   And where are you physically

13   located today?

14          A   I am at 500 J. Clyde Morris Boulevard,

15   Newport News, Virginia.

16          Q   And you understand that this is a

17   deposition that we're conducting by video

18   conference due to the global pandemic, right?

19          A   Yes.

20          Q   And you've been deposed before?

21          A   Yes.

22          Q   And you understand that this is just like




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1    one issue.     The other one is there's no basis for

2    anyone in a particular litigation to be asking for

3    information that is anonymized and doesn't claim

4    any particular product or anything here.                So there

5    is no basis for it and, no, I won't.

6        Q       Okay.   And will you tell me the

7    identities of the individual law firms that

8    referred the 75 cases?

9        A       The paper does not implicate or talk

10   about any law firm, any specific product.                And the

11   human subjects have been anonymized.                So I will

12   not do any more than what is in this paper.                This

13   paper stands as this paper.              And it was peer

14   reviewed.     And it is -- that's all the information

15   I will provide is what's published in the

16   literature.

17       Q       And I understand that, Doctor.             It sounds

18   like, again, the answer is no.                So I'll accept

19   that.     But I just need to have an answer on the

20   record.

21               So when it comes to the identities of the

22   law firms that referred these 75 cases, will you




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1    tell me those law firm names for the individual 75

2    cases, yes or no?

3        A       No.

4                MS. KAGAN:     Asked and answered.

5                THE REPORTER:      I'm sorry?

6                MS. KAGAN:     The objection was asked and

7    answered.

8                THE WITNESS:     I answered the question.

9    BY MR. SCHROLL:

10       Q       Would you reveal any information about

11   the manner on how the individual 75 used the

12   talcum powder products?

13       A       The paper stands for itself.          So no

14   additional information will be provided.

15       Q       Will you tell me the age that any of the

16   75 individuals first started using talcum powder

17   products?

18       A       I will not add anything that's in the --

19   that isn't in the paper.          And you can look for

20   yourself the estimated years of use and estimated

21   years of latency and you can look at the age and

22   you could figure that out.




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1        Q    And you've looked at the case series by

2    Dr. Moline and Gordon, correct?

3        A    Correct.

4        Q    And in their case series, they provide

5    the brand of talcum powder products used by the

6    individuals.    Do you consider that to be

7    unethical?

8        A    I don't consider that to be unethical.

9    What people decide to show in their medical human

10   subject research is up to them.             Our paper stands

11   for itself.    I have no opinion about how someone

12   else might do their revelations in their papers.

13   But again, theirs were anonymized as well.

14            It's the human subject anonymization

15   that -- it's egregious, in my opinion, for someone

16   to try to expose human subjects which -- it's just

17   unheard of.

18            I have done research, like I said before,

19   on human subjects in the past, and it's appalling

20   to me, quite frankly, especially in a situation

21   where you have no -- nothing that would even have

22   anything to do at all with this case.             There's




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1    nothing here pointing to your litigation.                    And

2    this wasn't written for litigation.                    This was

3    written to educate the public and the medical

4    community.

5               MR. SCHROLL:        I'll move to strike the

6    non-responsive portion.

7    BY MR. SCHROLL:

8        Q      Is it your position that telling me the

9    brand of talcum powder used by any of these 75

10   people is a HIPAA violation?

11       A      I don't understand the question.                  Telling

12   you anything about what?

13       Q      For example, case number 1, if I wanted

14   to know what brand of talcum powder case number 1

15   used, would you consider that illegal to tell me?

16       A      No.     I never said that.               What you're

17   going to get is what is on this paper.                    And that's

18   the information that's available.

19       Q      Okay.     And is that just to me or to

20   anybody?

21       A      The paper stands for itself and that is

22   the only information that is available.




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1    So I think -- I'd caution you because I don't know

2    about the bar in Texas, if that's where you are,

3    but I can tell you the board of medicine in

4    Virginia is not going to tolerate my exposing and

5    de-anonymizing human subjects.

6        Q    Okay.     And in table 2 --

7             MR. SCHROLL:        Move to strike.

8    BY MR. SCHROLL:

9        Q    And in table 2 of Dr. Moline's article,

10   the bottom of page 15, it says case number 6, and

11   it finds asbestos type, anthophyllite and

12   tremolite.     Do you see where I'm referring to?

13       A    No.

14       Q    Page 15, table 2.

15       A    Not doing this, no.            I don't know what

16   you're trying to do.       If you're trying to

17   de-anonymize these patients -- I'm only going to

18   talk about my paper.       I'm not comparing my paper

19   to Dr. Moline's as we sit here today.

20       Q    Do any of the 75 cases in your case

21   article have -- had incidents of pleural plaques?

22       A    What's reported in our paper is what's




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1    reported in our paper.

2        Q    Okay.     So the answer is you will not tell

3    me that, correct?

4        A    The data that's put into the paper is the

5    data that I will discuss.           I will not discuss

6    anything else.     You're trying to de-anonymize

7    human subjects.

8        Q    Okay.     Is Betty Bell one of the 75 cases

9    in your article?

10            MS. KAGAN:       I'm going to object and

11   instruct Dr. Emory not to answer.                 If she is going

12   to de-anonymize Betty Bell, that would violate

13   Betty Bell's confidentiality.             And I'm objecting

14   on behalf of Betty Bell and not on behalf of

15   Dr. Emory.

16            MR. SCHROLL:        Okay.      That's fine.

17   BY MR. SCHROLL:

18       Q    Dr. Emory, are you going to tell me the

19   answer to that question?

20       A    I will not de-anonymize anybody.                 So I'm

21   not telling you anything about any name of anyone.

22       Q    And Dr. Moline is also an expert in this




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1    case, correct?

2        A    I think so.

3        Q    Okay.     Would you tell the brand of talcum

4    powder that any of the individuals used to

5    Dr. Moline?

6        A    I think I've made it very clear that I

7    won't tell any additional information with regard

8    to these 75 human subjects than what was published

9    in the peer-reviewed literature.

10       Q    Okay.     Hold on.       I'm trying to load the

11   next exhibit.     Okay.    Let's pull up Exhibit 17.

12            (Deposition Exhibit Number 17 was marked

13   for identification.)

14   BY MR. SCHROLL:

15       Q    Let me know when you can view it.

16            Are you able to see it, Doctor?

17       A    Yes.

18       Q    And this is an e-mail exchange that you

19   had with Dr. David Egilman, correct?

20       A    Yes.

21       Q    And he's asking you a question about case

22   number 75, correct?




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1        A     Yes.

2        Q     And you reply to him and you give

3    information about case number 75, correct?

4        A     Number 75 -- yes.

5        Q     Okay.     And you tell Dr. Egilman that she

6    used one product, Cashmere Bouquet, correct?

7        A     Yes.

8        Q     Okay.     And you would not tell me today

9    the brand of talcum powder used by any of these 75

10   individuals in your case series, correct?

11       A     That's correct.

12       Q     And why is it that you're able to tell

13   Dr. Egilman the brand of talcum powder?

14       A     Because he wasn't trying to de-anonymize

15   anyone.   He asked a question for his medical

16   research, I'm sure, but there was no attempt of

17   de-anonymizing anyone, which is what you're here

18   to do today.      So information between people with

19   regard to de-anonymization can occur, but that's

20   not something that somebody is trying to do.

21       Q     How do you know he's not trying to

22   de-anonymize anyone?




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1               CERTIFICATE OF NOTARY PUBLIC

2             I, Denise M. Brunet, the officer before

3    whom the foregoing deposition was taken, do hereby

4    certify that the witness whose testimony appears

5    in the foregoing deposition was sworn by me; that

6    the testimony of said witness was taken by me

7    stenographically and thereafter reduced to print

8    by means of computer-assisted transcription by me

9    to the best of my ability; that I am neither

10   counsel for, related to, nor employed by any of

11   the parties to this litigation and have no

12   interest, financial or otherwise, in the outcome

13   of this matter.

14

                       <%14541,Signature%>

15                                ___________________________

16                                Denise M. Brunet

17                                Notary Public in and for

18                                The District of Columbia

19

20   My Commission Expires:

21   December 14, 2022

22




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                                                         Page 255

1     Leah Kagan, Esquire

2     lkagan@sgptrial.com

3                               October 5, 2020

4     RE:    Bell, Lloyd Et Al v. American International

                        Industries Et Al

5           10/1/2020, Theresa Swain Emory, M.D. (#4275487)

6           The above-referenced transcript is available for

7     review.

8           Within the applicable timeframe, the witness should

9     read the testimony to verify its accuracy. If there are

10    any changes, the witness should note those with the

11    reason, on the attached Errata Sheet.

12          The witness should sign the Acknowledgment of

13    Deponent and Errata and return to the deposing attorney.

14    Copies should be sent to all counsel, and to Veritext at

15    cs-midatlantic@veritext.com

16

17     Return completed errata within 30 days from

18   receipt of testimony.

19      If the witness fails to do so within the time

20   allotted, the transcript may be used as if signed.

21

22                     Yours,

23                     Veritext Legal Solutions

24

25


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1    Bell, Lloyd Et Al v. American International Industries Et Al

2    Theresa Swain Emory, M.D. (#4275487)

3                     E R R A T A     S H E E T

4    PAGE_____ LINE_____ CHANGE________________________

5    __________________________________________________

6    REASON____________________________________________

7    PAGE_____ LINE_____ CHANGE________________________

8    __________________________________________________

9    REASON____________________________________________

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19   PAGE_____ LINE_____ CHANGE________________________

20   __________________________________________________

21   REASON____________________________________________

22

23   ________________________________       _______________

24   Theresa Swain Emory, M.D.                     Date

25


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1    Bell, Lloyd Et Al v. American International Industries Et Al

2    Theresa Swain Emory, M.D. (#4275487)

3                   ACKNOWLEDGEMENT OF DEPONENT

4        I, Theresa Swain Emory, M.D., do hereby declare that I

5    have read the foregoing transcript, I have made any

6    corrections, additions, or changes I deemed necessary as

7    noted above to be appended hereto, and that the same is

8    a true, correct and complete transcript of the testimony

9    given by me.

10

11   ______________________________        ________________

12   Theresa Swain Emory, M.D.                  Date

13   *If notary is required

14                     SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                     ______ DAY OF ________________, 20___.

16

17

18                     __________________________

19                     NOTARY PUBLIC

20

21

22

23

24

25


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     NAC                                                                                                Triet Tran <triet@egilman.com>



  FW: a question on case 75
  David Egilman <degilman@egilman.com>                                                                     Wed, Mar 18, 2020 at 1:49 PM
  To: triet tran <triet@egilman.com>




    From: Theresa Emory [mailto:temorymd@gmail.com]
    Sent: Wednesday, March 18, 2020 1:49 PM
    To: David Egilman
    Subject: Re: a question on case 75



    Yes only inhalation. She used one product (Cashmere Bouquet) with a powder puff applicator from around age 9- no
    report of perineum use ..


    On Tue, Mar 17, 2020 at 12:57 PM David Egilman <degilman@egilman.com> wrote:

       Was case 75 an inhalation exposure only? If so this is clean evidence that inhaled talc/asbestos travels to the ovary.



       Thanks




             ~                                        the tears
                                                    aw~y.•



       BROWN•
       David Egilman MD MPH

       Clinical Professor of Family Medicine

       Alpert School of Medicine Brown University
                                                                                                                                EXHIBIT
       President GHETS
                                                                                                                                0017
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       8 North Main Street

       Attleboro Massachusetts 02703

       508-472-2809




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                                                               JA1294
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                         Exhibit 2




                                 JA1295
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                                     Civil District Court for the Parish of Orleans
                                                 STATE OF LOUISIANA

 No.   2010 - 07791                                                                       Section:   15 - A



                                       DAMOND, BEATRICE POLLOCK           ET AL
                                                        versus
                                  NORTHROP GRUMMAN SHIPBUILDING, INC.             ET AL

 Date Case Filed:     7/29/2010


                                        NOTICE OF SIGNING OF JUDGMENT


 TO:

Gerolyn P Roussel Esq                      01134
17 14 Cannes Drive
Laplace            LA 70068-2407

Ch ristopher T Grace III Esq                       26901
Suite 900
3421 N Causeway Blvd
Metairie           LA 70002- 3760

Lawrence G Pugh III Esq             17351
1100 Poydras Street
Suite 3200
New Orl eans         LA 70163- 1132




In accordance with Article 1913 C.C.P., you are hereby notified that Judgment
in the above entitled and numbered cause was signed on        May 6 , 2013
New Orleans, Louisiana.
May 6, 2013




                                                    JA1296
.., ..Case 4:22-mc-00001-AWA-DEM Document 21-2 Filed 01/31/23 Page 3 of 9 PagelD# 1434
      ~




                          CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                            STATE OF LOUISIANA

   NUMBER: 2010-7791                            DIVISION " A"                                 SEC: " 15"

                          BEATRICE POLLOCK DAMOND and LESLIE DEAN SAM

                                                      versus

   NORTHROP GRUMMAN SHIPBUILDING, INC. (formerly AVONDALE INDUSTRIES, INC.
          and formerly AVONDALE SHIPYARDS, INC.) and KASS BROS., INC.
   FILED:._ _ _ _ _ __ _ _ _ __
                                                               DEPUTY CLERK

                                                  JUDGMENT

             This matter came for hearing on April 22, 2013, on Kass Bros., Inc.'s Motion to Quash

   Records Deposition/for Protective Order regarding certain items subpoenaed from Dr. Victor

   Roggli. Also, at that time, plaintiffs made an oral motion to continue the trial currently

   scheduled for May 6, 2013.

             Present:          Gerolyn P. Roussel (#0 11 34) and Jonathan B. Clement (#30444), counsel
                               for plaintiffs, Beatrice Damond and Leslie Sam;

                               Christopher T. Grace, III (# 26901), counsel for defendant, Huntington
                               Ingalls Incorporated;

                               Lawrence G. Pugh, III (# 173510) and H. Philip Radecker, Jr. (# 17102),
                               counsel for defendant, Kass Bros., Inc.

             After considering the pleadings, evidence, exhibits, argument of counsel, the law,

             IT IS ORDERED, ADJUDGED AND DECREED that the motion is DENIED as to
   the database and the underlying information and data used to prepare the database as outlined in

   the subpoena regarding Tables 11-7 and Table 11-8 in Chapter 11 , Analysis of Tissue Mineral

   Fiber Content in "Pathology of Asbestos-Associated Diseases," Second Edition (Roggli, Oury &

   Sporn, Editors), and the motion is GRANTED as to the database and underlying data for Table

   11-3.

             IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the motion to

   continue trial is GRANTED. All parties are to appear on May 6, 20 13, at 8:30 a.m. to select a

   new trial date.

             Judgment read, rendered and signed this           V>~ctay of--'-M--'-"+-ttj+--- - ' ' 2013.




~="       PARISH OFORLEAril~
             STAlHFtA
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                                                   JA1297
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                                       RULE 9.5 CERTIFICATE

         I HEREBY CERTIFY that on April 22, 2013, a copy of the proposed judgment was

  circulated via facsimile to H. Philip Radecker, Jr. and Lawrence Pugh, counsel for Kass Brothers,

  Inc., and to Brian C. Bossier, Edwin A. Ellinghausen, III, and Christopher Grace, counsel for

  Huntington Ingalls Incorporated. Mr. Radecker requested certain changes, which were made.

  Counsel for Huntington Ingalls Incorporated did not object to the proposed judgment nor did they

  request any changes. The requisite time for review has passed. Accordingly, the judgment is

  being submitted for consideration.




                                               - 2-




                                             JA1298
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                                  Analysis of Tissue Mineral
                                  Fiber Content                                                              11
                                  Victor L. Roggli and Anupama Sharma




        11.1     Introduction                                  environmental exposures (see Chap. 2) will
                                                               also be explored in the present chapter. Finally,
        The development of techniques for assaying the         the overall contribution of the various types of
        mineral fiber content of tissues has provided          asbestos and non-asbestos mineral fibers to the
        the opportunity to correlate the occurrence of         total mineral fiber burden will be discussed in
        various fiber-related diseases with the cumula-        relationship to the biological activity and patho-
        tive fiber burdens in the target organ. Exposure       genicity of the various fiber types.
        to mineral fibers generally occurs through the
        inhalation of airborne fibers, and thus the respi-
        ratory tract is the site of most asbestos-related      11.2      Historical Background
        diseases. Consequently, most studies of tissue
        fiber burdens have concentrated on the analy-          During the past several decades, there has been
        sis of lung parenchyma [1]. It is the purpose of       considerable interest in the correlation of dusts
        this chapter to review the various techniques          in the workplace environment with lung diseases
        which have been developed for the analysis of          resulting from the inhalation of these dusts (i.e.,
        tissue fiber burdens, noting the advantages and        the pneumoconioses). Analysis of lung dust bur-
        limitations of each. The morphologic, crystal-         dens required considerable cooperation between
        lographic, and chemical features of the various        the basic physical sciences and the biological
        types of asbestos are reviewed in Chap. 1 and          and medical sciences [2]. The distinctive behav-
        the structure and nature of asbestos bodies in         ior of fibrous materials as compared to other
        Chap. 3. In addition, the relationship between         particulates has required many pointed studies
        tissue asbestos burden and the various asbestos-       as to inhalability, deposition, and subsequent
        associated diseases (see Chaps. 4, 5, 6, and 7)        disposal or accumulation of airborne fibers (see
        and the various categories of occupational and         Chap. 10). The techniques employed were gen-
                                                               erally bulk analytical techniques such as x-ray
                                                               diffraction, chemical analysis, or polarizing
        V.L. Roggli, MD (*)                                    microscopy, which were adequate in most cir-
        Department of Pathology,                               cumstances because of the well-defined source of
        Duke University Medical Center,                        the dust in the workplace and the relatively large
        200 Trent Drive – Room #255 M DUMC 3712,
                                                               amounts of dust recoverable from the lungs of
        Durham, NC 27710, USA
        e-mail: roggl002@mc.duke.edu                           patients dying with pneumoconiosis. However,
                                                               analysis of dust content from individuals exposed
        A. Sharma, MD
        Pathology Department, VA Medical Center,               to asbestos posed a number of difficulties for the
        University Drive C, Pittsburgh, PA 15240, USA          traditional bulk analytical approaches. First, the

        T.D. Oury et al. (eds.), Pathology of Asbestos-Associated Diseases,                                   253

                                                        JA1299
        DOI 10.1007/978-3-642-41193-9_11, © Springer-Verlag Berlin Heidelberg 2014
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        266                                                                                         V.L. Roggli and A. Sharma

       Table 11.6 Asbestos content of lung tissue in reported series of patients with mesothelioma
                                          No. of                               Asbestos bodies/            Uncoated fibers/
        Source                            cases             Methoda            gram dried lung             gram dried lung
        Whitwell et al. [15]              100               PCLM               –                           0.75 (0–70)
        Gylseth et al. [73]               15                SEM                –                           11 (2–490)
        Mowe et al. [74]                  14                SEM                –                           2.4 (0.4–37)
        Dodson et al. [75]                55                TEMb               9.56 (0.06–1,250)           0.70 (0.022–69.0)
        Churg and Vedal [56]              83                TEM                –                           0.92
        Churg et al. [76]                 15                TEM                –                           214 (SD ± 9)
        Gaudichet et al. [77]             20                TEMb               3.2 (0.04–450)              18
        Warnock [78]                      27                TEMb               18.5 (1.9–3,800)            4.9 (0.57–137)
        Dodson et al. [79]                43                TEMb               1.5 (0–1,060)               0.38 (0.017–539)
       Values reported are the median counts for thousands (103) of asbestos bodies or millions (106) of uncoated fibers/gram
       of dried lung tissue, with ranges indicated in parentheses. The studies by Churg and Vedal [56], Churg et al. [76], and
       Gaudichet et al. [77] provided the mean value for total fibers/gram of dried lung. Geometric standard deviation is given
       in parentheses for the study by Churg et al. [76]
       a
        PCLM phase-contrast light microscopy, SEM scanning electron microscopy, TEM transmission electron microscopy
       b
         In these four studies, asbestos bodies were counted by conventional light microscopy

        Table 11.7 Asbestos content of lung tissue in 524 cases of mesothelioma
                                    N              AB/g (LM)                       N          AF/g (SEM)
        Pleural mesothelioma
        Asbestosis                  29             17,700 (2,160–1,600,000)        30         131,000 (31,500–11,900,000)
        PPP                         170            960 (2.2–74,500)                164        13,800 (370–1,710,000)
        Other                       284            100 (0.8–174,000)               278        5,200 (340–1,420,000)
        Peritoneal mesothelioma
        Asbestosis                  7              159,000 (23,000–207,000)        7          505,000 (247,000–1,010,000)
        PPP                         11             490 (14.4–140,000)              11         30,600 (263–1,160,000)
        Other                       17             4 (1.0–684,000)                 17         1,090 (<490–1,960,000)
       Asbestos bodies/gram of wet lung tissue as determined by light microscopy (LM) and total asbestos fibers 5 μm or
       greater in length/gram of wet lung tissue as determined by scanning electron microscopy (SEM). Values reported as
       median with range in parentheses
       PPP parietal pleural plaques, other cases with neither asbestosis nor plaques (or uninformative cases with regard to
       plaques or asbestosis)


        laboratory is summarized in Table 11.7. The                   ral plaques compared to pleural mesothelioma
        median asbestos body count for mesothelioma                   patients with plaques (Table 11.7). These find-
        cases that also had asbestosis is much higher than            ings are consistent with the observation that, on
        cases that had parietal pleural plaques without               average, greater exposure to asbestos is necessary
        asbestosis, which in turn is higher than cases that           for the development of peritoneal mesothelioma
        had neither plaques nor asbestosis. In addition,              than is needed to develop pleural mesothelioma
        the median asbestos body count for asbestosis                 [81]. The asbestos body counts and fiber levels in
        cases is much higher for patients with peritoneal             the author’s laboratory are reported per gram of
        as compared to pleural mesotheliomas, but less                wet lung and can be compared with those of other
        for patients with pleural plaques alone or for                investigators by multiplying by a factor of 10 in
        patients with neither plaques nor asbestosis (or              order to convert to counts per gram of dried lung.
        uninformative cases). A similar trend is observed                The asbestos body content was within our nor-
        for total asbestos fibers as measured by SEM,                 mal range of 0–20 AB/g in 124 cases or 24 % of
        with the exception of a higher asbestos fiber count           the total. In 41 of these 124 cases, the fiber content
        for peritoneal mesothelioma patients with pleu-               was found to be elevated by SEM [82]. Hence,
                                                           JA1300
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        268                                                                                V.L. Roggli and A. Sharma

        Table 11.8 Exposure          Industry                       Occupation            Nonoccupational exposure
        categories in 94 % of
                                     Shipbuilding                   Pipefitter/welder     Household contact
        1,445 cases with malignant
        mesothelioma                 US Navy/merchant marine        Boiler worker
                                     Construction                   Maintenance
                                     Insulation                     Machinist
                                     Oil and chemical               Electrician
                                     Power plant                    Sheet metal worker
                                     Railroad
                                     Automotive
                                     Steel/metal
                                     Asbestos manufacture
                                     Paper mill
                                     Ceramics/glass
                                     Modified from Ref. [88]


        diameter [91, 92]. The biopersistence of rela-          long commercial amphibole fibers from samples
        tively long amphibole fibers in lung tissues is the     of peritoneum and mesentery. Clearly, fibers of
        likely reason for the greater potency of amosite        the type and size known to be associated with the
        and crocidolite fibers in the production of meso-       greatest risk of mesothelioma do in fact migrate
        thelioma as compared to chrysotile. The latter          to pleural and peritoneal tissues. The identifica-
        tends to fragment into shorter fibers and has a         tion of short chrysotile fibers in these tissues is
        much shorter half-life within the lung [56, 76].        of questionable relevance, since there is no con-
            It should be noted that most of the studies         vincing data that these fibers are pathogenic (see
        of fiber burdens in mesothelioma patients have          Chap. 10). Analysis of pleural tissues should not
        examined lung parenchyma. It is reasonable to           be substituted for lung tissue analyses for pur-
        assume that fibers actually reaching the pleura are     poses of determination of causation, since the
        the ones responsible for pleural disease, and the       goal of such analyses is to determine if an indi-
        dimensions and types of fibers accumulating in          vidual has a cumulative fiber content different
        the pleura are of interest in this regard. Sebastien    from that of a reference population. This can best
        et al. [31] reported that in individuals exposed to     be determined by analysis of lung tissue sam-
        mixtures of fibers, short chrysotile fibers (<5 μm)     ples. Analysis of tumor tissue is uninformative
        tended to accumulate in the pleura, whereas lon-        since values expected for metastatic tumor to the
        ger amphibole fibers accumulated in the lung            pleura or peritoneum in patients with malignan-
        parenchyma. Suzuki and Yuen [93] and Suzuki             cies not known to be asbestos-related have not
        et al. [94] also reported primarily short chryso-       been reported.
        tile fibers in the pleura and in mesothelial tissues.      In summary, patients with mesothelioma
        Churg et al. [92], on the other hand, found no dif-     who do not also have asbestosis have on aver-
        ference in the length, diameter, or type of fibers      age smaller pulmonary asbestos burdens than
        isolated from peripheral versus central lung paren-     do patients with asbestosis. This observation
        chyma in Canadian chrysotile workers. Dodson            is consistent with epidemiologic evidence that
        et al. [95] found long commercial amphibole             mesothelioma can occur in individuals with
        fibers in samples of pleural plaque from asbes-         brief, low-level, or indirect exposures to asbes-
        tos workers, and Gibbs et al. [96] also identified      tos [1]. In over half of the patients with mesothe-
        similar fibers in pleural samples of patients with      lioma in the authors’ series, asbestos bodies can
        diffuse visceral pleural thickening. Boutin et al.      be detected in histologic sections with careful
        [97] found a preferential concentration of long         scrutiny, and in more than 75 %, tissue digestion
        commercial amphibole fibers in black spots on           studies show an elevated tissue asbestos body
        the parietal pleura. Dodson et al. [98] recovered       content (Fig. 11.7). The distribution of asbestos
                                                       JA1301
Case 4:22-mc-00001-AWA-DEM Document 21-2 Filed 01/31/23 Page 8 of 9 PagelD# 1439



                                                AFFIDAVIT

         STATE OF NORTH CAROLINA

         COUNTY OF DURHAM


                Victor L. Roggli, M.D., a person of the full age of majority, represents that:

                I.     I am n medical doctor with o specialty in pathology and I am currently n professor

         in the Department of Pathology at the Duke University Medical Center;

                2.     I have been recognized as a knowledgeable expert regarding asbestos related

                diseases nnd have testified in over 275 trials on the subject;

                3.     I have been retained by both plaintiff and defense attorneys in litigation regarding

                asbestos wlated diseases;

                4.     I am co-author of Chapter l l, "Analysis of Tissue Mineral Fiber Content" in

                Pathology of Asbestos-Associated Disease, Second Edition (Roggli, Oury and Sporn,

                editors);

                5.     Tables 11-3, 11-7, and 11-8 contained in the aforementioned Chapter 11 are the

                subject of seven separate requests for "things, documents and categories of document~ to

                be produced" at a records deposition served on me with a subpoena;

                6.     I have been asked to produce ( l) all reports of nny cases which appear in the

                aforementioned tnbles, (2) the background research materinl and rnw data resulting in the

                aforementioned tables, (3) the bock-up information coocerning fiber burden analysis for

                any of the cases reported in the aforementioned tables, (4) the paper files which include

                the back-up information concerning the disease processes for any of the cases reported in

                tl1e aforementioned tables, (5) all documents and/or material from which the disease

                history was obtained for any of the cases reported in the aforementioned tnbles, (6) all

                documents and/or material from which the exposure his1ory was obtained for any of the

                cases reported in the aforementioned tnbles, and (7) all documents and/or material from

                which the fiber burden analysis infonnatioo was oblained for any and all cases reported

                in the aforementioned tables;

                7.     The three tables at issue are concerned with just under 1900 individual cases;

                8.      It is my estimate that it would take nt least several monlhs of work to even gather

                the infonnatioo requested;




                                                    JA1302
Case 4:22-mc-00001-AWA-DEM Document 21-2 Filed 01/31/23 Page 9 of 9 PagelD# 1440


             9.      Additionally, the Health Insurance PortDbility and Accountability Act of 1996

             ("HIPAA") would require me to redact any information which would identify individual

             patients. This would add yet more time to the process requested;

              10.   In order to respond to the subpoena I would have to stop all other work ot the

              university and for other clients. This would be without question an undue burden on me

             and my staff;

              11.    Victor L. Roggli bas read this affidavit and verifies that all information herein is

             true and correct to the best of his lmowledge.




                                                JA1303
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 1 of 10 PageID# 1441




                         Exhibit 3




                                 JA1304
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 2 of 10 PageID# 1442



   1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
   2
       LLOYD BELL, individually and        ) CASE NO. 1:17CV111
   3   As executor of the estate of        )
       BETTY WHITLEY BELL, deceased,       )
   4                                       )
                 Plaintiffs,               )
   5                                       )
       V.                                  )
   6                                       )
       AMERICAN INTERNATIONAL              )
   7   INDUSTRIES, et al.,                 )
                                           ) Winston-Salem, North Carolina
   8            Defendants.                ) September 25, 2020
       ______________________________
   9

  10        CORRECTED TRANSCRIPT OF THE TELEPHONIC MOTIONS HEARING
                      BEFORE THE HONORABLE JOI E. PEAKE
  11                    UNITED STATES MAGISTRATE JUDGE

  12

  13   APPEARANCES (By telephone):

  14   For the Plaintiffs:         WILLIAM M. GRAHAM, ESQ.
                                   WALLACE & GRAHAM, P.A.
  15                               525 North Main Street
                                   Salisbury, North Carolina 28144
  16
                                   FRANK J. WATHEN, ESQ.
  17                               LEAH C. KAGAN, ESQ.
                                   SIMON GREENSTONE PANATIER PC
  18                               1201 Elm Street, Suite 3400
                                   Dallas, Texas 75270
  19

  20   For the Defendants:
       AII:                        ROBERT E. THACKSTON, ESQ.
  21                               KURT W. GREVE, ESQ.
                                   SAMUEL GARCIA, ESQ.
  22                               LATHROP GPM LLP
                                   2101 Cedar Springs Road, Suite 1400
  23                               Dallas, Texas 75201

  24

  25


                                    JA1305
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 3 of 10 PageID# 1443



   1   APPEARANCES Continued (By telephone ):

   2   For the Defendants:
       Brenntag North America:     TRACY E. TOMLIN, ESQ.
   3   Whittaker Clark             BENJAMIN S. CHESSON, ESQ.
                                   NELSON MULLINS RILEY & SCARBOROUGH LLP
   4                               301 South College Street, Suite 2300
                                   Charlotte, North Carolina 28202
   5

   6   Colgate-Palmolive:          MATTHEW R. SCHROLL, ESQ.
                                   NELSON MULLINS RILEY & SCARBOROUGH LLP
   7                               2 South Biscayne Boulevard, 21st Floor
                                   Miami, Florida 33131
   8
       Cyprus Amax:                TIMOTHY PECK, ESQ.
   9                               FOX ROTHSCHILD LLP
                                   P.O. Box 21927
  10                               Greensboro, North Carolina 27420

  11   Neslemur Co.:               JOE CARRUTHERS, ESQ.
                                   WALL BABCOCK, LLP
  12                               1076 West Fourth Street
                                   Winston-Salem, North Carolina 27101
  13

  14   Transcriber:                BRIANA L. BELL, RPR
                                   United States Court Reporter
  15                               P.O. Box 20991
                                   Winston-Salem, North Carolina 27120
  16

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                                    JA1306
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 4 of 10 PageID# 1444
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1   from using this information in a subsequent trial.

   2              So, for example, that Johnson-Lashley trial had to be

   3   suspended, and it was ultimately mistried because of the

   4   pandemic, and jurors could not remain sworn as jurors

   5   indefinitely.

   6              So at some point we will be able to come back and try

   7   the Johnson-Lashley case in New Jersey, and Mr. Thackston

   8   certainly, I'm confident, will attempt to use this information

   9   in that trial, and that judge has already ruled that's not

  10   appropriate, but there's nothing stopping him if the record

  11   isn't sealed.   If this hearing, this portion of our transcript

  12   is not sealed for discovery purposes and the records and

  13   filings are not sealed, then nothing stops any other defendant

  14   or AII from continuing to disclose Mrs. Bell's identity outside

  15   of her case.

  16              THE COURT:   I think that's fair, and I would want to

  17   make sure that we are keeping that limited to this case and

  18   confidential and under seal.      And then to the extent it may

  19   have to be revisited ultimately at trial, then that's something

  20   that the district judge can consider further, to the extent

  21   that needs to be done; but, certainly, at this point I would

  22   not expect or intend these sort of preliminary or

  23   discovery-related determinations -- to make that then public

  24   for use in other cases.

  25              Anything else, Ms. Kagan, before I go to


                                    JA1307
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 5 of 10 PageID# 1445
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1              Again, I've indicated I've got concerns about that,

   2   but I will let you present whatever you may want to present, if

   3   it's separate for Colgate, so that you can brief that and I can

   4   consider whatever you may want to present there.

   5              MR. SCHROLL:    Thank you, Your Honor.

   6              THE COURT:    All right.   Mr. Peck, anything for

   7   Cyprus?

   8              MR. PECK:    No, Your Honor.    Based on the position of

   9   Cyprus in this case, we don't have anything to add on this

  10   dispute.

  11              THE COURT:    Okay.   Mr. Tomlin, for Whittaker Clark &

  12   Daniels?

  13              MR. TOMLIN:    Nothing further, Your Honor.

  14              THE COURT:    All right.   So let me come back around.

  15   There's still the last matter of Colgate's motions and

  16   scheduling that I would like to take up and that we need to do

  17   quickly.   So I don't want to do any more extended discussion on

  18   this, but, Ms. Kagan, just with respect to the present motions,

  19   anything else that you needed to be heard on?

  20              MS. KAGAN:    No, Your Honor.

  21              THE COURT:    And, Mr. Thackston, anything else?

  22              MR. THACKSTON:    No, Your Honor.

  23              THE COURT:    All right.   So as to those, what I'm

  24   going to do will be as to the motion to quash, No. 168, I am

  25   going to grant that as (audio glitch) as to any remaining


                                    JA1308
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 6 of 10 PageID# 1446
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1   requests -- we're getting some feedback again.

   2              So we're getting a lot of feedback, folks.        We think

   3   it may be from one of the parties.      It's making it difficult to

   4   make a recording.

   5              All right.   Now, we're back.     So I don't know who it

   6   was that may have just joined or muted, but whatever that may

   7   have been, it prevents us from getting a good recording.          So

   8   hopefully we've got that now.

   9              All right.   So as to the motion to quash, No. 168,

  10   that would be granted as to any remaining requests, without

  11   prejudice to making appropriate requests as part of the expert

  12   discovery process, as we've discussed.       As part of that, as

  13   I've initially indicated, I did not find any bad faith or

  14   unreasonable conduct with respect to that and the particular

  15   circumstances that were presented here; but for any remaining

  16   requests, the parties will address those as part of expert

  17   discovery rather than by subpoena to Northwell.        So that will

  18   be the -- 168 would be granted to any remaining requests.

  19              As to the motion for protective order, which is

  20   No. 179, I will deny the request that all documents identifying

  21   Ms. Bell as a subject be destroyed, but I will allow Plaintiff

  22   to designate that information as confidential and limited

  23   solely to this case, and the motion for a protective order

  24   would be granted to that extent.

  25              Again, that is just as to a claim for confidentiality


                                    JA1309
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 7 of 10 PageID# 1447
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1   during discovery, which means that any filing of that

   2   information would need to be accompanied by a motion to seal

   3   pursuant to Local Rule 5.4.     However, the Court is not making

   4   any ultimate determination as to whether that information

   5   should be sealed if it is presented and considered as part of

   6   dispositive motions or at trial since that would be subject to

   7   different standards that would apply.

   8              In that respect, the motions to seal, No. 180 and

   9   No. 200, will be granted with respect to the present filings

  10   related to discovery disputes, as those are not subject to

  11   First Amendment protections that would apply to filings on

  12   dispositive motions and at trial.      Again, whether those should

  13   remain under seal ultimately would be a matter for the trial

  14   judge in this case, and so those things would need to be filed

  15   with a motion to seal consistent with Rule 5.4 until that issue

  16   is ultimately determined by the trial judge.

  17              With respect to the motion for a protective order as

  18   to discovery or inquiry into the identity of other human study

  19   subjects, that will be granted with respect to Plaintiffs'

  20   Motion 179 as to AII and the subpoena to Northwell, and I will

  21   find that based on the discussion that would be of a different

  22   determination than Ms. Bell, who, as I've discussed, I would

  23   find in a different situation to the extent that she has put

  24   the matter at issue and then retained Dr. Moline as the expert

  25   in the case, and that was part of our extensive earlier


                                    JA1310
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 8 of 10 PageID# 1448
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1   discussion.   I won't repeat all of that here, but I will also

   2   note that to the extent Colgate has indicated some requests to

   3   be able to address and brief that, I will consider that, and I

   4   will allow the parties to fully brief that before I make any

   5   determination on the request that Colgate may raise.

   6               So as to the present motion for a protective order,

   7   it would be essentially granted, except that denied with

   8   respect to the documents identifying Ms. Bell as the subject,

   9   and those can be included as part of the discovery in this

  10   case, but that information is confidential and limited solely

  11   to this case, and that is specifically as to her identity as

  12   one of the 33 subjects.     If there is any reason to revisit that

  13   further and as well if there is any reason to address a further

  14   motion that may be filed, including by Colgate, then those are

  15   matters that the Court can take up once they are briefed and

  16   presented.

  17               So I think that takes care of, again, 168, 179, 180,

  18   and 200.    For the clerk, 168 would be granted as to any

  19   remaining requests without prejudice to making requests as part

  20   of expert discovery.    179 will be denied in part and granted in

  21   part, as set out during the hearing.       And motions to seal, 180

  22   and 200, will be granted with respect to the discovery

  23   disputes.

  24               And, Ms. Kemp, I will indicate specifically to you,

  25   as to 179, just note it's denied in part and granted in part on


                                    JA1311
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 9 of 10 PageID# 1449
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

   1   the docket entry as further set out in the hearing, because

   2   parts of that may be subject to claims of confidentiality, and

   3   we'll let the parties address that once the transcript is

   4   ordered and docketed.     So we can just -- the docket entry can

   5   just show granted in part and denied in part, and the details

   6   will be as set out in the transcript.

   7               All right.   The last piece we have is the scheduling

   8   and Colgate-Palmolive's motion -- we're getting the feedback

   9   again.

  10               COURTROOM DEPUTY CLERK:    Judge Peake, I'm not sure

  11   what's going on with the line.      I never had these difficulties

  12   before.    Usually, it's clear.

  13               THE COURT:   I'm concerned about the ability to make a

  14   transcript because the level of interference that we're getting

  15   is increasing.    If we still have this conference line, what we

  16   could do is take a five-minute break, and then see if we come

  17   back and get a cleaner line.      It does seem to come and go, so

  18   it's possible we're getting feedback from -- see, it's clear

  19   again.    It's possible we're getting feedback from other folks

  20   on the line.

  21               COURTROOM DEPUTY CLERK:    Maybe we can take a recess,

  22   Your Honor, and try to call back in.       Maybe that would help.

  23               THE COURT:   Why don't we do that.     Let's take a

  24   five-minute recess.      Everybody disconnect and then call back

  25   in, and we'll see -- and I'll ask our IT folks to come down and


                                    JA1312
Case 4:22-mc-00001-AWA-DEM Document 21-3 Filed 01/31/23 Page 10 of 10 PageID# 1450
         17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

    1   UNITED STATES DISTRICT COURT

    2   MIDDLE DISTRICT OF NORTH CAROLINA

    3   CERTIFICATE OF REPORTER

    4

    5

    6             I,   Briana L. Bell, Official United States Court

    7   Reporter, certify that the foregoing transcript is a true and

    8   correct transcript of the proceedings produced to the best of

    9   my ability from an audio recording of the telephone conference

   10   in the above-entitled matter.

   11

   12             Dated this 30th day of September 2020.

   13

   14

   15                            _______________________
                                 Briana L. Bell, RPR
   16                            Official Court Reporter

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                                    JA1313
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                         Exhibit 4




                                 JA1314
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 2 of 8 PageID# 1452
     TRIAL DAY 1 6 , o n APRIL 1 2 , 2 0 21
     WILLIE McNEAL , JR . vs . AUTOZONE, INC ., et al .



                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        FOR THE COUNTY OF LOS ANGELES

        DEPARTMENT SSC 4            HON. STEPHEN M. MALONEY, JUDGE
        COORDINATED PROCEEDING               )
        SPEC IAL TITLE (RULE 3 . 550)        ) JCCP NO . 4 6 7 4
                                           )
        LAOSD ASBESTOS CASES               )
                                           )
        - - - - - - - - - - - - - - - - - -)
        WILLIE McNEAL , Jr . ,             )
                                           )
                                        PLAINTIFF,        )
                                                          )
        vs .                                              )NO . BC698965
                                                          )
        AUTOZONE, INC., ET AL.,                           )
                                                          )
                                        DEFENDANTS. )
                                                          )
        - - - - - - - - - - - - - - - - --
                      REPORTER ' S TRANSCRIPT OF PROCEEDINGS
                             MONDAY, APRIL 12, 2021

        APPEARANCES :
        FOR PLAINTIFF:
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                             TYSON GAMBLE, ESQ.
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                      TGAMBLE@SGPTRIAL.COM

        (APPEARANCES CONTINUED
        NEXT PAGE)

        PAGES 3601 TO 377 6- 39 0 0
        REPORTED BY:                           LORA J . J OHNSON , CSR 1 01 1 9
                                               RPR , CRR, RMR , CCRR #202
                                               OFFICIAL REPORTER PRO TEMPORE



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                                      JA1315
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 3 of 8 PageID# 1453
        TRIAL DAY 1 6, o n APRIL 1 2, 2 0 21
        WILLIE McNEAL, JR . vs . AUTOZONE, INC . , et al .



   1       APPEARANCES:  (CONT I NUED)
   2          FOR DEFENDANT WHITTAKER, CLARK & DANIELS :
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   6
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                             973 - 822 - 1110
   9                         RBAUM@MKCI LAW.US . COM
  10
           ALSO PRESENT :
  11
                              CHASE WARE , TECHNICAL ASS I STANT
  12                          JOE REPKING , TECHNICAL ASSISTANT
  13
  14
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                                         JA1316
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 4 of 8 PageID# 1454
       TRIAL DAY 16, on APRIL 12, 2021
       WILLIE McNEAL, JR. vs. AUTOZONE, INC., et al.



   1                           M A S T E R      I N D E X
   2                                 APRIL 12, 2021
   3
   4
   5                     CHRONOLOGICAL INDEX OF WITNESSES
   6
                                           NONE
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  11                              INDEX OF EXHIBITS
  12
                                           NONE
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                                   JA1317
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 5 of 8 PageID# 1455
       TRIAL DAY 16, on APRIL 12, 2021
       WILLIE McNEAL, JR. vs. AUTOZONE, INC., et al.
                                                                   Page 3636

   1                      10:11 a.m.)
   2                  THE COURT:      We will now hear the closing
   3     argument of Mr. Purdy on behalf of the plaintiff.
   4                  MR. PURDY:      Thank you, your Honor.
   5
   6                              CLOSING ARGUMENT
   7     BY MR. PURDY:
   8                  Well, good morning, everyone.
   9                  THE PANEL:      Good morning.
  10                  MR. PURDY:      You will be the first jury in
  11     Los Angeles County to deliberate and deliver a verdict.
  12     We made it.      And it's -- it's pretty amazing to think
  13     about where we are as a society and where we are here
  14     in this courtroom, if you think about it.
  15                  I imagine when you were summoned for jury
  16     service, I imagine some, if not all of you, went, No
  17     way, we're not really going to have a civil trial.
  18     There's no way we can pull this off.          Do you really
  19     have to show up.
  20                  I'm sure you talked to friends and family and
  21     said, Are they really going to have a civil trial?             To
  22     be a jury?      What are the chances?
  23                  Well, here we are.        The chances are that we
  24     could do it, and we did it, and you did it.
  25                  I cannot commend the court staff enough, the
  26     judge, his Honorable, the security, all of those things
  27     had to go right.        But what we had to have, we had to
  28     have a jury, and you showed up for that call of duty.



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                                   JA1318
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 6 of 8 PageID# 1456
       TRIAL DAY 16, on APRIL 12, 2021
       WILLIE McNEAL, JR. vs. AUTOZONE, INC., et al.
                                                                   Page 3639

   1     trials.     This lower standard, this preponderance of the
   2     evidence.      And I don't say that to diminish the case,
   3     this "more likely than not" standard.           We think we've
   4     proved many things beyond the shadow of a doubt.              But
   5     that's what the law states, and you swore to follow
   6     that law, to listen to the evidence.
   7                  We asked each of you, are you -- 12, and with
   8     two alternates, that's 14 jurors who will follow the
   9     law.    Will you uphold the law?          And you said yes.   You
  10     all committed to that, to both sides.           You made that
  11     commitment and then you took an oath.
  12                  And I'm going to show you some of the things
  13     to point to when a juror says, Well, I'm not sure if
  14     Whittaker, Clark & Daniels sold talc in the '70s.
  15     Well, then we can point to you Mr. Dippold's testimony.
  16                  Or I'm not sure they understood.        Do you think
  17     they really understood and appreciated the detection
  18     limits in using more sensitive microscopes?            And you
  19     should point them to deposition testimony of
  20     Mr. St. George.
  21                  Or was there really tremolite, the mineral
  22     tremolite in their talc?          And we can point you to two
  23     things:     Mr. Segrave, their own testing expert, or
  24     Mr. Longo -- Dr. Longo.          Or some of the documents, the
  25     North Carolina, the Fullam document, or the Lewin
  26     report, or their own testing.
  27                  Gosh, does cosmetic talc really cause
  28     mesothelioma?       Well, Dr. Moline, she published a paper



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                                   JA1319
Case 4:22-mc-00001-AWA-DEM Document 21-4 Filed 01/31/23 Page 7 of 8 PageID# 1457
       TRIAL DAY 16, on APRIL 12, 2021
       WILLIE McNEAL, JR. vs. AUTOZONE, INC., et al.
                                                                     Page 3640

   1     on this.     Dr. Emory, she published a paper on this.
   2     Dr. Moline testified to Congress on this issue.              Those
   3     are some of the things that we need to give you and
   4     show you in the evidence, if those questions come up.
   5                  So how do we do this?            How do we arrive at a
   6     verdict?
   7                  And the instructions that the Court gave walk
   8     you through how we do that.           And so there's -- there's
   9     really four ways that we're going to show you that we
  10     proved that Whittaker, Clark & Daniels is responsible.
  11     There's four different ways.           But what's important to
  12     note is that any one of them is enough.              So if you find
  13     them responsible for any one thing, if you say they are
  14     negligent and their negligence was a factor in causing
  15     Mr. McNeal's mesothelioma, that's enough to get to
  16     damages.     Okay?
  17                  You do not need all four, you don't need two
  18     of four.     We think we've proved all four.           And really
  19     it's -- if we break them down, if Number 1 is
  20     negligence, that's really going to be -- when we talk
  21     about this negligence claim, that's really what the
  22     company did, what they did and didn't do.              What they
  23     failed to do.       How they acted unreasonably.         Did they
  24     select the right tests?          Did they communicate what they
  25     were finding?
  26                  And then numbers 2, 3, and 4 are more -- with
  27     the exception of number 4 there -- I'll call product
  28     liability claims, strict liability.              If the product



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       TRIAL DAY 16, on APRIL 12, 2021
       WILLIE McNEAL, JR. vs. AUTOZONE, INC., et al.



   1            SUPERIOR COURT OF THE STATE OF CALIFORNIA
   2                  FOR THE COUNTY OF LOS ANGELES
   3     DEPARTMENT SSC 4         HON. STEPHEN M. MALONEY, JUDGE
   4     COORDINATED PROCEEDING            )
         SPECIAL TITLE (RULE 3.550)        )JCCP NO. 4674
   5                                       )
         LAOSD ASBESTOS CASES              )
   6     __________________________________)
                                           )
   7     WILLIE McNEAL, Jr.,               )
                                           )
   8                           PLAINTIFF, )
                                           )
   9     vs.                               )NO. BC698965
                                           )
  10     AUTOZONE, INC., ET AL.,           )REPORTER'S
                                           )CERTIFICATE
  11                           DEFENDANTS. )
         __________________________________)
  12
  13
  14               I, LORA J. JOHNSON, CSR NO. 10119, Official
  15     Reporter of the Superior Court of the State of
  16     California, for the County of Los Angeles, do hereby
  17     certify that a verbatim record of the proceedings was
  18     taken by me in stenographic shorthand and thereafter
  19     transcribed into typewritten form under my direction
  20     and supervision; and that the foregoing pages comprise
  21     a full, true, and correct transcript of the proceedings
  22     held in the matter of the above-entitled cause on
  23     April 12, 2021.
  24
  25
                                      ______________________________
  26                                  Lora J. Johnson, CSR 10119
                                      RPR, CRR, RMR, CCRR #202
  27                                  Official Reporter Pro Tempore
  28



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                         Exhibit 5




                                 JA1322
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 Moline et al.                                                                                                                          Journal of Occupational
 Journal of Occupational Medicine and Toxicology                 (2023) 18:1
 https://doi.org/10.1186/s12995-023-00367-5                                                                                             Medicine and Toxicology


      RESEARCH                                                                                                                                               Open Access
                                              ®'
  Exposure to cosmetic talc and mesothelioma ~~·
  Jacqueline Moline 12 •, Kesha Patel1 and Arthur L. Frank3




      Abstract
      Alm Mesothelioma is associated w ith asbestos exposure. In this case series, we present 166 cases of individuals who
      had substantial asbestos exposure to cosmetic talc products as well as some who had potential or documented addi-
      tional exposures to other asbestos-containing products and who subsequently developed mesothelioma.
      Methods Data were gathered for all subjects referred to an occupational and environmental medicine specialist as
      part of medicolegal review. Years of total cosmetic talcum powder usage was noted as well as the latency from the
      onset of talcum powder use to the mesothelioma diagnosis. Alternate asbestos exposure in addition to the exposure
      from cosmetic talc was categorized as none, possible, likely, and definite.
      Results In 122 cases, the only known exposure to asbestos was from cosmetic talc. For 44 cases, potential or docu-
      mented alternate exposures in addition to the cosmetic talc were described.
      Conclusion Cumulative exposure to asbestos leads to mesothelioma; for individuals with mixed exposures to asbes-
      tos, all exposures should be considered. Use of cosmetic talc is often overlooked as a source of asbestos exposure. All
      individuals with mesothelioma should have a comprehensive history of asbestos exposure, including cosmet ic talc
      exposure.
      Keywords Malignant mesothelioma, Cumulative asbestos exposure, Cosmetic talcum powder


  Introduction                                                                                as "take.home" exposure has been well described in the
  Mesothelioma, described as a sentinel tumor, is inti-                                       literature [2- 5). An underappreciated source of exposure
  mately associated with asbestos exposure. Asbestos has                                      is the use of cosmetic talc products. The International
  been used for decades in thousands of products, both in                                     Agency for Research on Cancer (]ARC) [6] states that
  occupational and non-occupational settings, historically                                    asbestos contaminated talc is carcinogenic and should be
  accounting for the bulk of mesothelioma cases. Non-                                         treated as if one were dealing with asbestos. Asbestos lev-
  occupational exposures can be environmental in nature,                                      els in talcum powder are significantly above background
  from effluents from mines and factories, from para•                                         ambient asbestos exposure levels [7- 9]. Talc applica•
  occupational exposures such as "shade-tree mechanics"                                       tion simulation studies have been published [7, 8] where
  using friction products, and from home renovations [I].                                     exposures to talcum powder were 1.9 flee and 2.57 flee,
  Household exposures affecting family members, known                                         respectively. According to the Gramond et al. [10] cate•
                                                                                              gorization of intensity, asbestos exposure at these levels
  *Correspondence:
                                                                                              would be considered to be high (>1- 10 f/ml).
  Jacqueline Moline                                                                              Historically, asbestos exposures at work have been
  jmoline@northw12ll.edu                                                                      linked to multiple products. The overall risk for asbes-
  ' Department of Occupauonal Medicine, Epictemiclogy and Prevention,
  Northwell Health,Great Neck. NY 11021, USA
                                                                                              tos related disease, including mesothelioma, is related
  2 Donald and Barbara 2ucker School of Medicin<2 at Hofstra/Northw12II,                      to cumulative exposure. As agencies such as NIOSH,
  Hempstead, NY 1 1549, USA                                                                   OSHA, the EPA, and others have recognized, there
  3
      Dornsife School of Public Health ofDrexel University, Phiadelphia, PA
  19104, USA
                                                                                              is no known safe exposure to asbestos. Low doses of
                                                                                              exposure to asbestos contribute to mesothelioma [11].



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                                                                             JA1323
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  Both time from first exposure (latency) and total expo-                   cleaning clothes), do-it-yourself home repair, domestic
  sure (cumulative dose) to asbestos must be taken into                     (handling asbestos material or living in the presence
  account when evaluating risk. With multiple repeated                      of asbestos material susceptible to damage at home),
  incidences of exposure, all those above background level                  or environmental (living near and asbestos processing
  should be thought of as “’substantial.” When considering                  plant). This study was conducted with approval from
  the elevated risk of mesothelioma in sheet metal work-                    the Human Research Protection Program at North-
  ers [12, 13], Zoloth and Michaels considered the multi-                   well Health Feinstein Institute for Medical Research
  ple bystander exposures to different products, not simply                 (#21–0897-OTH).
  one construction material. This case series presents 166
  cases of individuals who had a minimum of five years and
  a mean of 40.8 years of exposure to asbestos through cos-                 Results
  metic talc products, some with possible other exposures,                  We identified 166 individuals with exposure to cosmetic
  but all developed mesothelioma.                                           talc who were diagnosed with a malignant mesothelioma
                                                                            between 2014 and 2021. None of these individuals were
  Methods                                                                   previously included in publications by the authors [14]. A
  Data were gathered for all subjects referred to an occu-                  summary of the case findings is found in Table 1. Overall,
  pational and environmental medicine specialist, JM,                       the average age of diagnosis was 63.3 (age range 26–94)
  as part of medicolegal review. All cases were reviewed                    years of age. The majority of cases were epithelioid meso-
  personally by an occupational medicine specialist with                    thelioma (75.3%). The average length of exposure to cos-
  experience evaluating asbestos exposure in thousands                      metic talc was 40.8 years (range 5–76 years of use), and
  of individuals. The individual’s medical records were                     the average latency period from the onset of talcum pow-
  reviewed and mesothelioma diagnoses were based on                         der use to the development of mesothelioma was 52.4
  pathological reports that were performed as part of                       (20—83 years). We identified 122 individuals with asbes-
  their diagnostic evaluation. Exposure data was obtained                   tos exposure solely through use of cosmetic talc. Expo-
  by sworn testimony of the mesothelioma patients in                        sure to talcum powder could have been for personal use,
  all cases, and/or from family members who had direct                      in an occupational setting (for example, a nurse applying
  knowledge of the individual’s use of cosmetic talc and,                   talcum powder to a patient), or applying talcum powder
  if present, other sources of asbestos exposure. Use of                    to others such as children. For 122 individuals, they either
  talc was recorded as being diapered or powdered as a                      used cosmetic talc while diapering children or recalled
  child; diapering or powdering children or others; apply-                  applying talc to others (such as their children). Overall,
  ing talcum powder to oneself after bathing, or other                      80.6% of women and 52.4% of men used talcum powder
  personal applications of talc. Years of total cosmetic                    for diapering or applying talc to others. For 44 individu-
  talcum powder usage was noted as well as the latency                      als, potential alternate asbestos exposure in addition to
  from the onset of talcum powder use to the mesothe-                       cosmetic talc was reported. Table 1 presents the 44 cases
  lioma diagnosis. Age was presented within a 10 year                       with alternate exposure ranked by possible, likely, and
  window to maintain confidentiality. Data reviewed                         definite asbestos exposure. Twenty-two women (17.8%)
  included family occupational histories (parents or any-                   and fifteen men (35.7%) had likely or definite alternate
  one cohabitating with the individual), hobbies, resi-                     exposure to asbestos in addition to their talcum powder
  dence, living with or laundering clothes of an asbestos                   usage. [Details of the exposure history of all 166 individu-
  exposed worker, if indicated, home renovations that                       als with cosmetic talc exposure is presented in Table 2,
  could have exposed the individual to asbestos contain-                    including a description of the alternate exposure.] Table 1
  ing construction materials, residence close to a facility                 also shows the site of the tumor by gender. Of the 166
  with environmental contamination, or other potential                      cases, 109 were pleural, 52 were peritoneal, 4 were dis-
  asbestos exposures. In those individuals with potential                   covered in both the pleura and peritoneum and the origi-
  asbestos exposure in addition to the cosmetic talc, cat-                  nal site could not be determined. One case of pericardial
  egorization of these exposures was done by two occu-                      mesothelioma was noted out of the 166 cases, which
  pational physicians, JM and ALF. Alternate asbestos                       reflects the rarity of this site for mesothelioma. The per-
  exposure in addition to the exposure from cosmetic talc                   centages of peritoneal mesothelioma were similar for
  was categorized as none, possible, likely, and definite                   women (29.8%) and men (35.7%). The high proportion
  following the descriptions by Gramond et al. [10]. Non-                   of peritoneal mesothelioma tumors relative to pleural
  occupational exposure to asbestos was characterized                       tumors, consistent with prior case series of patients with
  as paraoccupational (living with an asbestos worker or                    malignant mesothelioma after cosmetic talc use [14, 15],
                                                                            is unusual and deserves further investigation.

                                                                  JA1324
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  Table 1 Characteristics of 166 mesothelioma cases with cosmetic talc usage
                                                                                                        Total (N = 166)         Female (n = 124)             Male (n = 42)

  Average Age (range)                                                                                   63.3 (26 – 94)          64.3 (26 – 94)               60.9 (28 – 83)
  Years of Talc Use* (range)                                                                            40.8 (5 – 76)           40.4 (6 – 76)                42.0 (5 – 74)
  Talc Latency in Years (range)                                                                         52.4 (20 – 83)          53.3 (20 – 83)               49.9 (28 – 74)
  Diapering or Applying Talc to Others**                                                                122 (73.5%)             100 (80.6%)                  22 (52.4%)
  Talc Use Only                                                                                         122 (73.5%)             97 (78.2%)                   25 (59.5%)
  Talc Use and Alternate Exposure                                                                       44 (26.5%)              27 (21.8%)                   17 (40.5%)
  Certainty of Alternate Exposure (n = 44) (26.5%)                  Possible                            7 (4.2%)                5 (4.0%)                     2 (4.8%)
                                                                    Likely                              17 (10.2%)              14 (11.3%)                   3 (7.1%)
                                                                    Definite                            20 (12.0%)              8 (6.5%)                     12 (28.6%)
  Tumor Location                                                    Pleura                              109 (65.7%)             83 (66.9%)                   26 (61.9%)
                                                                    Peritoneum                          52 (31.3%)              37 (29.8%)                   15 (35.7%)
                                                                    Both Pleura & Peritoneum            4 (2.4%)                3 (2.4%)                     1 (2.4%)
                                                                    Pericardium                         1 (0.6%)                1 (0.8%)                     0
  Tumor Subtype                                                     Biphasic                            24 (14.5%)              18 (14.5%)                   6 (14.3%)
                                                                    Epithelial                          125 (75.3%)             92 (74.2%)                   33 (78.6%)
                                                                    Sarcomatoid                         16 (9.6%)               13 (10.5%)                   3 (7.1%)
                                                                    Not specified                       1 (0.6%)                1 (0.8%)                     0
  *
   Years of Talc Use: includes years of being diapered or powdered with talc as a child; years of diapering or powdering children or others with talc; and years applying
  talcum powder to oneself after bathing or other personal use
  **
       Diapering or Applying Talc: restricted to diapering or powdering children with talc or applying talcum powder to others, including occupational use




  Discussion                                                                               [23] In some instances authors limited the characteriza-
  This paper presents 166 individuals with malignant mes-                                  tion of asbestos exposure in women to certain industries,
  othelioma and asbestos exposure through documented                                       such as shipbuilding during wartime [24], thus neglecting
  use of cosmetic talcum powder. For 122 of 166, their only                                other potential sources and decreasing the attributable
  known exposure to asbestos was their use of cosmetic tal-                                risk. Conversely, when non-occupational exposures were
  cum powder. Without the recognition of asbestos expo-                                    included for women, even with low-intensity domestic
  sure through cosmetic talcum powder, 73.5% of the cases                                  exposure considered, the attributable risk increased from
  might well have been considered “idiopathic.” Similarly,                                 40% to 64.8% [21].
  for those 26.5% of cases with additional asbestos exposure                                  Given that all types of asbestos can cause mesothe-
  along with the talc, those alternate exposures would have                                lioma [6], it is important to consider every source of
  been mistakenly considered as the sole, and sufficient,                                  exposure to asbestos in an individual. Talcum powder has
  cause of the mesothelioma. Historically, the attributable                                been contaminated with both chrysotile and amphibole
  risk of asbestos for mesothelioma in women ranged from                                   asbestos (predominately anthophyllite and tremolite) [8,
  around 20–50%. However as Baur et al. point out, mis-                                    25, 26]. Recently, Wong et al. (2021) found significantly
  classification or inadequate exposure ascertainment has                                  elevated risks of mesothelioma among individuals with
  led to this low attributable risk for women compared to                                  only chrysotile exposure and for mixed fiber exposure.
  men. [16]. Data from occupationally exposed cohorts that                                 [27]. Chrysotile alone (OR = 3.8) and in combination
  included men and women actually show that compared                                       with tremolite/anthophyllite asbestos (OR = 3.9) were
  to similarly exposed men, women had higher mortality                                     associated with similar increases in risk of mesothelioma.
  rates from mesothelioma [17–20]. Lacourt found that                                      These three fiber types are most commonly found in cos-
  at low-level cumulative asbestos exposure ((0 – 0.1 f-cc/                                metic talc, and given that different ore sources were used
  year) women were more likely to develop mesothelioma                                     in manufacturing over time, it is likely that many formu-
  than men [21]. Magnani (2008) found the SMR for mes-                                     lations and uses of talcum powder involved mixed fiber
  othelioma was higher for women than for men among                                        type exposure. There is no scientific basis to state that
  workers at an asbestos cement plant [22]. Frank et al.                                   one type of exposure was the sole cause of the mesothe-
  (2009) found mesothelioma rates in the Qingdao region                                    lioma in a mixed exposure scenario. For example, rates of
  of China were correlated with a higher proportion of                                     mesothelioma have been evaluated based on either job
  women employed in asbestos manufacturing industries.                                     type or locale (e.g., construction, shipping) rather than

                                                                             JA1325
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  Table 2 Description of 166 mesothelioma cases
  Age at           Sex Tumor              Tumor            Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Pleura           Epithelial       Cosmetics          41    36         Yes             None
                                                           factory
  31–40            F     Peritoneal       Biphasic         Marketing          39    12         No              None
  91–100           F     Pleura           Epithelial       Clerical worker    69    57         Yes             Definite       Smoked Kent
                                                                                                                              cigarettes in
                                                                                                                              1950s
  51–60            M     Pleura           Biphasic         Warehouse          54    22         No              Definite       Home renova-
                                                           supervisor                                                         tions as child
  21–30            M     Peritoneal       Epithelial       Aircraft techni-   28    5          No              None
                                                           cian
  41–50            F     Pleura           Biphasic         Marketing          47    47         Yes             Definite       Automotive fric-
                                                                                                                              tion exposure
  41–50            F     Peritoneal       Epithelial       Operator           37    36         Yes             Likely         Parents worked
                                                           technician                                                         in chemical
                                                                                                                              plant/with
                                                                                                                              automotive
                                                                                                                              friction materials;
                                                                                                                              no work clothes
                                                                                                                              laundered at
                                                                                                                              home
  61–70            F     Peritoneal,      Epithelial       Hairdresser        65    57         Yes             Definite       Household expo-
                         pleura                                                                                               sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  41–50            F     Pleura           Epithelial       Industrial         45    10         Yes             None
                                                           engineer
  71–80            M     Pleura           Biphasic         Firefighter,       59    59         No              Definite       Occupational
                                                           painter                                                            exposures to
                                                                                                                              industrial talc,
                                                                                                                              firefighting
  51–60            F     Peritoneal       Epithelial       Dental assis-      58    57         Yes             Definite       Automotive
                                                           tant, secretary,                                                   friction product
                                                           logging busi-                                                      exposure
                                                           ness
  51–60            F     Peritoneal,      Epithelial       Nurse              50    20         Yes             None
                         pleura
  71–80            F     Pleura           Epithelial       Secretary          60    61         No              None
  61–70            M     Peritoneal       Epithelial       Software           53    53         No              Likely         Construc-
                                                           engineer                                                           tion work as
                                                                                                                              teenager;
                                                                                                                              family member
                                                                                                                              machinist
  61–70            F     Pleura           Epithelial       Secretary          61    20         Yes             None
  61–70            M     Pleura           Epithelial       Law professor      46    45         No              None
  21–30            F     Peritoneal       Biphasic         Customer ser-      26    12         No              None
                                                           vice manager
  51–60            F     Pleura           Epithelial       Dental assis-      50    17         Yes             Likely         Dental tape used
                                                           tant, sales                                                        in office
  21–30            F     Pleura           Epithelial       Programmer         29    17         Yes             None
  51–60            F     Pleura           Epithelial       Clerical worker    54    48         No              None
  71–80            F     Pleura           Biphasic         Dental             64    34         Yes             Possible       Possible house-
                                                           assistant,                                                         hold exposure
                                                           receptionist                                                       from parental
                                                                                                                              occupations
  61–70            F     Pleura           Epithelial       Systems            62    61         Yes             None
                                                           analyst


                                                                   JA1326
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Peritoneal       Epithelial       Clerical worker    59    31         Yes             Likely         Asbestos shingle
                                                                                                                              exposure as child
  71–80            F     Peritoneal       Epithelial       Teacher’s aide,    46    46         No              None
                                                           customer
                                                           service
  51–60            M     Pleura           Epithelial       Baked goods        55    49         Yes             None
                                                           manufacturer
  61–70            F     Pleura           Epithelial       Housekeeping, 51         23         No              None
                                                           packaging
  41–50            M     Peritoneal       Epithelial       Lawyer             46    23         Yes             None
  51–60            M     Pleura           Sarcomatoid      IT                 30    30         Yes             None
  61–70            F     Peritoneal       Epithelial       Bookkeeper         62    15         Yes             None
  71–80            M     Pleura           Epithelial       Engineer           71    20         No              Definite       Home renova-
                                                                                                                              tions, automotive
                                                                                                                              friction products,
                                                                                                                              cement in molds
  41–50            F     Pleura           Epithelial       Restaurant         46    12         No              None
  81–90            F     Pleura           Epithelial       Not provided       62    62         Yes             Likely         Household expo-
                                                                                                                              sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  81–90            F     Pleura           Epithelial       LPN                67    18         Yes             Likely         Household expo-
                                                                                                                              sures laundering
                                                                                                                              clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  31–40            F     Peritoneal       Epithelial       Nanny, teacher 26        7          Yes             Definite       Home renova-
                                                                                                                              tions
  61–70            M     Peritoneal       Epithelial       Packaging,      48       48         Yes             Definite       Cut transite and
                                                           machine                                                            cement pipes;
                                                           operator, weld-                                                    automotive
                                                           ing                                                                friction exposure
                                                                                                                              (“shade tree”)
  71–80            F     Peritoneal       Biphasic         Clerical worker    61    39         Yes             None
  51–60            F     Peritoneal       Epithelial       Lawyer             54    18         No              None
  41–50            F     Pleura           Sarcomatoid      Research           44    45         Yes             None
  51–60            F     Peritoneal       Epithelial       Variety of jobs    50    48         Yes             Definite       Home renova-
                                                                                                                              tion
  41–50            M     Peritoneal       Epithelial       Farrier,           41    35         Yes             Definite       Occupational
                                                           mechanic,                                                          exposure
                                                           general labor
  81–90            M     Pleura           Epithelial       Barber             50    36         Yes             Likely         Boiler work in rail
                                                                                                                              yards
  71–80            M     Pleura           Biphasic         Bus driver, fac-   47    47         Yes             None
                                                           tory worker
  51–60            F     Peritoneal       Epithelial       Physician          20    12         Yes             None
  61–70            F     Pleura           Epithelial       Cashier, sales,  53      53         No              None
                                                           clerical worker,
                                                           wire assembler
  51–60            F     Peritoneal       Epithelial       Laborer            41    50         Yes             Likely         Home renova-
                                                                                                                              tions, family
                                                                                                                              member worked
                                                                                                                              with clay



                                                                    JA1327
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  Table 2 (continued)
  Age at           Sex Tumor               Tumor           Occupation(s) Talc        Years     Diapering/      Certainty of   Type of
  Diagnosis            Location            Subtype                       Latency     of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)    ­Use*      to ­Others**    Exposure       Exposure

  61–70            M     Pleura            Epithelial      Accountant         69    69         Yes             Definite       Home renova-
                                                                                                                              tions during
                                                                                                                              1970s
  81–90            F     Pleura            Biphasic        Bookkeeping,       83    32         Yes             None
                                                           rehab coun-
                                                           seling
  71–80            F     Pleura            Sarcomatoid     Office manager 75        75         Yes             None
  61–70            F     Pleura            Epithelial      Merchandising 31         18         Yes             None
                                                           manager
  41–50            F     Pleura, perito-   Epithelial      Teacher            46    22         Yes             None
                         neal
  51–60            M     Pleura            Epithelial      Automechanic, 31         44         Yes             Definite       Occupational
                                                           pipefitter                                                         and take home
                                                                                                                              exposure (ship-
                                                                                                                              yard)
  51–60            F     Peritoneal        Epithelial      Clerical worker    40    38         Yes             None
  41–50            F     Pericardium       Sarcomatoid     Medical center     50    31         Yes             None
  71–80            M     Pleura            Epithelial      Mechanic,          61    50         No              Definite       Occupational
                                                           parts manager                                                      naval exposure
                                                                                                                              to asbestos,
                                                                                                                              automotive
                                                                                                                              friction material
                                                                                                                              handling
  71–80            F     Pleura            Epithelial      Secretary,         50    25         No              Definite       Household expo-
                                                           cosmetics,                                                         sures laundering
                                                           cashier                                                            clothes (automo-
                                                                                                                              tive friction
                                                                                                                              materials)
  61–70            F     Pleura            Sarcomatoid     Catering           45    40         Yes             None
  61–70            F     Pleura            Epithelial      Cleaner, per-      52    50         Yes             None
                                                           sonal assistant
  51–60            M     Pleura            Epithelial      Meat inspector 41        26         No              None
  71–80            F     Pleura            Epithelial      Office manager 65        55         Yes             Possible       Household
                                                                                                                              exposure from
                                                                                                                              husband (drilling
                                                                                                                              wells, pipes)
  71–80            F     Pleura            Epithelial      Clerical worker    60    59         Yes             Possible       Family member
                                                                                                                              worked at ser-
                                                                                                                              vice station (no
                                                                                                                              details on work)
  71–80            M     Pleura            Sarcomatoid     Accountant         47    39         Yes             None
  61–70            F     Pleura            Epithelial      Sales, business    60    16         No              None
  81–90            M     Peritoneal        Epithelial      Accountant         68    56         No              None
  51–60            F     Pleura            Epithelial      Social worker      40    6          No              None
  71–80            F     Pleura            Epithelial      Hairdresser        60    49         Yes             None
  41–50            M     Pleura, perito-   Epithelial      Warehouse          47    8          No              Definite       Automotive filler
                         neal                              worker                                                             exposure
  51–60            F     Pleura            Epithelial      Retail, banktel-   56    56         Yes             None
                                                           ler, work at
                                                           school
  61–70            F     Pleura            Biphasic        Bakery             64    49         Yes             None
  71–80            F     Pleura            Epithelial      Hospitality        61    58         Yes             None
  51–60            F     Pleura            Epithelial      Cashier            57    56         Yes             None
  81–90            F     Peritoneal        Epithelial      Teacher            40    50         Yes             Possible       Abatement done
                                                                                                                              at work


                                                                    JA1328
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc         Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency      of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)     ­Use*      to ­Others**    Exposure       Exposure

  81–90            F     Pleura           Epithelial       Physical ther-      64    62         Yes             None
                                                           apy assistant
  31–40            M     Peritoneal       Epithelial       IT                  35    25         No              None
  51–60            F     Pleura           Epithelial       Housekeeper         42    34         Yes             None
  81–90            F     Pleura           Epithelial       Teacher             54    50         Yes             Likely         Home renova-
                                                                                                                               tions
  61–70            M     Pleura           Epithelial       Accounting          63    63         Yes             None
  71–80            M     Pleura           Epithelial       Tractor driver,     62    60         No              Likely         Oil drilling
                                                           race track
  71–80            F     Pleura           Epithelial       Research            62    42         Yes             None
  51–60            F     Peritoneal       Epithelial       Agriculture         53    53         Yes             None
                                                           consultant
  31–40            F     Peritoneal       Epithelial       Clerical worker     39    27         Yes             None
  41–50            F     Pleura           Biphasic         Clerical worker     49    49         No              Likely         Ceramics use
  71–80            M     Pleura           Epithelial       Communica-          47    49         Yes             None
                                                           tions system/
                                                           office
  81–90            F     Pleura           Not specified    Nurse               76    70         Yes             Likely         Family member
                                                                                                                               worked in
                                                                                                                               shipyard
  71–80            F     Peritoneal       Epithelial       Meat wrapper        56    47         Yes             None
  71–80            M     Pleura           Biphasic         Advertising         62    62         Yes             None
  71–80            F     Peritoneal       Epithelial       Teacher, hospi- 70        70         Yes             None
                                                           tal administra-
                                                           tion
  41–50            M     Peritoneal       Epithelial       Chef                37    36         No              None
  51–60            F     Peritoneal       Epithelial       Case manager        53    52         Yes             None
  41–50            F     Peritoneal       Epithelial       Finance and         42    34         No              None
                                                           marketing
  51–60            M     Pleura           Epithelial       Painter, carpet     38    38         Yes             Definite       Automotive fric-
                                                           installer                                                           tion product use
  81–90            F     Pleura           Epithelial       Secretary           63    45         Yes             None
  71–80            F     Pleura           Epithelial       Nursing             69    40         Yes             None
  51–60            F     Peritoneal       Epithelial       Nurse               46    22         Yes             None
  41–50            M     Peritoneal       Epithelial       Industrial          48    53         Yes             None
                                                           engineer
  71–80            F     Peritoneal       Epithelial       Librarian           55    44         Yes             None
  51–60            F     Pleura           Biphasic         Clerical worker, 53       15         No              None
                                                           hostess
  71–80            F     Pleura           Epithelial       Secretary           67    55         Yes             None
  71–80            F     Pleura           Epithelial       Clerical worker     64    20         Yes             None
  71–80            F     Peritoneal       Sarcomatoid      Secretary,          47    47         Yes             None
                                                           medical billing
  81–90            F     Pleura           Epithelial       Communica-          69    69         Yes             None
                                                           tions and real
                                                           estate
  41–50            F     Peritoneal       Epithelial       Home health         42    24         Yes             None
  51–60            F     Pleura           Biphasic         Clerical worker, 53       15         Yes             None
                                                           hostess
  71–80            F     Pleura           Biphasic         Therapy aid         67    67         Yes             None
  61–70            M     Pleura           Biphasic         Restaurant,     50        47         Yes             None
                                                           lead technician
  61–70            F     Pleura           Sarcomatoid      Teacher             51    43         Yes             None


                                                                   JA1329
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  Table 2 (continued)
  Age at           Sex Tumor              Tumor            Occupation(s) Talc       Years     Diapering/      Certainty of   Type of
  Diagnosis            Location           Subtype                        Latency    of Talc   Applying Talc   Alternate      Alternate
                                                                         (years)   ­Use*      to ­Others**    Exposure       Exposure

  51–60            F     Pleura           Epithelial       Sales             44    16         Yes             None
  41–50            F     Pleura           Epithelial       Chicken farm-     48    48         Yes             None
                                                           ing, medical
                                                           assistant
  41–50            M     Peritoneal       Epithelial       Physician         40    17         No              None
  71–80            F     Pleura           Epithelial       Secretary         69    64         No              None
  61–70            F     Pleura           Epithelial       Assembly line     51    52         Yes             None
                                                           worker
  61–70            F     Pleura           Epithelial       X-ray techni-     40    40         Yes             None
                                                           cian
  51–60            F     Pleura           Biphasic         Factory worker, 33      14         Yes             None
                                                           housekeeper
  51–60            F     Pleura           Epithelial       Clerical worker   38    29         Yes             None
  61–70            F     Pleura           Epithelial       Clerical worker   54    27         Yes             None
  81–90            F     Pleura           Epithelial       Variety of jobs   76    76         Yes             None
  71–80            F     Peritoneal       Epithelial       Receptionist,    45     35         Yes             None
                                                           dental assistant
  71–80            F     Pleura           Epithelial       Midwife           55    47         Yes             None
  81–90            F     Pleura           Epithelial       Seamstress        63    56         Yes             None
  71–80            F     Peritoneal       Epithelial       Accounting        65    65         Yes             None
  61–70            F     Pleura           Epithelial       Nurse             57    57         Yes             None
  71–80            M     Peritoneal       Epithelial       Sales, truck      45    32         No              Definite       Automotive
                                                           driver                                                            friction products
                                                                                                                             use
  51–60            M     Pleura           Epithelial       Lawyer            48    48         Yes             None
  51–60            F     Pleura           Sarcomatoid      Customer          56    27         Yes             None
                                                           service
  81–90            F     Pleura           Sarcomatoid      Teacher           53    47         Yes             None
  71–80            F     Peritoneal       Epithelial       Not provided      67    48         No              Definite       Smoked Kent
                                                                                                                             cigarettes in
                                                                                                                             1950s
  31–40            F     Peritoneal       Biphasic         Banking           39    19         Yes             None
  71–80            M     Pleura           Epithelial       Logger, run       74    74         Yes             Possible       Automotive
                                                           loader                                                            friction product
                                                                                                                             use and home
                                                                                                                             renovations
  71–80            F     Peritoneal       Epithelial       Hairdresser       50    50         Yes             Likely         Hairdryers pre-
                                                                                                                             sent in salon
  31–40            F     Pleura           Sarcomatoid      Certified Nurs-   39    24         Yes             None
                                                           ing Assistant
                                                           and phleboto-
                                                           mist
  71–80            F     Pleura           Epithelial       Seamstress        62    52         Yes             None
  31–40            F     Peritoneal       Epithelial       Variety of jobs   27    20         Yes             None
  61–70            F     Pleura           Epithelial       Laborer           51    51         Yes             None
  41–50            M     Peritoneal       Biphasic         Casino worker     47    47         Yes             None
  81–90            F     Pleura           Epithelial       Nurse             67    18         Yes             None
  71–80            M     Pleura           Epithelial       Accountant,       70    30         Yes             Possible       Home renova-
                                                           comptroller                                                       tions
  61–70            F     Pleura           Sarcomatoid      Clerical worker   60    27         No              None
  61–70            F     Pleura           Biphasic         Secretary,        52    52         Yes             Likely         Home renova-
                                                           cleaner                                                           tions in 1970s



                                                                   JA1330
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  Table 2 (continued)
  Age at                Sex Tumor                 Tumor              Occupation(s) Talc                Years      Diapering/         Certainty of      Type of
  Diagnosis                 Location              Subtype                          Latency             of Talc    Applying Talc      Alternate         Alternate
                                                                                   (years)            ­Use*       to ­Others**       Exposure          Exposure

  61–70                 F     Pleura              Sarcomatoid        Office cleaner,    64            64          Yes                None
                                                                     food prep
  61–70                 F     Pleura              Epithelial         Insurance          58            57          Yes                None
                                                                     agent
  71–80                 F     Pleura              Epithelial         Cook, cleaner,     54            44          Yes                None
                                                                     concierge
  31–40                 M     Peritoneal          Epithelial         Lab technician     36            36          No                 None
  91–100                F     Pleura              Epithelial         Variety of jobs    60            60          No                 None
  51–60                 F     Pleura              Epithelial         Real estate        36            35          Yes                None
                                                                     broker
  41–50                 F     Pleura              Biphasic           PhD in astron-     37            37          No                 None
                                                                     omy, dance
                                                                     teacher
  71–80                 F     Pleura              Epithelial         Switchboard        64            50          No                 None
                                                                     operator, HR
  51–60                 F     Peritoneal          Epithelial         Nurse              50            46          Yes                Likely            Ceramics work
                                                                                                                                                       for 4–5 years
  41–50                 F     Peritoneal          Epithelial         Lawyer             44            20          No                 None
  71–80                 F     Pleura              Epithelial         Quality control    67            67          Yes                None
  51–60                 F     Pleura              Sarcomatoid        Counselor          55            54          No                 None
  71–80                 F     Pleura              Biphasic           Certified nurs-    62            35          Yes                Likely            Vermiculite
                                                                     ing assistant,                                                                    exposure
                                                                     ranch work
  71–80                 M     Peritoneal          Epithelial         Physician          67            67          Yes                None
  41–50                 F     Peritoneal          Epithelial         Nurse Practi-      44            34          Yes                None
                                                                     tioner
  31–40                 M     Pleura              Epithelial         Not provided       29            30          No                 None
  61–70                 F     Pleura              Epithelial         Banking            60            50          Yes                None
  51–60                 F     Peritoneal          Epithelial         Nurse              56            45          Yes                None
  71–80                 F     Pleura              Sarcomatoid        Hairdresser        61            25          Yes                None
  71–80                 M     Pleura              Sarcomatoid        Mechanic           60            48          No                 Definite          Occupational
                                                                                                                                                       exposure and
                                                                                                                                                       home renova-
                                                                                                                                                       tions
  61–70                 M     Peritoneal          Epithelial         Worked at spe- 57                50          No                 None
                                                                     cial education
                                                                     preschool
  71–80                 F     Peritoneal          Biphasic           Teacher            65            46          Yes                None
  71–80                 F     Pleura              Biphasic           Teacher            71            59          Yes                Possible          Family member
                                                                                                                                                       was Linotype
                                                                                                                                                       operator
  81–90                 F     Pleura              Epithelial         Cashier, wait-     60            58          Yes                None
                                                                     ress
  31–40                 F     Pleura              Epithelial         Administrator      28            7           No                 None
  71–80                 F     Peritoneal          Epithelial         Teacher            50            51          Yes                Likely            Household expo-
                                                                                                                                                       sure to laundry
                                                                                                                                                       (automotive fric-
                                                                                                                                                       tion materials)
  31–40                 M     Pleura              Epithelial         Homeland           33            33          No                 None
                                                                     Security
  61–70                 M     Pleura              Epithelial         Trucking com-      55            56          Yes                None
                                                                     pany
  71–80                 F     Pleura              Epithelial         Office worker      62            45          Yes                None
  *
   Years of Talc Use: includes years of being diapered or powdered with talc as a child; years of diapering or powdering children or others with talc; and years applying
  talcum powder to oneself after bathing or other personal use
  **
       Diapering or Applying Talc: restricted to diapering or powdering children with talc or applying talcum powder to others, including occupational use

                                                                             JA1331
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  on each specific task or exposure within the job category.                of these two occupational subgroups, teachers with per-
  Furthermore, mesothelioma is a disease that occurs fol-                   sonal use of cosmetic talc, and hairdressers with occu-
  lowing a long latency period. It is important to consider                 pational use of cosmetic talc, show the importance of
  whether the latency period for all exposures, whether due                 obtaining a thorough history and determining all poten-
  to asbestos in talcum powder, or through occupational or                  tial sources of asbestos exposure.
  para-occupational exposures meets the minimum latency                        This case series describes mesotheliomas in end-users
  period.                                                                   of cosmetic talcum powder, thus using no personal pro-
     Subgroups of individuals not traditionally known to be                 tective equipment or dust suppression activities, unlike
  exposed to asbestos have been identified, such as teach-                  some cohorts with occupational exposures [35]. Prior
  ers. In this case series, 12 teachers (7.2% of cases) were                mortality studies of talc miners and millers in Italy (and
  diagnosed with mesothelioma. Anderson et al. identified                   other countries) have not identified mesotheliomas in
  12 school teachers with mesothelioma in Wisconsin (6                      their populations, although two cases of peritoneal can-
  male, 6 female). [28]. Nine cases had no known exposure                   cer were identified by Pira et al. [36]. The Rubino, Cog-
  to asbestos, although several worked in school buildings                  giola and Pira et al. studies used mortality data collected
  with asbestos containing building materials (ACBM) pre-                   prior to an ICD mesothelioma code, which could impact
  sent, but the condition of the ACBR while the teachers                    proper classification of mesothelioma. [35–37]. The stud-
  were present in the school was unknown. No history of                     ies had a relatively small sample size, which given the
  talcum powder use was elicited. Marianaccio et al. iden-                  rarity of mesothelioma, even among highly exposed indi-
  tified mesotheliomas in 11 female teachers in Italy. [29].                viduals, would have led to insufficient statistical power
  Mazurek et al. evaluated mesothelioma deaths in women                     [38]. Fordyce studied Vermont talc miners and found two
  in the United States from 1999–2020 using death cer-                      mesotheliomas in the small cohort of 427 miners; Ver-
  tificate data. [30]. Mesothelioma was noted in 32 female                  mont talc has been used in cosmetic talcum powder [39].
  elementary and middle school teachers. No information                        Fiber burden studies were done in some individuals
  on exposure to asbestos or specific tasks at work or a                    from the two prior case series of mesothelioma among
  comprehensive exposure history was available; no his-                     individuals with cosmetic talcum powder use. Moline
  tory of talcum powder use was elicited, as the study was                  et al. reported on tissue fiber analysis in six of 33 individ-
  based solely on death certificates. Tomasallo et al. found                uals. Asbestos fibers, of the types found in cosmetic talc,
  increased mortality among school teachers in Wiscon-                      were found in all six samples. Emory et al. found antho-
  sin, USA. [31]. They noted that para-occupational or take                 phyllite asbestos in all 9 individuals for whom tissue fiber
  home exposure could be responsible for the increased                      analysis was done. Tremolite was found in six of the cases
  risk. Again, no history of asbestos exposure through tal-                 in addition to the anthophyllite. Hull et al. [40] looked
  cum powder usage was ascertained. It might be possible                    at New York State talc miners and found anthophyllite,
  that exposure to ACBM played some role in these meso-                     tremolite/actinolite, chrysotile and talc in their lungs.
  theliomas, however, the notable history of exposure to                    There were over a dozen cases of mesothelioma identi-
  asbestos-containing talcum powders among teachers in                      fied in these talc miners. Our case series did not include
  this case series, highlights the importance of assessing                  data on tissue sampling, which is not typically done for
  this source of exposure in future studies of mesothelioma                 clinical purposes; rather we relied on patient history. For
  in teachers and other predominantly female professions.                   occupational exposures to asbestos, fiber analysis is not
     Mazurek et al. found seven cases of mesothelioma                       required to ascertain a history of exposure, rather the
  among female hairdressers. [30]. Our series identified                    history of exposure to asbestos is sufficient [41]. This
  five hairdressers/barbers with documented occupational                    should be no different for environmental exposures, such
  exposure to asbestos containing talcum powder. Moline                     as asbestos exposure in cosmetic talcum powder, or even
  et al. found three hairdressers who used cosmetic talc as                 para-occupational exposures.
  part of their occupation, [14] and Emory et al. [15] found                   Pleural mesothelioma is more common than perito-
  4 hairdressers out of 75 patients. Pavlisko et al. identified             neal mesothelioma [42], with estimates of pleural mes-
  a hairdresser in their study of mesothelioma in women,                    othelioma occurring approximately 80–90% of the time
  but classified the case in the non-occupational/paraoc-                   compared to peritoneal mesothelioma. The presenting
  cupational exposure category. [32] McDonald attributed                    location for the tumor, either pleural or peritoneal, was
  the finding of tremolite in the lung tissue of a chrysotile               similar in all three recent case series. In Moline et al.,
  worker to his prior occupational exposure to talc as a                    11 of 33 patients had peritoneal mesothelioma and in
  barber [33]. Rodelsberger recognized talc as a source of                  Emory et al., 23 of 75 cases were peritoneal mesotheli-
  asbestos exposure and identified hairdressers and bar-                    oma. In this larger case series, the proportion of perito-
  bers as asbestos-exposed industries [34]. The examples                    neal mesotheliomas was 31.3%. The proportion of men

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  in each of the three case series was similar. In Emory                    information regarding talcum powder usage was cor-
  et al., 15% of the cases were men, compared with 18%                      roborated by sworn testimony of family members.
  of the cases in Moline et al. In the current case series,                 Typically, the questioning of individuals about alternate
  among 122 cases with talc-only exposure, 20.5% were                       exposures to asbestos as part of litigation is fairly com-
  men, slightly above the proportion in two previous case                   prehensive, but it is possible that there were additional,
  series. This might reflect growing awareness among                        unknown sources. This presents a challenge for any
  men that talcum powder use could explain their meso-                      study of asbestos exposure and, in particular, mesothe-
  thelioma, particularly when no other identifiable source                  lioma, given the long latency period from the onset of
  of asbestos was identified. Few individuals in this case                  exposure to the development of disease.
  series underwent testing for the tumor suppressor gene,
  BAP-1, which is associated with an increased risk for                     Conclusion
  mesothelioma when associated with asbestos exposure,                      For individuals with exposure to asbestos through cos-
  [43] including greater susceptibility at low doses of                     metic talc usage and additional alternate sources, all
  asbestos such as exposures from cosmetic talcum pow-                      exposures contribute to the development of mesothe-
  der use. Interestingly, there was a greater frequency of                  lioma. Published case reports and case series have identi-
  peritoneal mesothelioma cases in those with the BAP-1                     fied over 100 individuals whose sole exposure to asbestos
  mutation and asbestos exposure [44].                                      was through cosmetic talcum powder usage [14, 15, 49].
    Several authors have written about the importance                       Thus, is it critical to obtain a history of all potential expo-
  of the cumulative dose, which has been related to sev-                    sures to asbestos. In this case series, 122 cases would
  eral asbestos-caused diseases, both non-malignant and                     have had no source of asbestos identified if a history of
  non-malignant. Luberto et al. discussed the “increased                    asbestos-containing cosmetic talc had not been elicited.
  mortality risk due to asbestos exposure for malignant                     The other 44 would have likely been misclassified as
  neoplasm of pleura, peritoneum, lung and ovary, as                        having only alternate exposures. It is indisputable that
  well as asbestosis, all increasing with cumulative expo-                  asbestos causes mesothelioma, therefore, it is critical to
  sure.” [19] Henderson et al. commented on the use of                      elicit all potential sources of asbestos exposure so that we
  the cumulative exposure model in the Helsinki Criteria.                   can better understand, and prevent, future cases of this
  [45] Iwastsubo and colleagues, citing only low expo-                      deadly cancer.
  sures leading to disease noted that “excess of mesothe-
                                                                            Acknowledgements
  lioma was observed for levels of cumulative exposure.”                    Not applicable.
  [46] Ferrante and her colleagues [47] found that the
  “risk of pleural malignant mesothelioma increased with                    Authors’ contributions
                                                                            Jacqueline Moline conceived of the manuscript, and was involved in the
  cumulative asbestos exposure and also in analyses lim-                    acquisition of data, analysis and writing of the manuscript. Kesha Patel was
  ited to subjects non-occupationally exposed,” compa-                      involved in data presentation and analysis. Arthur L. Frank was involved
  rable to the current case series. Albin et al. [48] even                  in writing and evaluation of alternative exposures. The author(s) read and
                                                                            approved the final manuscript.
  noted that “colorectal cancer displayed a clear relation
  with cumulative dose,” as one would reasonably expect                     Funding
  with asbestos-related diseases.                                           No funds or external assistance were obtained by any outside source in the
                                                                            development, writing, analysis or conclusions of this manuscript.
    This case series may reflect the potential sources of
  bias that impact all studies that use cases in which liti-                Availability of data and materials
  gation is occurring. However, because mesothelioma                        The datasets generated and/or analyzed during the current study are not
                                                                            publicly available. Individuals of details of cases will not be provided to protect
  is a rare disease and full environmental histories are                    the confidentiality of the cases presented in the study. Efforts to minimized
  rarely obtained or documented, it would be impossi-                       identification, such as describing age in a range were employed.
  ble to amass so many cases with one type of exposure
  using standard sources such as hospital or cancer reg-                    Declarations
  istry records. Furthermore, most patients (and their
                                                                            Ethics approval and consent to participate
  clinicians) are unaware of the presence of asbestos                       The project received approval from the Institutional Review Board and we
  in talcum powder, leading them to report no known                         received a waiver of consent to include the participants in the study. (IRB #:
  asbestos exposure. The data related to years of expo-                     21–0897).
  sure to cosmetic talcum powder was obtained and typi-                     Consent for publication
  cally described in great detail during sworn testimony.                   Not applicable.
  For nearly one-quarter of the individuals in this series,
                                                                            Competing interests
  additional exposures to asbestos were reported along                      Authors Jacqueline Moline and Arthur L. Frank have served as expert wit-
  with the cosmetic talcum powder. When available,                          nesses in asbestos litigation, including talc litigation for plaintiffs.


                                                                  JA1333
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                         Exhibit 6




                                 JA1336
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                        EXHIBIT 2




                                   JA1337
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                      NORTH CAROLINA INDUSTRIAL COMMISSION

  I. C. No. 15-755738, BETTY WHITLEY BELL, Employee-Plaintiff v. HOECHST
  CELANESE    CORPORATION     AND   PILLOWTEX      CORPORATION,       f/k/a
  FIELDCREST  CANNON f/k/a CANNON MILLS, Employer-Defendants and ESIS AND
  NORTH CAROLINA SELF INSURANCE SECURITY ASSOCIATION, Carrier-
  Defendants.

                             PLAINTIFF'S MOTION TO DISMISS

          NOW COMES PLAINTIFF, by and through undersigned counsel, and hereby moves the
  Industrial Commission for an order dismissing her claim for mesothelioma.

  1.     Form 18B was filed on September 4, 2015 against the above captioned employers.

  2.     Plaintiff does not wish to continue her workers' compensation case.

         Accordingly, pursuant to Rule 616 of the Rules of the Industrial Commission, Plaintiff
  wishes to dismiss her case against Hoechst Celanese Corporation and Pillowtex Corporation f/k/a
  Fieldcrest C~on f/k/a Cannon Mills without prejudice from t h ~ .

         This   J!_ day of December, 2015.           ~,/'             .   l
                                                     -\~.7
                                                     Ed     -L. Pauley
                                                     NCSB No.: 27060
                                                     Attorney for Plaintiff
                                                     Wallace and Graham, P.A.
                                                     525 N. Main Street
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                                                     mdoby@wallacegraham.com




                                           JA1338
        Case 1:17-cv-00111-WO-JEP Document 333-2 Filed 04/02/21 Page 2 of 3
Case 4:22-mc-00001-AWA-DEM Document 21-6 Filed 01/31/23 Page 4 of 10 PageID# 1476



                                CERTIFICATE OF SERVICE

  I hereby certify that I have served a copy of the foregoing document upon all counsel and/or
  parties of record by delivering a copy via email on this l•;t      day of December, 2015,
  addressed as follows:

         Erin Fleming Taylor
         Cranfill Sumner & Hartzog
         eft@cshlaw.com

        Ashish Sharda
        The Stuart Law Firm
        asharda@stuartlawfirm.com




                                                   Edward . Pauley
                                                   Wallace and Graham, P.A.
                                                   epauley@wallacegraham.com
                                                   704/633-9434




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                                          JA1339
        Case 1:17-cv-00111-WO-JEP Document 333-2 Filed 04/02/21 Page 3 of 3
Case 4:22-mc-00001-AWA-DEM Document 21-6 Filed 01/31/23 Page 5 of 10 PageID# 1477




                        EXHIBIT 6




                                   JA1340
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                      I    Document 21-6 Filed 01/31/23 Page 6 of 10 PageID# 1478


                      NORTH CAROLINA INDUSTRIAL COMMISSION

   I. C. No. 19-732863, LLOYD CLIFFORD BELL, Spouse and Sole Dependent of BETTY
   WHITLEY BELL, Deceased-Employee, v. HOECHST CELANESE CORPORATION AND
   PILLOWTEX CORPORATION, f/k/a FIELDCREST CANNON f/k/a CANNON MILLS,
   Employer-Defendants and ESIS AND NORTH CAROLINA SELF INSURANCE
   SECURITY ASSOCIATION, Carrier-Defendants.

                             PLAINTIFF'S MOTION TO DISMISS

          NOW COMES PLAINTIFF, by and through undersigned counsel, and hereby moves the
  Industrial Commission for an order dismissing Pillowtex Corporation, f/k/a Fieldcrest Cannon,
  f/ka/ Cannon Mills and the North Carolina Self Insurance Security Association.

   1.    Form 18B for a death claim was filed on April 25, 2019 against the above captioned
         employers.

  2.     Plaintiff wishes to dismiss Pillowtex Corporation, f/k/a Fieldcrest Cannon, f/ka/ Cannon
         Mills and the North Carolina Selflnsurance Security Association from this case.

         Accordingly, pursuant to Rule 616 of the Rules of the Industrial Commission, Plaintiff
  wishes to dismiss Pillowtex Corporation f/k/a Fieldcrest Cannon ilk/a Cannon Mills without
  prejudice from this claim. This dismissal does not apply to Hoech~t-Celanese Corporation.

         This \6"\f\day of December, 2019.          ~~y/ . )
                                                          ut   \ '•,··~~~/
                                                    Edvy'ard L. Pauley
                                                    NC~B No.: 27060
                                                    Attorney for Plaintiff
                                                    Wallace and Graham, P.A.
                                                    525 N. Main Street
                                                    Salisbury, NC 28144
                                                    mdoby(i:z)wallacegraham.com




                                                                             Bell WC Death Benefits Claim040



                                          JA1341
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Case 4:22-mc-00001-AWA-DEM Document 21-6 Filed 01/31/23 Page 7 of 10 PageID# 1479


                                   CERTIFICATE OF SERVICE

   I hereby certify that I have served a copy of the foreij~document upon all counsel and/or parties
   of record by delivering a copy via email on this ~ day of December, 2019, addressed as
   follows:

          Jerri J. Simmons
          Cranfill Sumner & Hartzog
          j simmons(mcshlaw.com


          Stephen Dimmick
          The Stuart Law Firm
          sdimmick@stuai1lawfinn.com




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                                                      704/633-9434




                                                 2


                                                                           Bell WC Death Benefits Claim041



                                            JA1342
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                       EXHIBIT 10




                                   JA1343
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                       NORTH CAROLINA INDUSTRIAL COMMISSION

   I. C. No. 19-732863, LLOYD CLIFFORD BELL, Spouse and Sole Dependent of BETTY
   WHITLEY BELL, Deceased-Employee, Plaintiff v. HOECHST                            CELANESE
   CORPORATION, Employer-Defendant and ESIS, Claim Administrator.

                               PLAINTIFF'S MOTION TO DISMISS


           NOW COMES PLAINTIFF, by and through undersigned counsel, pursuant to 11 NCAC
   23A .0616(a) and hereby moves the Industrial Commission for an order of voluntary dismissal of
   this claim.

   1.     Form 18B for a death claim was filed on April 25, 2019 against the above captioned
          employers.

   2.     Plaintiff wishes to voluntarily dismiss his claim without prejudice.



          This ~day of September, 2020.



                                                       Edward L. Pauley
                                                       NCSB No.: 27060
                                                       Attorney for Plaintiff
                                                       Wallace and Graham, P.A.
                                                       525 N. Main Street
                                                       Salisbury, NC 28144
                                                       epauley@wallacegraham.com




                                            JA1344
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Case 4:22-mc-00001-AWA-DEM Document 21-6 Filed 01/31/23 Page 10 of 10 PageID# 1482




                                     CERTIFICATE OF SERVICE

    I hereby certify that I have served a copy of the foregoing document upon all counsel and/or parties
    of record by delivering a copy via email on this     1&f\    day of September, 2020, addressed as
    follows:

           Jerri J. Simmons c/o Jake Stewart
           Cranfill Sumner & Hartzog
           jstewart@cshlaw.com




                                                         Edward L. Pauley
                                                         Wallace and Graham, P.A.
                                                         epauley@wallacegraham.com
                                                         704/633-9434




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                                             JA1345
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                         Exhibit 7




                                 JA1346
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                        EXHIBIT 1




                                   JA1347
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North Caroflna Industrial Commission
                                                                                                                                                  IC File # 15-755738

DENIAL OF WORKERS' COMPENSATION CLAIM                                                                                                       Emp. Code#_ __ __ _

(G.S. §97-lB(c) AND G.S. §97-JB(d))                                                                                                      carrier Code # 999-098
                                                                                                                                                              - - -- - -
                                                                                                                                            Carrier File # 140030.99

The Use Of This Form Is Required Under The Provisions of The Workers' Compensation Act                                               Employer FEIN

Belly Whllley Bell                                                           Fieldcrest Cannon, lnc./P!lowtox Corporation                                          ( )
Employee's Name                                                              Empk,ver's Neme                                                                    Telephono Number
 6252 Irish Potato Road                                                      Insolvent Self-Insured Employer
Address                                                                      Employer's Address                                  City            State     Zlp
 Rockwell                                          NC            28138        North carollna Self-Insurance Securlly Association c/o Stuart Law Firm, PLLC
             City                                  Stale            Zip      Insurance Carrier                                   Polley Number
( J                                                { l                       1033 Wade Avenue, Sulla 202                       Raleigh          NC       27605
Home Telephone                                     Work Telephone            Carrier's Address                                   City            State     Zip
"!!'11"""'"2~1;.:..7=,6,--,-,--,-----□
                                     __,M...-[!J_F_ _~ - ~19,..,4,...
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                                                                                                                                                  (9_19..,.,...79....,71)_98'--8_ _ __ _
 Social Security Number                  Sex           Dale ol Birth          Carrier's Telephone Number                                          Fax Number
Date or Injury:   12!.11192




To EMPLOYEE (To DEPENDENT(sl OR NEXT OF KININCASE OF DEATH}:

This is to Inform you that the claim for the         D injury on                                                  , or
                                                     Ill occupational disease as of 1120I1s                       , or
                                                    .Odeathon                                  - - -- -- - - - - -
is DENIED for the following reasons:
Please see allached.




                                                                                                                                                            /O IU./2,o lS
SIGNATURE EMPLOYER OR CARRIER/ADMINISTRATOR                                                                                                                   DATE

 Employer/Insurance Carrier must provide a detailed statement of the grounds for denying compensabllity of
 the claim or liablllty for the claim where payments have previously been made without prejudice under N.C.
 Gen. Stat.§ 97-18(d). Failure to specify a particular ground may preclude asserting certain defenses at a later
 date pursuant to N.C. Gen. Stat.~ 97-18(f).

Employee: If you disagree with this denial, you are entitled to request a hearing by submitting a Form 33. If you need
assistance you may contact the Industrial Commission at the address below or telephone the Industrial Commission at (800
688-8349.

Employer: A copy of this form shall be sent to the employee and employee's attorney of record, If any, and all known health
care providers which have submitted bills to the employerlcarrier. The original of this form shall be sent to the Industrial
Comml&&lon at the addreH below.


                                                                                MAIL TO:              NCIC • CLAIMS SECTION
                                                                                                      4335 MAIL SERVICE CENTER
FORM 61                                                                                               RALEIGH, NC 27699-4335
10/2006                                                                                               TELEPHONE: (919) 807-2502
PAGE 1 OF1                                                   FORM 61                                  HELPLINE: (800) 688-8349
                                                                                                      WEBSITE: HTTP:/IWWW.IC.NC.GOV/




                                                                    JA1348
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  Betty Whitley Bell v. Fieldcrest Cannon, Inc./Pillowtex Corp.
  I.C. File No. 15-755738


  Form 61 Attachment

         The North Carolina Self-Insurance Security Association (hereinafter "Security
  Association") DENIES this claim for the following reasons:

          The Security Association is statutorily obligated to pay the "covered claims" of its
  member self-insurers that are left unpaid as a result of the member's insolvency. N.C. Gen. Stat.
  § 97-133(a)(4) (2003). A "covered claim" is "an unpaid claim against an insolvent self-insurer
  that relates to an injury that occurs while the self-insurer is a member of the Association..." N.C.
  Gen. Stat. § 97-130(4). The Security Association is required by law to deny payment of all
  claims that are not "covered claims." N.C. Gen. Stat. § 97-133(a)(7). Employer was a member
  self-insurer of the Association from October 1, 1986 to December 19, 1997.

          Investigation of this claim is incomplete and the Security Association is unable to
  ascertain from the information presently available that Employee has a compensable
  occupational disease or is disabled from a compensable occupational disease.

         The Security Association denies that Employee had the requisite exposure to asbestos
  and/or asbestos-containing materials such as to have caused any occupational disease and denies
  that Employee has any disability related to her alleged exposure to asbestos and/or asbestos-
  containing materials.

         The Security Association denies that Employee developed mesothelioma as a result of
  alleged exposure to asbestos and/or asbestos-containing materials while employed.by Employer
  and/or while Employer was a member self-insurer of the Security Association.

         This claim may be barred by N.C. Gen. Stat. § 97-57. The Security Association denies
  that Employee was last injuriously exposed to asbestos and/or asbestos-containing materials
  during her employment with Employer and/or that Employee sustained any last injurious
  exposure that would give rise to a "covered claim" for the Security Association.

         This claim may also be barred by the applicable statute of limitations, pursuant to N.C.
  Gen. Stat. § 97-58 and/or N.C. Gen. Stat. § 97-22.

        The Security Association reserves the right to assert additional defenses of which it may
  become aware as the investigation of this claim continues.




                                                  JA1349
        Case 1:17-cv-00111-WO-JEP Document 333-1 Filed 04/02/21 Page 3 of 3
Case 4:22-mc-00001-AWA-DEM Document 21-7 Filed 01/31/23 Page 5 of 9 PageID# 1487




                        EXHIBIT 4




                                   JA1350
       Case 1:17-cv-00111-WO-JEP Document 333-4 Filed 04/02/21 Page 1 of 3
 Case 4:22-mc-00001-AWA-.o'EM Document 21-7 Filed 01/31/,23 Page 6 of 9 PagelD# 1488

 North Carolina Industrial Commission
                                                                                                                              IC File# 10-732863

 DENIAL OF WORKERS' COMPENSATION CLAIM                                                                                   Emp. Code#_ __ _ __
 (G.S. § 97-JS(c)AND G.S. § 97-18(d))                                                                                  Carrier Code #_9_99-_
                                                                                                                                           09
                                                                                                                                            _8_ __

                                                                                                                         Carrier FIie #_ __ _ __

 The Use of This Form Is Required Under the Provisions of the Workers' Compensation Act                            Employer FEIN
   Betty Whitley Bell
                                                                       PSiowtex Corp./Fleldcrest Cannon. Inc.
 Employee's Name                                                       EmployMs Name                                                     Telephone Number
 6252 Irish Potato Road                                                 Insolvent Sel!-ln&Uled Employer
 Address                                                               Employer's Address                                  City             Slate      Zip
   Rockwell                                    NC             28138     Norih Carolina Self-Insurance Security Association
                   City                        State             Zip   lnsur•rice Cwrier                                Polley Number
 ( 7041239 .0798                               ( )                      c/o Stuart Lew Firm, PlLC, 1033 Wade Avenue, Sulla 202, Ralefgh, NC 27605
 tiorll8Telephone                              WOl1< Telephone         Can1o<'s Address                                    Cily             State      Zip
 )()()(.)()(. 2176                                                     (919)'787 JlOSO                                     (91!j787 .9888
                                                 -1949
 Lest 4 Dlgffs of SSN            Sex            DateofBlrih            Canter's Telephone Number                           Fax Number
 Date of Injury:



Io EMPLOYEE /To DEPENpeNJ(s) QB NexT of KIN 1N CAse oF DEATH):

This is to inform you that the claim for the    D injury on -,-....,.,..- - - - , -- - - -- - - - - - - • or
                                                □ occupatfom~.s~,,,.se as of                                                      • or
                                                ~      eath on _ _ _ _ __ _ _ __ _ _ __ _ __
 is DENIED for the following reasons:
   See attached.




                                                                                              Attorney
                                                                                                                                  7      /171       20 19
SIGNATURE EMPLOYER OR CARRIER/ADMINISTRATOR                                                        TITLE                                 DATE

 Employer/Insurance Carrier must provide a detailed statement of the grounds for denying compensabllity of
 the claim or liability for the claim where payments have previously been made without prejudice under N.C.
 Gen. Stat. § 97-18(<1). Failure to specify a particular ground may preclude asserting certain defenses at a later
 date pursuant to N.C. Gen. Stat. s· 97-18/f\,

   ployee: If you disagree with this denial, you are entitled to request a hearing by submitting a Form 33. If you ne&d
 ssistance you may contact the Industrial Commission at the address below or telephone the Industrial Commission at (800
 88-8349.

Employer: A copy of this fonn shall be sent to the employee and employee's attorney of record, If any, and all known healt
care providers which have submitted bills to the employer/carrier. The original of this form shall be sent to the lndustrla
Commission at the address below.


                                                                                             FILE VIA ELECTRONIC DOCUMENT F ILING PORTAL
                                                                                             HTTP://www.lC.NC. GOVIDOCFILJNG.HTML
FORM 61
02/2017                                                                                      CONTACT INl"ORMATION:
PAGE 1 OF1                                                 FORM 61                           NCIC•CLAIMS ADMJNISTRA TION
                                                                                             TELEPHONE: (919) 807-2502
                                                                                             HELPLINE: (800) 688-8349
                                                                                             WEBSl1l:: HTTP:/lwww.lC.NC.GOV




                                                                                                                Bell WC Death Benefits Claim026




                                                                 JA1351
                   Case 1:17-cv-00111-WO-JEP Document 333-4 Filed 04/02/21 Page 2 of 3
Case 4:22-mc-00001-AWA-DEM Document 21-7 Filed 01/31/23 Page 7 of 9 PageID# 1489
    Betty Whitley Bell v. Fieldcrest Cannon. Inc./Pillowtex Corp. et al.
    I.C. File No. 19-732863

   Form 61 Attachment

          The North Carolina Self-Insurance Security Association (hereinafter "Security
   Association") DENIES this claim for the following reasons:

            The Security Association is statutorily obligated to pay the "covered claims" of its member
   self-insurers that are left unpaid as a result of the member's insolvency. N.C. Gen. Stat.§ 97-
   133(a)(4) (2003). A "covered claim" is "an unpaid claim against an insolvent self-insurer that
   relates to an injury that occurs while the self-insurer is a member ofthe Association..." N .C. Gen.
   Stat. § 97-130(4). The Security Association is required by law to deny payment of all claims that
   are not "covered claims." N.C. Gen. Stat. § 97-133(a)(7). Employer was a member self-insurer
   of the Association from October 1, 1986 to December 19, 1997.

          Investigation of this claim is incomplete and the Security Association is unable to ascertain
   from the information presently available that Employee had a compensable occupational disease
   or was disabled from a compensable occupational disease.

           The Security Association denies that Employee had the requisite exposure to asbestos
   and/or asbestos-containing materials such as to have caused any occupational disease and/or death
   and denies that Employee had any disability related to his alleged exposure to asbestos and/or
   asbestos-containing materials.

          This claim may be barred by N.C. Gen. Stat.§ 97-57. The Security Association denies that
   Employee was last injuriously exposed to asbestos and/or asbestos-containing materials during his
   employment with Employer-Defendant and/or that Employee sustained any last injurious exposure
   that would give rise to a "covered claim" for the Security Association.

          This claim may also be barred by the applicable statute of limitations, pursuant to N.C.
   Gen. Stat. § 97-58 and/or N.C. Gen. Stat. § 97-22.

         The Security Association reserves the right to assert additional defenses of which it may
   become aware as the investigation of this claim continues.




                                                                              Bell WC Death Benefits Claim027



                                                     JA1352
        Case 1:17-cv-00111-WO-JEP Document 333-4 Filed 04/02/21 Page 3 of 3
Case 4:22-mc-00001-AWA-DEM Document 21-7 Filed 01/31/23 Page 8 of 9 PageID# 1490




                        EXHIBIT 5




                                   JA1353
       Case 1:17-cv-00111-WO-JEP Document 333-5 Filed 04/02/21 Page 1 of 2
    • Case 4:22-mc-00001-AWA-DEM Document 21-7 Filed 01/316i Page 9 of 9 PagelD# 1491



    North Carolina Industrial Commission
                                                                                                                                    IC File# 19-732863

    DENIAL OF WORKERS' COMPENSATION CLAIM                                                                                       Emp. Code#_ _ __          _
    (G.S. §97-18 (c) AND G.S. §97-18 (d))                                                                                   Carrier Code#_ _ _ __

                                                                                                                                Carrier File #7A555409288752

    The Use or This Form la Required Under The Provisions of The Workers' Compensation Act                                 Employer FEIN


    Bett~ Whitley Bell (dee)                                                         Hoechst Celanese
    Employee's Name                                                                  Employer's Name                             Telephone Number
    6252 Irish Potato Road
    AddreS&                                                                          Employer's Address                  Clty           Stale    Zip
    Rockwell NC 28138                                                                ESIS
                          City                               State         Zip       Insurance Carrier                   Policy Number
704-239-0798                                                                         PO Box 6560 Scranton PA
Home Telephone                                         Work Telephone                Carrier's Address                   City           State    Zip
.;...;
 xx""'x....;.
       " -x~x-...;;;2:...:..17.:,...;6=--- - - - ---'F
                                                     ' ---   --           J/194 9    804-346-3628                                800-884-797 5
Social Security Number          Sex                                  Date of Birth   Carrier's Telephone Number                  Fax Number
Date of lnJury: 06/03/2017 (death)


TO EMPLOYEE JTQ Dl;PENDENTStS) QR NEXT OF KlN IN CASE OF DEATHI:

This Is to Inform you that the claim for the                  D Injury _ __ _ _ _ _ _ __ _ ____ _ _ __ _ _ , or
                                                              D occupational disease as                    , or
                                                              181     death 06103[?0_17_ __

is DENIED for the following reasons:
Defendants deny that Employee's death was the result of a compensable occupational disease for lack of sufficient            ,
information and belief. The claim may be barred under N.C.G.S. 97-22, 97-24, 97-38, and 97-58 and/or any other applicable
statutes/case law. Defendants reserve all other rights under the N.C. Workers' Compensation Act, including but not limited
to the right to assert any credits or liens. Defendants reserve all other potential defenses pending further investigation and
discovery.

                                                                                                                     s
SIGNATURE                                                                                                                   DATE

Employer/Insurance Carrier must provide a detailed statement of the grounds for denying compensablllty of
the. claim .o r liability for the claim where payments have previously been made without prejudice under N.C.
~en. Stat.§ 97-18(d). Failure to specify a particular ground may preclude asserting certain defenses at a later
date pursuant to N.C. Gen, Stat. 97-1B(f).

Employee: If you disagree with this denial, you are entitled to request a hearing by submitting a Form 33. If you need
aaelstahce you may contact the Industrial CommiHion at the address below or telephone the Industrial Commission at (800)
688-8349.

Employer: A copy of this form shall be sent to the employee and employee's attorney of record, if any, and all known health
care .providers which have submitted bills to the employer/carrier. The original of this form shall be sent to the lndusbial
Commission at the address below.


                                                                                                         MAIL TO:   NCIC - CLAIMS SECTION
                                                                                                                    4335 MAIL SERVICE CENTER
FORM61
10/2006                                                                          FORM 61                            RALEIGH, NC 27699-4335
                                                                                                                    TELEPHONE: (919) 807-2502
PAGE1 OF 1                                                                                                          OMBUDSMAN: (800) 688-8349




,48~1:·958!?~77. v, 1
i
                                                                                                                     Bell WC Death Benefits Claim037




                                                                                 JA1354
                     Case 1:17-cv-00111-WO-JEP Document 333-5 Filed 04/02/21 Page 2 of 2
Case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 1 of 6 PageID# 1492




                         Exhibit 8




                                 JA1355
Case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 2 of 6 PageID# 1493




                    EXHIBIT A


                                   JA1356
       Case 1:17-cv-00111-WO-JEP Document 322-2 Filed 03/12/21 Page 1 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 3 of 6 PagelD# 1494




    North Carofina lnavstrlal Commil!;S/or,                     MESOTHELfOMA

    CLAIM BY EMPLOYEE, REPRESENTATIVE, OR DEPENDENT                                                                                                   Emo, Code# {)<t ;{b,g:7t)


    FOR BENEFITS FOR LUNG DISEASE                                                                                                                  Carner Code#     C/?9--iPt r
    INCLUDING ASBESTOSIS, SILICOSIS, AND BYSSINOSJS (G.S. 97-53)                                                                                  Employer FEIN - ~ - - -

    The Use Of This Form Is Required Under lhe Provisions of The Workers' The Compensation Act

    Betty Whitley Bell                                                                                                             Female                             '1949
    En,clGvee's Name                                                             Soda! SocUfl(V Numier                                           Sex             OatedElrth

                                                                                 If FMt'llJftl'!t, I,. '111tf'"l"Jl!\Arl li~t P,,.r.<1.t'lrtAI RAnu:~~n1A/WA
                                                   NC         28138              Lloyd Bell
                                                   S!ale                         SPQUse'J Name
    704-239-9798                                                                 William M. Gr~ham, NC State Bar No.: 17972
    Ernployeo'a Homo Telephone            Werk Telophono                         Name or Atttmoy If repreoe•ted


                                                             PRINT OR TYPE AU ANSWERS

    Notice is hereby given, as required by law, that Ille above-named employee sustained an occupational disease caused by
    exposure to: cotton dust; silica O asbestos 121; or other substance O and, if known, state substance:
    Date of diagnosis:      7-20-15                      By: Dr. Du!<e Unfversi!y Medical Center Attach diagnosing medical records.



                                                                   Em ployer-Dcfendanls
                                                           A ttacl, additionol 1>agcs If necessary
r              · •                                                                                              1967 to 1968 and !
! Employer Name: Hoechst Celanese Corporation •                       Telephone: ~ - - - - Dates of Employment _19_7_0_to_1_9_72_ ___,

                        _..c.S=al__
                                 ls'""bu...lY,_,,_N~C'---- - - - - - - - - - - location of Job(s}                                Salisbu ,NC
                        Ci!}/                                    State   ZI
               . 6 d~'it)        {l_{l_f/ca,5-. ____P____-..=-....:::::-..:::-.=-.=-.=:::::-::...--=----_- _- _- _-'
                                                                                                                  __,
                          Pillowh~><   Corporation           f/kla
                          Fieldcrest Cannon, Inc.             ftka
     Employer Name:       Cannon Mills                                Telephone: _ _ __                               Dates of Employment                      1972 to 1992

    Address:              Salisbury, NC                                                   Location ol Job(s)                     Salisbury. NC Plant #16
                        City                  £'    ,         State        Zip          tf!._°t_   tJ              r
CA,~~~';~~~~?~~!?f                                  ' 9                                                - : a _ . ; . . . . _ ._ _ _ _ _ __                                    __,


 IT IS REQUIR£D THAT BOTH PACES THIS FQI 1 BE ~9MPLETED IN ORDER TO PROCESS THIS CLAIM
                                                    oi;-
I ;tfr;u/ ,~K ~o 13 q~3 7 o Cl.f1J, 'rtJMAILTO:
                                            q. K
                                                                                                             NC/C - CLAIMS SECTION
                                                                                                             4335 MAIL SERVICE CENTER
                                                        FORM 188                                            RALEIGH, North caroffna 27699-4335
                                                                                                            JAAIN TELEPHONE: (919) 807-2500
                                                                                                            OMBUDSMAN: (800) 688-8349




                                                                                                                                                    BE:LL WC 00008




                                                                      JA1357
               Case 1:17-cv-00111-WO-JEP Document 322-2 Filed 03/12/21 Page 2 of 5
case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 4 of 6 Pagel D# 1495




 Emtp lo_ymcnr H.ISI 0)ry, Begimnm
                                 • 1g w·th
                                        I                                         , 10naI 1ag,es ,·r necess;ary)
                                           M OSI Recen IEmrpl o,y·menI (Attach add·r
 Employer                             From/To:       Employer's Type of Business            Employee's Job Title
 Home Care                              1/2015       Nursi':[~are                        Assisted elderly lady
                                        8/2015
 Employer                             From/To:       Employer's Type of Business         Employee's Job Title

 Philip Morris USA lnc.                 1996         Tobacco manufacturer                Packing machine operator I Production Tech
                                                                                         Ill.
                                        2009
Employer                              From/To:       Employer's Type of Business         Employee's Job Title
Food Lion, LLC                       1974; 1992      G rocery store                      Expense payable clerk
                                        1996
Employer                              From/To:       Employer's Type of Business         Employee's Job Title
Pillowtex Corporation f/1</a
Fielder-est Cannon, Inc,                1972         Textiles                            Weaver, spinner, shipping/receiving, yard
flka Cannon Mills                                                                        crew, office, cloth room, nonsalary foreman.

                                        1992
    If you were exoosed to the listed substance(sl whll~_worklng for this employer, describe in detail the exposures:
Plaintiff was exposed to the hazards of asbestos-containing products whlle employed by this employer. Plaintiff WIii
describe said exposure In detail In discovery with this defendant
Employer                              From/To:       Employer's Type of Business         Employee's Job Title

Wal-Mart                                1972         Department store                   Appliances, shipping, office, automotive dept.
                       . .._
                                        1974
         If you were exposed to the listed substance(s) while worklnci for this employer, describe in detail the exposures:

                               --
                  -·
Employer ,                            From/To:       Employer's Type of Business        Employee's Job Title                             '
Doctor's office                         1970         Doctor's office                    Medical assistant
                                        1972
Employer                              From/To:       Employer's Type of Business        Employee's Job Title
                                                                          -
Fiber Industries Inc. a/k/a
Hoechst Celanese                    1967 to 1968;
                                                     Polyester lextlles                 Beaming, draw twist
Corporation                             1970

                                        1972
        If vou were exposed to the listed substance(sl while workinQ for this employer. describe In detail the exoosures:
Plalntlffwas exposed to the hazards of asbestos-containing products whlle employed by this employer. Plaintiff wilt
                                                                                                                          ·-
describe said exposure in detall in discovery with this defendant
 FORM 18B                                                                            NCIC - CLAIMS SECTION
 5/02                                                                                4335 MAIL SERVICE CENTER
 PAGE20F 4
                                                    FORM 188                         RALEIGH, NC 27699-4335
                                                                                     MAIN TELEPHONE: (919) 807-2500
                                                                                     OMBUDSMAN: (800) 688-8349




                                                                                                            BELL WC 00009




                                                             JA1358
           case 1:17-cv-00111-WO-JEP Document 322-2 Filed 03/12/21 Page 3 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 5 of 6 Pagel D# 1496




 List the names and addresses of all family physicians, treating physicians and hospitals that have provided medical services or
 treatment to you over a 20 year period prior to the filing of this claim.

  Year                   Name                            Address (City)                    Purpose for which treated (if known)
               Duke University
               Medical Center                   Durham, NC                            mesothelloma
               Carolinas Medical
               Center-NE                        Concord, NC                           mesothelloma
               Levine Cancer
               Institute/Dr. Thomas
               Steffens                         Concord, NC                           mesothelloma
               Dr. Brian
               McCollough!Cabarrus
               Family Practice                  Concord, NC                           Family physician




                                                                  MAIL TO:
  FORM 188                                                                            NC/C - CLAIMS SECTION
  5/02                                                                                4335 MAIL SERVICE CENTER
  PAGE30F4
                                                  FORM 18B                            RALEIGH, NC 27699-4335
                                                                                      MAIN TELEPHONE: (919) 807-2500
                                                                                      OMBUDSMAN: (BOO) 688-8349




                                                                                                           BELL WC 00010




                                                            JA1359
           Case 1:17-cv-00111-WO-JEP Document 322-2 Filed 03/12/21 Page 4 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-8 Filed 01/31/23 Page 6 of 6 Pagel D# 1497




I hereby authorize the above named medical sources to disclose medical records (including images such as x-rays, CT scans, MR!s,
sonograrns. etc) regarding my lreatment. hospirnlization. and/or outpatient care for any condition during the period(s) identified above
to all parties (including insurance companies) or State agjlncies that moy review my , pplica1ion for comp:nsation. I also hereby
authorize that a photocopy of this auihorization be accepted with the sainc authority as this original. The information disclosed will be
used in connection with my claim for benefits under the Workers' Compensation ACI.
I understand this authorization will auto          a     plre when my application for beneiits is finally decided.

                                                                                                        (704) 633-5244
                                                                                                       Telephone Number
                                     ve, or □ De
                                                                   Salisbury, North Carolina 28144
   Address                                               City                 State           Zip                   Date Completed
Employee should return original of this form to the Industrial Commission, furnish his/her employer with one signed copy,
and retain a copy.
                                                                MAIL TO:
 FORM 188                                                                             NCIC - CLAIMS SECTION
 5/02                                                                                 4335 MAIL SIERVJCIE CENTER
        1
 PAGE OF .     '-f                              FORM 18B                              RALEIGH, NC 27699-4335
                                                                                      MAIN TELEPHONE: (919) 807-2500
                                                                                      OMBUDSMAN: (800) 688-8349




                                                                                                             BELL WC 0-0011




                                                           JA1360
             Case 1:17-cv-00111-WO-JEP Document 322-2 Filed 03/12/21 Page 5 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 1 of 6 PageID# 1498




                         Exhibit 9




                                 JA1361
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 2 of 6 PageID# 1499




                        EXHIBIT 7




                                   JA1362
       Case 1:17-cv-00111-WO-JEP Document 333-7 Filed 04/02/21 Page 1 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 3 of 6 PageID# 1500



                          NORTH CAROLINA INDUSTRIAL COMMISSION

   I. C. No. 19-732863, LLOYD CLIFFORD BELL, Spouse and Sole Dependent of BETTY
   ,VHITLEY BELL, Deceased-Employee, v. HOECHST CELANESE CORPORATION AND
   PILLOWTEX CORPORATION, f/k/a FIELDCREST CANNON f/k/a CANNON MILLS,
   Employer-Defendants and ESIS AND NORTH CAROLINA SELF INSURANCE
   SECURITY ASSOCIATION, Carrier-Defendants.


                         DEFENDANTS' RESPONSE TO MOTION TO DISMISS

           NOW COME Defendants, Hoechst Celanese Corporation and ESIS/Amour Risk, by and
  · through counsel and pursuant to Rule 609 of the Workers' Compensation Rules of the N01th
    Carolina Industrial Commission in response to Plaintiff's Motion to Dismiss. In support of their
   response, Defendants show unto the Commission the following:

           1.      On or about April 25, 2019, Plaintiffs attomey filed a Fom1 18B Claim by
   Employee, Representative, or Dependent for Benefits for Lung Disease, alleging the decedent
   died as a result of his work-related exposure to asbestos. (Please see attached Exhibit 1).

          2.      On the Form 18B, Plaintiff named two Defendant-Employers. It was alleged the
   decedent had exposure to asbestos containing materials with Hoechst Celanese from 1967 to
   1968 and from 1972-1973. It was also alleged the decedent had exposure to asbestos-containing
   materials with Pillowtex Corporation f/lda Fieldcrest Cannon, Inc. f/k/a Cannon Mills from 1969
   and from 1976 -1995. It was noted the decedent worked for Pillowtex Corporation at the
   Salisbury Plant. (Please see attached Exhibit 1 and 2).

          3.      Plaintiff provides no insight as to why he is now arbitrarily dismissing Pillowtex
  Corporation and the N.C. Self-Insurance Security Association from this claim, when the
  decedent alleged asbestos exposure with this employer after his employment ended with Hoechst
  Celanese. Pillowtex has the potential to be the last injurious employer in this claim. The
  decedent treated with Dr. Thomas D' Amico on 7/7/15. At that time, she was given a lung
  examination and she discussed her history of possible expostlies. It was noted she was never a
  smoker, but she worked for Phillip Mo1Tis Tobacco for 12 years and had a significant second
  hand smoke exposure history. She also worked in a cotton mill and in the fiber industry for
  many yeru·s struting in the 1960' s. Upon information and belief, the cotton mill work referred to
  is her work at Pillowtex, since she did work there for many years after her time with Hoechst
  Celanese. (Please see attach.ed Exhibit 3).

           4.     Further, there is case law where other employees have filed occupational claims
  alleging asbestos exposure against Pillowtex Corporation f/k/a Fieldcrest Cannon, Inc. f/k/a
  Cannon Mills. In Ketchie v. Fieldcrest Cannon, Inc., 243 N.C. App. 324, 777 S.E.2d 129 (2015),
  it was noted there were 15 other similar employees who alleged asbestos exposure while working
  at this company. In Mullin.ax v. Fieldcrest Cannon, Inc., l 00 N.C.App. 248, 395 S.E.2d 160
  (1990), the pruties agreed to resolve an occupational disease claim involving asbestos exposUl'e,
  but then one of the pruties later tried to back out of the agreement. But, still this is an example of
  a case that involved potential asbestos exposure.



  4818-3507-9~56, V. 2


                                                                                Bell WC Death Benefits Claim057



                                               JA1363
         Case 1:17-cv-00111-WO-JEP Document 333-7 Filed 04/02/21 Page 2 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 4 of 6 PageID# 1501




           5.     Pursuant to N.C.G,S. §97-57, when compensation is payable for an occupational
   disease, "the employer in whose employment the employee was last injuriously exposed to the
   hazards of such disease, and the insurance carrier, if any, which was on the risk when the
   employee was so last exposed under such employer, shall be liable."

            6.     The Decedent pe1formed work at Pillowtex Corporation f/k/a Fieldcrest Cannon,
   Inc. f/k/a Cannon Mills from 1969 and from 1976-1995. If the decedent was exposed to
   asbestos at all with Fieldcrest, her last injurious exposure could have occtmed at any point
   dming her employment at Pillowtex_Cmpmation~--- __________

           7.      These Defendants contend Pillowtex Corporation is a necessary party and cannot
   be dismissed fo1m the claim. The determination of when and where Plaintiff was last injmiously
   exposed to asbestos must be determined only after a full evidentiary hearing and requires both
   lay and expert testimony.

          WHEREFORE, based upon the aforementioned, Defendants respectfully request that the
   Co1mnission enter an Order denying Plaintiff's Motion to Dismiss Pillowtex Corporation from
   this matter without prejudice.

            This tl1e~y of January, 2020.

                                       CRANFILL SUMNER & HARTZOG LLP



                                       BY:


                                              Attorne for Defendants
                                              Post Office Box 30787
                                              Charlotte, North Carolina 28230
                                              Telephone: (704) 332-8300




  4818-3507-9856, V, 2



                                                                            Bell WC Death Benefits Claim058



                                             JA1364
         Case 1:17-cv-00111-WO-JEP Document 333-7 Filed 04/02/21 Page 3 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 5 of 6 PageID# 1502



                                     CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this day served the attached DEFENDANTS'
   RESPONSE TO MOTION TO DISMISS on all of the parties to this cause by:

            Hand delivering a copy hereof to the attomey for each said pa1ty addressed as follows:

            Depositing a copy hereof, postage prepaid, in the United States Mail, addressed to the
            attorney for each said party as follows:

            Depositing a copy hereof with a nationally recognized ovemight courier service, for
            overnight delivery, addressed to the attorney for each said party as follows:

            Telecopying a copy hereof to the attorney for each said party as follows:

   _.:i_ Electronically transmitting a copy hereof to the attorney for each said party as follows:
                     Edward Pauley
                     Wallace and Graham, PA
                     epauley@wallacegraham.com

                     Stephen Dimmick
                     Via email: sdin1mick@stuartlawfirm.com




                     This the   ~ day of January, 2020.




  4818-3507-9856, V. 2



                                                                                Bell WC Death Benefits Claim059



                                               JA1365
         Case 1:17-cv-00111-WO-JEP Document 333-7 Filed 04/02/21 Page 4 of 5
Case 4:22-mc-00001-AWA-DEM Document 21-9 Filed 01/31/23 Page 6 of 6 PageID# 1503



                                     CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this day served the attached DEFENDANTS'
   RESPONSE TO MOTION TO DISMISS on all of the parties to this cause by:

            Hand delivering a copy hereof to the attorney for each said party addressed as follows:

            Depositing a copy hereof, postage prepaid, in the United States Mail, addressed to the
            attorney for each said party as follows:

            Depositing a copy hereof with a nationally recognized overnight courier service, for
            overnight delivery, addressed to the attorney for each said paity as follows:

            Telecopying a copy hereof to the attorney for each said party as follows:

  ~ Electronically transmitting a copy hereof to the attorney for each said party as follows:

                     Edward Pauley
                     Wallace and Graham, PA
                     epauley@wallacegraham.com

                     Stephen Dimmick
                     Via email: sdimmick@stuartlawfinn.com




  4818-3507-9856, v. 2


                                                                                Bell WC Death Benefits Claim060



                                               JA1366
         Case 1:17-cv-00111-WO-JEP Document 333-7 Filed 04/02/21 Page 5 of 5
Case 4:22-mc-00001-AWA-DEM Document 24 Filed 08/14/23 Page 1 of 4 PageID# 1513




                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division


  IN RE SUBPOENA FOR DOCUMENTS
  ISSUED TO PENINSULA PATHOLOGY
  ASSOCIATES                                               Case No. 4:22mc1




                                         ORDER

       Pending before the Court are a Motion to Quash (ECF No. 1) filed by Peninsula

 Pathology Associates (“PPA”), Magistrate Judge Douglas E. Miller’s Order granting

 the Motion to Quash (ECF No. 11) (the “Order”), and Objections to the Magistrate

 Judge’s Order (ECF No. 17) (the “Objections”) filed by American International Indus-

 tries (“AII”). In addition, AII filed a memorandum in support of its Objections, PPA

 filed a response, and AII filed a reply. Mem. Supp., ECF No. 18; Resp., ECF No. 20;

 Reply, ECF No. 21.

       AII objects to the Magistrate Judge’s Order pursuant to Federal Rule of Civil

 Procedure 72(a), Local Civil Rule 72, and 28 U.S.C. § 636(b)(1). Mem. Supp. at 1, ECF

 No. 18. AII argues that the Order is “clearly erroneous and contrary to law” and

 should therefore be set aside and/or modified by this Court. See id. at 3–5; see also

 Fed. R. Civ. P. 72(a) (stating “clearly erroneous or . . . contrary to law” standard). For

 the reasons set forth below, however, the Court finds that the Order is neither clearly

 erroneous nor contrary to law. Therefore, the Objections (ECF No. 17) will be OVER-

 RULED, and the Order (ECF No. 11) will be AFFIRMED.




                                       JA1367
Case 4:22-mc-00001-AWA-DEM Document 24 Filed 08/14/23 Page 2 of 4 PageID# 1514




       The parties are familiar with the relevant facts, and these are also set out in

 the Order, along with the law applicable to the Motion to Quash. See Order at 1–4,

 ECF No. 11; see also Tr., Dec. 16, 2022 Hr’g (“Tr.”), ECF No. 10. The Court therefore

 pretermits a detailed factual background for purposes of resolving the Objections.

       As noted, AII objects to the Order under Rule 72(a), which directs the Court to

 “modify or set aside any part of the order that is clearly erroneous or is contrary to

 law.” Fed. R. Civ. P. 72(a); see also 28 U.S.C. § 636(b)(1)(A). A finding is “clearly erro-

 neous” only “when although there is evidence to support it, the reviewing court on the

 entire evidence is left with the definite and firm conviction that a mistake has been

 committed.” In re Bate Land & Timber LLC, 877 F.3d 188, 198 (4th Cir. 2017) (quot-

 ing United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). The clearly errone-

 ous “standard is a demanding one.” Id.; accord U.S. S.E.C. v. Pirate Investor LLC,

 580 F.3d 233, 243–44 (4th Cir. 2009) (describing necessary level of error as “egre-

 gious”). A ruling is contrary to law “when it fails to apply or misapplies relevant stat-

 utes, case law, or rules of procedure.” United Mktg. Sols., Inc. v. Fowler, No.

 1:09cv1392, 2011 WL 837112, at *2 (E.D. Va. Mar. 2, 2011). In addition, a magistrate

 judge’s rulings on discovery matters in particular are entitled to “great deference.”

 Malibu Media, LLC v. John Does 1–23, 878 F. Supp. 2d 628, 629 (E.D. Va. 2012)

 (quoting In re Outsidewall Tire Litig., 267 F.R.D. 466, 470 (E.D. Va. 2010)).

       Here, AII makes no argument that the Magistrate Judge’s ruling was “contrary

 to law.” Rather, it argues that two aspects of the Order were clearly erroneous: the

 conclusion that the subpoenaed materials were only “minimally relevant” to AII’s




                                        JA1368
Case 4:22-mc-00001-AWA-DEM Document 24 Filed 08/14/23 Page 3 of 4 PageID# 1515




 defense in the Gref litigation, Order at 5, ECF No. 11, and the conclusion that AII’s

 subpoena imposed an “undue burden” on PPA, id. at 7. See Mem. Supp. at 11, 15,

 ECF No. 18.

       The Court has reviewed the briefing on the Motion to Quash, the associated

 exhibits, the hearing transcript, and the Order, along with the briefing on the Objec-

 tions and the associated exhibits, and has carefully considered the arguments made

 by AII in its Objections. Upon doing so, the Court is not left with a “definite and firm

 conviction that a mistake has been committed.” In re Bate Land & Timber LLC, 877

 F.3d at 198.

       First, the Magistrate Judge’s conclusion regarding the minimal relevance of

 the information sought by AII to the Gref litigation was based on a reasonable view

 of the evidence, including his views that neither PPA nor Dr. Emory are involved in

 the Gref litigation and that AII has significant alternative bases to satisfy its needs

 for impeachment material in that litigation. See Order at 5–6, ECF No. 11. The Court

 is satisfied on the entire evidence that no clear error occurred with regard to this

 determination.

       Second, with regard to the undue burden placed on PPA, AII relies heavily on

 its narrowed offer at the hearing to request only the names of the participants in the

 Article and underlying study at issue in the subpoena. See Mem. Supp. at 15–17, ECF

 No. 18; Reply at 14–16, ECF No. 21. But even considering this narrowed request, the

 Court finds no clear error. The Magistrate Judge’s conclusion with regard to undue

 burden was based on a reasonable view of the evidence, including his concern for the




                                      JA1369
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 medical ethical concerns implicated by the requested disclosure. See Order at 7, ECF

 No. 11; see also Resp. at 17–20, ECF No. 20. Moreover, the Magistrate Judge was

 ultimately required to balance the undue burden on PPA against the benefits of the

 requested discovery to AII. Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir.

 2019). Therefore, the Magistrate Judge’s finding that the benefit to AII was “mini-

 mal[]”—which, as noted above, is not clearly erroneous—mitigates the level of undue

 burden necessary to tip the balance in favor of PPA, particularly in the context of a

 third-party subpoena. See id. (balancing test is “even more demanding and sensitive”

 when subpoena recipient is a nonparty). In light of the entire evidence, both with

 respect to the undue-burden analysis and the overall balancing analysis, the Court

 has no conviction, let alone a “definite and firm conviction,” that the Magistrate Judge

 committed any error. 1

       For the forgoing reasons, AII’s Objections (ECF No. 17) are OVERRULED,

 and the Magistrate Judge’s Order (ECF No. 11) is AFFIRMED. The Clerk is RE-

 QUESTED to provide a copy of this Order to all counsel of record and Magistrate

 Judge Douglas E. Miller.

       IT IS SO ORDERED.

                                                              /s/
                                                     Arenda L. Wright Allen
                                                   United States District Judge
 August 14, 2023
 Norfolk, Virginia

 1 AII also at some level appears to object to the Magistrate Judge’s conclusion that

 as-yet-undetermined sanctions are warranted under Rule 45(d)(1). See Mem. Supp.
 at 5, ECF No. 18; Reply at 19, ECF No. 21; see also Order at 7–8, ECF No. 11. To the
 extent that AII raises such an objection to the conclusion that sanctions are war-
 ranted, the Court finds no clear error, and the objection is overruled.



                                      JA1370
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION


  IN RE SUBPOENA FOR DOCUMENTS
                                                   Case No. 4:22-mc-00001
  ISSUED TO PENINSULA PATHOLOGY
  ASSOCIATES,
                                                   Related Case: S.D.N.Y.: 1:20-CV-05589-
                                                   GBD




          AMERICAN INTERNATIONAL INDUSTRIES’ NOTICE OF APPEAL

        American International Industries appeals to the United States Court of Appeals for the
 Fourth Circuit from the Order entered August 14, 2023 (ECF No. 24), wherein the District Court

 affirmed the Magistrate Judge’s Order (ECF No. 11) granting Peninsula Pathology Associates’
 motion to quash American International Industries’ third-party subpoena to Peninsula Pathology
 Associates issued in Gref v. American International Industries, et al., 1:20-cv-5589 (S.D.N.Y.).


 Dated: September 13, 2023                    Respectfully submitted,

                                              AMERICAN INTERNATIONAL INDUSTRIES
                                              By Counsel
                                              /s/ Sylvia Macon Kastens
                                              Benjamin L. Hatch (VSB No. 70116)
                                              Sylvia Macon Kastens (VSB No. 92375)
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                                              Telephone: (757) 628-5500
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                                            JA1371
Case 4:22-mc-00001-AWA-DEM Document 30 Filed 09/13/23 Page 2 of 3 PageID# 1575



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                                    Counsel for American International Industries




                                       2

                                 JA1372
Case 4:22-mc-00001-AWA-DEM Document 30 Filed 09/13/23 Page 3 of 3 PageID# 1576



                                 CERTIFICATE OF SERVICE

        I certify that on this 13th day of September, 2023, a true and correct copy of the foregoing

 was served on all counsel of record via Notice of Electronic Filing by filing with the Court’s

 CM/ECF system.

                                              /s/ Sylvia Macon Kastens




                                                 3

                                            JA1373
              Corrected Exhibit G
    to Opposition to Motion to Quash (R.4-7):
Excerpts of October 6, 2021 Trial Transcript, Johnson v. Johnson &
     Johnson, No. JCCP 4676/20STCV17335 (Cal. Super. Ct.)




                           JA1374
 1         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2               FOR THE COUNTY OF LOS ANGELES
 3    DEPARTMENT 4           HON. STEPHEN M. MOLONEY, JUDGE
 4
     COORDINATED PROCEEDING SPECIAL TITLE                )
 5   (RULE 3.550)                                        )
                                                         )
 6   LAOSD ASBESTOS CASES                                )
     _____________________________________               )
 7                                                       )
                                                         )CASE NO.:
 8   SHAWN JOHNSON, AN INDIVIDUAL; HOLLY                 )
     JOHNSON, AN INDIVIDUAL,                             )JCCP 4674/20STCV17335
 9                                                       )
                                                         )
10                  PLAINTIFFS,                          )
                                                         )
11     VS.                                               )
                                                         )
12   JOHNSON & JOHNSON; JOHNSON & JOHNSON                )
     CONSUMER INC., A SUBSIDIARY OF                      )
13   JOHNSON & JOHNSON; ALBERTSONS                       )
     COMPANIES, INC., INDIVIDUALLY AND AS                )
14   SUCCESSOR IN INTEREST TO SAV-ON DRUG                )
     STORES, INC.; COSTCO WHOLESALE                      )
15   CORPORATION; RALPHS GROCERY COMPANY;                )
     THRIFTY PAYLESS, INC., DBA RITE AID                 )
16   PHARMACY; WALMART, INC. AND DOES 1                  )
     THROUGH 400, INCLUSIVE,                             )
17                                                       )
                 DEFENDANTS.                             )
18   _____________________________________               )
19
20           REPORTER'S TRANSCRIPT OF PROCEEDINGS
21                WEDNESDAY, OCTOBER 6, 2021
22                          DAY 36
23                  (PAGES 10801 TO 11014)
24
25      (APPEARANCES ON NEXT PAGE)
26
27
     REPORTED BY:      DAYNA HESTER, C.S.R. 9970
28                   OFFICIAL REPORTER PRO TEMPORE


                              Veritext Legal Solutions
                                   866 299-5127
                             JA1375
                                                                        10865
 1             GRASPING AT STRAWS, THROWING ANYTHING ON THE
 2   WALL, SEEING WHAT STICKS, HOPING SOMETHING STICKS,
 3   HOPING ONE OF YOU WILL BITE AT THIS FAKE, FABRICATED
 4   NON-SCIENTIFIC DEFENSE.
 5             DON'T DO IT, LADIES AND GENTLEMEN.
 6             YOU HEARD DR. MOLINE EXPLAIN THE CONCEPT OF
 7   INDIVIDUAL SUSCEPTIBILITY TO YOU.                SOMETHING ABOUT OUR
 8   INTERNAL MAKEUP MAKES US MORE SUSCEPTIBLE TO CERTAIN
 9   TOXINS.
10             SOMETHING INTERNALLY TO MR. JOHNSON HAS MADE
11   HIM MORE SUSCEPTIBLE THAN THE REST OF THE WORLD TO THE
12   ASBESTOS IN JOHNSON'S BABY POWDER.
13             AND JUST BECAUSE HE IS MORE SUSCEPTIBLE,
14   DOESN'T MEAN HE DOESN'T WIN THIS CASE.
15             JOHNSON & JOHNSON, WHEN THEY SELL THIS
16   PRODUCT, THEY HAVE TO MAKE IT SAFE FOR EVERYONE.                   AND
17   THAT'S -- THAT'S WHY YOU GET THIS CHARGE, LADIES AND
18   GENTLEMEN.     THAT'S WHY THIS WAS READ TO YOU.
19             I ASKED DR. MOLINE.          REMEMBER, DR. MOLINE HAD
20   A FOUR-STEP PROCESS THAT SHE UTILIZED IN ASSESSING
21   WHETHER MR. JOHNSON'S EXPOSURES TO ASBESTOS FROM
22   JOHNSON'S BABY POWDER CAUSED HIS DISEASE.                AND SHE
23   TALKED ABOUT THE FOUR STEPS THAT SHE WENT THROUGH.
24             AND SHE ARRIVED AT HER CONCLUSION, WHICH WAS
25   BASED UPON SCIENCE, PEER-REVIEWED PUBLICATIONS, HER OWN
26   WRITINGS, HER OWN CASE SERIES.
27             REMEMBER THE MOLINE CASE SERIES, THE EMORY
28   CASE SERIES.     OVER A HUNDRED PEOPLE EXPOSED TO COSMETIC



                           Veritext Legal Solutions
                                866 299-5127
                          JA1376
                                                                   10866
 1   TALC GETTING MESOTHELIOMA.
 2              HOW MANY PEOPLE HAVE TO DIE OF MESOTHELIOMA
 3   BEFORE THIS COMPANY WILL SAY, "OKAY.              ENOUGH'S ENOUGH.
 4   WE ADMIT IT WE DID IT"?
 5              THE CRAZY THING IN OUR SOCIETY, EVEN IF YOU'RE
 6   GUILTY, YOU CAN COME INTO COURT AND REQUIRE THE OTHER
 7   SIDE TO PROVE IT.
 8              THAT'S WHAT JOHNSON & JOHNSON DID.            THEY CAME
 9   INTO THIS COURTROOM KNOWING THAT THEY WERE LIABLE,
10   KNOWING THAT THEY WERE GUILTY, AND THEY SAID, "HEY,
11   PLAINTIFF PROVE IT."
12              AND THAT'S WHAT WE'VE DONE OVER THE LAST
13   36 DAYS.     AND I KNOW IT'S BEEN EXHAUSTING.           IT'S BEEN
14   EXHAUSTING FOR ME AND MY TEAM.
15              I KNOW AT TIMES IT'S BEEN FRUSTRATING FOR YOU
16   AS JURORS.     I KNOW IT'S BEEN HARD TO GET HERE EVERY
17   DAY.   I KNOW SOMETIMES IT'S HARD TO PAY ATTENTION.
18              BUT IT'S THAT IMPORTANT.
19              THE LAST 36 DAYS, WE SAID TO THEM, "ALL RIGHT.
20   YOU WANT US TO PROVE IT?        THAT'S EXACTLY WHAT WE'RE
21   GOING TO DO."
22              AND THAT'S EXACTLY WHAT WE DID, LADIES AND
23   GENTLEMEN.
24              AND DR. MOLINE TELLS YOU HIS EXPOSURES FROM
25   1964 TO 1978.     THOSE EXPOSURES ALONE CAUSED HIS
26   DISEASE, INCREASED HIS RISK OF MESOTHELIOMA.
27              SHE TELLS YOU, "ALL RIGHT.            IF YOU JUST LOOK
28   AT 1985 THROUGH 2019, THAT EXPOSURE PERIOD ALONE



                           Veritext Legal Solutions
                                866 299-5127
                          JA1377
                     CERTIFICATE OF SERVICE

     This is to certify that I have this December 20, 2023, electronically

filed the foregoing with the Clerk of Court using the CM/ECF system,

which will notify all registered counsel.

                                        /S/ Benjamin L. Hatch
                                        Benjamin L. Hatch
                                        Counsel for Appellant American
                                        International Industries
